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                 Exhibit G
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   952
                                R e g . v. H o me S e cr et ar y, Ex p. Z a mir ( H. L.( E.)) [ 1 9 8 0                 ]
         L O R D F R A S ER   O F T U L L Y B E L T O N. M y L or ds, I h a ve h ad t he a d v a nt a ge .
   o f r e a di n g i n dr af t t h e s p e e ch pr e p ar e d b y my n o ble a nd l e ar n e d fri e n d
   L or d Wil b erf or c e . I a gr e e wit h i t a n d , f o r t h e r e as o n s gi v e n b y hi m ,
   I w o ul d dis mis s t h e a p p e al .

         L O R D R U S S E L L O F KI L L O W E N . M y L or ds, I h a v e h ad t he a d v a nt a g e
   o f r e a di n g i n dr af t t h e s p e e c h o f m y n o bl e a n d l e ar n e d fri e n d L or d
   Wil b erf or c e . I a gr e e wit h i t a n d wit h t h e c o n cl usi o n t h a t t hi s a p p e a l B
   s h o uld b e dis miss e d .
                                                    A p p e al dis miss e d.
                                                    N o or d er as t o c osts s a v e t h at a p p el-
                                                        l a nt's c osts b e t a x e d i n a c c or d a n c e
                                                        wit h pr o visi o ns of S c h e d ul e 2 t o
                                                        L e g al Ai d A ct 1 9 7 4 . C

        S oli cit ors : S h ar p e, Prit c h ar d & C o. f or H all- Wri g hts, Bir mi n g h a m;
   Tr e as ur y S oli cit or.

                                                                                                     M . G.

                                                                                                                            D

                                            [ H O U SE      O F L O R D S]

   I N L A ND      R E V E N UE C O M MI S SI O N E RS A N D A N O T H ER . A P P E L L A N T                       S
                                                           AND £
   R O S S MI N S T E R L T D. A ND O T H E RS R E S P O N D E N T                                                  S

           [ On a p p e a l fr o m R E GI N A V . I N L A N D R E V E N U E C O M MI S SI O N E R S ,
                         E x p art e R O S S MI N S T E R L T D . A N D O T H E R S ]

   1 9 7 9 J ul y 3 0 , 3 1; A u g. 1 E v el ei g                            h L.J., P ark a nd           W o olf J J . „
             A u g . 1 3 , 1 4, 1 5 , 1 6 L or                                d D e n ni n g      M. R. , Br o w n e
                                                                                               a n d G of f L.JJ .
            O ct . 2 9, 3 0, 3 1; L or                            d Wil b erf or c e, Vis c o u n t Dil h or n e ,
            D e c . 1 3 L or                        d Di pl o c k , L ord S al m o n a n d L ord S c ar m a n

                   R e v e n u e — S e ar c h, ri g ht of — S e ar c h w arr a nt — R e v e n u e's s us pi ci o n Q
                           of t a x fr a u d — W arr a nts n ot p arti c ul arisi n g off e n c e— W h et h er
                           v ali d — S eiz ur e of d o c u m e nts — W h et h er r e v e n u e t o dis cl os e
                           f a cts o n w hi c h r e as o n a bl e c a us e f or s eiz ur e b as e d— W h et h er
                           s eiz ur e l a wf ul — T a x es M a n a g e m e nt A ct 1 9 7 0 ( c . 9) , s. 2 0 C
                           ( 1) ( 3) ( as s u bstit ut e d b y Fi n a n c e A ct 1 9 7 6 ( c. 4 0), S c h. 6)
                              S e cti o n 2 0 C o f t h e T a x e s M a n a g e m e n t A c t 1 9 7 0 , a s
                         a m e n d e d , pr o vi d es : „
                                " ( 1) I f t h e a p pr o pri at e j u di ci a l a ut h orit y i s s atisfi e d o n "
   . . i nf or m ati o                          n o n o at h gi v e n , b y, a n office r o f t h e b o ar d
                                t h at —( a) t h er e i s r e as o n a ble gr o u nd f o r s us p e cti n g t h at an
                                offe nc e i n v ol vi n g a n y f or m o f fr a u d i n c o n n e cti o n wit h ,
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                                                                                                                             953
          A. C . R e g                          . v. I. R. C., Ex p. R oss mi nst er ( D. C. )
    . o                 r in r el ati on t o , t ax h as b e en c o m mitt e d a n d t h at e vi d e n c e
A     o                 f i t i s t o b e f o u n d o n pr e mi s e s s p e cifi e d i n t h e
                     i nf or m ati o n; . . . t h e a ut h ority m a y i s s ue a w arr a n t i n
                     writi n g a ut h ori si n g a n offi c er . . . t o e nt e r t h e pr e mi s e s,
                     if n e c e s s ar y b y f or c e , a t a ny ti me wit hi n 1 4 d a ys fr o m
                     t he ti m e o f i s s u e o f t h e w arr a nt, a n d s e ar ch t h e m . . .
                     ( 3) O n e nt eri ng t h e pr e mi s es wit h a w arr a n t u n d e r t hi s
                     s e cti o n , t h e offi c er m a y s ei ze a n d r e m o ve a n y t hi n gs w h at -
                     s o e v e r f o u n d t h er e w hi c h h e h a s r e a s o n a bl e c a u s e t o
 " b eli e v                    e m a y be r e q uir ed a s e vi d e n ce f o r t he p ur p o s e s of
                     pr o c e e di n g s i n r e s p e ct o f s u ch a n off e n ce a s is m e nti o n ed
                     in s u b s e cti on ( 1) a b o ve . . ."
                   S u s p e cti n g t h a t s o m e t a x fr a u d h a d b e e n c o m mitt e d , a
             s e ni o r r e v e n u e offi c e r pl a c e d i nf or m ati o n b ef or e a cir c ui t
             j u d ge o n J ul y 1 2 , 1 9 7 9, a nd o bt ai n e d s e ar c h w arr a nt s f o r
             n a m e d r e v e n u e offi c er s t o s e ar ch s p e cifi e d pr e mi s e s a n d s ei ze
Q a n yt hi n             g w hi c h t h e y h a d r e a s o n a ble c a u s e t o b eli e ve mi g h t be
             r e q uir ed a s e vi d e n ce i n pr o c e e di n gs i n r e s p e ct o f a t ax fr a u d ,
             in a c c or d a n c e wit h s e cti o n 2 0 C of t he T a x es M a n a g e m e n t A c t
             1 9 7 0 a s a m e n d e d. A t 7 a. m. on Fri d a y, J ul y 1 3 , 1 9 7 9, t e a ms
             o f r e v e n u e offi c er s a c c o m p a ni e d b y p oli ce offi c er s arri v e d a t
             t he pr e mi s e s , i n cl u di n g t h o s e o f t h e a p pli c a nt s, a n d h a vi n g
             g ai n e d e ntr y , s e ar c h e d t h o s e pr e mi s e s . T h e y s ei z e d a n yt hi n g
             w hi c h t h e y cl ai m e d t h a t t h e y h a d r e a s o n a ble c a u s e t o b eli e v e
j ) mi g h            t b e r e q uir ed a s e vi d e n c e o f a t a x fr a u d, b u t t h ey did
             n o t i nf or m t h e a p pli c a nts o f t he off e n c es s u s p e ct e d o r of t h e
             p er s o n s s u s p e ct e d o f h a vi ng c o m mitt e d t h e m . I n a d diti o n, t he
             w arr a n t c o nt ai n e d n o s u ch p arti c ul ar s . T h e a p pli c a nts a p pli e d
             to t h e Q u e e n' s B e n c h Di vi si o n a l C o ur t f o r j u di ci a l r e vi e w ,
             s e e ki n g , i nt e r ali a , a n or d er o f c erti or ar i t o q u a sh t h e s e ar ch
             w arr a nt s a n d a d e cl ar ati o n t h a t t h e r e v e n ue offi c er s w er e n ot
             e ntitl e d t o r e m o v e t h e d o c u m e nts s ei z e d a n d w ere b o u n d t o
 E d eli v e           r t h e m u p t o t h e a p pli c a nt s . T h e Di vi si o n a l C o ur t
             r ef u s ed t h e a p pli c ati o ns o n t he gr o u nd t h a t t h er e h a d b e en no
             a b u s e of p o w er b y t he r e v e n u e. T h e C o urt of A p p e al r e v er s e d
             t h at d e ci si o n a nd gr a nt ed a f ull d e cl ar ati o n .
                   O n a p p e al by t he r e v e n u e: —
                   H el d, all o wi n g t h e a p p e al, ( 1 ) ( L or d S al m o n di s s e nti n g )
             t h at t h e w arr a nt s, w hi c h c o nf err e d t h e p o w er t o e nt e r a nd
 p s e ar c           h pr e mi s e s , r e g ar dl e s s o f t h ei r o w n er s hi p , w er e stri ctl y
             a n d e x a ctl y wit hi n t h e a ut h orit y o f s e cti on 2 0 C ( 1) a nd u n d e r
             t h em t h e o c c u p a nts h a d n o ri g ht t o be t old a t t h at st a g e w h a t
             off e n c e s w er e all e g e d t o h a v e b e e n c o m mitt e d , w h o w er e
             all e g e d t o h a ve c o m mitt e d t h e m o r t he " r e a s o n a ble gr o u n d "
             w hi c h t h e j u d ge w a s s atisfi ed e xi st e d f o r s u s p e cti n g t h a t a n
             off e n c e i n v ol vi n g fr a u d r el ati n g t o t ax h ad b e en c o m mitt e d
               ( p o st, p p . 9 9 8 G — 9 9 9 B , 1 0 0 0 B , 1 0 0 5 G —      1 0 0 6 B, 1 0 0 9 D - E , 1 0 1 0 A - B ,
_ 1020 G                 , 1 0 2 3 C- D , 1 0 2 4 c , E - F , 1 0 2 6 B- D) .
" P er                       c uri a m. I t i s d e sir a bl e t o i n cl u d e i n a w arr a n t i s s u e d
               u n d e r s e cti o n 2 0 C a r e cit al of t he e s s e nti al f a c t t h a t t h e j u di ci al
               a ut h orit y i s s atisfi ed hi m s el f t h a t t h er e ar e r e a s o n a ble gr o u n d s
               f or s u s p e cti n g t h a t a t a x fr a ud h a s b e en c o m mitt e d ( p o st ,
                p p . I O O O A- B , 1 0 0 4 F - G , 1 0 0 9 F — 1 0 1 0 A , 1 0 2 4 E ) . P e r     L o r d S al m o n
            di s s e nti n g . W a r r a nt s li k e t h e pr e s e nt a r e i n v alid b e c a u s e t h e y
            r e cite o nly t h at an i nf or m ati on h a s b e en l aid on o ath b ef ore t he
IT cir c ui            t j u d ge ( p o st, p. 1 0 1 9 F - C ) .
                   ( 2) T h a t u n d e r s e cti o n 2 0 C ( 3) t he e xi st e n ce of " r e a s o n a ble
            c a u s e t o b eli e ve " t h at a n y t hi n gs f o u n d o n t he pr e mi s es mi g h t
            b e r e q uir e d a s e vi d e n c e f o r t he p ur p o s es o f pr o c e e di n g s i n
            r e s p e ct o f t he s u s p e ct e d off e n c e s w a s a q u e sti o n o f f a ct t o b e
                                                                                                 A. C . 1 9 8 0 — 3 7
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   954
                                R e g . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0                       ]
                          tri ed o n e vi d e n c e a n d o n t h e q u esti o n w h et h e r s u c h a b eli e f
                          e xist e d i n r es p e c t o f i n di vi d u a l d o c u m e nt s s ei z e d t h e e vi d e n ce   A
                          f ell s h ort o f s u p p orti n g t he fi n al d e cl ar ati o n w hi c h al o n e c o uld
                          b e gr a nt ed a g ai ns t t he Cr o wn ( p ost , p p. I O O O C- D , F- G, 1 0 0 6 H —
                          1 0 0 7 A , 1 0 1 3 F — 1 0 1 4 A , 1 0 2 1 B- D , 1 0 2 6 A- B) .
                               P er L or d Wil b erf or c e a n d L or d Di pl o c k . W h e n cri mi n a l
                         pr o c e e di n g s ar e o v er , or , wit hi n a r e as o n a bl e ti m e , ar e n o t
                         t a k e n, t he i m m u nit y w hi c h e xists a t t he st a ge of i niti a l i n v esti-
                         g ati o n wil l l a ps e; t h e n t h e r e v e n u e w o ul d h a v e to m a k e g o o d _
                         a n d s p e cif y t h e e xist e n c e a n d c a us e o f t h ei r b eli e f t h a t t hi n g s "
                         r e m o v ed mi g h t b e r e q uir e d f o r t h e p ur p os e s o f t a x fr a u d
                         pr o c e e di n g s i f a n a cti o n w er e br o u g ht a g ai ns t t h e r e v e n ue f o r
                         e x c es s of p o w e r a nd tr es p ass ( p ost , p p . 1 0 0 1 A- B , 1 0 1 2 D- F) .
                               D e cisi o n o f t h e C o urt o f A p p e al , p ost , p . 9 6 8 D , e t s e q. ,
                         r e v ers e d.

         T h e f oll o wi n g c as e s w er e r ef err e d t o i n t h ei r L or ds hi ps ' o pi ni o n s i n t h e Q
                 H o us e of L or d s:
         Br o o m e v . C ass ell & C o. Lt d. [ 1 9 7 2 ] A. C . 1 0 2 7 ; [ 1 9 7 2 ] 2 W. L. R. 6 4 5 ;
                  [ 1 9 7 2] 1 All E. R. 8 0 1, H. L.( E.).
         C hi c F as hi o ns ( W est W al es) Lt d. v . J o n es [ 1 9 6 8 ] 2 Q. B . 2 9 9; [ 1 9 6 8 ] 2
                 W. L. R . 2 0 1; [ 1 9 6 8 ] 1 All E. R. 2 2 9, C. A.
         C o n w a y v . Ri m m er [ 1 9 6 8 ] A. C . 9 1 0 ; [ 1 9 6 8 ] 2 W. L. R . 9 9 8 ; [ 1 9 6 8 ] 1
                 Al l E. R. 8 7 4, H. L.( E.). D
         D. v . N ati o n al S o ci et y f or t h e Pr e v e nti o n of Cr u elt y t o C hil dr e n [ 1 9 7 8 ]
                 A. C . 1 7 1 ; [ 1 9 7 7 ] 2 W. L. R. 2 0 1 ; [ 1 9 7 7 ] 1 All E. R . 5 8 9 , H. L.( E.).
         E nti c k v . C arri n gt o n ( 1 7 6 5) 2 Wils. 2 7 5; 1 9 St ate Tr . 1 0 2 9 .
         H o m e v . B e nti n c k ( 1 8 2 0) 2 Br o d. & Bi n g. 1 3 0.
         H u c kl e v. M o n e y ( 1 7 6 3 ) 2 Wils. 2 0 5.
         I nt er n ati o n al G e n er al El e ctri c C o m p a n y of N e w Y or k Lt d. v . C ust o ms
                 a n d E x cis e C o m missi o n ers [ 1 9 6 2 ] C h . 7 8 4 ; [ 1 9 6 2 ] 3 W. L. R . 2 0 ; h
               «[ 1 9 6 2 ] 2 All E. R. 3 9 8, C. A.
         Li v ersi d g e v. A n d ers o n [ 1 9 4 2 ] A. C . 2 0 6; [ 1 9 4 1 ] 3 All E. R. 3 3 8 , H. L.( E.).
         N a k k u d a Ali v. J a y ar at n e [ 1 9 5 1] A. C . 6 6, P. C.
         R e x v. Wil k es ( 1 7 6 3) 2 Wils. 1 5 1.
         R o o k es v . B ar n ar d [ 1 9 6 4 ] A. C . 1 1 2 9 ; [ 1 9 6 4 ] 2 W. L. R. 2 6 9 ; [ 1 9 6 4 ] 1
                 Al l E. R. 3 6 7, H. L.( E.).                                                                        F

         T h e f oll o wi n g a d diti o n a l c as e s w er e cit e d i n ar g u m e n t i n t h e H o us e o f
                L or d s :
         Ass o ci at e d Pr o vi n ci al Pi ct ur e H o us es Lt d. v . W e d n es b ur y C or p or ati o n
                 [ 1 9 4 8] 1 K. B. 2 2 3; [ 1 9 4 7 ] 2 All E. R. 6 8 0, C. A.
         El e k o v. G o v er n m e nt of Ni g eri a [ 1 9 3 1] A. C . 6 6 2, P. C.
         J o n es v. G er m a n [ 1 8 9 6 ] 2 Q. B . 4 1 8; [ 1 8 9 7 ] 1 Q. B. 3 7 4 , C. A. G
         Mi nist er of N ati o n al R e v e n u e v . Wri g hts' C a n a di a n R o p es Lt d. [ 1 9 4 7 ]
                 A. C . 1 0 9 , P. C.
         N or w est H oist Lt d. v . S e cr et ar y of St at e f or Tr a d e [ 1 9 7 8 ] C h . 2 0 1 ;
                  [ 1 9 7 8] 3 W. L. R. 7 3 ; [ 1 9 7 8 ] 3 All E. R. 2 8 0 , F ost er J . a n d C. A .
         P a dfi el d v. Mi nist er of A gri c ult ur e, Fis h eri es a n d F o o d [ 1 9 6 8 ] A. C . 9 9 7;
                  [ 1 9 6 8] 2 W. L. R. 9 2 4 ; [ 1 9 6 8 ] 1 All E. R . 6 9 4 , C. A. a n d H. L.( E.) .
         P arr y- J o n es v. L a w S o ci et y [ 1 9 6 9 ] 1 C h. 1; [ 1 9 6 8 ] 2 W. L. R. 3 9 7 ; [ 1 9 6 8 ] H
                 1 All E. R. 1 7 7, C. A.
         R e g. v . G o v er n or of Bri xt o n Pris o n, E x p art e A hs a n [ 1 9 6 9 ] 2 Q. B. 2 2 2;
                 [ 1 9 6 9] 2 W. L. R. 6 1 8; [ 1 9 6 9 ] 2 All E. R. 3 4 7, D. C.
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                                                                                                               955
     A. C . R e g                          . v. I. R. C., Ex p. R oss mi nst er ( D. C. )
 . R e g.             v . L e w es J usti c es, E x p art e S e cr et ar y of St at e f or t h e H o m e D e p art-
A m e nt                     [ 1 9 7 3 ] A. C . 3 8 8; [ 1 9 7 2 ] 3 W. L. R. 2 7 9; [ 1 9 7 2 ] 2 All E. R. 1 0 5 7,
                   H. L.( E.) .
            R e g. v . S e cr et ar y of St at e f or H o m e Aff airs, E x p art e H os e n b all [ 1 9 7 7 ]
                    1 W. L. R. 7 6 6 ; [ 1 9 7 7 ] 3 All E. R. 4 5 2 , C. A.
            R e g. v . W est L o n d o n M etr o p olit a n Sti p e n di ar y M a gistr at e, E x p art e
                   Kl a h n [ 1 9 7 9 ] 1 W. L. R. 9 3 3 ; [ 1 9 7 9 ] 2 Al l E. R . 2 2 1 , D. C.
            R e x v . F ul h a m, H a m m ers mit h a n d K e nsi n gt o n R e nt Tri b u n al, E x p art e
 B Z er e k                   [ 1 9 5 1 ] 2 K. B. 1; [ 1 9 5 1 ] 1 All E. R. 4 8 2, D. C.
            Wil o v er N o mi n e es Lt d. v. I nl a n d R e v e n u e C o m missi o n ers [ 1 9 7 4] 1 W. L. R.
                    1 3 4 2 ; [ 1 9 7 4 ] 3 All E. R. 4 9 6, C. A.
           T h e f oll o wi n g c as e s ar e r ef err e d t o i n t h e j u d g m e nt s o f t h e C o ur t o f
                   A p p e al :
            C hi c F as hi o ns ( W est W al es) Lt d. v . J o n es [ 1 9 6 8 ] 2 Q. B . 2 9 9; [ 1 9 6 8 ] 2
C   W. L. R                   . 2 0 1 ; [ 1 9 6 8 ] 1 Al l E. R . 2 2 9 , C. A .
           C hristi e v. L e a c hi ns k y [ 1 9 4 7 ] A. C . 5 7 3 ; [ 1 9 4 7 ] 1 All E. R . 5 6 7 , H. L.( E.).
           E nti c k v . C arri n gt o n ( 1 7 6 5 ) 2 Wils . 2 7 5.
            G h a ni v . J o n es [ 1 9 7 0 ] 1 Q. B . 6 9 3 ; [ 1 9 6 9 ] 3 W. L. R . 1 1 5 8 ; [ 1 9 6 9 ] 3 Al l
                    E. R . 1 7 0 0 , C. A.
            H u c kl e v. M o n e y ( 1 7 6 3 ) 2 Wils. 2 0 5.
            I nt er n ati o n al G e n er al El e ctri c C o m p a n y of N e w Y or k Lt d. v. C ust o ms a n d
D E x cis e                     C o m missi o n ers [ 1 9 6 2 ] C h . 7 8 4; [ 1 9 6 2 ] 3 W. L. R. 2 0 ; [ 1 9 6 2 ]
                    2 All E R 3 9 8 C A
            Li v ersi d g e v. A n d ers o n [ 1 9 4 2 ] A. C . 2 0 6; [ 1 9 4 1 ] 3 All E. R. 3 3 8 , H. L.( E.).
            M al o n e v . M etr o p olit a n P oli c e C o m missi o n er [ 1 9 8 0 ] Q. B . 4 9 ; [ 1 9 7 8 ] 3
                     W. L. R . 9 3 6 ; [ 1 9 7 9 ] 1 All E. R. 2 5 6 , C. A.
            N a k k u d a All v . J a y ar at n e [ 1 9 5 1] A. C . 6 6 , P. C.
            P a dfi el d v. Mi nist er of A gri c ult ur e, Fis h eri es a n d F o o d [ 1 9 6 8 ] A. C . 9 9 7;
 E [1968                    ] 2 W. L. R . 9 2 4 ; [ 1 9 6 8 ] 1 All E. R . 6 9 4 , C. A . a n d H. L.( E.) .
            R e g. v . H u ds o n [ 1 9 5 6 ] 2 Q. B . 2 5 2 ; [ 1 9 5 6 ] 2 W. L. R. 9 1 4 ; [ 1 9 5 6 ] 1 All
                    E. R . 8 1 4 , C C A .
            R e x v. Wil k es ( 1 7 6 3) 2 Wils. 1 5 1.
           S e cr et ar y of St at e f or E d u c ati o n a n d S ci e n c e v. T a m esi d e M etr o p olit a n
                    B or o u g h C o u n cil [ 1 9 7 7 ] A. C . 1 0 1 4 ; [ 1 9 7 6 ] 3 W. L. R . 6 4 1 ; [ 1 9 7 6 ]
                    3 Al l E. R . 6 6 5 , C. A . a n d H. L.( E.) .
            Wil o v er N o mi n e es Lt d. v . I nl a n d R e v e n u e C o m missi o n ers [ 1 9 7 4 ] 1
                    W. L. R . 1 3 4 2 ; [ 1 9 7 4 ] 3 Al l E. R . 4 9 6 , C. A .
          T h e f oll o wi n g a d diti o n a l c as e s w ere cit ed in ar g u m e nt b ef or e t h e C o urt of
                 A p p e al :
          D. v . N ati o n al S o ci et y f or t h e Pr e v e nti o n of Cr u elt y t o C hil dr e n [ 1 9 7 8 ]
G A. C                   . 1 7 1 ; [ 1 9 7 7 ] 2 W. L. R . 2 0 1 ; [ 1 9 7 7 ] 1 All E. R . 5 8 9 , H. L.( E.) .
          I nl a n d R e v e n u e C o m missi o n ers v . Pl u m m er [ 1 9 7 9 ] C h . 6 3 ; [ 1 9 7 8 ] 3
                 W. L. R . 4 5 9 ; [ 1 9 7 8 ] 3 Al l E. R . 5 1 3 , C. A.
          J effr e y v. Bl a c k [ 1 9 7 8 ] Q. B . 4 9 0; [ 1 9 7 7 ] 3 W. L. R. 8 9 5 ; [ 1 9 7 8 ] 1 All E. R.
                  5 5 5 , D. C .
          N or w est H oist Lt d. v . S e cr et ar y of St at e f or Tr a d e [ 1 9 7 8] C h. 2 0 1; [ 1 9 7 8]
                 3 W. L. R. 7 3; [ 1 9 7 8 ] 3 All E. R. 2 8 0, F ost er J. a nd C. A.
H P e arl b er g             v. V art y [ 1 9 7 2 ] 1 W. L. R. 5 3 4 ; [ 1 9 7 2 ] 2 All E. R . 6 , H. L.( E.).
          R e g. v . L e w es J usti c es, E x p art e S e cr et ar y of St at e f or t h e H o m e D e p art-
                 m e nt [ 1 9 7 3 ] A. C. 3 8 8 ; [ 1 9 7 2 ] 3 W. L. R. 2 7 9 ; [ 1 9 7 2 ] 2 All E. R . 1 0 5 7 ,
                 H. L.( E.) .
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   956
                                R e g . v . I. R. C. , E x p . R o s s mi n st e r ( D. C. ) [ 1 9 8 0                 ]
         R e g. v . P at el ( 1 9 7 3 ) 4 8 T. C . 6 4 7 , C. A . .
         R e g. v . S e cr et ar y of St at e f or H o m e Aff airs, E x p art e H os e n b all [ 1 9 7 7 ]
                  1 W. L. R . 7 6 6 ; [ 1 9 7 7 ] 3 Al l E. R . 4 5 2 , D. C . a n d C. A .
         R e g. v . W est L o n d o n M etr o p olit a n Sti p e n di ar y   M a gistr at e, E x p art e Kl a h n
                   [ 1 9 7 9] 1 W. L. R. 9 3 3; [ 1 9 7 9 ] 2 All E. R. 2 2 1, D. C.
         Tr u m a n ( Fr a n k) E x p ort Lt d. v . M etr o p olit a n P oli c e C o m missi o n er [ 1 9 7 7 ]
                  Q. B . 9 5 2; [ 1 9 7 7 ] 3 W. L. R. 2 5 7 ; [ 1 9 7 7 ] 3 All E. R. 4 3 1.
          V est e y v . I nl a n d R e v e n u e C o m missi o n ers [ 1 9 7 9 ] C h . 1 7 7 ; [ 1 9 7 8 ] 2 g
                 W. L. R . 1 3 6 ; [ 1 9 7 7 ] 3 Al l E. R . 1 0 7 3 .

         T h e f oll o wi n g c a s e is r ef err ed t o i n t h e j u d g m e n t o f t h e Di vi si o n a l C o u rt :
         R e g. v . S e cr et ar y of St at e f or H o m e Aff airs, E x p art e H os e n b all [ 1 9 7 7 ] 1
                W. L. R . 7 6 6 ; [ 1 9 7 7 ] 3 Al l E. R . 4 5 2 , D. C . a n d C. A .

         T h e f oll o wi n g a d diti o n a l c a s e s w er e cit e d i n ar g u m e n t b ef or e t h e C
                  Di vi si o n a l C o u rt :
         As h b urt o n ( L or d) v . P a p e [ 1 9 1 3 ] 2 C h. 4 6 9, C. A.
         C hi c F as hi o ns ( W est W al es) Lt d. v . J o n es [ 1 9 6 8 ] 2 Q. B . 2 9 9 ; [ 1 9 6 8 ] 2
                  W. L. R . 2 0 1 ; [ 1 9 6 8 ] 1 Al l E. R . 2 2 9 , C. A .
         D. v . N ati o n al S o ci et y f or t h e Pr e v e nti o n of Cr u elt y t o C hil dr e n [ 1 9 7 8 ]
                  A. C . 1 7 1 ; [ 1 9 7 7 ] 2 W. L. R . 2 0 1 ; [ 1 9 7 7 ] 1 Al l E. R . 5 8 9 , H. L.( E.) .
         M al o n e v . M etr o p olit a n P oli c e         C o m missi o n er [ 1 9 8 0 ] Q. B . 4 9 ; [ 1 9 7 8 ] 3     D
                  W. L. R . 9 3 6 ; [ 1 9 7 9 ] 1 All E. R . 2 5 6 , C. A .
         N a k k u d a Ali v . J a y ar at n e [ 1 9 5 1 ] A. C . 6 6, P. C.
         N or w est H oist Lt d. v . S e cr et ar y of St at e f or Tr a d e [ 1 9 7 8 ] C h . 2 0 1 ; [ 1 9 7 8 ]
                  3 W. L. R . 7 3 ; [ 1 9 7 8 ] 3 Al l E. R . 2 8 0 , F o st e r J . a n d C. A .
         P e arl b er g v . V art y [ 1 9 7 2 ] 1 W. L. R. 5 3 4 ; [ 1 9 7 2 ] 2 Al l E. R . 6 , H. L.( E.) .
         R e g. v . L e w es J usti c es, E x p art e S e cr et ar y of St at e f or t h e H o m e D e p art- p
                  m e nt [ 1 9 7 3 ] A. C . 3 8 8 ; [ 1 9 7 2 ] 3 W. L. R . 2 7 9 ; [ 1 9 7 2 ] 2 Al l E. R . 1 0 5 7 ,
                  H. L.( E.) .
         R e g. v . P at el ( 1 9 7 3 ) 4 8 T. C . 6 4 7 , C. A .
         R e g. V . W est L o n d o n M etr o p olit a n Sti p e n di ar y         M a gistr at e, E x p art e Kl a h n
                   [ 1 9 7 9] 1 W. L. R . 9 3 3 ; [ 1 9 7 9 ] 2 Al l E. R . 2 2 1 , D. C .
          S e cr et ar y of St at e f or E d u c ati o n a n d S ci e n c e v . T a m esi d e M etr o p olit a n
                   B or o u g h C o u n cil [ 1 9 7 7 ] A. C . 1 0 1 4 ; [ 1 9 7 6 ] 3 W. L. R . 6 4 1 ; [ 1 9 7 6 ] 3         F
                   Al l E. R . 6 6 5 , C. A . a n d H. L.( E.) .                                                               r
          S e cr et ar y of St at e f or E m pl o y m e nt v . A S L E F [ 1 9 7 2 ] 2 Q. B. 4 4 3; [ 1 9 7 2 ] 2
                   W. L. R . 1 3 6 2 ; [ 1 9 7 2 ] I. C. R . 7 ; [ 1 9 7 2 ] 2 Al l E. R . 8 5 3 , N.I. R. C .
          Tr u m a n ( Fr a n k) E x p ort Lt d. v . M etr o p olit a n P oli c e C o m missi o n er [ 1 9 7 7 ]
                   Q. B . 9 5 2; [ 1 9 7 7 ] 3 W. L. R. 2 5 7 ; [ 1 9 7 7 ] 3 All E. R. 4 3 1.
          Wil o v er N o mi n e es Lt d. v . I nl a n d R e v e n u e C o m missi o n ers [ 1 9 7 4 ] 1 W. L. R.
                   1 3 4 2 ; [ 1 9 7 4 ] 3 Al l E. R . 4 9 6 , C. A .
                                                                                                                           CJ
         A P P LI C A TI O N  f o r j u di ci a l r e vi e w .
         B y n oti c e o f m oti o n o f J ul y 1 8 , 1 9 7 9 , p urs u a n t t o l e a v e o f t h e
   Di visi o n a l C o ur t o f t h e Q u e e n' s B e n c h Di visi o n gi v e n o n J ul y 1 7 , 1 9 7 9,
   t he a p pli c a nts, R oss mi nst er Lt d., A. J. R. Fi n a n ci al S er vi c es Lt d., R o n ald
   A nt h o n y Pl u m m e r a n d R o y Cliff or d T u c k er , a p pli e d f o r j u di ci a l r e vi e w ,
   s e e ki n g, i nt e r ali a , a n or d e r o f c erti or ar i t o q u as h t h e s e ar c h w arr a nt s J J
   iss u ed in r es p e ct o f t he a p pli c a nts' pr e mis es by J u d ge L e o n ar d, C o m m o n
   S erj e a n t o f t h e City of L o n d o n , on J uly 1 2 , 1 9 7 9, a nd a d e cl ar ati on t h at
   t he r e v e n ue officers w ere n ot e ntitl ed to r e m o ve a nd w ere b o u nd to d eli v er
  Case 1:22-cr-00673-LAK Document 138-7 Filed 05/08/23 Page 7 of 77
                                                                                                           957
    A. C . R e g                    . v . I J d. C , E x p . R oss mi nst e r ( D. C. )
. u p to t h e a p pli c a nts al l d o c u m e nts a n d ot h e r t hi n g s f o u nd a t a n d t a k e n
   fr om t h e a p pli c a nts ' pr e mis e s a n d al l c o pi e s t h er e of. I n it s fi n a l a gr e e d
   f orm " o u g ht" w as s u bstit ut ed f or " b o u nd to " in t he d e cl ar ati o n.
         T h e f a ct s ar e st at e d i n t h e j u d g m e nt s o f E v el ei g h L.J . a n d L or d
   D e n ni n g M. R .

       A n dr e w B at es o n Q. C. a nd Mi c h a el T u g e n d h at f or t h e a p pli c a nts .
B Bri a n        D a v e n p ort f or t h e r e v e n u e .

          E V E L EI G H L.J. T hi s a p pli c ati on c o n c er ns t he s e ar ch f or d o c u m e nts a nd
    t he s ei z ur e o f d o c u m e nt s a t f o u r differe n t pr e mis es , w h e n t h e r e v e n u e
    p ur p ort e d t o a ct u n d e r s e cti o n 2 0 C o f t h e T a x e s M a n a g e m e nt A c t 1 9 7 0 ,
    a s a m e n d ed b y S c h e d ul e 6 to t he Fi n a n ce A ct 1 9 7 6 . T h e y h ad o bt ai n e d
Q w arr a nt s r el ati n g t o e a c h o f t h e pr e mis es , a n d a s t h e y ar e i n t h e s a m e
    f orm i t is s ufficie nt t o r e ad o n e of t h e m. T h e y w ere all o bt ai n e d o n t h e
    a ut h orit y o f J u d g e L e o n ar d , sitti n g a t t h e C e ntr a l Cri mi n a l C o urt . T h e
    d o c u m e n t i s h e a d ed " S e ar ch W arr a nt." I t i s a d dr ess ed to
            " R a y m o nd Q ui nl a n , a n d to t he p ers o ns n a m e d i n t he first s c h e d ule
            a n n e x e d t o t hi s w arr a nt . Officer s o f t h e B o ar d o f I nl a n d R e v e n u e .
            I nf or m ati on o n o at h h a vi n g b e e n l ai d t hi s d a y b y R a y m o n d
D Q ui nl a             n i n a c c or d a n c e wit h t h e pr o visi o n s o f s e cti o n 2 0 C o f
            t he T a x e s M a n a g e m e n t A c t 1 9 7 0 st ati n g t h a t t h er e i s r e as o n a bl e
            gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n v ol vi n g fr a u d i n c o n n e cti o n
            wit h o r i n r el ati o n t o t a x h a s b e e n c o m mitt e d , a n d t h a t e vi d e n c e
            o f it is to be f o u nd o n t he pr e mis es d es cri b ed in t he s e c o nd s c h e d ul e
            a n n e x e d h er et o . Y o u ar e h er e by a ut h oris e d , to e nt e r t h os e pr e mis es,
 E t o g et h e          r wit h al l o r a n y o f t h e officer s o f t h e B o ar d o f I nl a n d
             R e v e n u e n a m e d i n t h e firs t s c h e d ul e h er et o a n d t o g et h e r wit h s u c h
             c o nst a bl e s a s y o u m a y r e q uir e , i f n e c ess ar y b y f or c e , a t a n y ti m e
             wit hi n 1 4 d a y s fr o m t h e ti m e o f iss u e o f t hi s w arr a nt , a n d s e ar c h
             t h e m; a n d o n e nt eri n g t h os e pr e mis e s wit h t hi s w arr a n t y o u m a y
             s ei ze a nd r e m o v e a ny t hi n gs w h ats o e v er f o u n d t h er e w hi ch y ou h a ve
 F r e as o n a bl          e c a us e t o b eli e v e m a y b e r e q uir e d a s e vi d e n c e f o r t h e
             p ur p os e s of pr o c e e di n gs in r es p e ct o f s u ch an off e n c e. "
           A p pli c ati o n h a s b e e n m a d e t o t hi s c o ur t f o r c erti or ar i t o q u as h t h e
     w arr a n t o n t h e gr o u nd t h a t i t w a s i m pr o p erly iss u e d , t h a t t h e j u d g e di d
     n o t o r c o ul d n o t h a v e pr o p erl y e x er cis e d hi s dis cr eti o n i n r el ati o n t o
     it, a n d t h a t i t i s b a d o n t h e f a c e o f it , b e c a us e i t l a c k s p arti c ul arit y .
G A p pli c ati o n is also m a de f or m a n d a m us f or a d e cl ar ati on a nd f or d a m a g es,
     al l o n t h e gr o u n ds o f a b us e of p o w e r b y t h e r e v e n u e.
           It i s n o t n e c ess ar y t o st at e t h e pr e cis e r eli e f cl ai m e d i n t h e m oti o n .
     I n d e e d, s o m e o f t h e m att er s i n r es p e c t o f w hi c h r eli e f i s pr a y e d , f o r
     e x a m pl e , a c c es s t o t h e d o c u m e nts , h a v e b e e n r es ol v e d b y m ut u a l a gr e e -
     m e n t b y t h e p arti es , b ut g e n er all y s p e a ki n g w h a t t hi s c o ur t i s c o n c er n e d
T T i s t o d e ci d e w h et h e r t h e d o c u m e nt s w er e la wf ull y t a k e n o r n ot , a n d
     w h et h e r t h e r e v e n u e e x c e e d e d t h ei r p o w e r i n s ei zi n g t h e m.
            S e cti o n 2 0 C o f t h e T a x e s M a n a g e m e n t A c t 1 9 7 0 , i n s o f a r a s i t i s
      r el e v a nt, r e a d s :
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   E v el ei g h L. J . R e g       . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0               ]
          " ( 1) I f t h e a p pr o pri at e j u di ci a l a ut h orit y i s satisfie d o n i nf or m ati o n .
          o n o at h gi ven by an officer o f t he b o ard t h at —( a) t h ere is r e as o n a ble
          gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n v ol vi n g a n y f or m o f fr a u d
          in c o n n e cti on wit h, or in r el ati on t o, t ax h as b e en c o m mitt ed a nd t h at
          e vi d e n c e of it is to be f o u nd o n pr e mis es s pecified i n t he i nf or m ati o n ;
          a n d ( b) " — w hi ch is n ot r el e v a nt f or t hi s p ur p os e —" . .. t h e a ut h ority
          m a y iss u e a w arr a n t i n writi ng a ut h orisi ng a n office r o f t h e b o ard t o
          e nt e r t h e pr e mis es, if n e c ess ar y b y f or c e, a t a n y ti m e wit hin 1 4 d a ys B
          fr om t h e ti me o f iss u e of t h e w arr a nt, a nd s e ar c h t h em ( 3               ) On
          e nt eri n g t h e pr e mis e s wit h a w arr a n t u n d e r s e cti o n , t h e office r m a y
          seize a n d r e m o v e a n y t hi n g s w h ats o e v e r f o u n d t h er e w hi c h h e h a s
          r e as o n a ble c a us e t o b eli e v e m a y b e r e q uir e d a s e vi d e n c e f o r t h e
          p ur p os e s o f pr o c e e di n gs in r es p e ct of s u c h an offe nce a s is m e nti o n ed
          in s u bs e cti on ( 1) a b o v e...."
   T h er e t h e n f oll o w s u bs e cti o n ( 4 ) a n d s u bs e cti o n ( 5 ) w hi c h r es p e cti v el y
   d e a l with t he pr o visi on of a list a nd a c c ess to t he d o c u m e nts.
         It i s c o nt e n d e d o n b e h al f o f t h e a p pli c a n t t h a t t h e r e v e n u e m us t
   s pecify a p arti c ul a r offe nc e w h e n a p pl yi n g f o r t h e w arr a nt t o t h e cir c ui t
   j u d ge w h o i s t h e j u di ci a l a ut h orit y f o r t h e p ur p os e s o f t h e s e cti o n , a n d
   f urt h er, t h a t t h e w arr a n t its el f m us t pr es cri b e t h a t offe nce , a n d t h a t t h e       ^
   w arr a n t m us t s pecif y t h e d o c u m e nt s w hi c h ar e s ei z a bl e o r d es cri b e t h em
   wit h s o m e p arti c ul arit y w hi c h r el at e s t h e m t o t h e offe nce . I t i s als o
   c o nt e n d e d t h a t s u bs e cti o n ( 3 ) p er mits s ei z ur e o nl y o f d o c u m e nt s t h a t ar e
   li mit ed to b ei ng e vi d e n ce of t he offe nce w hi c h it is s aid h as to be s pecifie d
   w h e n a p pli c ati o n i s m a de f or t h e w arr a nt.
         It i s f urt h er s u b mitt e d t h a t w he n t he s ei z ur e is c h all e n g e d, o r alt er n a -
   ti v ely i f a pri m a f a ci e c as e of irr e g ul arit y i s s h o w n , t h en i t i s i n c u m b e nt      E
   u p o n t h e r e v e n u e t o j ustif y t h ei r b e h a vi o ur , a n d j ustifi c ati o n i n v ol v e s
   gi vi n g d et ails of t h e offe nce a n d of t h e " r e as o n a ble c a use " f o r t he b eli ef.
   S o , it i s s ai d , j ustifi c ati o n i n v ol v e s st ati n g t h e offe nce , st ati n g t h e belief ,
   a n d t h e c a us e f o r it .
         Fi n all y , i t i s s u b mitt e d i n t hi s c as e t h a t s h o ul d i t b e t h a t aft e r t h e
   d o c u m e nt s h a ve b e en seize d t h ose w hi ch are a d mitt ed t o h a ve b e en s ei z ed               p
   wr o n gf ull y ar e r et ur n e d, n o n e t he l ess t he w h ole s ei z ure is b a d, a nd if al l
   o f t h e d o c u m e nt s ar e r et ur n e d , n o c o pi e s m a y b e k e p t b y t h e r e v e n u e ,
   b e c a us e t h e y wil l b e . c o pi es t h a t h a v e b e e n o bt ai n e d a s a r es ul t o f a
   s ei z ure w hi ch t a k en as a w h ol e, is its elf b a d .
         T h e r e v e n u e see k t o a ns w e r t h os e c o nt e nti o n s b y s a yi n g t h a t al l t h a t
   is n e c ess ar y i s t o s atisf y t h e j u d g e t h a t t h er e ar e gr o u n d s t o s us p e c t
   t h at s o m e offe nce o r ot h e r i n v ol vi ng fr a ud a g ai ns t t h e r e v e n u e h as b e en          G
   c o m mitt e d . F urt h er , t h e y c o nt e n d t h a t o n a pr o p e r c o nstr u cti o n o f s u b -
   s e cti on ( 3 ) t h e r e v e n u e c a n s ei z e a n yt hi n g w hi c h mi g h t b e e vi d e n c e o f
   a n y offe nc e o f t h e ki nd r ef err e d t o in s u bs e cti o n ( 1).
         It i s f urt h e r s ai d t h a t o n c e t h e j u d g e i s s atisfi e d o f t h e gr o u n d s f o r
   s us pi ci on t h er e i s n o n e c essit y t o t el l t h e a p pli c a n t o f t h e n at ur e o f t h e
   offe nce , a n d n o n e c essit y t o t el l t h e a p pli c a n t w h a t t h e gr o u n d s ar e . I t        JJ
   h a s f urt h e r b e e n s u b mitt e d o n b e h al f o f t h e r e v e n u e t h a t i f t h e y ar e
   c all e d u p o n t o j ustif y t h e s ei z ur e a b ar e ass erti o n o f t h e w or d s i n s u b -
   s e cti on ( 3) is in l aw e n o u g h, n a m el y, it is e n o u gh to d e p ose t h at t h ey h a ve
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                                                                                                              959
      A. C . R e g                     . v . I. R. C. , Ex p . R oss mi nst e r ( D. C. ) E v el ei g      h L J.
      r e as o n a ble c a us e t o b eli e v e t h a t t h e d o c u m e nt s m a y b e r e q uir e d a s
      e vi d e n c e f or t h e p ur p os es o f pr o c e e di n gs , et c.
             It i s s ai d t h a t a l a ck o f d et ai l is j ustifi ed i n t his t y pe o f c as e b e c a us e
      t h ese ar e n o t cri mi n a l pr o c e e di n gs . T h e y ar e pr eli mi n ar y st a g es , w hic h
       m a y r es ult i n cri mi n a l pr o c e e di n gs , a n d t o d es c e nd t o d et ai l w o ul d i n all
      pr o b a bilit y i n v ol v e t he dis cl os ur e of t he n a m es or n a me of t h e i nf or m a nt s
       o r a n i nf or m a nt . I t i s f urt h e r ar g u e d t h a t s e cti o n 2 0 C ( 3 ) gi v e s t h e
B    officer s w h o are c o n d u cti ng t he s e ar ch an u nf ett er ed dis cr eti o n , as I u n d er-
       st a nd t h e ar g u m e nt , t h a t t h ei r ass erti o n o f a b eli e f a n d r e as o n a bl e c a us e
       is e n o u g h . T hi s c o ur t w a s r ef err e d t o t h e wel l k n o w n c as e o f R e g. v .
       S e cr et ar y of St at e f or H o m e Aff airs, E x p art e H os e n b att [ 1 9 7 7] 1 W. L. R.
       7 6 6 . I t is to be n ot e d, h o w e v er, t h at t he w or ds of t he A ct with w hi ch t h at
       c as e w as c o n c er n ed ar e n o t t he s a me as t he w or ds of t he T a x es M a n a g e-
       m e n t A ct 1 9 7 0, s e cti on 2 0 C.
C     F urt h er         , it w as ar g u ed by Mr. D a v e n p ort on b e h alf o f t he r e v e n ue t h at
       in a ny e v e nt t h ese affi da vits w er e n ot as li mit ed as t he a p pli c a nts c o nt e n d,
       a n d t h a t t h e y di d i n f a c t dis cl os e s ufficie n t t o a ns w e r t h e c as e t h a t w a s
       r ais ed a g ai ns t hi m .
              I t ur n t o c o nsi d e r t h e effec t o f s e cti o n 2 0 C . I n d oi n g s o, it s e e m s to
        m e t h at t h e m e a ni ng o f t he t wo s u bs e cti o ns with w hi ch we are c o n c er n ed
£>   i s to be o bt ai n ed by r e a di ng t he w h ole of t he s e cti o n, a nd t h at h elp on t he
        c o nstr u cti o n of s u bs e cti o n ( 1 ) is to be o bt ai n ed fr om r e a di ng s u bs e cti on ( 3)
        a n d vi c e v ers a . D oi n g t h at , w h a t d o e s o n e fi n d ? N o t t h a t t h e c o ur t
        h a s t o b e satisfie d t h a t a n offe nc e h a s b e e n c o m mitt e d b y a p arti c ul a r
        p ers o n , b u t t h a t t h er e i s r e as o n a bl e gr o u n d f o r a s us pi ci o n , a n d t h a t
        s us pi ci on h a s t o b e t h a t a n offe nc e h a s b e e n c o m mitt e d , b u t t h e n at ur e
        o f t he offe nce i s n ot s pecifie d. I t is wi dely d es cri b e d, n a m el y, o ne i n v ol vi ng
E     a n y f orm o f fr a ud i n c o n n e cti on wit h, " or in r el ati on t o, t ax . . ."
              I d o n o t r e g ar d t h a t s u bs e cti o n a s gi vi n g , a s i t w er e , b y d es cri pti o n
        a c at al o g u e o f offe nces . W h a t i t i s d oi n g i s defi ni n g t h e n at ur e o f t h e
        s us pi ci on w hi c h , i f s u p p ort e d b y r e as o n a bl e gr o u n d f o r it , wil l e ntitl e
        t his a p pli c ati o n f o r t h e w arr a nt t o b e m a d e.
              I t h e n t urn t o s u bs e cti on ( 3) . A g ai n , t he w or ds us ed in s u bs e cti on ( 3 )
p    ar e g e n er al , i f o n e r e a d s t h e m , r el ati n g b a c k a s t h e y d o t o t h e w or d s of
        s u bs e cti on ( 1) . S u bs e cti o n ( 3 ) d o e s n o t sa y t h a t t h e y m a y s ei z e a n d
        r e m o ve a n yt hi n g w hi c h t h e office r h a s r e as o n a bl e c a us e t o b eli e v e m ay
        b e r e q uir e d a s e vi d e n c e f o r t h e offe nc e f o r w hi c h a p pli c ati o n f o r t h e
        w arr a n t w a s m a d e , o r a n y s u c h s pecifi c w or ds . T h e r ef er e n c e b a c k t o
        s u bs e cti on ( 1) is, in my o pi ni o n, q uite g e n er al a nd n ot s el e cti v e. W h a t t he
       e vi d e n c e h as to r el ate to is " s u ch an offe nce a s is m e nti o n ed i n s u bs e cti on
G    ( 1 ) " —in ot h e r w or ds , an offe nc e i n v ol vi n g a n y f orm o f fr a u d i n c o n n e c-
        ti on wit h o r in r el ati on t o t a x.
              T h er e ar e m a n y p ossi bl e offe nce s i n t h e cri mi n al c al e n d a r w hi c h will
        c o v e r fr a u d ul e n t a cti vit y , a n d i n my o pi ni o n i t is e n o u g h , o n a n a p pli c a -
        ti on f o r a w arr a nt , t o s h o w t h a t t h er e ar e gr o u n d s f o r s us p e cti n g fr a u d
        w hi c h w o uld f all u n d e r t he h e a di ng o f o ne or ot h er o f t he offe nces i n t he
JJ   cri mi n a l c al e n d ar . W hi c h p arti c ul a r offe nc e mi g h t b e s el e ct e d w o ul d
        d e p e n d o n t he m a n n er o f t he p er p etr ati on o f t h e fr a u d, a n d a s t he w h ole
        s e cti on i s i niti at e d b y s us pi ci o n o nl y , I d o n o t t hi n k t h a t t h e l e gisl at ur e
        i nt e n d ed t h a t p arti c ul a r offe nc e t o b e n a m e d o r s pecifie d a t t h a t st a g e .
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    960
    E v el ei g h L J . R e g     . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0            ]
   T h er ef or e , i t see m s t o m e t h a t t h e r e v e n u e i n a p pl yi n g f o r a w arr a n t
   o f t hi s n at ur e m us t r el y u p o n a s us pi ci o n o f fr a u d a g ai ns t t h e r e v e n u e
   w hi c h c a n c o m e u n d er t h e h e a di n g o f s o m e s pecific offe nce , b u t i t is n ot
   n e c ess ar y f o r t h e m t o el e c t w hi c h o n e . I n s o f a r a s s u bs e cti o n ( 3 ) i s
   c o n c er n e d , I h a v e s ai d e n o u g h t o i n di c at e t h a t i n m y vie w i t i s n o t
   li mit ed t o a n y p arti c ul a r cri mi n a l offe nce , pr o vi d e d i t r el at es t o t h at ki n d
   o f offe nc e a s i s s pecifie d i n s u bs e cti o n ( 1) .
          T h a t b ei n g s o , t h e n e x t q u esti o n aris e s a s t o t he n at ur e o f t h e belie f B
   wit h w hi ch we are c o n c er n e d. O n t he o ne h a n d, it c an be s aid t h a t t h er e
   m us t b e a belief t h a t t h e d o c u m e nt i n q u esti o n i s e vi d e n c e o f a cri mi n a l
   offe nce , a nd t h at t he p hr ase " m ay be r e q uir ed " r el at es o nly to t he c h a n c es
   o f t h at d o c u m e n t w hi ch is e vi d e n ce b ei ng a ct u ally us ed in t he pr o c e e di n gs.
   T h a t ar g u m e n t w o ul d o f c o urs e n e c essit at e "r e as o n a bl e c a u s e " b ei n g
   s h o wn f or a c o n cl usi o n t h a t t h e d o c u m e n t o r d o c u m e nt s i n q u esti o n w a s
   o r w er e e vi d e n c e.
          O n t h e ot h e r h a n d , i t i s s ai d a t t h e ot h e r e xtr e m e t h a t al l t h a t i s
   n e c ess ar y i s t h a t t h e office r s h o ul d b eli e v e t h a t t h e d o c u m e nt s s ei z e d
   mi g h t pr o vi d e s o m e e vi d e n ce w hi c h c o ul d b e us e d , o r mi g ht b e r e q uir e d.
   T h os e are t he e xtr e m es of t he c o nt e nti o ns h er e.
          In d e ci di n g w h a t i s t h e c orr e c t a p pr o a c h I first o f al l c o n cl u d e t h a t
   t he pr o c e e di n g s r ef err e d t o i n s u bs e cti o n ( 3 ) ar e cri mi n a l pr o c e e di n gs , D
   a n d I u n d erst a n d t h a t Mr . D a v e n p or t d o e s n o t c o nt es t t h at . T h e
   e vi d e n c e r ef err e d t o wil l b e e vi d e n c e t h a t i s r e c ei v a bl e i n e vi d e n c e i n a
   c o urt . T h a t o nl y bri n gs u s to t h e r e al n ub o f t h e pr o bl e m .
          B e ari n g in mi n d, as I s a y, t h at t he w h ole s e cti on is b as ed on s us pi ci o n,
   b e ari n g in mi nd t h at s u bs e cti on ( 3 ) is, as I r e ad it, br o a dly dr a w n, b e ari ng
   in mi n d t h a t i t m a y wel l b e t h a t n o s pecifi c offe nc e h a s y e t b e e n d et er -
   mi n e d u p o n by t he r e v e n u e, I h a ve c o me to t he c o n cl usi on t h at an officer ^
   is e ntitl e d t o s a y : " I b eli e v e t h a t t hi s d o c u m e n t i s o n e w hi c h c o ul d
   aff ord e vi d e n c e o f a n offe nc e i n v ol vi n g fr a u d, " a n d c o ns e q u e ntl y c a n
   r e a ch t h e c o n cl usi on t h a t it m ay be r e q uir ed a s e vi d e n ce f or t h e p ur p os es
   o f pr o c e e di n gs .
          T hi s a p pr o a c h wil l n ot, in m y vi e w, p er mit wil d s p e c ul ati o n . Firs t of
   all , alt h o u g h t h e s u bs e cti o n d o e s n o t s pecificall y sa y s o , I t hi n k i t i s p
   n e c ess ar y t h at t h ere s h o uld be a belief, an a ct u al belief s h o ul d e xist . T h e
   m er e e xist e n c e o f t h e gr o u n d s f o r belie f wil l n o t b e e n o u g h . C o ns e -
    q u e ntl y , t h e office r i s r e q uir ed t o go t hr o u gh a m e nt al pr o c es s a nd i s n ot
    e ntitl e d t o s n at c h d o c u m e nt s will y- nill y. A s I s a y , wild s p e c ul ati o n a s t o
    t he r e m ot e p ossi bilit y o f a d o c u m e n t b ei n g us e d i n e vi d e n c e w o ul d n o t
    m e e t t h e t est . O n e h a s t o r e a d t h e st at e m e n t o f t h a t w hi c h i s b eli e v e d
    wit h t h e r e q uir e m e n t t h a t t h er e h a v e t o b e r e as o n a bl e gr o u n ds , a n d i t G
    f oll o ws t h a t t h e belie f m us t b e b as e d o n t h os e r e as o n a bl e gr o u n ds , s o
    t h ere m us t b e r e as o n a bl e gr o u n d s f o r t h e belie f f or m e d a s to t h e n at ur e
    o f t h e d o c u m e nts .
           If i t c a n b e s h o w n t h a t t h e d o c u m e nt s w er e seize d i n s u c h a h urr y
    t h at n o p ossi bl e c o nsi d er ati o n o f t h ei r v al u e c o ul d h a v e b e e n gi v e n ,
    cl e arl y i t wil l n o t b e p ossi bl e , i n m y o pi ni o n , f o r t h e r e v e n u e t o cl ai m J J
    t he pr ot e cti o n o f s u bs e cti o n ( 3) . I t m a y w el l b e , d e p e n di n g u p o n t h e
    f a cts o f e a c h p arti c ul a r c as e , t h a t a n a p pli c a n t n e e d n o t p u t hi s c as e as
   hi g h a s t h at .
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                                                                                                            961
     A X . Re g                      . v. I. R. C., Ex p. R oss mi nsl er ( D. C. ) E v el ei g           h L J.
           T h e n o n e h a s t o c o nsi d e r w h a t ki n d o f e vi d e n c e i t i s n e c ess ar y t o
     a d d u c e b ef ore a c o urt t o s h ow t he e xist e n ce of t h a t belie f w hi c h satisfie s
     t he r e q uir e m e n t f o r t h e e x er cis e o f t h e s ei z ur e u n d e r s u bs e cti o n ( 3) ; to
     w h a t e xt e n t m us t t h e gr o u n d s b e d et ail e d ; a n d w h o h as t o pr o v e t h e
     e xist e n c e o f t h os e gr o u n ds ?
           In a p pr o a c hi n g t h a t q u esti o n , it is i m p ort a nt t o b e ar in mi nd t h a t we
     ar e n ot c o n c er n ed wit h a ci vil cl aim f or t he r et urn of t he d o c u m e nts. I n
B s u c h a c as e it mi g h t wel l be t h at al l t he a p pli c a nt h a s to do is to all e ge
     t h at t h e d o c u m e nts h a ve b e en t a k e n wit h o u t hi s p er missi o n. T hi s w o ul d
     r e q uire a d ef e n c e , a n d t h e d ef e n c e mi g h t wel l r e a d : " T h e d o c u m e nt s
     w er e t a k e n b y a n office r a cti n g u n d e r a w arr a nt , t h a t office r h a vi n g
     r e as o n a ble c a us e t o b eli e v e, " et c. , et c . I n t h e pl e a di n g t h e p arti c ul a r
     gr o u n d s f o r t h e b eli e f w o ul d n o t h a v e t o b e s pecifie d a t t h a t p oi nt ,
     b e c a us e l o o k ed at as a pl e a di ng t h ere w o uld be a d ef e n ce in l aw dis cl os e d,
*-" b u t if t h e d ef e n d a nt w er e as k ed f o r f urt h e r a n d b ett er p arti c ul ar s o f t he
     gr o u n d s o f his belief I a p pr e h e n d t h a t h e w o uld h a v e t o gi ve t h e m, a nd
     t h ose gr o u n d s f o r belie f w o ul d b e i n v esti g at e d a t t h e tri a l a n d w o ul d
     b e t est ed in cr oss- e x a mi n ati o n .
           B u t w e are n ot c o n c er n e d wit h a cl ai m f or t h e r et urn o f d o c u m e nts .
     W e ar e c o n c er n e d wit h a n all e g ati o n o f a n a b us e o f e x e c uti v e p o w er ,
D s o it is t he a b use o f p o w e r t h a t h a s to be d e m o nstr at ed t o t his c o urt. I
     w o ul d n o t a c c e p t t h e ar g u m e nt , i f I u n d erst o o d i t ri g htl y , t h a t t h e
     r e v e n ue s h o ul d n e v e r d es c e n d t o d et ai l o f t h ei r r e as o n a bl e c a us e , on t he
     gr o u n d s t h at t o do so w o uld al m os t c ert ai nl y m e an r e v e ali n g t he n a me of
     a n i nf or m er o r ot h er i nf or m ati o n w hi c h mi g ht be usef ul t o a p ers on w ho
     k n o w s hi s affair s ar e a b o u t t o b e i n v esti g at e d . I d o n ot t hi n k t h a t t h e
     r e v e n ue are e ntitl ed to cl aim s u ch a wi de pri vil e ge as t h at. I t s e e ms to me
 E t h a t w h at t h ey h a ve to dis cl ose will d e p e nd on t he c ase t h at is m a de a g ai nst
     t h e m. C o ns e q u e ntl y , e a c h c as e will d e p e nd u p o n its o wn f a cts a n d u p on
      its p arti c ul a r pr es e nt ati o n .
            T h a t b ei n g my view of t he l a w, w h at is t he r es ult in t he pr es e nt c as e ?
     In s o f ar a s t he w arr a n t i s c o n c er n e d , w e do n ot k n o w w h a t e vi d e n c e
     w a s gi v e n o n o at h t o t h e j u d g e . W h a t w e d o k n o w i s t h a t i t wa s
 p s ufficie n t t o satisf y hi m t h a t a w arr a n t s h o ul d iss u e . I s e e no gr o u n d s
     in t hi s c as e w h ats o e v e r f o r c o n cl u di n g t h a t h e a ct e d u p o n a n y wr o n g
     pri n ci pl e . T h a t c o n cl usi o n I w o ul d h a v e r e a c h ed i n a ny e v e nt, w h at e v e r
     h a d b e e n m y o pi ni o n a s to t h e n e c essity f o r a n offe nc e t o b e s pecifie d .
     T h er e si m pl y is n ot t he e vi d e n c e in t hi s c ase to e n a bl e t his c o ur t t o s ay
     t h at t h e j u d ge e x er cis e d hi s dis cr eti o n i m pr o p erl y .
           T h e d es cri pti o n o f t h e d o c u m e nts i n t h e w arr a nt i t is tr u e i s a wi de
G o n e , a nd s o t o o ar e t h e i ntr o d u ct or y w or d s o f t h e w arr a nt . I d o n ot
     r e g ard t h a t a s a n y d ef e c t i n t h e w arr a nt . T h e w arr a n t i s t h e k e y
     to t h e o p e ni ng o f t h e d o or t o a p o w e r t h a t i s gr a nt ed b y s u bs e cti on ( 3)
     a n d , a s s u bs e cti on ( 3 ) on t h e c o nstr u cti on I h a v e gi ve n i t gi v e s a wi d e
     p o w e r o f s ei z ur e , t h er e c a n be no li mit ed d es cri pti o n o f t h e d o c u m e nts,
     ot h e r t h a n in t he w or ds of t he s u bs e cti on its elf, in t he w arr a nt. F o r t he
J J w arr a n t t o li mit t h e d es cri pti o n i n t er m s ot h e r t h a n t h os e w hi c h a p p e a r
     in i t w o ul d t a k e a w a y t h e p o w e r w hi c h i s gr a nt e d u n d e r t h e A c t b y
      s u bs e cti on ( 3) . W h e n t h e officer s e nt e r a n d s u bs e q u e ntl y s ei z e a n d r e-
     m o v e , t h ei r p o w e r i s d eri v ed fr o m t h e s u bs e cti o n its elf , al b ei t a s I s a y ,
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    962
    E v el ei g h L. J . R e g       . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0                ]
     t he w arr a n t o p e n s t h e wa y f o r t h e r e v e n u e t o i n v o k e t h a t s u bs e cti o n ,       v
    I t h er ef or e s e e no gr o u n d f o r c h all e n gi n g t h e v ali dit y o f t h e w arr a nt .
          N o w I t ur n t o c o nsi d e r t h e s ufficie nc y o f t h e affi da vit s f o r t h ei r p ur -
    p os e , a n d I s p e cifi c all y d o n o t s a y "f o r t h e p ur p os e o f est a blis hi n g
    w h et h e r t he r e v e n ue h ad r e as o n a ble c a use to b eli e v e." I h a ve to c o nsi d er
    t h ose affi da vits a s o n e d o es in pr o c e e di n gs f or j u di ci a l r e vi e w, as t h ey are
    r e ad i n t hi s c o urt . T h a t i s t h e e vi d e n c e u p o n w hi c h t hi s c o ur t h a s t o
    pr o c e e d , a n d t h at i s t he e vi d e n ce u p on w hi c h t his c o urt h as to c o me to a              B
    c o n cl usi o n w h et h e r o r n o t t h er e h a s b e e n a n a b us e o f t h e e x e c uti v e
    p o w ers . A t t h e e n d o f t h e d a y t h e c o ur t h a s t o as k itsel f t h a t si m pl e
    q u esti o n .
          N o w , w h at ar e t he f a cts a s r e v e al ed i n t he affi d a vits? I will, of c o urs e,
    h a v e t o s u m m aris e t h os e . I t a m o u nt s t o t his , t h at o n J ul y 1 3 , 1 9 7 9, t he
    I nl a nd R e v e n u e S p e ci a l I n v esti g ati o n s S e cti o n , s u p p ort e d b y p oli c e           _ ,
    officers , w e n t to f o ur differe n t pr e mis es . T h e y w e nt t o N ettl est e ad Pl a c e ,
    n e a r M ai dst o n e, w hi ch is t he h o me of Mr. T u c k er. H e is a F ell ow of t he
    I nstit ute o f C h art er e d A c c o u nt a nts , a n d h e st at e s t h a t o n t h e m or ni n g
    o f Fri d a y , J ul y 1 3 , w hen h e w a s i n G u er ns e y o n b usi n ess , a t 7. 3 0 a. m .
    h e r e c ei v e d a t el e p h o n e c al l fr om hi s wif e t h a t t h e r e v e n u e h a d e nt er e d
    t he h o us e. T h e affi da vit e vi d e n c e is to t he effect t h a t t h er e w as a h urri ed
    c oll e cti o n o f d o c u m e nts , a n d all e g ati o n s ar e m a d e t o t h e effec t t h a t a            D
    n u m b e r o f d o c u m e nt s w er e t a k e n wit h o u t e x a mi n ati o n , a n d t h a t d o c u -
    m e nt s w hi c h w er e o r w hi c h m us t b e irr el e v a n t t o t h e p ur p os e w er e
    t a k e n. I t w as cl ai m ed t h at b a nk st at e m e nt s r el ati ng to st u d e nts w ho li v ed
    a t t h e h o us e w er e t a k e n . H o w e v er , i n a n affi da vi t b y t h e r e v e n u e i t i s
    s aid t h at t h ose b a nk st at e m e nts w ere n ot t a k e n. T h e e n v el o p es c o nt ai ni ng
    t h em w ere o p e n e d b u t t h e st at e m e nts w ere t h en l eft w h er e t h ey w er e .                      p
          It i s all e g e d f urt h e r t h a t p a p er s b el o n gi n g t o t h e d e p o n e nt' s br ot h e r
    w er e r e m o v e d fr o m t h e atti c , t h e br ot h e r b ei n g a m a n w h o w a s i n
    V e n e z u el a . F urt h er m or e , i t i s s ai d t h e d e p o n e nt' s p ass p or t h a d b e e n
    t a k e n.
          T h er e i s als o a n affi da vi t o f a Mr . Pl u m m er . H e i s t h e m a n a gi n g
    dir e ct o r o f R oss mi nst e r Lt d . H e i s a c h art er e d a c c o u nt a n t a n d a
    F ell o w of t h e I nstit ute o f T a x ati o n . H e s a ys t h at R oss mi nst e r i s a b a n k,              F
    i n c or p or at ed i n 1 9 7 8 in E n gl a n d, b ei ng a s u bsi di ary of R oss mi nst er Gr o up
    Lt d . He s a ys:
             " Ot h er c o m p a ni e s w hi ch are or w ere c o ntr oll ed by t he s a me p ers o ns
             a s t h ose c o ntr olli ng R oss mi nst e r h a v e b e en i n v ol v e d i n i m pl e m e nti n g
            l e g al t a x a v oi d a n c e s c h e m es . T h es e h a v e al w a ys b e e n a p pr o v e d b y
             c o u ns el , b ut i n a n u m b e r o f c as e s t h e y h a v e b e e n c h all e n g e d i n t h e     &
             c o urts. "
    T h e R oss mi nst er B a n k o c c asi o n all y pr o vi d e s l o a ns in t he or di n ary c o urs e
    o f it s b a n ki ng b usi n ess to c ust o m ers w ho r e q uire t h em in c o n n e cti on with
    s u ch s c h e m es . H e t h e n st at e s t h a t a t 7 a. m. o n t h e m or ni n g o f Fri d a y ,
    J uly 1 3 , 1 9 7 9 , he w a s a t h o m e w h e n a n office r o f t h e r e v e n u e c a m e t o
    e x e c ut e t h e w arr a nt . H e s a ys : "                                                                            •
            " T h e y w e n t t o m y fili n g c a bi n e t a n d r e m o v e d a l ar g e n u m b e r o f
            fil es a nd m a d e a lis t o f t h os e w hi c h t h e y pr o p os e d t o t a k e . I sa w
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                                                                                                            963
     A. C . R e g                    . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) E v el ei g      h L. J .
 . t he          m l o o k o nl y a t t h e n a m e s o n t h e fil es. I di d n o t s e e t h e m
            e x a mi ni n g t h e c o nt e nts . I as k e d t o c h e c k t h e lis t a n d I w a s n o t
            all o w e d t o d o s o . T h e n t h e y w e n t t o t h e s af e a n d t o o k b uil di n g
            s o ci ety p ass b o o ks , m y c hil dr e n' s p ass p ort s a n d a n u m b e r o f c h e q u e
            b o o k s b el o n gi n g t o m y c hil dr e n . T h e n t h e y w e n t t o m y b e dr o o m
            w h er e I h a d a s uit c as e c o nt ai ni n g t hi n g s t h a t I h a d i nt e n d e d t o t a k e
            to G u er ns e y . T h e y r e m o v e d a b u n dl e o f p a p er s m ostl y r el ati n g t o
B    m         y m ot h er w ho li v es in G u er ns ey a nd my p ers o n al aff airs. T h e y did
            n o t r e ad t he p a p ers. T h e y t h en s e ar c h ed t he h o use a nd t o ok p ers o n al
            p a p er s o f m y wif e . T w o o f t h e b u n dl e s t h e y t o o k i n cl u d e d c o pi e s
            o f fi n a n ci a l n e ws p a p er s a n d si mil a r p u bli c ati o ns . I di d n ot s ee t h em
            r e ad a n y d o c u m e n t b ef or e t h e y t o o k it. "
      H e t h e n st at e s t h a t h e w e n t o n t o 1 , H a n o v e r S q u ar e , t h e pr e mis e s o f
 C R oss mi nst e r Lt d. , a n d arri v e d a t a b o u t 1 0 a. m. T h er e w er e officer s o f
      t he r e v e n u e a n d t h e p oli ce t h er e . H e s ai d h e st a y e d u nti l 1 2 n o o n, a n d
      d uri n g t h a t ti m e h e sa w t h a t t h e officer s w er e r e m o vi n g l ar g e q u a ntiti e s
      o f d o c u m e nts . " I di d n o t s e e a n y office r p er usi n g a n y d o c u m e nt . T h e
      q u a ntit y o f d o c u m e nt s w a s s o gr e a t t h a t t h e officer s c o ul d n o t h a v e
      p er us e d t h e m b ef or e r e m o vi n g t h e m. " H e pr o d u c e d als o s o m e list s o f
D d o c u m e nt s w hi c h w er e gi v e n to a            Mr . F ull er , t h e offic e m a n a g er , b y t he
      officer s c o n d u cti n g t h e s e ar c h . H e s ai d : " T he officer s h a d cl e ar e d o u t
      t he w h ol e o f m y r o o m , t a ki n g e v e n m y i nt er n a l t el e p h o n e dir e ct or y .
      Mr . C o ys h " — w ho i s also a dir e ct or o f R oss mi nst er — " i nf or m ed m e t h at
      h e sa w ot h e r r o o m s si mil arl y cl e ar e d o ut. "
            T h e c o ur t h a s b e e n i n vit e d t o e x a mi n e t h e lis t o f d o c u m e nt s i n t hi s
      c as e a nd t o n ote t he ti m es at t h e si de of t h os e lists, a nd h as b e en i n vit ed
 E t o c o n cl u d e fr om t h at , t h a t t h er e w as no ti m e to e x a mi n e t h e d o c u m e nt s
      t h er ein list e d . I n m y o pi ni o n t h e c o nt e nti o n t h a t t h er e w a s n o ti m e
      to e x a mi n e al l o f t h e d o c u m e nt s t h er ei n list e d i s wel l f o u n d e d . I t d o e s
      n o t f oll ow fr o m t h at , t h a t n o d o c u m e nt s w er e e x a mi n e d , a n d i t d o e s n o t
      n e c ess aril y f oll o w fr o m t h at , i n m y o pi ni o n , t h a t t h e d o c u m e nt s w er e
      seized will y- nill y .
 p Fo           r e x a m pl e , t he list c o nt ai n s a v ery l ar ge n u m b er o f fil es w hi ch w ere
      s ei z ed o v e r a p eri o d o f a b o u t t w o h o urs . I t i s q uite cl e ar t h a t t h e c o n -
      t e nts o f t h e fil es c o uld n o t h a v e b e en i ns p e ct e d p a g e by p a g e, o r l o o k ed
     a t p a g e b y p a g e , l e t al o n e r e a d , b u t d o e s i t f oll o w fr o m t h at , t h a t n o
     t h o u g ht h a d b e e n gi v e n t o t h e n at ur e o f t h e d o c u m e nt s t h a t w er e b ei ng
      s ei z e d?
            C ert ai nl y t h e affi da vi t e vi d e n c e o f Mr . Pl u m m er — a n d I h a v e n o t
G r ef err e d t o all of it —r ais es a c ase f or a n e x pl a n ati on by t he r e v e n u e. O n
     t he f a c e o f t h os e affi da vit s i t d o e s see m r e as o n a bl e t o i nf e r a h urri e d
     s e ar c h, w h er e t h er e w o ul d n o t h a v e b e e n a n e v al u ati o n o f e v er yt hi n g
     t h at w as t a k e n.
            S o o n e t ur n s t o se e w h a t i s t h e e x pl a n ati o n t h a t h a s b e e n gi v e n .
     Br o a dl y , t h at e x pl a n ati o n c a n b e s u m m aris ed a s f oll o ws: t h er e w as b ei ng
J J c o n d u ct e d a n i n v esti g ati o n , a n d a s a r es ul t o f t h a t i t w a s d e ci d e d t o ask
     f or a w arr a nt; t h a t i nstr u cti o ns w ere gi ven to t h e officers c o n c er n e d a s to
     t he t y pe of d o c u m e nts t h ey s h o uld l o ok f or, a n d t h at w h en t he d o c u m e nts
     w er e seized a gr e at n u m b e r o f t h em w ere e x a mi n ed cl os el y . Ot h er s w ere
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   E v el ei g h L. J . R e g      . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0               ]
   n ot . I t h a s b e en s u b mitt ed i n t his c o urt, t he f a ct t h a t a file is t a k en as a
   fil e d o es n o t n e c ess aril y l e a d t o t h e i nf er e n c e t h a t i t w a s t a k e n wit h o u t
   c o nsi d er ati o n o r t h a t i t w a s n ot p er missi bl e t o t a k e it, b e c a us e it i s s ai d
   t he fil e its elf m a y t ell a st or y, a nd c o ns e q u e ntl y i t is a r el e v a n t d o c u m e n t
   f or t h e p ur p ose o f s ei z ur e .
         Mr . Q ui nl a n , o n e o f H e r M aj est y' s I ns p e ct or s o f T a x es , s a y s t hi s i n
   r e ply t o t he affi da vits o f t h e a p pli c a nts w hi ch h e, Mr. Q ui nl a n, h ad r e a d :
           " l a m a S e ni o r I ns p e ct o r o f T a x e s e m pl o y ed i n t he I nl a nd R e v e n u e        B
          T e c h ni c a l Di visi o n , S p e ci al I n v esti g ati o ns S e cti o n . M y d uti es i n cl u de
          t he i n v esti g ati o n o f t h e a cti viti e s o f w h a t m a y b e c all e d t h e R oss -
          mi nst e r gr o up of c o m p a ni e s a nd t he m a ny tr usts, c o m p a ni es, p art n er-
          s hi ps a n d i n di vi d u al s wit h w h o m t h e R oss mi nst e r gr o u p h a s a cl os e
           r el ati o ns hi p."
   A m o n g t h os e i n di vi d u al s ar e Mr . Pl u m m e r a n d Mr . T u c k er . A m o n g C
   t h ose c o m p a ni e s ar e A . J . R . Fi n a n ci a l S er vi c e s Lt d. , w h os e pr e mis e s
   ( w hi ch I s h o ul d sa y i n p ar e nt h esis , ar e a t St . G e or g e Str e et , a dj a c e n t t o
   H a n o v e r S q u ar e ) w er e als o s e ar c h e d , a n d i n r es p e c t o f w hi c h si mil a r
   e vi d e n c e w as a d d u c ed b y t h e a p pli c a nts . Mr . Q ui nl a n s a ys :
           " D uri ng t he c o urse of my i n v esti g ati o ns I r e a c h ed t he c o n cl usi on t h at
           I h a d gr o u n d f o r s us p e cti n g t h a t offe nce s i n v ol vi n g a f or m o f fr a u d D
           in c o n n e cti o n wit h o r i n r el ati o n t o t a x h a d b e e n c o m mitt e d a n d
           t h at e vi d e n c e o f t h e m w a s t o b e f o u n d a t (i nt e r ali a ) t h e a d dr ess e s
           s et o u t i n t h e n oti c e s of m oti o n h er ei n. "
   H e s a ys di at his t e am c arri ed o u t t he s e ar ch a nd t h at t h ey w ere i nstr u ct ed
   o nl y to s ei ze arti cl es w hi ch t h ey h ad r e as o n a bl e c a use to b eli e ve mi g ht be
   r e q uir ed f or e vi d e n ce f or t he p ur p ose of pr o c e e di n gs in s u ch off e n c es. H e E
   st at ed t h a t h e w a s a t t h e pr e mis e s o f 1 , H a n o v e r S q u ar e al m os t t h e
   w h ol e of t he d ay of J uly 1 3:
           " a nd I v eril y b eli e v e t h a t t h e s ai d i nstr u cti o n s w er e d ul y c arri e d
           o ut . Fr o m ti m e t o ti m e d uri n g t h e s ai d s e ar c h i n di vi d u a l r e v e n u e
           officer s as k e d m e w h et h e r c ert ai n m at eri a l w hi c h t h e y h a d f o u n d
           c a m e i nt o t he s ai d c at e g or y a n d I w o ul d gi v e a r uli n g . D uri n g t h e p
           c o urs e o f t h e d a y a gr e a t m a n y d o c u m e nt s w er e r e m o v e d , b u t I
           v eril y b eli e ve t h at t h e y all fell wit hin my s aid i nstr u cti o ns."
    H e r ef er s t o Mr . Pl u m m er' s affi d a vit , a n d t o Mr . Pl u m m er' s st at e m e n t
    t h at Mr . C o ys h h ad s ai d s o m e officer s o nl y gl a n c e d a t a fe w d o c u m e nt s
    a n d di d n o t r e a d m or e t h a n a h a n df ul. H e s a y s t h at i s n ot a n a c c ur at e
    d es cri pti o n o f w h a t w e n t o n : Q
           " F or e x a m ple d uri ng t he d ay I w e nt t hr o u gh t h e t wo v ol u me s e c uri-
           ti es r e gist e r p a g e b y p a g e wit h t h e m a n a g e r o f R oss mi nst e r sitti n g
           b esi d e m e a nd s el e ct e d o nl y c ert ai n o bj e ct s i n s u ch r e gist er . I w e n t
           t hr o u gh a v ery t hi c k c orr es p o n d e n c e fil e of a Mr. Gl att a n d r el e as e d
           it all . I als o w e n t t hr o u g h al l t h e i n c o mi n g t el e x m ess a g e s a n d t h e
           m a n a g er' s o ut g oi n g p ost, a n d r el e as e d i t all . I c arri e d o u t a s a m pl e u
           c h e c k o f t h e l e d g e r c ar d s a n d m a d e s p e ci a l arr a n g e m e nt s wit h t h e
           m a n a g e r t o h a v e t h e m p h ot o c o pi e d o n t h e pr e mis e s i n or d e r t h a t
           t he ori gi n al s c o ul d r e m ai n . T h es e ar e b u t e x a m pl e s o f s o m e o f t h e
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                                                                                                            965
      A. C . R e g                    . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) E v el ei g    h L. J .
            d et ail e d s e ar c hi n g w hi ch I, a n d I v eril y b eli e v e , ot h er officer s c arri e d
            o u t o n t h e . d ay i n q u esti o n . B u t i n a v er y gr e a t m a n y i nst a n c e s
            files a n d b u n dl e s o f d o c u m e nt s w er e r e m o v e d w h e n t h ei r titl e o r
            s u bj e ct m att e r m a d e i t cl e a r t h a t t h ei r c o nt e nt s w a s s u c h t h a t t h e
            officer s h a d r e as o n a bl e c a us e t o b eli e v e t h a t t h e y mi g h t b e r e q uir e d
            a s e vi d e n c e f o r t h e p ur p os e o f pr o c e e di n gs. "
 BT h er        e i s an affi da vi t fr o m a Mr . R a m a g e , a n i ns p e ct o r o f t a x es . H e
   w e n t to 2 7, R a d n or Pl a c e , L o n d o n, t h e pr e mis es of Mr. Pl u m m er, a nd h e
   s aid h e g a v e hi s t e a m si mil a r i nstr u cti o n s t o t h os e w hi c h Mr . Q ui nl a n
   r ef ers t o . H e s ai d:
          " Alt h o u g h Mr . Pl u m m e r a p p e ar s t o k e e p m a n y b usi n es s p a p er s a t
          hi s h o m e , i t w a s i n al m os t al l c as e s p ossi bl e t o as c ert ai n fr o m t h e
          titl es o f files , or t h e s u bj e ct m att e r o f b u n dl e s o r c at e g ori e s o f d o c u -
^ m e nt          s w h et h er t h e y f ell i nt o t he a b o v e d es cri pti o n, b ut w h er e t h er e
          w a s a n y d o u b t eit h e r I o r o n e o f t h e officer s wit h m e w e n t t hr o u g h
          t he p a p er s i n f urt h e r d et ai l u nti l w e w er e s atisfi e d t h a t t h e y eit h e r
          s h o uld o r n e e d n o t be s ei z e d. "
     T h er e ar e ot h e r affi da vit s t o a si mil ar effect .
£ . T h er        e w a s p u t b ef or e t hi s c o ur t o n t hi s t hir d d a y o f t h e h e ari n g a n
     affi da vit fr o m Mr . D er mit , a n Assist a n t Dir e ct o r i n t h e I nl a n d R e v e n u e
    T e c h ni c a l Di visi on in c h ar ge of S p e ci al I n v esti g ati o ns S e cti o n. Mr . D er mit
    s a ys:
            " T h e s e i n q uiri e s ar e oft e n e xtr e m el y c o m pli c at e d . I v eril y b eli e v e
            t h at i t w o ul d b e gr e atl y d etri m e nt a l t o a n d o bstr u cti v e o f i n q uiri e s
             o f t his n at ure to dis cl ose at t his st a ge t he pr e cise n at ure of t he offe nces
            in r es p e c t o f w hi c h pr o c e e di n g s m a y b e t a k e n a n d i n w hi c h t h e
            d o c u m e nt s s ei z e d m a y b e r e q uir e d a s e vi d e n c e . S u c h dis cl os ur e , in
            m y vi e w, w o uld be h ar mf ul b e c a us e , i nt er ali a, it mi g ht r e v e al to t h ose
            s us p e ct ed o f h a vi n g c o m mitt e d offe nce s n o t o nl y t h a t t h os e p ers o n s
            h a v e b e en i d e ntifi e d b y t h e I nl a nd R e v e n u e , b u t als o t he e xt e nt a n d
            n at ur e of t h e i nf or m ati on i n t he r e v e n u e's p oss essi on c o n c er ni ng s u ch
F offe nces              . I h a v e c ar ef ull y c o nsi d er e d w h et h e r i t i s p ossi bl e t o s a y
            m or e a b o ut t h e n at ure of t h e d etri m e nt r ef err e d t o , o r h ow it w o ul d
            aris e , b u t i n m y o pi ni o n i t w o ul d n o t b e p ossi bl e t o d o s o wit h o ut
            risk o f t h er e b y pr o d u ci n g s u c h d etri m e nt. "
            A s I h a v e s ai d alr e a d y , i n m y vie w a n affi da vi t o f t h a t n at ur e wil l
      n o t al w a ys pr o vi de an a ns w er to t he c o m pl ai nt. I t d e p e n d s on t he n at ure
G o f t h e c o m pl ai n t a n d t h e e vi d e n c e t o s u p p or t it . T h er e m a y wel l b e
      m a n y c as e s w h er e t h e c o ur t wil l itsel f r e q uir e f urt h e r p arti c ul ar s o f t h e
      c a us e f or t h e belief t h a t i s ass ert e d . I t wil l e ntir el y d e p e n d o n t h e view
      t a k en by t he c o urt o f t h e e vi d e n c e t h at i s pr es e nt e d, o r as it i s pr es e nt ed
      b ef or e it .
            I t ur n to c o nsi d er t he n at ure of t he c o nt est in t he pr es e nt c as e a nd t he
J J iss u e b ef or e t hi s c o urt . T h a t iss u e , a s I h a v e s ai d , i s o n e o f a b us e o f
      p o w e r a nd f ail ure to f oll ow t h e pr o c e d ure w hi ch w o uld e ntitle t he r e v e n ue
      to e x er cis e t he p o w er u n d e r s u bs e cti o n ( 3) . T h a t all e g ati o n o f a b us e of
      p o w e r r est s u p o n e vi d e n c e o f a h urri ed s e ar c h , o n e vi d e n c e o f f ail ur e t o
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   E v el ei g h L J . R e g      . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0              ]
   i ns p e ct e v er y d o c u m e nt . I t s e e m s t o m e , l o o ki n g a t t h e e vi d e n c e a s a
   w h ol e , t h a t i t c a n n o t b e s ai d t h a t a n office r c o ul d n o t h a v e r e as o n a bl e
   c a us e f o r hi s belie f si m pl y b e c a us e e v er y d o c u m e n t w a s n o t r e a d . 1
   a m n o t s a yi n g t h a t i n pr o c e e di n g s o f t hi s ki n d i t i s n e c ess ar y f o r t h e
   a p pli c a n t t o s h o w t h a t t h a t c o ul d b e n o gr o u n d s f o r b eli ef , i n t h e wa y
   t h at o n e m e ets t h a t ar g u m e n t w he n o n e c o m e s to c o nsi d e r w h et h e r t h er e
   h a s b e e n a n i m pr o p e r e x er cis e o f dis cr eti o n o r a n i m pr o p e r fi n di n g b y
   t he j usti c e s o n a c as e st at e d . I si m pl y s a y i n t hi s p arti c ul a r c as e t h a t B
   t he e vi d e n c e d o e s n o t s h o w t h a t t h a t c o ul d b e n o pr o p e r c a us e . O f
   c o urs e , if t he e vi d e n ce did s h ow t h at, t he a p pli c a nts' c ase w o uld be str o n g.
         W h a t t h e a p pli c a nts ' e vi d e n c e a m o u nt s t o, as I s a y , is t h at n o t e v er y
   d o c u m e n t w a s r e a d , a nd n o t e ver y d o c u m e nt, a s an i n di vi d u al d o c u m e nt ,
   w a s e x a mi n e d. Fil e s w ere t a k en a s fil es. T h e n o n e h as to l o ok at t h os e
   f a cts, b e ari n g i n mi n d t h e affi da vit s fr o m t h e r e v e n u e . I t s e e m s t o m e
   t h at t h er e c a n wel l b e o c c asi o n s w h e n a gl a n c e a t a d o c u m e n t wil l t el l ^
   a n i n v esti g ati n g office r w h et h e r i t i s t h e ki n d o f d o c u m e n t t h a t h e i s
   e ntitl e d to t a k e. N o o ne c an e x p e ct t h at t h e y s h o uld st ay on t he pr e mis es
   to r e a d t h e w or ds a nd t h e d et ails o f e v er y d o c u m e nt .
         T h er ef or e , i f o n e l o o k s a t t h e c as e i n t h a t li g ht , i s t h e i nf er e n c e t o
   b e dr a w n fr o m al l t hi s e vi d e n c e t h a t t h er e w a s a n a b us e o f p o w er ? I
   d o n ot t hi n k t h a t o n e c an c o me to t h a t c o n cl usi o n . I n s a yi n g t h at, l a m D
   f ar fr o m s a yi n g , a s a p p e ar e d t o b e s u b mitt e d a t o n e st a g e i n ar g u m e nt ,
   t h at t h er e w o ul d , a s a r es ul t o f s u c h a n a p pr o a c h , b e a p o w e r i n t h e
   r e v e n ue t o s ei z e a w h ol e m as s o f d o c u m e nts , u n e x a mi n e d , i n t h e h o p e
   t h at o n e of t h e m mi g h t r e v e a l s o m e v al u a ble e vi d e nti a l i nf or m ati o n . I n -
   d e e d , o n e o nl y h a s t o a p pl y t h e t es t t o s u c h a sit u ati o n t o se e t h a t a n
   ar g u m e n t li k e t h a t b y t h e r e v e n u e is u nt e n a bl e . I f t h e y ar e s e e ki n g o n e
   d o c u m e n t t h o u g h t t o c o nt ain i nf or m ati o n , a n d t h e y t a ke 2 0 , b eli e vi ng t h e ^
   d o c u m e n t t o be o ne of t he 2 0, it also f oll o ws t h a t t h ey s h o uld b eli e ve t h at
    1 9 of t he d o c u m e nts are n ot p er missi ble d o c u m e nts to s ei z e. C o ns e q u e ntl y ,
   in s u ch a c as e, in my o pi ni on it w o uld be t he d uty of t he officer c o n c er n e d
   to s e ar c h u p o n t h e pr e mis e s f o r t h e d o c u m e n t t h a t h e h a s i n mi n d . If ,
   o n t h e ot h e r h a n d , t h e w h ol e 2 0 d o c u m e nt s w er e o f t h e t y p e t h a t f al l
   wit hi n t he d es cri pti on of d o c u m e nt s t h at I h a ve st at ed e arli er in t his j u d g- p
    m e n t t h at w o uld be a n ot h er m att er. H e c o uld t a ke t h em all, b ut he w o uld
    h a v e to h a ve r e as o n a ble c a use to b eli e ve t h at t h ey all mi g ht be r e q uir ed as
    e vi d e n c e f or pr o c e e di n gs .
          A s I h a v e s ai d, I d o n ot fi n d it p ossi bl e to sa y i n t his c as e t h at t h er e
    w a s an a b us e o f p o w er . I t i s s ai d t h a t o n e s h o ul d g o f urt h e r i nt o t h e
    all e g ati o n o f r e as o n a bl e c a us e . O n e s h o ul d as k f o r d et ail s o f t h a t a n d ,
    a s I s a y , i n s o m e c as e s t h a t m a y b e n e c ess ar y b e c a us e t h e e vi d e n c e ^
    a d d u c e d b y t he a p pli c a nt m ay o nly be a ns w er a ble by s u ch d et ail ed i nf or -
    m ati o n c o mi ng fr om t h e r e v e n u e, b ut t h at is n ot, as I s ee it, t his c as e. T h e
    c as e t h at falls to be a ns w er ed is n ot s u ch a c as e. I t h er ef or e w o uld r ef us e
    t h ese a p pli c ati o ns .
          M a y I j us t sa y t his, h o w e v er. I t wa s also s u g g est e d i n ar g u m e nt t h a t
    if s o m e d o c u m e n t w er e i m pr o p erl y s ei z e d , t h e n a s I h a v e alr e a d y st at e d J J
    t he w h ole of t he s ei z ure w as b a d, a nd e v en t h o u gh d o c u m e nts i m pr o p erly
    seized w er e r et ur n e d, o r i f t h e y w er e r et ur n e d, t h e r e v e n ue w o uld n o t b e
    e ntitl e d t o r et ai n c o pi e s o f d o c u m e nt s i m pr o p erl y s ei z e d . I n s o f a r a s
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                                                                                                                967
      A. C . R e g                      . v . I J R. C , E x p . R oss mi nst e r ( D. C. ) E v el el g   h L. J .
  : t h e d o c u m e nt s r et ur n e d ar e i m pr o p erl y s ei z e d , b e c a use t h ey are n ot eli gi-
       bl e d o c u m e nts , i t i s pr o b a bl y ri g h t t o sa y t h a t c o pi e s c o ul d n o t b e
       r et ai n e d. If , h o w e v er , t he d o c u m e nts t h a t h a ve b e en r et ai n ed w er e d o c u-
      m e nt s t h a t w er e o f t h e cl ass t h a t c o ul d h a v e b e e n s ei z e d , b u t h a p p e n t o
      h a v e b e e n i m pr o p erl y s ei z e d , f o r s o m e r e as o n o r a n ot h er — a s I s a y , i t
       d o e s n o t a p pl y i n t hi s c as e —t h e n i n m y o pi ni o n c o pi e s c o ul d ( I sa y
       " c o uld ") b e r et ai n e d.
 B I            a m n o t gi vi n g a j u d g m e n t o n a n y p arti c ul a r cl ai m . I a m m er el y
      st ati ng t h a t o n e c a n n o t ass er t a s a b ald pr o p ositi o n t h a t n o c o pi es c o uld
      b e r et ai n e d i n s u c h a c as e . I n d e e d , I d o n o t t hi n k Mr . B at es o n w a s
      r e ally g oi n g t h a t f ar .
             G e n er all y s p e a ki n g , i t s e e m s t o me t he p ositi on w o ul d b e t his , t h at if
      t he d o c u m e nt s c o ul d h a v e b e e n s ei z e d l a wf ull y , h a d t h e office r gi v e n
£ c o nsi d er ati o n t o t he m att er in t he pr o p er w a y, t h en t h ose d o c u m e nts w hi ch
      h a v e n o w b e e n r et ur n e d c o ul d b e m a d e t h e s u bj e c t o f a n ot h e r s e ar c h
      w arr a n t a n d t h e r e v e n u e c o ul d g o i n a g ai n a n d c oll e c t t h os e v er y d o c u -
      m e nts . I t s e e m s to m e , t h er ef or e, t h a t i f t h e c o pi es t h at ar e r et ai n ed ar e
      c o pi e s of eli gi bl e d o c u m e nts , t h en c o pi e s m ay be k e pt e v e n t h o u g h t h os e
      d o c u m e nt s w ere o bt ai n ed i m pr o p erly in t he first pl a c e.
             T h er e w er e pr o c e e di n g s i n t hi s m att e r i n t h e C h a n c er y Di visi o n .
D T h os e pr o c e e di n gs w ere tr a nsf err ed t o t his c o urt. I w o uld e m p h asis e t h at
      t he j u d g m e n t I h a v e gi v e n , ass u mi n g i t i s c o n c urr e d i n b y P ar k J . a n d
      W o ol f J. , w o ul d n o t b e r es j u di c at a i n s o f a r a s t h e pr o c e e di n g s i n t h e
      C h a n c er y Di visi o n ar e c o n c er n e d , b ut a g ai n I a m i n no p ositi on t o i nfl u -
      e n c e a j u d g e o f t h e C h a n c er y Di visi o n . I o nl y sa y t h a t b e c a us e t h os e
      pr o c e e di n g s h a v e n o w b e e n tr a nsf err e d t o t hi s c o ur t a n d h a v e n o t b e e n
j , pr o c e e d e d wit h a n y f urt h er .

           P A RK    J . I a gr e e .

          W O OL F     J. I    a gr e e .
                                                                 A p pli c ati o ns r ef us e d wit h c osts.
F
          S oli cit ors : R o n e y, Vi n c e nt & C o.; S oli cit or of I nl a n d R e v e n u e.
          APPE A L     fr o m t h e Di visi o n a l C o urt .
           T h e a p pli c a nts a p p e al ed on t he gr o u n ds, i nt er ali a, t h at ( 1) t he Di visi o n al
     C o ur t err ed in c o nstr ui ng s e cti on 2 0C of t he T a x es M a n a g e m e nt A ct 1 9 7 0
     a s a m e n d e d; ( 2) t he c o urt err ed in h ol di ng t h at in a p pl yi ng f or a w arr a nt t he
G officer s di d n o t n e e d t o el e c t a n y p arti c ul a r offe nce ; ( 3 ) t h e c o ur t err e d
     in h ol di n g t h a t s u bs e cti o n ( 3 ) r ef err e d t o e vi d e n c e o f a n y offe nc e o f t h e
     cl as s d es cri b e d i n s u bs e cti o n ( 1 ) a n d n o t o f a s pecifi c offe nc e i d e ntifi e d
     in s u bs e cti o n ( 1) , n a m el y t h e o n e o r m or e w hi c h t h er e w er e r e as o n a bl e
     gr o u n d s f or s us p e cti n g h ad b e en c o m mitt e d; ( 4) t he c o urt err ed in h ol di ng
     t h at t h e y w er e n o t c o n c er n e d wit h a cl ai m f o r t h e r et ur n o f d o c u m e nt s
J J b u t wit h a n all e g ati o n o f a b us e o f p o w e r a n d t h a t t h e o n u s w a s u p o n
     t he a p pli c a nt s t o pr o v e t h e a b us e o f p o w e r a n d n o t u p o n t h e officer s t o
     j ustify t h e s ei z ur e; ( 5) t he c o urt err e d in fi n di ng t h a t t he e vi d e n ce did n o t
     s h ow t h a t officer s di d n o t h a v e r e as o n a bl e c a us e f o r t h e belie f r e q uir e d
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                              R e g . v . I. R. C. , E x p . R oss mi nst e r ( D. C. ) [ 1 9 8 0            ]
   b y t he st at ut e ; ( 6 ) t he c o urt err ed in h ol di ng t h at i t w as n ot n e c ess ary f or .
   t he c o urt t o be s h o wn d et ail s of t h e gr o u n ds o f t h e officers ' belie f o r a n y
   d et ail s o f t h e offe nc e s us p e ct e d ; ( 7 ) t h e c o ur t o u g h t t o h a v e h el d t h a t
   it w as f or t h e p ers o n s w ho h ad seize d t h e d o c u m e nts t o satisf y t h e c o ur t
   t h at t h e y h a d a ct e d i n a c c or d a n c e wit h t h e st at ut or y p o w er s a n d t h e
   j u d g es o u g h t t o h a v e f o u nd t h a t t h e y h a d f ail e d t o d o s o ; ( 8 ) t h e c o ur t
   o u g h t t o h a v e h el d t h a t t h e o c c u pi er s o f t h e pr e mis e s s pecifie d i n t h e
   w arr a n t w ere e ntitl ed to be gi ven in t he w arr a nt an i n di c ati on of t he n at ure B
   o f t h e offe nc e a n d t h e i d e ntit y o f t h e t hi n g s t o b e s ei z e d t o e n a bl e t h e m
   to k n o w t he e x a ct o bj e c t o f t h e s e ar c h a n d t o pr ot e c t t h e ms el v e s a g ai ns t
   a n a b us e o f t h e p o w e r gi ve n b y t h e w arr a n t a n d t h e st at ut e ; a n d ( 9 )
   t he c o ur t o u g h t t o h a v e a p pli e d t h e s a m e pri n ci pl e s a s ar e a p pli c a bl e
   w he n a p o w er of s e ar ch a nd s ei z ure e x er cis ed by t he p oli ce w as c h all e n g ed
   in t h e Hi g h C o ur t n ot wit hst a n di n g t h a t t h e p o w e r h er e i n q u esti o n w a s
   gi ve n t o a n d e x er cis e d b y s er v a nt s o f t h e Cr o w n .

         A n dr e w B at es o n Q. C. a nd Mi c h a el T u g e n d h at f or t h e a p pli c a nts.
         Bri a n D a v e n p ort f or t h e r e v e n u e.

         L O R D D E N NI NG M. R. I t w as a milit ary st yle o p er ati o n. I t w as c arri ed
   o u t b y officer s o f t h e I nl a n d R e v e n u e i n t h ei r w a r a g ai ns t t a x fr a u ds .         D
   Z er o h o u r w a s fi x e d f o r 7 a. m . o n Fri d a y , J ul y 1 3 , 1 9 7 9 . E v er yt hi n g
   w a s hi g hl y s e cr et . T h e ot h e r si d e m us t n o t b e f or e w ar n e d . T h er e w a s
   a bri efi n g sessi o n b ef or e h a n d . S o m e 6 0 officer s o r m or e o f t h e I nl a n d
   R e v e n u e att e n d e d . T h e y w er e gi ve n d et ail e d i nstr u cti o ns . T h e y w er e
   di vi d e d i nt o t e a ms , e a c h wit h a l e a d er . E a c h t e a m h a d a n o bj e cti v e
   all ott e d t o it . I t w a s t o s e ar c h a p arti c ul a r h o us e o r office , m ar k e d , I
   e x p e ct , o n a m a p : a n d t o s ei z e a n y i n cri mi n ati n g d o c u m e nt s f o u n d
   t h er ei n. E a c h t e am l e a d er w as on t he d ay to be h a n d ed a s e ar ch w arr a nt
   a ut h orisi n g hi m a n d hi s t e a m t o e nt e r t h e h o us e o r office . I t w o ul d b e
   e m p o w er e d t o us e f or ce i f n e e d b e . E a c h t e a m w a s t o be a c c o m p a ni e d
   b y a p oli c e officer . S o m eti m e s m or e t h a n o n e . T h e r ol e o f t h e p oli c e
    w a s pr es u m a bly t o b e sil e n t wit n ess es : o r m a y b e to l et i t be k n o wn t h at
    t his w as all d o ne with t he a ut h ority o f t he l a w: a n d t h a t t h e h o us e h ol d er            F
    h a d b ett er n ot r esist — or els e!
          E v er yt hi n g w e nt a c c or di ng to pl a n. O n T h urs d a y, J uly 1 2, Mr. Q ui nl a n,
    t he s e ni o r i ns p e ct o r o f t h e I nl a nd R e v e n u e , w e nt t o t h e C e ntr al Cri mi n a l
    C o ur t a n d p u t b ef or e a cir c ui t j u d g e —t h e C o m m o n S erj e a nt —t h e
    s us pi ci o ns w hi ch t he r e v e n ue h el d. T h e cir c uit j u d ge si g n ed t he w arr a nts.
    T h e officer s m a d e p h ot o gr a p h s o f t h e w arr a nts , a n d distri b ut e d t h e m t o
    t he t e a m l e a d ers . T h e n i n t h e e arl y m or ni n g o f Fri d a y , J ul y 1 3 —t h e             "
    n e x t da y —-each t e am st art e d of f a t first li g ht. E a c h r e a c h e d it s o bj e cti v e.
    S o m e in L o n d o n. Ot h er s in t he H o me C o u nti es . A t 7 a. m. t h er e w as a
    k n o c k o n e a c h d o or . O n e w a s t h e h o m e i n K e nsi n gt o n o f Mr . R o n al d
    A nt h o n y Pl u m m er, a c h art er ed a c c o u nt a nt. I t w as o p e n ed by his d a u g ht er
    a g e d 1 1 . H e c a m e d o w nst air s i n hi s dr essi n g- g o w n . T h e officer s o f t h e
    I nl a nd R e v e n u e w er e a t t h e d o o r a c c o m p a ni e d b y a d et e cti v e i ns p e ct or ,    JJ
    T h e h o us e h ol d e r Mr . Pl u m m e r p u t u p n o r esist a n c e . H e l e t t h e m i n .
    T h e y w e n t t o hi s fili n g c a bi n e t a n d r e m o v e d a l ar g e n u m b e r o f files .
    T h e y w e nt to t h e s afe a n d t o o k b uil di n g s o ci et y p ass b o o ks, his c hil dr e n' s
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                                                                                                             969
     A. C . R e g               . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) L o r   d D e n ni n g   M. R .
 . c h e q u e b o o k s a n d p ass p orts . T h e y t o o k hi s d a u g ht er' s s c h o o l r e p ort .
     T h e y w e n t t o hi s b e dr o o m , o p e n e d a s uit c as e , a nd r e m o v e d a b u n dl e of
     p a p er s b el o n gi n g t o hi s m ot h er . T h e y s e ar c h e d t h e h o us e . T h e y t o o k
     p ers o n a l p a p er s o f hi s wif e .
           A n ot h e r h o us e w a s t h e h o m e n e a r M ai dst o n e o f Mr . R o y Cliff or d
     T u c k er , a fell ow o f t he I nstit ute of C h art er ed A c c o u nt a nts. H e w as a w ay
     o n b usi n es s in G u er ns e y . S o his wif e o p e n e d t h e d o or . T h e officer s o f
 B t h e I nl a nd R e v e n u e pr o d u c ed t h e s e ar c h w arr a nt . S h e l et t h e m i n. S h e
     di d n ot k n ow w h at to d o. S h e t el e p h o n ed h er h us b a nd in G u er ns e y. S h e
     t old him t h at t h e y w ere g oi ng t hr o u gh t h e h o use t a ki ng all t he d o c u m e nts
     t h ey c o ul d fi n d. T h e y t o o k e n v el o p e s a d dr ess e d t o st u d e nt s w h o w er e
     t e n a nts. T h e y w e nt up to t he attic a nd t o ok p a p ers st or ed t h ere b el o n gi ng
     to Mr . T u c k er' s br ot h er . T h e y t o o k Mr . T u c k er' s p ass p ort .
           T h e m ain att a ck w as r es er v ed f o r t h e offices a t n o. 1 , H a n o v er S q u ar e
     o f t h e R oss mi nst er gr o u p o f c o m p a ni e s o f w hi c h Mr . Pl u m m e r a n d Mr .
     T u c k e r w ere dir e ct ors. T h e y w ere l et in by o ne of t he e m pl o y e es. M a n y
     officer s o f t h e I nl a n d R e v e n u e w e n t i n a c c o m p a ni e d b y p oli c e officers .
     It w a s a bi g s e t o f office s wit h m a n y r o o m s f ul l o f fil es, p a p er s a n d
     d o c u m e nt s o f all ki n ds. T h e y t o ok l ar ge q u a ntiti es of t h e m , p us h ed t h em
     i nto pl asti c b a gs , c arri e d t h e m d o w n i n t h e lift, a n d l o a d e d t h e m i nt o a
D v a n . T h e y c arri e d t h e m of f t o t h e office s o f t h e I nl a n d R e v e n u e a t
     M el b o ur n e H o use in t h e Al d w y c h. T w el v e v an l o a ds. T h e y cl e ar ed o u t
     Mr . T u c k er' s offic e c o m pl et el y : a n d ot h e r r o o m s t o o . T h e y s p e n t t h e
     w h ol e d ay on it fr om 7 a. m. u nti l 6. 3 0 at ni g ht . T h e y di d e x a mi n e s o me
     o f t h e d o c u m e nt s c ar ef ull y , b u t t h er e w er e s o m a n y d o c u m e nt s a n d s o
     m a n y fil es t h a t t h e y c o ul d n o t e x a mi n e t h e m all . T h e y si m pl y p u t a
     n u m b e r o n e a c h fil e, i n cl u d ed i t in a list, a nd p u t i t i nt o t he pl astic b a g.
 ^ A g ai ns t e a c h fil e t h e y n ot e d t h e ti m e t h e y di d it . I t l o o k s a s i f t h e y
     a v er a g e d o n e fil e a mi n ut e . T h e y di d n o t st o p a t fil es. T h e y t o o k t h e
     s h ort h a nd n ot e b o o k s o f t h e t y pists — I d o n o t s u p p os e t h e y c o ul d r e a d
     t h e m. T h e y t o o k s o m e of t h e fi n a n ci al n e ws p a p ers i n a b u n dl e . I n o n e
     c as e t he " t op half " of a dr a w er w as t a k en in t he first i nst al m e nt a nd t h e
     b al a n c e o f t h e dr a w e r w a s t a k e n i n t h e s e c o n d .
 F A n ot h e         r s et of offices w as n e xt d o or in St. G e or ge Str e et —I t hi nk al o ng
     t he s a m e c orri d or. I t w a s t h e offic e o f A . J . R . Fi n a n ci a l S er vi c e s Lt d .
     T h e dir e ct o r Mr . H all a s w a s n o t t h er e , o f c o urs e , a t se ve n o' cl o c k . H e
     arri v e d a t 9. 10 a. m. H e f o u nd t h e officers o f t he I nl a nd R e v e n ue p a c ki ng
     t he c o m p a n y' s fil es i nto b a g s f o r r e m o v al . H e s ai d t h a t i t a m o u nt e d t o
     s e v er al h u n dr e d s o f d o c u m e nts . P oli c e officer s w er e i n att e n d a n c e t h er e
     t o o.
" A           t n o p oi nt di d a n y o f t h e h o us e h ol d er s m a k e a n y r esist a n c e . T h e y
     di d t he o nly t hi ng o p en to t h e m. T h e y w e nt off t o t h eir s oli cit ors. T h e y
     saw c o u ns el . T h e y a ct e d v er y q ui c kl y . B y t h e e v e ni n g t h e y h a d g o n e
     to a j u d ge of t he C h a n c ery Di visi o n, W alt on J., a nd as k ed f or a nd o bt ai n ed
     a n i nj u n cti o n t o st o p a n y tr es p assi n g o n t h e pr e mis es . T h e y t el e p h o n e d
     t he i nj u n cti o n t hr o u g h t o H a n o v e r S q u ar e a t a b o u t a q u art e r t o si x a t
J J ni g ht . T h e officer s t h er ef or e br o u g h t t h e s e ar c h a n d s ei z ur e t o a n e n d .
     T h e y h a d, h o w e v er, by t his ti me pr a cti c ally c o m pl et ed it. S o t he i nj u n cti on
     m a d e v er y littl e differe nce . I f t h e l a w y er s h a d h a d m or e ti m e t o t hi n k
     a b o u t it , t h e y w o ul d h a v e r e alis e d t h a t i t w a s n o t a c as e w h er e a n
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   L o r d D e n ni n g   M. R . R e g   . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0    ]
   i nj u n cti on w o ul d li e a g ai ns t t h e officer s o f t h e r e v e n u e . T h e y w er e i
   officer s o f t h e Cr o w n : a n d u n d e r s e cti o n 3 1 o f t h e Cr o w n Pr o c e e di n g s
   A c t 1 9 4 7 no i nj u n cti o n w o ul d li e a g ai ns t t h e Cr o w n o r it s officers . S o
   t he l a w y ers did n ot pr o c e ed with t h eir cl ai m f or a n i nj u n cti o n. T h e y t o ok
   f urt h er a d vi c e . C o u ns e l a d vis e d t h e m t h a t t h er e mi g h t b e a r e m e d y
   u n d e r a ne w pr o c e d ur e r e c e ntl y a v ail a bl e . I t i s t o r estr ai n a b us e o f
   p o w e r u n d e r R. S. C., Or d. 5 3. C o u ns e l a d vis ed t h at t h ey mi g ht n ow a p ply
   f or a d e cl ar ati o n — a d e cl ar ati o n w hi c h , i f m a d e , t h e Cr o w n w o ul d b e B
   e x p e ct e d t o o b e y . I f t h e cir c u mst a n c e s j ustifi e d it — a n d i f a d e cl ar ati o n
   w a s m a d e t h a t t h e s ei z ur e w a s b a d —t h a t mi g h t b e a n efficie n t a n d
   e x p e diti o u s r e m e d y . B ef or e t h a t r ul e w a s e n a ct e d, t h e o nl y t hi n g t o d o
   w o ul d h a v e b e e n t o s u b mi t t o t h e s ei z ur e : t o w ai t u nti l e v er yt hi n g h a d
   h a p p e n e d : a n d t h e n t o bri n g a n a cti o n f o r d a m a g es . B u t u n d e r t h e
   ne w r ul e , t h er e mi g h t b e a n e x p e diti o u s r e m e d y a v ail a bl e b y wa y o f
   j u di ci al r e vi e w .
          S o e nd t h e f a cts. A s f ar a s my k n o wl e d ge o f hist or y g o es , t h ere h a s
    b e e n n o s e ar c h li k e it — a n d n o s ei z ur e li k e it —i n E n gl a n d si n c e t h a t
   S at ur d a y , A pri l 3 0 , 1 7 6 3 , w h en t h e S e cr et ar y o f St at e iss u e d a g e n er a l
   w arr a n t b y w hi c h h e a ut h oris e d t h e Ki n g' s m ess e n g er s t o arr es t J o h n
   Wil k e s a n d s ei z e al l hi s b o o k s a n d p a p ers . T h e y t o o k e v er yt hi n g — al l
    hi s m a n us cri pt s a n d al l p a p er s w h ats o e v er . Hi s p o c k et- b o o k fill e d u p D
    t he m o uth of t he s a c k. H e a p pli ed t o t he c o urts. Pr at t C.J. str u ck d o wn
    t he g e n er a l w arr a nt . Y o u wil l fi n d i t al l s e t o u t i n R e x v . Wil k es
    ( 1 7 6 3) 2 Wils . 1 5 1 ; H u c kl e V . M o n e y ( 1 7 6 3 ) 2 Wils . 2 0 5 a n d E nti c k V.
    C arri n gt o n ( 1 7 6 5) 2 Wils. 2 7 5. Pr at t C.J . s ai d, at p. 2 0 7:
            " To e nt e r a m a n' s h o us e b y virt u e o f a n a m el es s w arr a nt, i n or d e r
            to pr o c ure e vi d e n c e, is w orse t h an t he S p a nish i n q uisiti o n; a law u n d er g
            w hi c h no E n glis h m an w o uld wish to li ve an h o ur; it w as a m ost d ari ng
            p u bli c att a c k m a d e u p o n t h e li b erty o f t h e s u bj e ct. "
         N o w we h a ve to s ee in t his c ase w h et h er t his w arr a nt w as v alid or n ot.
   It al l d e p e n d s of c o urs e u p on t he st at ut e. B y t he c o m m on l aw no s e ar ch
   o r s ei z ur e at a ny m a n's h o use c an be m a de e x c e pt f or st ol e n g o o ds. I s et
   it all o ut in C hi c F as hi o ns ( W est W al es) Lt d. v . J o n es [ 1 9 6 8] 2 Q. B. 2 9 9. F
   S e ar c h a nd s ei z ure is o nly a ut h oris e d — a nd h a s b e en a ut h oris e d — by m a n y
   st at ut es i n r e c e n t y e ars . T h e o n e w hi c h c o n c er n s u s w a s o nl y p ass ed i n
   J uly 1 9 7 6 . I t is S c h e d ule 6 to t he Fi n a n ce A ct 1 9 7 6 . I t is by s e cti on 2 0 C.
   A s i t i s s o i m p ort a nt, I wil l r e a d it :
           " ( 1 ) If t h e a p pr o pri at e j u di ci a l a ut h orit y " — a nd he is defi ned a s t he
           cir c ui t j u d g e —" is satisfied o n i nf or m ati on o n o ath gi v en by an officer - ,
           o f t h e b o ar d t hat — ( a) t h er e is r e as o n a ble gr o u nd f o r s us p e cti n g t h a t
           a n offe nc e i n v ol vi n g a n y f or m o f fr a u d i n c o n n e cti o n wit h , o r i n
           r el ati on t o , t a x h a s b e e n c o m mitt e d a n d t h a t e vi d e n c e o f i t i s t o b e
           f o u nd o n pr e mis e s s pecifie d i n t h e i nf or m ati o n ; a n d ( b) in a p pl yi n g
           u n d e r t his s e cti o n, t he officer a ct s with t he a p pr o v al of t he b o ard gi v en
           in r el ati on t o t he p arti c ul ar c as e, t he a ut h ority m ay iss ue a w arr a nt in „
           writi n g a ut h orisi n g a n office r o f t h e b o ar d t o e nt e r t h e pr e mis es , if
           n e c ess ar y by f or c e, at a ny ti me wit hin 1 4 d a ys fr om t h e ti me of iss u e
           o f t h e w arr a nt , a n d s e ar c h t h e m . . . . ( 3 ) On e nt eri n g t he pr e mis es
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      A. C . R e g               . v . I. R. C. , E x p . R oss miiist e r ( C. A. ) L o r   d D e n ni n g   M. R .
            wit h a w arr a n t u n d e r t hi s s e cti o n , t h e office r m a y s ei z e a nd r e m o v e
            a n y t hi n g s w h ats o e v e r f o u n d t h er e w hi c h he h as r e as o n a bl e c a use to
            b eli e v e m a y b e r e q uir e d a s e vi d e n c e f or t h e p ur p os es o f pr o c e e di n g s
            in r es p e c t o f s u c h a n offe nc e a s i s m e nti o n e d i n s u bs e cti o n ( 1 )
            a b o v e.... "
           T h a t i s t h e st at ut e . I t i s u n d e r t h a t st at ut e t h a t Mr . Q ui nl a n w e n t
     to t h e a p pr o pri at e j u di ci a l a ut h orit y —i n t hi s c as e a cir c ui t j u d g e —t h e
 a C o m m o n S erj e a n t o f t h e Cit y o f L o n d o n . I            w o ul d m u c h li k e t o k n o w
     t he i nf or m ati on w hi c h w as gi v en to t he j u d g e —t he n at ure of t h e e vi d e n ce
     w hic h w a s p u t b ef or e hi m t o f o u n d t h e s us pi ci o n — a n d t h e offe nc e o f
     w hi c h t h e a c c us e d w er e s us p e ct e d . I w o ul d als o li ke to k n o w w hy t h es e
     pri v at e h o m es w ere b eli e v ed t o h old i n cri mi n ati ng m at eri al. B u t we h a ve
     n o t b e en gi ven a ny i nf or m ati on a s to w h at t he C o m m on S erj e a nt w a s t ol d.
 C T h e r e v e n ue t a ke t he view t h at it w o uld n ot be a p pr o pri ate f or u s at t hi s
     st a ge to k n ow w h at w ere t he gr o u n ds of t h eir s us pi ci o n. I f t his c o urt w ere
     t old t h e m, it w o uld f oll ow e q u all y t h at Mr. B at es on a nd his cli e nts w o uld
     b e t ol d t h e m als o . S o we m ust r e m ai n i n i g n or a n c e o f t h e i nf or m ati o n
     w hi c h w as l aid b ef ore t he C o m m on S erj e a nt. B u t I m ust sa y —a nd I t hi nk
    it i s ri g h t t o s a y —t h a t w e s h o ul d ass u m e t h a t t h er e w a s l ai d b ef or e t h e
     C o m m o n S erj e a nt m at eri a l w hi ch did j ustify t he view t h at t h ere w as r e as o n-
& a bl e gr o u nd f or s us p e cti ng t h at t he a p pli c a nts h ad b e en g uilty of an offe nc e
     i n v ol vi ng s o me fr a ud o n t he r e v e n u e; a nd also t h at i n cri mi n ati ng d o c u m e nts
     w o ul d be f o u nd in t h ese offices a nd h o m es.
           W hils t I sa y t h at , I w o ul d li k e to e m p h asis e t h a t i t i s s us pi ci o n o nl y .
    In o u r l a w e v er y m a n i s pr es u m ed t o b e i n n o c e n t u nti l h e i s pr o v ed t o
    b e g uilt y. S us pi ci o n is n ot by itself e n o u g h to pr o ve g uilt. S o I t hi nk we
 E s h o ul d pr o c e ed on t he pr es u m pti on t h at t h ese w ere i n n o c e nt — or pr es u m a bly
     i n n o c e nt — m e n: a n d so f ar t h ere w as o nly a s us pi ci o n.
           T hi s bri n gs me t o t h e v ali dity o f t h e w arr a nt — a nd i n d e e d to c o nsi d er
     t he st at ut e.

      T h e v ali dit y of t h e w arr a nt
 p Be y o n           d al l d o u b t t hi s s e ar c h a n d s ei z ur e w a s u nla wf u l u nl es s i t w a s
      a ut h oris e d b y P arli a m e nt . A s t o t he st at ut e , w e are n ot all o w e d t o r e ad
      H a ns ar d — b u t y o u c a n . Y o u c an fi n d it if y ou t urn up t he d e b ate of M ay
      1 7 , 1 9 7 6 , c ol u m ns 9 8 1 to 1 0 5 0 ; a nd J ul y 1 5 , 1 9 7 6, c ol u m ns 9 2 3 to 1 0 0 6 .
      T h e g o v er n m e n t o f t h e d a y p u t f or w ar d t h e cl a us e . I t w a s o p p os e d b y
      m a n y as b ei ng a d a n g er o us e n cr o a c h m e n t o n i n di vi d u al fr e e d o m . I t w as
      p ass e d b y a n arr o w m aj orit y .
G Ma n             y will a s k: w h y h as P arli a m e nt d o ne t his? W h y h a ve t h ey all o w ed
     t his s e ar ch a nd s ei z ure by t he r e v e n ue officers? I t did it h ere b e c a use t he
     B o ar d o f I nl a n d R e v e n u e w ere v ery w orri e d by t he d e vi c es us e d by s o me
      wi c k e d p e o pl e, s u ch as t h os e — a nd we often s e e s u ch c as es in o ur c o urts—
      w h o k e e p t w o s et s o f b o o ks : o n e f or t h e ms el v e s t o us e ; t h e ot h er t o be
      s h o wn t o t h e r e v e n u e . T h os e w h o m a ke o u t t w o i n v oi c es. O n e f or t h e
J J c ust o m er . T h e ot h e r t o b e s h o wn t o t h e t a x m a n. T h os e w ho e nt er i nto
      fi ctiti o us tr a ns a cti o ns a n d writ e t h em i nto t h eir b o o k s a s g e n ui n e. T h os e
      w h o s h ow l oss e s w h e n t h e y h a v e i n f a c t m a d e g ai ns. I n t h e t ax e v asi o n
       p o ol , t h er e ar e s o m e bi g fis h w ho do n o t st o p a t t a x a v oi d a n c e . T h e y
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   L o r d D e n ni n g   M. R . R e g   . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0        ]
   r es ort t o fr a u ds o n a l ar ge s c al e. I c an well s ee t h at if t he l e gisl ati on w ere .
   c o nfi ne d — o r c o ul d b e c o nfi ne d —t o p e o pl e o f t h a t s ort , it w o ul d be s u p-
   p ort e d by all h o n est citi z e ns . T h os e w ho d efr a ud t h e r e v e n ue in t his w ay
   ar e p ar asit e s w h o s u c k o u t t h e lif e- bl o o d o f o u r s o ci et y . T h e tr o u bl e is
   t h at t h e l e gisl ati o n i s dr a wn s o wi d ely t h a t in s o m e h a n ds it mi g ht be an
   i nstr u m e nt o f o p pr essi o n . I t m a y b e s ai d t h a t " h o n est p e o pl e n e e d n o t
   f e ar: t h a t i t wil l n e v er b e us e d a g ai ns t t h e m : t h a t t a x i ns p e ct ors c a n b e
   tr ust e d, o nl y t o us e i t i n t h e c as e o f t h e bi g , b a d fr a u ds. " T hi s i s a n B
   attr a cti v e ar g u m e nt , b u t I w o ul d r ej e c t it . O n c e gr e a t p o w e r i s gr a nt e d ,
   t h ere i s a d a n g e r o f i t b ei n g a b us e d . R at h e r t h a n ris k s u c h a b us e, it is,
   a s I s e e it, t h e d uty o f t h e c o urts so to c o nstr ue t he st at ute as to s ee t h at
   it e n cr o a c h es as little as p ossi ble u p on t he li b erti es of t he p e o ple of E n gl a n d.

   T h e w arr a nt a n d t h e c h all e n g e t o it
        T h e w arr a n t i s c h all e n g e d o n t he gr o u n d t h a t i t d o e s n ot s pecif y a n y
   p arti c ul a r offe nce . I m ust r e ad it in f ull, b e c a us e t his w as w h at w as gi v en
   to all t he t e a ms of i ns p e ct ors w ho w e nt r o u n d:
          " S e ar c h W arr a nt. T o : R a y m o n d Q ui nl an a n d to t he p ers o ns n a m ed
          in t h e first s c h e d ule a n n e x e d t o t hi s w arr a nt . Officer s o f t h e B o ar d
          o f I nl a n d R e v e n u e . I nf or m ati o n o n o ath h a vi ng b e en l aid t his d ay by
           R a y m o n d Q ui nl a n i n a c c or d a n c e wit h t h e pr o visi o n s o f s e cti o n 2 0 C D
           o f t h e T a x e s M a n a g e m e n t A c t 1 9 7 0 st ati ng t h a t t h er e i s r e as o n a bl e
           gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n v ol vi n g fr a u d i n c o n n e cti o n
           wit h o r in r el ati o n t o t ax h as b e en c o m mitt ed a nd t h at e vi d e n ce of it
           is to be f o u nd on t he pr e mis es d es cri b ed in t he s e c o nd s c h e d ule a n n e x ed
           h er et o . Y o u ar e h er e by a ut h oris e d t o e nt e r t h os e pr e mis es , t o g et h e r
           wit h all or a ny of t he officers of t he B o ard of I nl a nd R e v e n ue n a m ed in g
          t he first s c h e d ul e h er eto a nd t o g et h er with s u ch c o nst a bl es as y ou m ay
          r e q uir e, if n e c ess ary by f or c e, at a ny ti me wit hin 14 d a ys fr om t he ti me
           o f iss u e o f t hi s w arr a nt , a n d s e ar c h t h e m ; a n d o n e nt eri n g t h os e
          pr e mis e s with t his w arr a nt y ou m ay s ei ze a nd r e m o ve a ny t hi n gs w h at-
           s o e v er f o u n d t h er e w hi c h y o u h a v e r e as o n a bl e c a us e to b eli e v e m ay
           b e r e q uir e d a s e vi d e n c e f o r t h e p ur p os e s o f pr o c e e di n g s i n r es p e c t p
           o f s u c h a n offe nce . D at e d J ul y 1 2 , 1 9 7 9 " —si g n ed b y t h e cir c ui t
          j u d g e.
   T h e n i n t h e first s c h e d ule t h er e ar e a w h ol e n u m b e r o f n a m es — o v e r 6 0
   officers . A n d i n t h e s e c o n d s c h e d ul e a n n e x e d t o t hi s p arti c ul a r w arr a n t
   is t h e a d dr es s 1 , H a n o v er S q u ar e : a n d t h er e w o ul d b e si mil a r w arr a nt s
   in r es p e ct of t he ot h er pr e mis es w hi ch w ere s e ar c h e d. G
         I c o m e b a ck t o t h e c h all e n ge t o t he w arr a nt. T h e c h all e n ge w hi ch is
   m a d e h ere is t h at it d o es n ot s pecify a ny p arti c ul ar offe nce i n v ol vi ng fr a u d.
   T h er e m ay be 20 differe nt ki n d s of fr a u d , a s s o m e o ne s u g g est e d, a nd t hi s
   w arr a n t d o e s n o t s pecif y w hi c h o n e o f t h e m i s s us p e ct e d . E a c h o f t h e
   a p pli c a nts , i n c o m pl ai ni n g t o t h e c o urt , c o m pl ai n o f t his . T h er e i s a
   p ar a gr a p h w hi ch e a ch of t h em m a k es in his affi d a vit:
          " D es pite r e q u est s by my s oli cit or s o to d o, t he I nl a nd R e v e n u e h a ve
           ref used t o dis cl os e t h e n at ur e o f t h e offe nc e o r offe nce s t h e y h a v e
          in mi nd a nd n eit h er I, n or I v erily b eli e ve my f ell ow dir e ct ors, h a ve t he
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      A. C . R e g               . v . I. R. C. , E x p . R oss mi nsl c r ( C. A. ) L o r   d D e n ni n g   M. R .
            sli g ht est i d ea w h at offe nce o r offe nces t h e y do h a ve in mi n d, or, e v en
            w h o is s u p p os ed to h a ve c o m mitt ed it or t h e m."
   T h a t is a c k n o wl e d g ed b y t he r e v e n u e: a n d t h ey gi ve t h eir j ustifi c ati on f o r
   it i n a n affi da vi t w hi c h w a s p u t f or w ar d — I t hi n k a t t h e r e q u es t o f t h e
   Di visi o n a l C o urt. I t is an affi da vit by Mr. D er mit. H e s ai d:
           " In t h e c o urse of m y d uti es I a m r es p o nsi ble f or i niti ati n g a n d c o n -
B d u cti n         g m a n y i n q uiri e s s o m e o f w hi c h m a y l e a d t o pr o c e e di n g s f o r
           offe nce s o f fr a u d i n r el ati o n t o t a x. I v eril y b eli e ve t h at it w o ul d be
          gr e atl y d etri m e nt a l t o a n d o bstr u cti v e o f i n q uiri e s o f t hi s n at ur e t o
           dis cl os e a t t hi s st a g e t he pr e cise n at ur e o f t h e offe nce s i n r es p e c t o f
          w hi c h pr o c e e di n g s m a y b e t a k e n a n d i n w hi c h t h e d o c u m e nts seize d
           m a y be r e q uir ed a s e vi d e n c e. S u c h dis cl os ur e, in my vi e w, w o uld be
C h ar mf u           l b e c a us e , i nt er ali a, it mi g ht r e v e al to t h ose s us p e ct ed of h a vi ng
           c o m mitt e d offe nces n ot o nly t h at t h ose p ers o ns h a ve b e en i d e ntifi ed by
          t he I nl a nd R e v e n u e b ut also t he e xt e nt a nd n at ure of t he i nf or m ati o n
          in t h e r e v e n u e' s p oss essi on c o n c er ni n g s u c h off e n c es. "
     S o t h er e i t is . T h e j ustifi c ati o n i s : " We d o n o t wis h t o t el l m or e t o
     t h ose we s us p e ct b e c a us e we do n ot w a n t t h em t o k n ow t oo m u ch a b o ut
     w h a t we i nt e nd t o d o. Ot h er wis e t h ey will be on t h eir g u ar d. "
            Is t hi s a j us t e x c us e ? T h e w or ds " an offe nc e i n v ol vi n g a ny f orm o f
     fr a ud i n c o n n e cti on wit h, or in r el ati on t o, t ax " are v ery wi de w or ds. W e
     w er e t a k e n b y Mr . D a v e n p ort t hr o u g h a n u m b e r o f offe nce s w hi c h mi g ht
     b e c o m pris ed in t h e m. T h er e is no s pecific s e cti on in t he A ct its elf. B u t
      t h ere are a n u m b er of ot h er offe nces w hi ch i n v ol ve fr a u d. T h er e is " f alse
E a c c o u nti n g " u n d e r s e cti o n 1 7 of t h e T h eft A c t 1 9 6 8 . T h er e is " e v asi on
      o f li a bilit y b y d e c e pti o n " i n s e cti o n 2 o f t h e T h ef t A c t 1 9 7 8 . T h er e i s
     p erj ur y , f or g er y , c o ns pir a c y , a n d f als e st at e m e nt s r el ati n g to i n c o m e t a x.
      Y o u will fi n d all t h ose s et o ut in Ar c h b ol d, Cri mi n al Pl e a di n g E vi d e n c e &
     Pr a cti c e, 4 0th e d. ( 1 9 7 9). T h e y are all offe nces w hi c h i n v ol ve fr a u d. B u t
     I m ysel f w o ul d n o t be pr e p ar ed t o li mit it t o t h ose h alf- d o z en w hi c h Mr.
 p D a v e n p or t p u t b ef ore us . I t s e e m s to me t h at t h es e w or ds " fr a ud . . . i n
      r el ati on to . . . t ax " are so v a g ue a nd so g e n er al t h at it m ust be e x c e e di n gly
      diffic ul t f o r t h e officer s o f t h e I nl a n d R e v e n u e t h e ms el v e s t o k n o w w h a t
      p a p er s t h e y c a n t a k e o r w h a t t h e y c a n n o t t a k e . T a k e a n i nst a n c e , f o r
      e x a m pl e , w hi c h Mr . D a v e n p or t p u t b ef or e us . T h e y m a y s a y t o t h e m -
      s el v es, " T his m an m ust h a ve b e en g uilty o f s o m e fr a ud o n t h e t a x. Hi s
      i n c o me is o nly £ 1, 0 00 a y e ar —l e t u s s a y — a nd he is s p e n di ng at a r ate of
G £ 5, 0 0 0 a y e ar. H e m ust be fi d dli n g t he t ax in s o me w a y. L e t us s ee h ow
      h e g ets his m o n ey a nd w h at he s p e n ds it o n." T h at , as we k n ow in t h ese
      c o urts , i s t h e s or t o f e vi d e n c e r eli e d o n b y t h e r e v e n u e w h e n t h e y ar e
      c h ar gi n g a p ers o n wit h a t a x fr a u d .
            If s u c h is t he gr o u nd of s us pi ci o n, if s u c h is t he s ort of e vi d e n ce w hich
      p oi nt s t o fr a u d , s e e h o w wi d e a s c o p e i t gi v e s t o t h e i ns p e ct or s o f t h e
p j I nl a n d R e v e n u e . I t e n a bl e s t h e m t o pi c k u p al l a m a n' s p a p ers , s a yi ng
      to t h e ms el v es: " T his l o o ks as t h o u gh t h ere m ay be s o m et hi ng usef ul in it.
      L et' s t a k e it. " T h e vi c e o f a g e n er a l w arr a n t o f t hi s ki n d — w hi c h d o e s
     n o t s p e cif y a n y p arti c ul a r offe nce —i s t w o-f ol d . I t gi v e s n o h el p t o t h e
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   L or d D e n ni n g   M. R . R e g   . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0      ]
   officer s w h e n t h e y h a v e to e x er cis e it. I t m e a n s als o t h at t h e y c an r o a m .
   wi d e a n d l ar g e, s ei zi n g a nd t a ki n g pr etty wel l all a m a n's d o c u m e nts a nd
   p a p ers .
         T h er e i s s o me assist a n ce t o be f o u nd i n t he c as es . I r ef e r t o t he l aw
   a b o u t arr est — w h e n a m a n is arr est ed u n d e r a w arr a n t f or a n offe nce. I t
   is t h en est a blis h e d b y a d e cisi o n o f t h e H o use o f L or d s t h a t t h e w arr a n t
   h a s t o s pecif y t h e p arti c ul ar offe nc e wit h w hi c h t he m an i s c h ar g e d: s e e
   C hristi e v. L e a c hi ns k y [ 1 9 4 7] A. C . 5 7 3. I will r e ad w h at Vis c o u nt Si m on B
   s ai d, at p. 5 8 5:
           "I f t h e arr es t w a s a ut h oris e d b y m a gist eri a l w arr a nt , o r i f pr o -
           c e e di n g s w er e i nstit ut e d b y t h e iss u e o f a s u m m o ns , i t i s cl e a r l a w
           t h at t h e w arr a n t o r s u m m o n s m us t s pecif y t h e offe nc e . . . i t i s a
           pri n ci pl e i n v ol v ed in o ur a n ci e nt j uris pr u d e n c e. M or e o v er , t he w arr a nt
           m us t b e f o u n d e d o n i nf or m ati on i n writi n g a n d o n o at h a n d , e x c e p t Q
           w h er e a p arti c ul ar st at ut e pr o vi d es ot h er wis e, t he i nf or m ati on a n d t he
           w arr a n t m us t p arti c ul aris e t h e offe nc e c h ar g e d. "
   L or d Si m o n ds p ut it m ore gr a p hi c ally w h en he s ai d, at p. 5 9 2:
         " Arr est ed wit h o r wit h o u t a w arr a n t t h e s u bj e c t i s e ntitl ed t o k n o w
         w h y he is d e pri v ed of his fr e e d o m, i f o nly in or d er t h at he m a y, wit h-
         o u t a m o m e nt's d el a y, t a ke s u ch st e ps as will e n a ble him to r e g ain it." D
         S o h er e. W h e n t he officers o f t h e I nl a nd R e v e n ue c o me ar m ed with a
   w arr a n t t o s e ar c h a m a n' s h o m e o r hi s office , i t see m s t o m e t h at h e i s
   e ntitl e d t o s a y: " Of w h a t offe nce d o y ou s us p e ct m e? Y o u are cl ai mi ng
   to e nt e r m y h o use a nd t o s ei ze my p a p ers." A n d w he n t h e y l o o k a t t h e
   p a p er s a n d s ei z e t h e m, h e s h o ul d b e a bl e to s a y : " W hy are y ou s ei zi n g
   t h ese p a p ers ? O f w h a t offe nc e d o y o u s us p e c t m e ? W h a t h a v e t h es e E
   to d o with y o ur c as e? " U nl es s he k n o ws t he p arti c ul ar offe nc e c h ar g e d ,
   h e c a n n ot t a ke st e ps to s e c ure hi mself o r his pr o p ert y. S o it s e e ms to m e,
   a s a m att e r o f c o nstr u cti o n o f t h e st at ut e a nd t h er ef or e o f t h e w arr a nt —
   in p urs u a n ce o f o u r tr a diti o n al r ole to pr ot e ct t he li b erty of t he i n di vi d u al
   —i t i s o u r d ut y t o s a y t h a t t h e w arr a n t m us t p arti c ul aris e t h e s pecifi c
   offe nc e w hi ch is c h ar g ed as b ei ng fr a ud on t he r e v e n u e. p
         If t hi s be ri g ht, it f oll o ws n e c ess arily t h at t his w arr a nt is b a d. I t s h o uld
   h a v e s pecifie d t h e p arti c ul a r offe nc e o f w hi c h t h e m an i s s us p e ct e d . O n
   t his gr o u nd I w o ul d h ol d t h a t c erti or ar i s h o ul d go to q u ash t he w arr a nt.
         If t hi s be ri g ht, t h ere is no n e ed to go f urt h er. B u t I m ust go f urt h e r
   in c ase it be wr o n g. T h e w arr a nt w as iss u ed u n d er j u di ci al a ut h orit y. T h e
   cir c ui t j u d g e —t h e C o m m o n S erj e a n t o f t h e Cit y o f L o n d o n —iss u e d it .
   B u t t he s ei z ur e —t he s u bs e q u e nt c o n d u c t of t he officers a t H a n o v er S q u are ^
   a n d i n t h e h o m e s o f t h es e me n — wa s n o t s u bj e c t t o a n y j u di ci a l s u p er -
   visi o n . A n d as f ar a s I k n ow wit h o ut a ny p oli ce c h e ck at all. T h e p oli ce
   w er e t h er e, b ut n ot d oi ng a n yt hi ng e x c e pt k e e pi ng t he p e a c e. T h e q u esti on
   is w h et h e r o r n o t t h a t s ei z ur e c a m e wit hi n t h e pr o visi o n s o f t h e st at ut e ,
   w hi c h I wil l r e p e at : " . . . t h e office r m a y s ei z e a n d r e m o v e a n y t hi n g s
   w h ats o e v e r f o u n d t h er e w hi c h h e h as r e as o n a ble c a use to b eli e v e m ay be J J
   r e q uir ed as e vi d e n c e. . . ." I s he e x e m pt fr om s u p er visi o n in t h at r e g ar d?
   O r is he t he s ole ar bit er o f " w hi ch he h as r e as o n a ble c a use to b eli e ve "?
   s ur ely n ot. I n t his r e g ard I n e ed o nly q u ote t he w or ds of L ord R a d cliff e
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                                                                                                                975
       A. C . R e g                . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) L o r   d D e n ni n g   M. R .
        in N a k k u d a Ali v. J a y ar at n e [ 1 9 5 1] A. C. 66 on t h ose v ery w or ds " r e as o n-
        a bl e c a use to b eli e v e." L or d R a d cliffe s ai d, at p. 7 7:
                " Aft er all , w or ds s u c h a s t h ese ar e c o m m o nl y f o u nd w h e n a l e gis-
               l at ure or l a w- m a ki ng a ut h ority c o nf ers p o w ers on a mi nist er or official.
                H o w e v e r r e a d , t h e y m us t b e i nt e n d e d t o s er v e i n s o m e s e ns e a s a
                c o n diti o n li miti n g t h e e x er cise o f a n ot h er wis e ar bitr ary p o w er . B u t
               if t h e q u esti o n w h et h e r t h e c o n diti o n h a s b e en s atisfi ed i s to be c o n-
 B    cl usi v el          y d e ci d e d b y t he m an w h o wi el ds t he p o w er t h e v al ue o f t h e
               i nt e n d ed r estr ai nt is in effect n ot hi n g."
             S o it c a n n ot be t h at t h ese officers ar e t he p e o ple c o n cl usi v ely to d e ci de
       w h et h e r t h er e is r e as o n a ble c a use to b eli e v e. T h e c o urts m ust be a ble to
       e x er cis e s o me s u p er visi o n o v e r t h e m . I f t h e c o urts c a n n ot d o s o , no o ne
       els e c a n. J us t s ee w h at t h ese officers di d h er e. Mr . B at es on w e nt t hr o u gh
C    t h e e vi d e n ce of w h at t h ey di d. Mi n ut e by mi n ut e. Fil e aft er file . Fr o m
       t h eir o w n lists . T h e y c o ul d n o t p ossi bl y h a v e h a d ti m e t o e x a mi n e al l
       t h ese d o c u m e nts o r to c o me to a pr o p er d e cisi o n as to w h et h er t h ey w ere
       r e as o n a bly r e q uir e d a s e vi d e n c e . I nst e a d o f e x a mi ni n g t h e m o n t h e
       pr e mis es , t h e y b u n dl e d t h e m i nt o pl asti c b a g s a n d t o o k t h e m of f t o
       M el b o ur n e H o us e. B ut , in f air n ess to t he I nl a nd R e v e n u e, I will r e ad w h at
P      Mr . Q ui nl a n s ai d w a s d o n e . T h e d es cri pti o n gi ve n b y Mr . Pl u m m er' s
       m a n a g er , he s ai d:
               " is n ot an a c c ur ate d es cri pti on of t he way t he s e ar ch w as c arri ed o ut.
               F o r e x a m pl e, d uri ng t he d ay I w e nt t hr o u gh t he t w o- v ol u me s e c uriti es
               r e gist er p a g e b y p a ge wit h t he m a n a g er o f R oss mi nst e r sitti n g b esi de
               m e a nd s el e ct e d o nl y c ert ain o bj e cts i n s u ch r e gist er. I w e nt t hr o u gh
E    a             v ery t hi ck c orr es p o n d e n c e fil e of a Mr. Gl att a nd r el e as ed it all. I
               als o w e nt t hr o u g h al l t h e i n c o mi ng t el ex m ess a g es a nd t he m a n a g er's
               o ut g oi n g p ost, a nd r el e as ed it all. I c arri ed o ut a s a m ple c h e ck of t he
               l e d g er c ar ds a nd m a de s p e ci al arr a n g e m e nts with t he m a n a g er to h a ve
               t h em p h ot o c o pi e d o n t h e pr e mis e s i n or d e r t h a t t h e ori gi n al s c o ul d
               r e m ai n. T h es e ar e b u t e x a m pl e s o f s o m e o f t h e d et ail e d s e ar c hi n g
p     w hi c           h I , a n d I v erily b eli e v e , ot h er officer s c arri e d o u t on t he d ay in
               q u esti o n . B u t i n a v er y gr e a t m a n y i nst a n c e s fil es a nd b u n dl e s o f
               d o c u m e nt s w er e r e m o v e d w he n t h ei r titl e o r s u bj e c t m att e r m a d e i t
               cl e a r t h a t t h ei r c o nt e nt s w er e s u c h t h a t t h e officer s h a d r e as o n a bl e
               c a us e to b eli e ve t h at t h ey mi g ht be r e q uir ed as e vi d e n ce f or t he p ur p ose
               o f pr o c e e di n gs in r es p e ct of a ny s u ch off e n c es."
G   Mr        . Q ui nl a n t ell s us a b o ut t h e d o c u m e nts w hi ch h e r el e as e d . B u t h e
   d o e s n o t t el l u s w h a t d o c u m e nt s h e r et ai n e d a n d o n w h a t gr o u n d a n d
   f or w h a t p ur p os e , o r w hi c h p arti c ul a r fr a u d h e h a d i n mi n d . W e ar e
   left t o g u ess . I w o ul d as k , o n w h a t gr o u n d s di d t h es e officer s d e ci d e
   w h et h e r o r n o t t h er e w a s r e as o n a bl e c a us e f o r b eli e vi n g t h a t t h e y w o ul d
   b e r e q uir e d i n e vi d e n c e ? W h a t a b o u t t h e s h ort h a n d n ot e b o o ks , t h e
H di ari e s a n d al l t h a t ki n d o f t hi n g — w o ul d t h e y b e r e as o n a bl y r e q uir e d ?
   Mr , D a v e n p or t s ai d t h a t a t t hi s st a g e t h e r e v e n u e w o ul d n o t wis h t o g o
   f urt h er t h a n t h e y h a d . T h e y w o ul d n o t t el l u s o n w h a t gr o u n d s t h e y
   r e q uir ed t h es e d o c u m e nts. A t t hi s st a g e , he s ai d , it is n ot d esir a bl e . H e
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  L o r d D e n ni n g   M. R . R e g   . v . I. R. C. , E x p . R oss mi nst c r ( C. A. ) [ 1 9 8 0    ]
  e m p h asis e d " at t his st a g e," m e a ni n g, I s u p p os e, n ot u ntil aft er t h e cri mi n al .
  pr o c e e di n gs .
        T o my mi nd t h at is n ot a s ufficie nt a ns w er . I t m e a ns t h at t h ese officer s
  w o ul d be e x e m pt fr om a ny c o ntr ol by t he c o urts or a n y o ne else u ntil aft e r
  t he cri mi n al pr o c e e di n gs —if t h er e are cri mi n al pr o c e e di n gs —t a ke pl a c e. I t
  w o ul d m e a n t h a t f o r al l t hi s ti m e n o o n e w o ul d h a v e a n y c o ntr o l o v e r
  t he o p er ati o ns of t h e officers o f t h e I nl a nd R e v e n u e w ho are m a ki ng t hi s
  s e ar ch a n d s ei z ur e . N ot hi n g c a n b e d o n e e v e n b y t h e c o urt s i n c as e B
  t h ey h a ve e x c e e d e d t h ei r p o w ers . N o o n e c an c o ntr o l t h e m .
         O n t he q u esti on of s ei z ur e, Mr. B at es o n, f or t he a p pli c a nts, h as p oi nt ed
  to c o g e n t r e as o n s w h y it m a y be b eli e v ed t h a t t h e officer s o f t h e I nl a n d
  R e v e n u e mis u n d erst o od t h ei r p o w ers , or e x c e e d e d t h e m , o r w e n t t o o f ar .
  T h er e i s n o wa y o f d e ci di n g w hi c h d o c u m e nt s w er e ri g htl y t a k e n —i f
  t h ey w er e ri g htl y t a k e n — a n d t h os e w hi c h w er e wr o n gl y ta ke n —i f t h e y
  w er e wr o n gl y t a k e n . I n t h e a bs e n c e o f a n y p ossi bilit y o f di vi di n g t h e
  g o o d fr o m t h e b a d , i t see m s t o m e t h a t t hi s c o ur t h a s n o o pti o n b u t t o
  d e cl ar e t h e w h ol e s ei z ur e v oi d —e ve n a t t hi s st a g e .
         T h e q u esti on w a s r ais ed w h et h e r w e c o ul d, u n d e r o u r ne w pr o c e d ur e ,
  gr a n t a d e cl ar ati o n . I wis h w e c o ul d gr a n t a n i nt eri m d e cl ar ati o n b u t
  it h a s b e e n d e ci d e d b y t hi s c o ur t m a t w e c a n n o t d o s o . T h a t w a s
  d e ci d e d i n I nt er n ati o n al G e n er al El e ctri c C o m p a n y of N e w Y or k Lt d. v . D
   C ust o ms a n d E x cis e C o m missi o n ers [ 1 9 6 2 ] C h . 7 8 4 . Al l w e c a n d o
  is m a k e a fi n al d e cl ar ati o n. S o be it. I f t h a t b e t he o nl y w a y , I w o ul d
   d o it . T hi s i s a c as e w h er e s p e e d i s o f t h e ess e n c e . T hi s i s a c as e
   w h er e t he fr e e d o m o f t h e i n di vi d u a l i s i n v ol v e d. I t i s a c as e w h ere hi s
   ri g ht to his p ers o n al pr o p erty is i n v ol v e d. I t d e m a n d s i m m e di ate r e m e d y.
   It d e m a n ds i m m e di ate d e cisi o n. S o I t hi nk we s h o uld d e ci de it n o w, e ven
   u p o n t h e affi da vi t e vi d e n c e w e h a v e b ef or e us . U p o n t h a t e vi d e n c e , "
   it i s a pr o p e r c as e u n d e r t hi s ne w pr o c e d ur e ( w hi c h i s n o w e ntr ust e d
   in o u r h a n ds ) i n w hi c h t o m a k e a d e cl ar ati o n .
          It h a s t hi s dr a w b a c k . I t m e a n s t h a t i n a n y s u bs e q u e n t pr o c e e di n g s
   o r in a p e n di ng a cti on t he m att er will be s aid to be fi n all y a dj u d g e d. T h e
   r e v e n ue m ay s e ek h er e aft er t o s a y : " We did r e as o n a bl y r e q uir e al l t h ese
   d o c u m e nt s a n d w e di d n o t e x c e e d o u r p o w ers. " B u t t h e r es ul t o f t h e p
   d e cl ar ati o n will b e — a nd I t hi nk b oth c o u ns el a gr ee to t his —t h at t he m att er
   is fi n all y a dj u d g ed n o w. J usti c e d e m a n ds t h at we s h o uld d e ci de it q ui c kl y—
   a s we d o — a nd gi v e a d e cisi o n n o w . I w o ul d h ol d t h a t t hi s s ei z ur e w as
   b a d a n d t h a t t h e r e v e n u e officer s e x c e e d e d t h e p o w ers gi ve n t o t h e m by
   t he st at ut e .
         T hi s bri n gs me to t he e n d. T hi s c ase h as gi ven us m u ch c o n c er n. N o
   o n e w o ul d wis h t h a t a n y o f t h os e w h o d efr a u d t h e r e v e n u e s h o ul d g o ®
   fr e e. T h e y s h o ul d b e f o u n d o u t a n d br o u g h t t o j usti c e . B u t i t i s
   f u n d a m e nt al i n o u r l a w t h a t t h e m e a n s w hi c h ar e a d o pt e d t o t hi s e n d
   s h o uld be la wf ul m e a ns . A g o od e nd d o es n ot j ustify a b ad m e a ns . T h e
   m e a n s m us t n o t b e s u c h a s t o offe n d a g ai ns t t h e p ers o n a l fr e e d o m , t h e
   pri v a c y a n d t h e el e m e nt a l ri g ht s o f pr o p ert y . E v er y m a n i s pr es u m e d
    to b e i n n o c e n t u nti l h e i s f o u n d g uilt y . I f hi s h o us e i s t o b e s e ar c h e d J J
    a n d hi s pr o p ert y s ei z e d o n s us pi ci o n o f a n offe nce , i t m us t b e d o n e b y
    d u e pr o c es s o f l a w . A n d d u e pr o c es s i n v ol v e s t h a t t h er e m us t b e a
    v ali d w arr a n t s pecif yi n g t h e offe nc e o f w hi c h h e i s s us p e ct e d : a n d t h e
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                                                                                                              977
     A. C . R e g                . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) L o r   d D e n ni n g   M. R .
     s ei z ure i s li mit e d t o t h os e t hi n g s a ut h oris e d b y t h e w arr a nt . I n t hi s
     c as e , a s I s e e it, t h e w arr a n t w a s i n v alid f o r w a n t o f p arti c ul arit y : a n d
     t he s e ar c h a n d s ei z ur e w ere n o t i n a c c or d a n c e wit h a n yt hi n g w hi c h w a s
     a ut h oris e d b y t h e w arr a nt. I t w a s an ill e g al a nd e x c essi v e us e of p o w er .
           I w o ul d t h er ef or e all o w t h e a p p e al , q u ash t h e w arr a nt, a n d m a k e t h e
     d e cl ar ati o n .

 B BRO WN            E L.J. I a gr ee t h at t his a p p e al s h o uld be all o w ed on t he gr o u n ds
    st at ed b y L or d D e n ni n g M. R. , a n d t h a t t h e r es ult s h e h a s st at e d m us t
    f oll o w. I c o nf es s t h a t I h a v e f o u n d i t diffic ul t t o a p pr o a c h t hi s c as e
    wit h o u t e m oti o n , b u t I h o p e t h a t I h a v e n o t all o w e d m y e m oti o n s t o
    i nfl u e n ce m y d e cisi o n . I b e a r i n mi n d , o f c o urs e , t h e vit a l i m p ort a n c e
    o f st o p pi n g t a x fr a u ds , b u t t h e e v e nt s o f t hi s c as e ar e d e e pl y dist ast ef u l
 „ t o my o wn ol d-f as hi o n e d , a n d p er h a p s n ow u nf as hi o n a bl e, i nsti n cts . T h e
    k n o c k on t he d o or in t he e arly m or ni n g. T h e e ntry of a p osse of official s
    a n d p oli c e. T h e r a ns a c ki ng of t he pr e mis es a nd t he cl e ari ng o ut of al m ost
     e v er y d o c u m e n t d o w n t o c hil dr e n' s p ass p ort s a n d c h e q u e b o o ks . B u t
    p utti n g al l t h a t o n o n e si d e , as I h o p e I d o , I h a v e n o d o u b t t h a t I a m
    e ntitl e d — a n d b o u n d —t o r e m e m b e r t h e tr a diti o n a l ri g h t a n d d ut y o f t h e
    j u d g es to pr ot e ct i n di vi d u als fr o m a b us e of p o w e r by t he e x e c uti v e.
D Th           e p o w ers gi v en by s e cti on 2 0C of t h e T a x es M a n a g e m e nt A c t 1 9 7 0
     a s i ns ert ed b y t he Fi n a n c e A c t 1 9 7 6 are v ery wi de a nd m ay i n v ol ve v ery
    s eri o us i nt erf er e n c e wit h w h a t w o ul d n or m all y b e t h e li b erti e s o f
    i n di vi d u als. I n m y j u d g m e nt, t he s e cti on s h o ul d be c o nstr u ed stri ctl y .
          T h e pr o c e d ure u n d er s e cti on 2 0C h as t hr ee st a g es. First , t he a p pli c ati on
    to t h e cir c ui t j u d g e ; s e c o n dl y , t h e iss u e o f t h e w arr a n t b y t h e cir c ui t
g j u d g e ; a n d, t hir dl y , t he e x e c uti on o f t h e w arr a nt b y t he r e v e n u e.

    St a g e 1 . T h e a p pli c ati o n t o t h e cir c uit j u d g e
          In st a g e 1 , t he a p pli c ati on t o t h e cir c uit j u d g e , t he cir c uit j u d ge m us t
    b e s atisfi ed o n o ath of t hr ee t hi n gs. First , t h at t h ere is r e as o n a ble gr o u nd
    f or s us p e cti n g t h at a n offe nc e i n v ol vi n g a ny f or m o f fr a u d i n c o n n e cti o n
P wit h o r i n r el ati o n t o t a x h a s b e e n c o m mitt e d ; s e c o n dl y , t h a t t h er e i s
    r e as o n a ble gr o u n d f o r s us p e cti n g t h a t e vi d e n c e o f i t i s t o b e f o u n d o n
    pr e mis e s s pecified in t he i nf or m ati o n; a n d , t hir dl y, t h at t he officer a p pl yi n g
    a ct s wit h t h e a p pr o v a l o f t h e b o ar d gi ve n i n r el ati o n t o t h e p arti c ul a r
    c as e . N o q u esti o n a s to t he t hird r e q uir e m e n t aris e s in t h e pr es e nt c as e .
          Mr . D a v e n p ort a c c e pt e d — a s is o b vi o usly ri g ht —t h at t h e r e v e n ue m ust
    p u t b ef or e t h e cir c ui t j u d g e m at eri al s w hi c h satisf y hi m t h a t t h er e ar e
G r e as o n a bl e gr o u n d s f o r t h e s us pi ci o n s r ef err e d t o i n t h e s u bs e cti o n . I n
    t his c ase we are n ot dir e ctly c o n c er n ed with t his st a ge of t he pr o c e d ur e. I n
    t he a p pli c a nts' ori gi n al st at e m e nt u n d er Or d er 5 3, t h ey as k ed f or c erti or ar i
    to q u ash t he w arr a nts o n t he gr o u nd t h a t t h er e w as no s ufficie n t e vi d e n c e
    to satisf y t h e j u d g e; b ut i n t his c o urt Mr. B at es o n c o ul d n o t a n d di d n o t
    p ersis t i n t his p art o f t h e a p pli c ati on b e c a us e no i nf or m ati on o r e vi d e n c e
IT i s a v ail a ble to u s a b o ut w h at m at eri a l w a s b ef ore t h e cir c uit j u d g e . B u t
    I t hi n k t h e r e q uir e m e nt s w hi c h h a v e t o b e f ulfille d a t t hi s st a g e t hr o w
    li g ht o n t he c o nstr u cti on o f t h e pr o visi o ns as to t he l at er st a g es.
          ( a) Mr. D a v e n p ort t old us t h at t he offe nces t o w hi ch t his s e cti on r el at es
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   Br o w n e L J . R e g          . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 9              ]
   ar e n ot offe nce s u n d e r t he T ax A cts, w hi ch in E n gl a nd cr e at e no offe nce s
   o f fr a u d i n c o n n e cti o n wit h o r i n r el ati o n t o t a x , b ut offe nce s u n d e r t h e
   g e n er a l cri mi n a l l a w . H e g a v e us a list o f si x c o m m o n la w o r st at ut or y
   offe nce s o f fr a u d t o w hi ch he s aid t h e s us pi ci on c o ul d r el at e . T h e y w ere
   s e cti on 17 of t he T h eft A ct 1 9 6 8 w hi ch d e als with f alse a c c o u nti n g; s e cti on
   2 o f t h e T h ef t A c t 1 9 7 8 w hi c h d e al s wit h t h e e v asi o n o f li a bilit y b y
   d e c e pti o n ; s e cti o n 5 of t h e P erj ury A c t 1 9 1 1 ; t he c o m m on la w offe nc e of
   m a ki n g a f alse st at e m e n t r el ati n g to i n c o me t ax i n an att e m p t t o d efr a u d B
   t he r e v e n u e, w hi ch i s d e alt with in Ar c h b ol d, Cri mi n al Pl e a di n g E vi d e n c e
   & Pr a cti c e, 4 0t h e d. , p ar a. 3 5 4 7 ; c o ns pir a cy t o d efr a u d ; a n d f or g er y .
         T h e r e v e n u e c o uld n o d o u bt a p pl y to t he cir c uit j u d g e o n t he gr o u nd
   t h at t h e y h a d r e as o n a bl e gr o u n d s t o s us p e c t t h a t m or e t h a n o n e offe nc e
   h a d b e e n c o m mitt e d . B u t t h er e i s n o p o w e r t o a ut h oris e s e ar c h f o r
   e vi d e n c e o f t a x a v oi d a n c e , o r e v e n t a x e v asi o n , n o t a m o u nti n g t o a p
   cri mi n a l offe nc e o r o f n o n- p a y m e n t o f t a x . I t s e e m s t o m e t h a t b ef or e
   t he b o ar d c a n d e ci d e t o a p pl y f o r a w arr a n t t h e y m us t h a v e m a d e u p
   t h eir mi n ds as to at l e ast t he g e n er al n at ure of t h e offe nce o r offe nce s o u t
   o f t hi s c o m p ar ati v el y s m al l c at e g or y w hi c h t h e y s us p e ct , a n d t h a t b ef or e
   t he j u d g e c a n b e satisfie d t h a t t h er e i s r e as o n a bl e gr o u n d f o r s us p e cti n g
   t h at a n offe nc e h a s b e en c o m mitt e d h e m us t b e t ol d a t l e as t t h e g e n er a l
   n at ur e of t he s us p e ct ed offe nce. As I u n d erst o od it, Mr. D a v e n p ort a c c e pt ed D
   al l t his. T hi s see m s to m e to dis p os e o f a n y ar g u m e n t t h a t i t w o ul d b e
   i m p ossi ble o r diffic ul t f o r t h e r e v e n u e t o s pecif y t h e offe nc e o r offe nce s
   in t h e w arr a nt . I wil l c o me b a ck t o t hi s l at er .
         ( b) T he s us pi ci on m ust be t h at an offe nce h as b e e n c o m mitt e d; t h ere is
   n o p o w er to a ut h orise s e ar ch f or e vi d e n ce t h at an offe nce m ay be c o m mitt ed
   in t h e f ut ur e . E
         ( c) T he s us p e ct e d e vi d e n c e to be f o u nd o n t he s pecifie d pr e mis e s m us t
   b e e vi d e n c e of it, t h at is , of t h e offe nce w hi c h i s s us p e ct e d t o h a v e b e en
   c o m mitt e d . I t i s n ot e n o u g h t h a t t h er e s h o ul d b e gr o u n d f o r s us p e cti n g
   t h at e vi d e n c e of s o m e ot h er offe nc e mi g h t be f o u n d .
         ( d) As Mr. B at es on e m p h asis e d, t he pr e mis es a ut h oris ed to be s e ar c h ed
   n e e d n o t b e t h e pr e mis e s o f t h e p ers o n s us p e ct e d o f h a vi n g c o m mitt e d F
   t he offe nce ; t h e y c o ul d b e t h os e o f s o m e p erf e ctl y i n n o c e n t t hir d p art y .
   E v e n if t h ey are t he pr e mis es of t he s us p e ct ed offe n der , t h e m att er at t his
   st a ge r ests in s us pi ci on o nl y, a nd it m ay t urn o u t t h at no offe nce h a s b e en
   c o m mitt e d .

   St a g e 1. T h e w arr a nt
         T h e w arr a nt in t his c as e, w hi ch L ord D e n ni n g M. R. h a s alr e a dy r e a d , G
   si m ply f oll o w s t h e w or di n g o f t h e st at ut e ; a n d Mr . D a v e n p or t s u b mit s
   t h at t hi s i s e n o u g h . I n m y j u d g m e nt , i t i s n ot . I h a v e c o m e t o t h e
   c o n cl usi o n t h a t t he w arr a nt m ust s pecify a t l e ast t he g e n er al n at ure of t h e
   offe nc e o r offe nce s w hi c h ar e s us p e ct e d t o h a v e b e e n c o m mitt e d a n d t o
   e vi d e n c e o f w hi c h t h e s e ar c h r el at es . I f t h e cir c ui t j u d g e h a s b e e n
   s atisfi ed t h a t t h er e ar e r e as o n a bl e gr o u n d s f o r s us p e cti n g t h a t m or e t h an J J
   o n e offe nc e h a s b e e n c o m mitt e d , t h e w arr a n t c a n o f c o urs e s pecif y b ot h
   o r al l o f t h e offe nces . A s I h a v e s ai d , t h e r e v e n u e m us t alr e a d y h a v e
   m a d e u p t h ei r mi n d s w h a t offe nc e o r offe nce s t h e y s us p e ct , a n d h a v e
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       A. C . R e g                  . v . I. R. C. , Ex p . R oss mi nst e r ( C. A. ) B r o w n          e L. J .
. satisfie d t h e cir c ui t j u d g e t h a t t h er e ar e r e as o n a bl e gr o u n d s f o r t h ei r
    s us pi ci o n. I f t h e w arr a n t d o e s n o t s h o w t h e n at ur e o f t h e offe nce , t h e
    o c c u pi e r o f t h e pr e mis e s b ei ng s e ar c h e d wil l n o t k n o w w h a t t h e r e v e n u e
    ar e l o o ki n g f o r a n d c a n k e e p n o c h e c k o n t h ei r a cti viti es ; f o r e x a m pl e ,
    to t a k e a differe n t t y p e of c as e , if a s e ar c h w arr a n t w a s iss u ed u n d e r t h e
    Fir e ar m s A ct 1 9 68 to s e ar ch f or fir e ar ms or a m m u niti o n, t he o c c u pi er w o uld
    k n o w t h a t t h e s e ar c h er s w er e n o t e ntitl e d t o s e ar c h f o r d o c u m e nts , a n d
B c o ul d pr e v e n t t h e m fr o m d oi n g s o . W h a t i s m or e i m p ort a nt , u nl es s t h e
    offe nc e i s s pecifie d i n t h e w arr a n t i t w o ul d b e v er y diffic ult , i f n o t
    i m p ossi bl e, f or t he c o urt to i n q uire u n d er s u bs e cti on ( 3) w h et h er t he officers
    h a d r e as o n a bl e c a us e t o b eli e v e t h a t a d o c u m e n t m a y b e r e q uir e d a s
    e vi d e n c e f or t he p ur p ose of pr o c e e di n gs in r es p e ct of t he offe nce in r el ati on
    to w hi c h t h e w arr a n t w a s gr a nt e d . I a m n o t g oi n g t o tr y t o defi n e t h e
    d e gr e e o f p arti c ul arit y w hi c h i s r e q uir e d b e y o n d s a yi n g t h a t i t m us t b e
    e n o u g h f o r t h e t w o p ur p os e s I h a v e m e nti o n e d . I t i s e n o u g h f o r t h e
    p ur p os e s of t his a p p e al to say t h at I a m satisfied t h a t t he w arr a nts in t his
    c as e di d n o t s ufficie ntl y s pecif y t h e offe nces . T h e r es ul t i s t h a t i n m y
    j u d g m e nt t he w arr a nts are b ad on t h eir f a c e, a nd t h at an or d er of c erti or ari
    to q u as h t h e m s h o ul d g o .

D St a g e 3. T h e e x e c uti o n of t h e w arr a nts
           In vie w o f t h e i m p ort a n c e o f t h e q u esti o n a n d t h e f ul l ar g u m e nt s
    w hi c h w er e a d dr ess e d t o us , I m us t als o d e a l wit h t h e p ositi o n o n t h e
    ass u m pti o n , c o ntr ar y t o m y vi e w , t h a t t h e w arr a nt s w er e g o o d .
           A s a m att e r o f c o nstr u cti o n o f s u bs e cti o n ( 3) , I h a v e n o d o u b t a t al l
     t h at it is f or t he c o urt to d e ci de w h et h er an officer h a d r e as o n a ble c a use to
E b eli e v e : s e e N a k k u d a Ali v . J a y ar at n e [ 1 9 5 1 ] A. C . 6 6 , 7 6- 7 7 , fr o m
     w hi c h L or d D e n ni n g M. R . h a s alr e a d y q u ot e d . I t i s n o t e n o u g h
    f or a n office r t o s w e a r t h at h e h a d r e as o n a bl e c a us e t o b eli e v e — h e m us t
     st ate t h e f a cts o n w hi ch hi s belief w a s b as ed s o t h a t t h e c o ur t c a n j u d g e
    w h et h e r o r n o t hi s belief w a s r e as o n a bl e. T h er e w as ar g u m e nt a s to t h e
    m e a ni n g o f t h e l ast w or d s o f t h e s u bs e cti o n —" pr o c e e di n g s i n r es p e c t of
     s u ch a n offe nc e a s i s m e nti o n e d i n s u bs e cti o n ( 1 ) a b o v e. " D o e s t hi s
 F m e a n a n y " offe nce i n v ol vi n g a ny f orm o f fr a u d i n c o n n e cti on wit h , or in
     r el ati on t o , t a x, " o r i s i t li mit e d t o t h e p arti c ul a r offe nc e o r offe nce s i n
     r el ati on t o w hi c h t h e w arr a n t w a s iss u ed b y t h e cir c ui t j u d g e ? B e c a us e
     o f t he attit u de t a k en up by t he r e v e n ue in r ef usi ng to dis cl ose w h at offe nc e
     t h ey s us p e ct , i t i s n o t n e c ess ar y t o d e ci d e t h a t q u esti o n i n t hi s c as e ; b u t
    I a m i n cli n e d t o t hi n k t h a t t h e effec t o f t h e s u bs e cti o n i s t o p u t t h e
Q r e v e n u e in a p ositi on a n al o g o us to t he p ositi on of t he p oli ce w h en e x e c uti ng
    a s e ar c h w arr a nt to s e ar ch f or st ol e n g o o ds, as l aid d o wn in C hi c F as hi o ns
     ( W est W al es) Lt d. v. J o n es [ 1 9 6 8] 2 Q. B. 2 99 a nd G h a ni v. J o n es [ 1 9 7 0]
     1 Q. B. 6 9 3. I n t he G h a ni c ase L ord D e n ni ng M. R. s ai d, at p. 7 0 6:
             " I w o ul d st ar t b y c o nsi d eri n g t h e l a w w h er e p oli c e officer s e nt e r a
             m a n' s h o us e b y virt u e o f a w arr a nt , o r arr es t a m a n l a wf ull y , wit h
JJ o           r wit h o ut a w arr a nt, f or a s eri o us offe nce. I t a ke it to be s ettl ed l a w,
             wit h o u t citi n g c as es , t h at t h e officer s ar e e ntitl e d t o t a k e a n y g o o d s
             w hi c h t h ey fi n d in his p oss essi on or in his h o use w hi ch t h ey r e as o n a bly
             b eli e v e t o b e m at eri a l e vi d e n c e i n r el ati o n t o t h e cri m e f o r w hi c h
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   980
   B r o w n e L. J . R e g       . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0              ]
          h e i s arr est e d o r f o r w hi c h t h e y e nt er . I f i n t h e c o urs e o f t h ei r
          s e ar ch t h e y c o m e u p o n a n y ot h e r g o o d s w hi c h s h o w hi m t o b e
          i m pli c at ed i n s o m e ot h e r cri m e , t h e y m a y t a k e t h e m pr o vi d e d t h e y
          a c t r e as o n a bl y a n d d et ai n t h e m n o l o n g e r t h a n i s n e c ess ar y. "
   L or d D e n ni n g M. R. t h e n r ef err e d t o t wo a ut h oriti es . B u t in t h e pr es e n t
   c o nt e x t it s e e ms to me t h at t he " ot h er cri me " r ef err ed t o in t h at p ass a ge
   m us t m e an a cri me f alli ng wit hin t he d efi niti on o f s e cti on 2 0C ( 1).
          T h e attit u de of t h e r e v e n ue is t h at t h ey r ef us e t o dis cl ose at t his st a ge
   w h a t offe nc e o r offe nce s t h e y s us p e ct e d o r w h a t gr o u n d s t h e y h a d f o r
   s ei zi ng t h e d o c u m e nt s t h e y di d s ei z e b e c a us e s u c h dis cl os ur e mi g h t b e
   d etri m e nt a l t o t h ei r i n v esti g ati o n s a n d t o t h e c o n d u c t o f a n y cri mi n a l
   pr o c e e di n g s w hi c h m a y e ns u e a n d w o ul d o r mi g h t i n v ol v e dis cl os ur e ,
   dir e ctl y o r i n dir e ctl y , o f t h e i d e ntit y o f i nf or m ers . Mr . D a v e n p or t l ai d
   gr e a t str es s o n t hi s l as t p oi n t a n d o n t h e p u bli c i nt er es t pri vil e g e w hi c h      C
   r e q uir es t h e i d e ntit y o f i nf or m er s t o b e pr ot e ct e d . Li k e t h e Di visi o n a l
   C o ur t ( a nt e , p. 9 6 1 D- E) , I a m n o t i m pr ess e d b y t he i nf or m e r ar g u m e nt .
   T h e a p pli c a nts are n ot as ki ng f or dis cl os ure of t he i d e ntity of i nf or m ers (if
   t h ere ar e a n y) , a nd I c a n n o t s e e w hy t h e dis cl os ur e o f t h e n at ure o f t h e
   offe nce s a n d t h e gr o u n d s f o r belie f i n t h e r el e v a n c e o f d o c u m e nt s n e e d
   i n v ol ve a n y s u c h dis cl os ur e . Mr . D er mi t d o e s n ot m e nti o n t hi s p oi n t i n              n
   hi s affi da vit .
          A s I u n d erst a n d it , t h e r e v e n u e' s r ef us a l t o dis cl os e " a t t hi s st a g e "
   e xt e n d s t o t h e w h ol e p eri od u nti l a n y e ns ui n g cri mi n a l pr o c e e di n g s h a v e
   b e e n c o m pl et e d o r i t h a s b e en d e ci d e d n o t t o pr os e c ut e . T h e y als o s a y,
   a s I u n d erst a n d it , t h a t t h e c o ur t s h o ul d n o t c o m e t o a n y d e cisi o n b y
    wa y of j u di ci al re view u ntil t he r e v e n ue is pr e p ar ed to dis cl ose its e vi d e n c e.
   A s Mr . B at es o n p oi nt e d o ut , t h e pr a cti c a l effec t o f t h e r e v e n u e' s                 E
    c o nt e nti o n , i f i t i s ri g ht, w o ul d b e t o t a k e a w a y fr o m t h e c o ur t a n y
    p o w e r t o s u p er vis e t h e a cti viti e s o f t h e r e v e n u e u n d e r s e cti o n 2 0 C( 3) .
    W h e n a n y cri mi n a l pr o c e e di n g s ar e o v e r o r i t h a s b e e n d e ci d e d n o t t o
    pr os e c ut e , t h e t hi n g s seize d wil l pr es u m a bl y b e r et ur n e d a n y w a y , b u t
    m e a n w hil e t h ei r o w n er s wil l h a v e b e e n d e pri v e d o f t h e m , pr o b a bl y f o r
    m a n y m o nt hs . A s I h a v e alr e a d y s ai d , t h e o c c u pi e r o f t h e pr e mis e s             p
    s e ar c h ed a n d o w n er s o f t h e arti cl e s seize d m a y b e i n n o c e n t o f a n y
    offe nc e a n d m a y n o t e v e n h a v e b e e n t h e p e o pl e s us p e ct e d . I t i s tr u e
    t h at t h e y mi g h t i n s o m e c as e s h a v e a ri g h t o f a cti o n f o r d a m a g es , b u t
   in m a ny c as es d a m a g es w o uld be a w h olly i n a d e q u ate r e m e d y. I t h er ef or e
    r ej e ct t he r e v e n u e's c o nt e nti on t h at t h ey h a ve a ri g ht or pri vil e ge to r ef us e
   to dis cl os e a t t hi s st a g e .
          T h e a p pli c ati on f o r j u di ci a l r e vi e w m ust be d e alt with on t he e vi d e n ce        G
   b ef or e t h e c o urt. I t is , of c o urs e , m ost u ns atisf a ct or y t o h a v e to r e a c h a
    fi n al d e cisi o n w hi c h wil l a m o u n t t o r e s j u di c at a wit h o u t f ul l e vi d e n c e
    fr om t h e r e v e n u e . I f t h e r e v e n u e —t h e d ef e n d a nt s i n t h e a cti o n b e g u n
    in t he C h a n c ery Di visi on a nd tr a nsf err ed t o t he Q u e e n's B e n ch Di visi o n—
    h a d n ot b e en t he Cr o w n, t he pr o bl em c o uld h a ve b e en s atisf a ct orily s ol v e d
    b y m a ki ng an i nt erim i nj u n cti o n, l e a vi n g t he s u bst a nti ve iss u es to be f ully          J J
    e x pl or e d a n d d e ci d e d a t t h e tri al . B ut . no i nj u n cti o n c a n b e gr a nt e d
    a g ai ns t t h e Cr o w n . Mr . B at es o n a n d Mr . D a v e n p or t a gr e e t h at — m os t
    u nf ort u n at el y , I t hi n k — w e c a n n o t m a k e a n i nt eri m d e cl ar ati o n ; w e w ere
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                                                                                                              981
     A. C . R e g                    . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) B r o w n         e LJ.
 . r ef err e d t o I nt er n ati o n al G e n er al El e ctri c C o m p a n y of N e w Y or k Lt d. v .
      C ust o ms a n d E x cis e C o m missi o n ers [ 1 9 6 2] C h . 7 8 4. B u t if t he r e v e n u e
      d e ci d e d n o t t o dis cl os e t h e n at ur e o f t h e offe nce s t h e y s us p e c t a n d t h e
      gr o u n d s f or t h ei r b eli ef t h a t t he d o c u m e nts t h e y s ei ze m ay be r e q uir ed a s
      e vi d e n c e , t h e y m us t t a k e t h e c o ns e q u e n c es . I e ntir el y a gr e e with w h a t I
      u n d erst a n d G of f L J . i s g oi ng to s ay a b o ut t his as p e ct of t he c as e.
            L or d D e n ni n g M. R . h a s f ull y st at e d t h e f a cts , a n d I d o n o t t hi n k I
B n e e d r e p e at t h e m. O n t he a v ail a ble e vi d e n c e, t he a p pli c a nts h a ve s atisfi ed
      m e t h at in r es p e ct of t he b ulk of t he d o c u m e nts seized t he r e v e n ue officer s
      h a d n o r e as o n a ble c a use to b eli e ve b ef or e t h ey s ei z e d t h e d o c u m e nts t h a t
      t h ose d o c u m e nt s m a y b e r e q uir e d a s e vi d e n c e f o r t h e p ur p os e s o f
      pr o c e e di n g s f o r a n y r el e v a n t offe nce . T h e e vi d e n c e o n b e h al f o f t h e
      a p pli c a nt s a nd t he lists pr e p ar ed by t he r e v e n u e, es p e ci ally as to t he ti m es
 _ , o f s ei z ur e , r ais e a str o n g pri m a f a ci e c as e t h a t t h e gr e a t b ul k o f t h e
      d o c u m e nt s w ere n ot e x a mi n ed at all a nd c ert ai nly n ot e x a mi n ed in e n o u gh
      d et ai l t o f or m a n y o pi ni o n a b o u t t h ei r e vi d e nti a l v al u e . T h er e w a s
      e vi d e n c e fr o m t h e r e v e n u e officer s t h a t s o m e d o c u m e nt s w er e e x a mi n e d
      in d et ail , b u t e v e n i n r es p e c t o f t h os e d o c u m e nt s t h e officer s gi v e n o
      gr o u n d s f o r t h ei r b eli e f a s t o t h eir r el e v a n c e a n d m er el y ass er t t h a t t h e y
      h a d r e as o n a bl e gr o u n d s f o r it . E v e n i f t h e r e v e n u e di d s ufficie ntl y
D e x a mi n e s o m e d o c u m e nts t o h a v e r e as o n a ble gr o u n d s f or b eli e f t h a t t h a t
      p arti c ul a r d o c u m e n t m ay be r e q uir ed a s e vi d e n c e, t his is n ot a c ase w h ere
      it i s p ossi bl e t o s pli t u p t h e d o c u m e nt s seize d a n d sa y t h a t s o m e w er e
      s ei z ed pr o p erl y a n d s o m e w ere seize d i m pr o p erl y . I t i s a c as e , as L or d
      D e n ni n g M. R . h a s s ai d , o f al l o r n ot hi n g .
             A c c or di n gl y I a gr e e with L ord D e n ni n g M. R. t h a t t h e a p pli c a nts h a ve
 E m a d e o ut t h ei r c as e, a nd t h at t h ey are e ntitl ed to t he t wo r e m e di es L ord
      D e n ni n g M. R . h a s m e nti o n e d — c erti or ar i t o q u as h t h e w arr a nt s a n d a
       d e cl ar ati o n t h a t t h e s ei z ur e w a s b a d , a n d t h a t t h e r e v e n u e m us t r et ur n
      t he d o c u m e nt s a n d al l c o pi e s o f t h e m . W e m a y wis h t o h e a r c o u ns e l
       f urt h er a b o u t t h e d et ail e d w or di n g o f t h e d e cl ar ati o n .

P G OF           F L J. L or d D e n ni n g M. R. h a s f ully st at e d t h e f a cts o f t hi s c as e
    a n d I wil l n ot w ast e ti me by r e p e ati ng a r e cit al o f t h e m , b ut will pr o c e ed
     a t o n ce to st ate in my o wn w or ds t he r e as o ns w hi ch l e ad me to c o n c ur with
     t he c o n cl usi o n s b ot h L ord D e n ni n g M. R. a n d Br o w n e L J. h a v e r e a c h e d ,
     w hi c h r e as o ns do n ot, I t hi n k, c o nfli ct i n a ny way with t h eirs w hi ch I also
     a d o pt .
           W e do n ot k n ow w h at w as t he e vi d e n ce on o at h on w hi ch t he cir c uit
G j u d g e a ut h oris e d t h e isss u e o f t h e w arr a nt s i n t hi s c as e , a n d , t h er ef or e ,
     in m y j u d g m e n t w e c a n n o t c o nsi d e r w h et h e r i t w a s s ufficie nt , a n d w e
     m us t I t hi n k pr o c e e d u p o n t h e ass u m pti o n t h a t i t w a s a n d t h a t h e
     a ct e d r e g ul arl y .
           T h e o nl y w a y, if a n y , in w hi ch we c o uld p ossi bl y arri ve at a differe n t
     c o n cl usi o n o n t h a t p oi nt, as it s e e m s to m e , w o uld be on t he gr o u nd t h a t
g t h e w arr a n t l a c k s s ufficie n t p arti c ul arit y , i f t h a t b e ri g ht , a n d t h a t w e
     s h o uld i nf er , t h er ef or e , t h a t t h e e vi d e n c e o n w hi c h i t w a s iss u e d w a s
     si mil arly l a c ki n g . T h a t a p pr o a c h , h o w e v er , w o ul d m a k e t h e q u esti o n
     w h et h e r t h e j u d g e a ct e d r e g ul arl y i n s u bst a n c e t h e s a m e a s t h e q u esti o n
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    G o S L. J . R e g             . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0           ]
    w h a t f or m t h e w arr a nt o u g h t t o t a k e. I , t h er ef or e , pr o c e e d o n t h e b asis .
    t h at t h e w arr a n t w a s r e g ul arl y iss u e d .
          T h e n I t ur n t o t h e q u esti o n w h et h e r t h e w arr a n t i s g o o d o r b a d o n
    t he f a ce o f it f or w a n t o f p arti c ul arit y . I t i s to be o bs er v ed t h at t h e A ct
    d o e s n ot s pecify a ny p arti c ul ar f or m, w hi ch c a n, t h er ef or e, o nly be g at h er ed
    fr om t he tr ue c o nstr u cti on of s e cti on 2 0C ( 1) of t he T a x es M a n a g e m e nt A ct
    1 9 7 0 a s a m e n d e d w hi c h i s q uit e g e n er a l i n it s t er m s : " . . . a n offe nc e
    i n v ol vi ng a ny f orm of fr a ud i n c o n n e cti on wit h, or in r el ati on t o, t a x. ..." B
    T h e w arr a nt si m pl y us e s t h ese s a me w or ds. T h e a p pli c a nts sa y t h at t h a t
    is n o t e n o u g h , a n d t h er e o u g h t t o b e s o m e d efi niti o n o r d es cri pti o n o f
    t he s us p e ct ed offe nce. I n t h eir st at e m e nt, filed p urs u a nt to R. S. C., Or d. 5 3,
    r. 3 ( 2), t h ey say t h at t he w arr a nts are ill e g al a nd v oid in t h at t h ey do n ot
    st ate by w h o m a n d w h e n t h er e are r e as o n a bl e gr o u n d s f or s us p e cti n g a n
    offe nc e h as b e en c o m mitt ed a nd t he pr e cise n at ure of a nd / or t he p arti c ul ar c
    a ct s c o nstit uti n g t h e offe nce . Mr . B at es o n w as , h o w e v er , I t hi n k f or c e d
    to c o n c e de t h at t h e c ase c a n n ot b e p ut a s hi gh a s t h at . A t al l e v e nts , I
    d o n o t a c c e p t t h a t i t c a n . B e ari n g in mi n d t h a t t h e w arr a n t iss u e s u p o n
    s us pi ci on a n d c o m e s i n t h e i n v esti g at or y st a g e , i t s e e m s t o m e t h a t t h e
    I nl a nd R e v e n ue c a n n ot be e x p e ct ed t o gi v e, n or n e e d t he w arr a nt s pecif y ,
    t he s us p e ct ed offe nce with a ny d e gr ee of p arti c ul arit y, b ut I t hi nk it c a n n ot
    b e ri g ht si m ply to c o py t he g e n er al w or ds of t h e s e cti on i nto t h e w arr a nt. D
          Mr . D a v e n p or t h a s p oi nt e d o u t ( a ) t h a t t h os e w or d s d efi n e a g e n u s
    a n d e x cl u d e al l cri mi n a l offe nce s o utsi d e t h a t g e n us ; ( b ) t h a t wit h o n e
    e x c e pti o n , a n d t h at a p pli c a bl e o nl y to S c otl a n d , t h e I n c o me T ax A ct s do
    n o t cr e ate a ny cri mi n al offe nces; t h os e h a ve to be c ull ed fr om t h e g e n er al
    l a w; a nd ( c ) t h at t h er e are o nly si x t y p es of offe nc e wit hi n t h e g e n us.
          T h es e m a y b e s h ortl y s u m m aris e d a s f oll o ws : ( 1 ) f als e a c c o u nti n g g
    wit hi n s e cti on 17 of t he T h eft A ct 1 9 6 8; ( 2) dis h o n estly o bt ai ni ng e x e m pti on
    o r a b at e m e n t o f li a bilit y u n d e r s e cti o n 2 o f t h e T h ef t A c t 1 9 7 8 ; ( 3 )
    p erj ur y , w hi c h w o uld i n cl u de f alse st at e m e nt s i n t ax r et ur ns ; ( 4 ) c o m m on
    l aw c h e ati n g, a nd t h er e is an a ct u a l i nst a n c e o f t h a t in a r e v e n u e c as e in
    R e g. v . H u ds o n [ 1 9 5 6 ] 2 Q. B . 2 5 2 ; ( 5 ) c o ns pir a c y t o d efr a u d ; a n d ( 6 )
    f or g er y. P
          Mr . D a v e n p ort ar g u es , t h er ef or e, t h a t as t he g e n us is t h us li mit e d, a nd
    t he differe n t s p e ci e s wit hi n t h e g e n u s m a y o v erl a p a n d i t m a y wel l b e
    diffic ul t t o d et er mi n e b ef or e s e ar c h wit hi n w hi c h c at e g or y o r c at e g ori e s
    t he offe nc e li es , a n d b e c a us e t h e I nl a n d R e v e n u e m us t b e e ntitl e d t o
    s pecify m or e t h an o ne t y pe of offe nce, it s h o uld be s ufficie nt i n t he w arr a nt
    m er el y t o st at e t h e w h ol e g e n us .
          O n t h e ot h e r h a n d , i n or d e r t o o bt ai n t h e a p pr o v a l o f t h e b o ar d , G
    w hi c h is a pr er e q uisit e to t he a p pli c ati on t o t he cir c uit j u d ge (s ee s e cti on
    2 0 C ( 1 ) ( a) a nd ( 2)) , a n d f urt h e r t o satisf y hi m t h a t t h er e i s r e as o n a bl e
    gr o u n d f o r s us pi ci o n t h a t a n offe nc e i n v ol vi n g a n y f or m o f fr a u d i n
    c o n n e cti o n wit h o r i n r el ati o n t o t ax h as b e en c o m mitt e d , a n d t h a t t h er e
    is e vi d e n ce of it at t he pr e mis es s o u g ht to be s e ar c h e d, t he I nl a nd R e v e n ue
    m us t h a ve sifted t h e m att er to a c o nsi d er a ble d e gr e e, a nd in my j u d g m e nt J J
    t he w arr a n t o u g ht , t h er ef or e , t o st at e o n it s f a ce t h a t i t r el at e s t o al l o r
    to s o me o ne or m or e, a n d, if s o , w hi ch of t he six s p e ci es of offe nc e wit hin
    t he g e n us.
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                                                                                                             983
     A. C . R e g                     . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) Gofl            E L. J .
  . Th          e w or d s " s u ch a n offe nc e " i n s u bs e cti o n ( 3 ) w o uld I t hi n k c o v e r
     a n y of t he offe nces wit hin s u bs e cti on ( 1) a nd j ustify r et e nti o n of d o c u m e nts
     f o u nd dis cl osi n g a n offe nc e ot h e r t h a n t h a t u p o n w hi c h t h e w arr a n t w a s
     b as e d , b ut d o n ot i n m y view j ustify t h e w arr a nt b ei n g dr a w n i n e ntir el y
     g e n er a l t er ms . I f t h e I nl a n d R e v e n u e i n a n y c as e ar e r el yi n g o n w h a t
     I h a v e j us t s ai d t o e n a bl e t h e m t o s ei z e d o c u m e nt s ot h e r t h a n t h os e i n
     r el ati on t o t h e offe nce u p o n w hi c h t h e w arr a nt w a s iss u e d, it w o uld be a
 B c o n diti o n t h a t t h e y m us t h a v e b e e n a cti n g r e as o n a bl y .
           In m y j u d g m e nt , t h er ef or e , t h e w arr a n t w a s b a d o n it s f a c e a n d t h e
     a p pli c a nt s are e ntitl ed t o an or d e r o f c erti or ar i t o q u ash it, a nd it f oll o w s
     to a d e cl ar ati on t h at t he r e v e n ue w ere n ot e ntitl ed to s ei ze a ny of t he d o c u-
     m e nt s w hi ch t h ey t o ok fr om a n y of t he pr e mis es a nd are b o u nd to d eli v er
     t h em up t o g et h er with all c o pi es.
           T h a t i s s ufficie n t t o dis p os e o f t h e c as e , b ut I wil l c o nsi d e r h o w t h e
     m att e r st a n ds on t he ass u m pti on t h at I a m wr o ng in t he c o n cl usi on I h a ve
     so f ar r e a c h e d.
           B ef or e d oi n g s o , h o w e v er , I p a us e t o sa y t h a t i t i s n o t n e c ess ar y t o
     c o nsi d e r a n y q u esti o n o f m a n d a m us , si n c e t h er e i s h er e n o d ut y f o r t h e
     e nf or c e m e n t o f w hi c h t h a t r e m e d y c o ul d b e m a d e a v ail a bl e . T h e s ol e
     q u esti o n i s w h et h e r t h e a p pli c a nt s ar e e ntitl e d t o t h e d e cl ar ati o n s I h a v e
D m e nti o n e d n ot wit hst a n di ng t he ass u m ed v ali dity of t he w arr a nt.
           Mr . B at es on s u b mits t h at t he e vi d e n ce s h o ws t h at t h ere w as r e ally h ere
     n o s e ar ch to fi nd t hi n gs, w hi ch t he s e ar c h ers mi g ht h a ve r e as o n a ble gr o u n ds
     to b eli e v e w er e e vi d e n c e o f a s us p e ct e d offe nc e o r offe nce s i n r es p e c t of
     w hi c h t he w arr a nt w a s o bt ai n e d, b ut a g e n er al r a ns a c ki n g of t he pr e mis es
     to s e e i f e vi d e n c e o f s o m e cri m e o r ot h e r w o ul d s h o w u p , a nd h e r eli e s
 p o n t he f oll o wi ng p ass a ge in t he j u d g m e nt o f L ord D e n ni ng              M. R. in G h a ni
 h v . J o n es [ 1 9 7 0] 1 Q. B. 6 9 3, 7 0 6- 7 0 7:
             " T he c o m m o n l a w d o e s n o t p er mi t p oli c e officers , o r a n y o n e els e ,
             to r a ns a c k a n y o n e' s h o us e, or to s e ar c h f or p a p er s or arti cl es t h er ei n,
             o r to s e ar ch his p ers o n, si m ply to s ee if he m ay h a ve c o m mitt ed s o me
             cri m e or ot h er . I f p oli c e officers s h o ul d s o d o, t h ey w o uld be g uilty
             o f a tr es p ass. E v e n if t h ey s h o uld fi nd s o m et hi ng i n cri mi n ati ng a g ai nst
 F hi m            , I s h o ul d h a v e t h o u g h t t h a t t h e c o ur t w o ul d n o t all o w i t t o b e
             us e d in e vi d e n ce a g ai nst him if t he c o n d u ct of t h e p oli ce officers w a s
             so o p pr essi v e t h a t i t w o ul d n o t b e ri g ht t o all o w t h e Cr o wn t o r el y
             u p o n i t... "
            M or e s pecificall y h e s a ys , first, t h a t t h e d o c u m e nt s t a k e n w er e s o
      n u m er o us , a nd t he i ns p e cti on of m a ny of t h em so c urs or y, t h at with r es p e ct
G t o a l ar ge pr o p orti on t h e i ns p e ct ors c o ul d n o t a t t h e ti me of s ei z ur e h a ve
      h a d r e as o n a bl e gr o u n d s f o r b eli e vi n g t h a t t h e y mi g h t b e r e q uir e d a s
      e vi d e n c e o f a n offe nce , b u t o nl y h o p e d t h a t w h e n c o m p ar e d wit h ot h er s
      a n d dili g e ntl y e x a mi n e d a c as e mi g h t be est a blis h e d .
            A ki n t o t hi s h e s a y s t h a t t h e d o c u m e nt s m us t b e e x a mi n e d o n t h e
      pr e mis es . T h er e i s no p o w e r to r e m o ve t h em f o r e x a mi n ati o n els e w h er e ,
J J si n c e t h ey c a n o nl y be r e m o v ed i f s ei z e d , a nd t h e y c a n n o t be seized u nti l
      e x a mi n e d to s ee if t h ere be r e as o n a ble gr o u n ds f or b eli e vi ng t h at t h ey mi g ht
      b e r e q uir e d a s e vi d e n c e . H e ar g u e s t h a t i m pr a cti c a bilit y o f e x a mi n ati o n
      o n t he pr e mis es c a n n ot gi ve a ri g ht of r e m o v al f or s e ar ch els e w h er e.
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    984
    G of f L J . R e g             . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0             ]
           A g ai ns t t h at , Mr . D a v e n p ort , w hils t he a d mits t h at t he s e ar c h ers m ust .
    m a k e u p t h ei r mi n d w hils t o n t h e pr e mis e s t h a t t h er e ar e r e as o n a bl e
    gr o u n d s f o r b eli e vi n g t h a t t h e d o c u m e nt s r e m o v e d m a y b e r e q uir e d a s
    e vi d e n c e , a n d t h at r e as o n a bl e gr o u n ds f or t h a t belie f m us t t h en a nd t h ere
    e xist , ass erts t h at t he I nl a nd R e v e n u e m ay t h en s ei z e all d o c u m e nts as to
    w hi c h t h ey h a ve on r e as o n a ble gr o u n ds f or m ed s u c h belief a n d m ay t h er e-
    aft e r o n t h ei r o w n pr e mis es o r a n y w h er e els e a n al yse t h e m , s u b mi t t h e m
    to f or e nsi c e x a mi n ati o n , a n d o bt ai n e x p er t a d vi c e , l e g a l o r ot h er wis e , B
    a b o u t t h e m.
           If, a n d w h e n , as a r es ult t h ey as c ert ain t h at a ny are n ot r e q uir e d, t h e n,
    a s Mr . D a v e n p or t r e a dil y a c c e pt e d, t h e y m ust r et ur n t h e m , b u t ot h er wis e
    t h ey are e ntitl ed to k e ep t h em u ntil t he c o nt e m pl at ed cri mi n a l pr o c e e di n gs
    h a v e b e en l a u n c h ed a n d d e ci d e d , in s u p p or t of w hi ch he r eli es on M al o n e
    v . M etr o p olit a n P oli c e C o m missi o n er [ 1 9 8 0 ] Q. B . 4 9 w h ere t h e p oli c e
    w er e h eld e ntitl ed to r et ain m o n e ys seized u n d er a s e ar ch w arr a nt u ntil t he
    e n d of t he cri mi n al tri al, alt h o u gh t h ey h ad n ot b e en us ed in t he c o m mitt al
    pr o c e e di n gs ; a n d , i n m y j u d g m e nt , i f t h e d o c u m e nt s w er e pr o p erly t a k e n
    in t he first i nst a n c e, t h at w o uld f oll o w.
           In t h e e n d , as it s e e m s to m e, t he p ositi on c o m e s d o w n to t his . T h e
    a p pli c a nts ' e vi d e n ce d o es r aise a str o ng pri ma f a ci e. c ase t h at Mr. B at es o n's
    s u b missi o ns ar e ri g h t s o t h at t h er e w as an a b use of p o w er . T h er ef or e , i t D
    is i n c u m b e nt u p on t he r e v e n ue to j ustify t he s ei z ur e.
          I s h o ul d h ere o bs er ve t h at on t he f a cts of t his c ase t h ere are no m e a ns
    o f disti n g uis hi ng b et w e en d o c u m e nts pr o p erly seized a nd t h ose n ot pr o p erly
    s ei z ed so as to e n a ble t he c o urt to s e p ar ate t h em a nd to gr a nt relief li mit e d
    to t h e l att e r c at e g or y . I sa y t hi s s o t h at i t m a y n o t be t h o u g ht t h a t my
   j u d g m e nt is a ut h ority f o r t h e pr o p ositi on t h at t a ki n g t oo m u ch n e c ess arily p
    i n v ali d at es t h e w h ol e s ei z ur e . T h er e m a y wel l b e m a n y c as e s i n w hi c h
   it will n ot.
          T hi s b ei n g s o , t h e a ns w er o f t h e I nl a n d R e v e n u e is t w of ol d. ( 1 ) We
   ar e n o t a t t hi s st a g e o bli g e d t o d o m or e t h a n s w e a r t h a t w e did b eli e v e
   a n d h a d r e as o n a bl e gr o u n d s t o b eli e ve t h at t he d o c u m e nt s we t o ok mi g ht
   b e r e q uir ed a s e vi d e n ce of an offe nce i n v ol vi n g a ny f orm o f fr a ud i n c o n-
   n e cti o n with or in r el ati on to t a x, b e c a use it w o uld or mi g ht be d etri m e nt al F
   to o u r i n q uiri es ; a n d i n s u p p or t o f t h at , i n an affi da vi t p u t in o n t he l ast
   d a y of t he h e ari ng b ef ore t he Di visi o n al C o urt, Mr. D er mit s ai d:
            " I v eril y b eli e ve t h at it w o uld be gr e atly d etri m e nt a l to a n d o bstr u c -
            ti ve o f i n q uiri e s o f t hi s n at ur e t o dis cl os e a t t hi s st a g e t h e pr e cis e
            n at ur e o f t h e offe nce s i n r es p e c t o f w hi c h pr o c e e di n g s m a y b e
            t a k en a nd in w hi ch t he d o c u m e nts seized m ay be r e q uir ed as e vi d e n c e. G
            S u c h dis cl os ur e , i n m y vi e w , w o ul d b e h ar mf u l b e c a us e , i nt e r ali a ,
            it mi g h t r e v e a l t o t h os e s us p e ct e d o f h a vi n g c o m mitt e d offe nce s n o t
            o nl y t h a t t h os e p ers o n s h a ve b e en i d e ntifi e d b y t h e I nl a n d R e v e n u e
            b u t als o t h e e xt e n t a n d n at ur e o f t h e i nf or m ati o n i n t h e R e v e n u e' s
            p oss essi o n c o n c er ni n g s u c h off e n c es. "
                                                                                                                  H
          Mr . D a v e n p ort also r eli ed on Wil o v er N o mi n e es Lt d. v. I nl a n d R e v e n u e
   C o m missi o n ers [ 1 9 7 4] 1 W. L. R. 1 3 4 2 , b ut t h a t i s I t hi n k disti n g uis h a bl e
   a n d p os e d a differe n t pr o bl e m .
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                                                                                                                 985
    A. C . R e g                     . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) G of                   f LJ.
         ( 2) In a n y e v e nt , w e did gi v e s ufficie nt e vi d e n c e to s h o w t h at w e h ad
    r e as o n a ble gr o u n ds . H er e Mr . D a v e n p or t r eli e s i n p arti c ul a r o n t h e
    affi da vit o f Mr . Q ui nl a n fr o m w hi c h I r e a d t h e f oll o wi ng e xtr a cts :
           " B ef or e t h e s e ar c h w arr a nt s w er e e x e c ut e d al l t h e t e a m s w er e
           a d dr ess e d in my pr es e n ce by Mr. W. M. D er mit, t he Assist a nt Dir e ct or
            in c h ar g e o f t h e S p e ci a l I n v esti g ati o n s S e cti o n , a s t o t h e pri n ci pl e s
           a n d pr o c e d ur e t o b e f oll o we d i n t h e s e ar c h . Mr . D er mi t m a d e i t
B q uit            e cl e ar to all t h ose i n v ol v ed t h at t h ey w ere o nly to s ei ze d o c u m e nts
            o r arti cl e s w hi c h t h e y h a d r e as o n a bl e c a us e t o b eli e v e mi g h t b e
            r e q uir ed a s e vi d e n c e f o r t h e p ur p os e o f pr o c e e di n g s i n r es p e c t t o
            s u ch offe nces . I h a d arr a n g e d with e a ch t e am l e a d er to gi ve d et ail ed
            i nstr u cti o ns t o hi s t e a m i n r el ati o n t o t h e p arti c ul a r pr e mis e s t o b e
            s e ar c h ed b y t h e m . I n t h e c as e o f m y t e a m I arr a n g e d f o r t h es e
Q i nstr u cti o n            s to be gi ven by t he s aid Mr. T h o m as a nd I v erily b eli e v ed
            t h at t hi s w a s d ul y d o n e . I h a v e r e a d t h e affi da vi t t o b e s w or n
             h er ei n b y t h e s ai d Mr . T h o m a s a n d t h e i nstr u cti o n s t o w hi c h h e
             t h ere r ef ers w er e as I h a d dis c uss e d wit h him in a d v a n c e. . . .
                   " Fr om ti m e t o ti m e d uri n g t h e s ai d s e ar c h i n di vi d u a l r e v e n u e
             officer s as k e d m e w h et h e r c ert ai n m at eri a l w hi c h t h e y h a d f o u n d
             c a m e i nto t h e s ai d c at e g or y a n d I w o uld gi ve a r uli n g. D uri n g t h e
^ c o urs             e of t he d ay a gr e at m a ny d o c u m e nts w ere r e m o v ed b ut I v erily
             b eli e v e t h at t h e y all f ell wit hi n my s aid i nstr u cti o ns.
                    " . . . d uri n g t h e d a y I w e n t t hr o u g h t h e t w o v ol u m e s e c uriti e s
             r e gist er p a g e by p a ge with t he m a n a g er o f R oss mi nst e r sitti n g b esi de
             m e a nd s el e ct e d o nl y c ert ain o bj e ct s in s u ch r e gist er. I w e nt t hr o u gh
             a v er y t hi c k c orr es p o n d e n c e fil e of a Mr . Gl at t a n d r el e as e d i t all .
 E I             also w e nt t hr o u gh all t he i n c o mi ng t el ex m ess a g es a nd t he m a n a g er's
             o ut g oi n g p ost, a nd r el e as ed it all. I c arri ed o u t a s a m ple c h e ck of t he
             l e d g er c ar ds a nd m a de s p e ci al arr a n g e m e nts with t he m a n a g er to h a ve
             t h em p h ot o c o pi e d o n t h e pr e mis e s i n or d e r t h a t t h e ori gi n al s c o ul d
             r e m ai n. T h es e ar e b u t e x a m pl e s o f s o m e o f t h e d et ail e d s e ar c hi n g
             w hi c h I, a n d I v eril y b eli e v e, ot h er officer s c arri e d o u t o n t h e d ay in
             q u esti o n . B u t i n a v er y gr e a t m a n y i nst a n c e s file s a n d b u n dl e s o f
 ** d o c u m e nt           s w er e r e m o v e d w he n t h ei r titl e o r s u bj e c t m att e r m a d e i t
             cl e a r t h a t t h ei r c o nt e nt s w er e s u c h t h a t t h e officer s h a d r e as o n a bl e
             c a us e to b eli e ve t h at t h e y mi g ht be r e q uir e d as e vi d e n ce f or t h e p ur-
             p os e of pr o c e e di n gs in r es p e ct of a ny s u ch offe nces
                   " C o nsi d er ati on o f t h e d o c u m e nt s a n d ot h e r arti cl e s s ei z e d a t t h e
             s aid pr e mis e s o f A . J . R . Fi n a n ci a l S er vi c e s Lt d . a n d t h e h o m e s of
G Mr               . Pl u m m e r a n d Mr . T u c k e r r ei nf or c e s m y belie f t h a t n o n e o f t h e
             officer s s e ar c hi n g s u ch pr e mis es s ei z ed m at eri al w hi ch he did n ot h a ve
             r e as o n a ble c a us e t o b eli e v e mi g h t b e r e q uir e d f o r t h e af or es ai d
             p ur p os es. "
     Mr . D a v e n p ort also r ef err ed u s to t he affi da vit o f Mr. T h o m as, fr om w hi ch
     I r e ad t he f oll o wi ng s h ort p ass a g e:
            " W h en a ct u all y s e ar c hi n g i t w a s i n al m os t al l i nst a n c e s cl e a r fr o m
            t he titl e t o a fil e o r t h e s u bj e c t m att e r o f a b u n dl e o f d o c u m e nt s
            w h et h e r o r n ot it s h o ul d be s ei z e d. B u t d uri ng t he c o urse of t he d ay
                                                                                         A. C . 1 9 8 0 — 3 8
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     986
     G of f L. J . R e g              . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0               ]
           I a n d m y c oll e a g u e s r e a d t hr o u g h a l ar g e n u m b e r o f d o c u m e nt s i n ^
           w h ol e o r i n p ar t i n or d e r t o d e ci d e w h et h e r t h e y s h o ul d b e s ei z e d
           o r n ot."
     T h e n Mr. R a m a ge in his affi da vit s ai d:
            " Alt h o u g h Mr . Pl u m m e r a p p e ar e d t o k e e p m a n y b usi n es s p a p er s
            a t hi s h o m e i t w a s in al m ost al l c as es p ossi ble t o as c ert ain fr o m t h e
            ti de of files or t he s u bj e ct m att er of b u n dl es or c at e g ori es of d o c u m e nts ] $
            w h et h e r t h e y fel l i nt o t he a b o ve d es cri pti on b ut w h er e t h ere w as a ny
            d o u b t eit h e r I or o n e of t he officers wit h me w e nt t hr o u gh t he p a p ers
            in f urt h er d et ai l u ntil we w ere satisfied t h a t t h ey eit h er s h o uld or n e ed
           n o t be s ei z e d. I am q uite satisfied in r el ati on to e a ch of t he d o c u m e nts
           o f w hi ch Mr. Pl u m m er m a k es s pecific m e nti on in t he s aid p ar a gr a ph 5
           t h at t h e y di d f al l wit hi n t h e a b o v e d es cri pti o n a n d t h a t I di d h a v e
           r e as o n a ble c a us e t o b eli e v e t h a t t h e y mi g h t b e r e q uir e d f o r t h e s ai d C
           p ur p os e. "
    Fi n all y Mr. W att s ai d:
            " Mr . T u c k e r di d n o t a p p e a r t o k e e p a n y b usi n es s p a p er s a t hi s
           h o m e a nd it w as in all c as es p ossi ble to as c ert ain fr om t he title of fil es
           o r t h e s u bj e c t m att e r o f b u n dl e s o r c at e g ori e s o f d o c u m e nt s w h et h e r ^
           t h ey f all i nt o t he a b o ve d es cri pti o n. I di d n ot h a ve a ny diffic ult y i n
           m a ki n g up my mi nd in a c c or d a n ce with my i nstr u cti o ns w h at I s h o uld
           a n d w h at I n e e d n ot s ei z e. I am q uite s atisfi ed in r el ati on to e a ch of
           t he d o c u m e nt s a t Mr . T u c k er' s h o us e t o w hi c h Mr . T u c k e r m a k e s
           s pecific m e nti on in his s aid affi da vit t h a t t h ey did f all wit hin t he a b o ve
           d es cri pti o n a n d t h a t I di d h a v e r e as o n a bl e c a us e to b eli e ve t h at t h ey
           mi g h t b e r e q uir e d f o r t h e s ai d p ur p os es , wit h t h e e x c e pti o n o f t h e E
           b a n k st at e m e nt s b el o n gi n g t o st u d e n t t e n a nt s t o w hi c h Mr . T u c k e r
           r ef ers i n p ar a gr a ph 3 of hi s affi da vit. T h es e I e x a mi n e d b u t di d n ot
           s ei z e."
        In s u p p or t o f t h e first li m b o f t hi s ar g u m e nt , Mr . D a v e n p or t r eli e s
   u p o n t h e d ut y o f t h e b o ar d t o d et e c t a n d pr os e c ut e cri mi n a l dis h o n est y
   in e v a di ng t a x es, a nd t he d a n g ers to t h eir i n q uiri es if t h ey are c all ed u p o n F
   to gi ve r e as o ns f or t h ei r b eli ef. I t is , he s u b mits, a c ase of b al a n ci n g t he
   p u bli c i nt er est in t he d et e cti on a nd p u nis h m e nt of cri m e a nd t he n e c essity
   o f pr ot e cti ng t h e ri g hts of pri v at e i n di vi d u al s i n r es p e c t o f t h ei r pr o p ert y ,
   s ee G h a ni v. J o n es [ 1 9 7 0 ] 1 Q. B. 6 9 3 w h ere L ord D e n ni n g M. R . s ai d ,
   a t p. 7 0 8:
          " W h a t i s t h e pri n ci pl e u n d erl yi n g t h es e i nst a n c es ? W e h a v e t o Q
          c o nsi d er , on t he o ne h a n d, t he fr e e d om o f t he i n di vi d u al. Hi s pri v a cy
          a n d hi s p oss essi o n s ar e n o t t o b e i n v a d e d e x c e p t f o r t h e m os t
          c o m p elli n g r e as o ns . O n t h e ot h e r h a n d , w e h a v e t o c o nsi d e r t h e
          i nt er est o f s o ci et y a t l ar g e in fi n di n g o ut wr o n g d o er s a n d r e pr essi n g
          cri m e . H o n es t citi z e n s s h o ul d h el p t h e p oli c e a n d n o t hi n d e r t h e m
          in t h ei r eff ort s t o tr a c k d o w n cri mi n als. "
        I a gr e e t h at t hi s b al a n ci ng pr o bl em d o e s pr es e nt its elf, b ut i n c arr yi n g
   o u t t he e x er cise in t his c ase t h ere ar e, as it s e e m s to m e , t hr ee i m p ort a n t
   c o nsi d er ati o n s to b e ar in mi n d: ( 1 ) t he g e n er al d uty of t he c o urt to e x er cise
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                                                                                                             987
     A. C . R e g                     . v . L R. G , E x p . R oss mi nsf c r ( C. A. ) G of               f L. J .
 . s ur v eill a n c e o v er t he e x er cise of e x e c uti v e p o w er. ( 2 ) T he e xtr e m ely wi de
     a n d g e n er a l n at ure of t he p o w er c o nf err ed b y s e cti on 2 0C a nd c o ns e q u e n t
     d a n g e r o f a b us e . ( 3 ) T h e f a c t t h a t i t a ut h oris e s t h e s e ar c h o f pr e mis e s
     b el o n gi n g to p ers o ns b eli e v e d, or e ven k n o wn to b e, e ntir ely i n n o c e nt a n d
     t he s ei z ure of t h e d o c u m e nts of s u ch p ers o ns eit h er on t h eir o wn pr e mis es
     o r els e w h er e. I f t he d o c u m e nts of s u ch p ers o ns c an be t a k en a nd r et ai n e d
     till aft er a d e cisi on h as b e en r e a c h ed to l a u n ch cri mi n al pr o c e e di n gs a g ai nst
B ot h e r p e o ple a nd u ntil t h ose pr o c e e di n gs h a ve b e en h e ar d, t he c o ns e q u e n c es
     f or t h e i n n o c e nt p art y m a y be v ery s eri o u s i n d e e d, i f n o t t ot all y r ui n o us .
           T h e i m p ort a n ce o f t hi s d uty o f s ur v eill a n c e is in m y j u d g m e nt cl e arl y
     b or n e o ut by G h a ni's c ase a nd t he f oll o wi ng a ut h oriti es. First , in P a dfi el d
      v . Mi nist er of A gri c ult ur e, Fis h eri es a n d F o o d [ 1 9 6 8 ] A. C . 9 9 7 L or d
     P e ar c e s ai d, at p p. 1 0 5 3- 1 0 5 4:
Q "              I d o n o t r e g ar d a mi nist er' s f ail ure o r r ef us a l t o gi v e a ny r e as o n s
             a s a s ufficie n t e x cl usi o n o f t h e c o urt' s s ur v eill a n c e . I f al l t h e pri m a
             f a cie r e as o n s s e e m t o p oi nt i n f a v o u r o f hi s t a ki n g a c ert ai n c o urs e
             to c arry o ut t he i nt e nti o ns o f P arli a m e nt in r es p e c t of a p o w er w hi ch
             it h as gi v en him in t h a t r e g ar d , a n d h e gi ves no r e as o n w h at e v e r f o r
             t a ki ng a c o ntr ar y c o urs e , t h e c o ur t m a y i nf e r t h a t h e h a s n o g o o d
j) r e as o           n a n d t h a t h e i s n o t usi n g t h e p o w e r gi ve n b y P arli a m e n t t o
             c arr y o u t it s i nt e nti o ns. "
            I a m n o t o v erl o o ki n g Mr . D a v e n p ort' s a ns w e r t h a t s u c h a n i nf er e n c e
      s h o uld n o t b e dr a w n w h er e t h e p arty c o n c er n e d gi v e s t h e gr o u n d s u p o n
      w hi c h h e ref use s t o dis cl os e hi s r e as o ns , b u t t h a t v er y ar g u m e n t d ef e at s
      t he c o urt' s ri g h t a n d d ut y t o effec t s ur v eill a n c e .
 E S e c o n dl y          , a m os t i m p ort a n t a ut h orit y i n t hi s c o n n e cti o n t o w hi c h I
      w o ul d m a k e r ef er e n c e i s N a k k u d a Ali v . J a y ar at n e [ 1 9 5 1 ] A. C . 6 6
      w h er e L ord R a d cliff e d eli v eri n g t h e j u d g m e nt o f t h e B o ar d, aft e r q u oti n g
      Li v ersi d g e v. A n d ers o n i n t h e H o us e o f L or d s [ 1 9 4 2 ] A. C . 2 0 6 , s ai d ,
      a t p. 7 7:
              " B u t t h e el a b or at e c o nsi d er ati o n w hi c h t h e m aj orit y o f t h e H o us e
 p ga v            e to t he c o nt e xt a nd cir c u mst a n c es b ef ore a d o pti ng t h at c o nstr u cti on
             its elf s h o w s t h a t t h er e i s n o g e n er a l pri n ci pl e t h a t s u c h w or d s ar e
             to b e s o u n d erst o o d ; a n d t h e diss e nti n g s p e e c h o f L or d At ki n a t
             l e ast s er v e s a s a r e mi n d e r o f t h e m a n y o c c asi o n s w h e n t h e y h a v e
             b e e n tr e at ed a s m e a ni ng ' if t h er e is in f a ct r e as o n a bl e c a use f or A. B.
             so t o b eli e v e. ' Aft e r all , w or d s s u c h a s t h es e ar e c o m m o nl y f o u n d
             w he n a l e gisl at ur e o r l a w- m a ki n g a ut h orit y c o nf er s p o w er s o n a
G mi nist e               r o r official . H o w e v e r r e a d , t h e y m us t b e i nt e n d e d t o s er v e
             in s o m e s e ns e a s a c o n diti o n li miti n g t h e e x er cis e o f a n ot h er wis e
             ar bitr ar y p o w er . B u t if t h e q u esti o n w h et h e r t h e c o n diti o n h a s b e en
             satisfied i s t o b e c o n cl usi v el y d e ci d e d b y t h e m a n w h o wi el d s t h e
             p o w e r t h e v al u e o f t h e i nt e n d e d r estr ai n t i s i n effec t n ot hi n g . N o
             d o u b t h e m us t n o t e x er cis e t he p o w er i n b a d f ait h : b u t t h e field i n
J J w hi c           h t his ki n d o f q u esti o n aris e s is s u ch t h at t h e r es er v ati on f o r t h e
             c as e o f b a d f ait h i s h ar dly m or e t h a n a f or m alit y . T h ei r L or ds hi p s
             t h er ef ore tr e a t t h e w or ds i n r e g ul ati o n 6 2 , ' w h ere t he c o ntr oll e r h a s
              r e as o n a ble gr o u n d s t o b eli e v e t h a t a n y d e al e r i s u nfi t t o b e all o w e d
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    988
    G of f L J . R e g               . v . I. R. C. , E x p . R oss mi nst e r ( C. A. ) [ 1 9 8 0               ]
          to c o nti n u e a s a d e al er ' a s i m p osi ng a c o n diti o n t h a t t h er e m us t i n .
          f a ct e xis t s u c h r e as o n a bl e gr o u n ds , k n o w n t o t h e c o ntr oll er , b ef or e
          h e c an v ali dl y e x er cis e t h e p o w er o f c a n c ell ati o n. "
         Fi n all y , s e e p er L ord Wil b erf or c e i n S e cr et ar y of St at e f or E d u c ati o n
    a n d S ci e n c e v. T a m esi d e M etr o p olit a n B or o u g h C o u n cil [ 1 9 7 7] A. C . 1 0 1 4.
    L or d Wil b erf or c e s ai d , a t p . 1 0 4 7 :
           " T he s e cti o n i s fr a m e d i n a ' s u bj e cti v e' f or m —i f t h e S e cr et ar y o f B
           St at e ' is s atisfi e d.' T hi s f orm o f s e cti o n is q uite well k n o w n, a n d a t
           first si g h t mi g h t see m t o e x cl u d e j u di ci a l r e vi e w . S e cti o n s i n t hi s
           f orm m a y , n o d o u bt , e x cl u d e j u di ci a l r e vi e w o n w h a t i s o r h a s
           b e c o m e a m att er o f p ure j u d g m e nt. B u t I d o n ot t hi nk t h a t t h ey go
           f urt h er t h a n t h at. I f a j u d g m e nt r e q uir es, b ef ore it c an be m a d e, t he
           e xist e n c e o f s o m e f a cts , t h e n , alt h o u g h t h e e v al u ati o n o f t h os e f a ct s C
          is f or t he S e cr et ary of St ate al o n e, t he c o urt m ust i n q uire w h et h er t h ose
          f a cts e xist , a n d h a v e b e en t a k e n i nt o a c c o u nt , w h et h e r t h e j u d g m e nt
          h a s b e en m a de u p on a pr o p er s elf- dir e cti o n a s to t h ose f a cts, w h et h er
          t he j u d g m e n t h a s n o t b e e n m a d e u p o n ot h e r f a ct s w hi c h o u g h t n o t
          to h a v e b e en t a k e n i nto a c c o u nt . I f t h es e r e q uir e m e nt s ar e n ot m et,
          t h en t he e x er cise of j u d g m e nt , h o w e v er b o na fi d e it m ay b e, b e c o m es D
          c a p a bl e of c h all e n ge ... "
         W hi c h way t he b al a n ce li es is n ot w h olly e asy to d et er mi n e, b ut I h a ve
   in t h e e n d c o m e t o a fir m c o n cl usi on t h a t t h e c as e i s o n e i n w hi c h t h e
   r e v e n ue are r e q uir ed e v en at t his st a ge to st ate t he gr o u n ds f or t h ei r belief
   so t h at t h e c o urt c a n d et er mi n e w h et h er t h e y are r e as o n a bl e, a nd t h at , of
   c o urs e , t h ey h a ve f ail ed to d o. E
         In m y j u d g m e n t Mr . Q ui nl a n' s affi da vi t a n d t h e ot h e r e vi d e n c e o n
   b e h al f o f t h e r e v e n u e t o w hi c h I h a v e r ef err ed i s n ot s ufficie n t f o r t h es e
   r e as o ns. First , of c o urs e , it g o es o nly to s o me of t he d o c u m e nts, a nd t his
   is a c as e o f al l o r n ot hi n g ; s e c o n dl y , e x c e p t p ossi bl y s o m e it e m s i n t h e
   s e c uriti es r e gist e r a n d t h e l e d g e r c ar ds , it d o e s n o t i d e ntif y w hi c h o f t h e
   d o c u m e nt s Mr . Q ui nl a n o r a n y ot h e r s e ar c h e r d e ci d e d s h o ul d b e s ei z e d p
   b e c a us e t h e y mi g h t b e r e q uir e d a s e vi d e n c e ; a n d , t hir dl y , o f c o urs e , a nd
   m os t i m p ort a nt, stil l t he r e v e n u e do n ot st at e t he gr o u n ds f or t h ei r b eli ef.
          Mr . D a v e n p or t ar g u e d str e n u o usl y a n d p ers u asi v el y t h a t t h e v ari o u s
   ki n d s o f d o c u m e nt s t a k e n mi g h t w el l b e e vi d e n c e f o r t hi s o r t h e ot h e r
   r e as o n, a n d i n p arti c ul a r t h e c hil dr e n' s c h e q u e b o o ks, b e c a use o n e mi g ht
    w a n t t o s e e w h er e m o n e y h a d g o n e , a n d p ass p ort s t o s h o w w h et h e r t h e
   h ol d e r h a d g o n e t o s o m e p arti c ul ar pl a c e a t s o m e p arti c ul ar ti m e . T hi s "
   li ne o f ar g u m e nt , h o w e v er , i s i ns ufficie n t i n m y j u d g m e n t b ot h b e c a us e
    it i s h y p ot h eti c al , a n d b e c a us e m u c h o f i t d e p e n d s u p o n ass u mi n g a n
    offe nc e h a s b e en c o m mitt e d o r a p p e ar s t o h a v e b e en c o m mitt e d , b ut , of
   c o urs e , t h at h a s n ot b e en s h o w n. T h er e is no e vi d e n ce at all to s h ow t h at
   t he i n di vi d u als a nd t he c o m p a ni es w h ose pr e mis es w ere s e ar c h e d, or a ny o ne
   o r m ore of t h e m , or a n y b o dy in p arti c ul ar is s us p e ct e d, m u ch l ess pr o v ed f j
   to be g uilt y. A s I h a ve o bs er v e d, t he p o w er of s e ar ch gi ven by s e cti on 2 0C
    e xt e n d s t o p erf e ctl y i n n o c e n t p ers o ns , a n d u nl es s a n d u nti l t h e r e v e n u e
    a d d u c e e vi d e n ce s h o wi ng t h at t h ey s us p e ct t his p ers on or t h at, t he q u esti on
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                                                                                                              989
       A. C . R e g                    . v . I. R. C. , Ex p . R oss mi nst e r ( C. A. ) G of              l LJ.
       o f r e as o n a bl e gr o u n d s m us t b e d e ci d e d o n t h e ass u m pti o n o f i n n o c e n c e .
       If t h e r e v e n u e' s ar g u m e n t w er e all o w e d t o pr e v ail , t h e c o ur t w o ul d b e
       pr e cl u d e d fr o m c o ntr o l n o t o nl y a t t hi s v er y m o m e n t b u t u nti l aft e r t h e
       c o n cl usi o n of t he cri mi n al tri al or t he d e cisi on n ot to pr os e c ut e, as t he c ase
       m a y b e.
              F o r t h ese r e as o ns I w o uld all ow t his a p p e al a nd m a k e t he d e cl ar ati o n s
       as k e d f or , s u bj e c t t o a n y o bs er v ati o n s b y c o u ns el a s t o t h e pr e cise f or m
B    i n w hi ch t h ey s h o uld g o, e v en if t he w arr a nt w as g o o d.
              B ef or e I cl os e t his j u d g m e nt, I w o uld li ke to a dd a few o bs er v ati o ns on
       a p oi n t w hi c h di d tr o u bl e me d uri n g t he ar g u m e nt. T h e a p pli c a nts c o m -
       m e n c e d pr o c e e di n gs by an or di n ary writ a cti on a nd m o v ed f or i nt erl o c ut ory
       relief w hi c h , b u t f o r t h e f a c t t h a t t h e r e v e n u e ar e i n effec t t h e Cr o w n ,
       c o ul d h a v e b e en gr a nt e d wit h o u t pr ej u di c e t o w h a t mi g ht b e d et er mi n e d
p   l at e r a t t h e tri al. B e c a us e o f t h a t f a ct , h o w e v er , s u c h relief c o ul d n ot b e
       gr a nt e d , a n d t h es e pr o c e e di n g s b y wa y o f j u di ci a l r e vi e w ar e t h e o nl y
        m e a n s by w hi ch t h e a p pli c a nt s c a n o bt ai n e x p e diti o u s relief , b ut t h en t h e
        or d e r w e m a ke i s a fi n al o ne a n d , a s b ot h p arti es a gr e e , t h e d e cl ar ati o n s
        wil l m a ke t he iss ue of la wf u l o r u nla wf u l s ei z ur e r es j u di c ata b et w e e n t h e
        p arti e s at t h e tri al o f t h e C h a n c ery a cti o n, n ow tr a nsf err ed t o t he Q u e e n' s
        B e n c h Di visi o n, l e a vi ng t he r e v e n ue with no a ns w er to a cl aim f or d a m a g es,
D    t h e o nly q u esti on b ei ng t h at of q u a nt u m.
               I w a s c o n c er n ed w h et h e r a n yt hi n g c o ul d or s h o ul d b e d o ne to pr e v e nt
        t he pr o c e d ur al c h a n ge h a vi ng also t his s u bst a nti ve effect. I t was s u g g est ed
        t h at w e s h o uld i n t he e x er cis e of o u r dis cr eti o n r ef us e t o m a ke a d e cl ar a-
        ti on at all on t he gr o u nd t h at it is n ot in all t he cir c u mst a n c es of t he c ase
        j ust a nd c o n v e ni e nt: s e e Or d. 5 3, r. 2 ( c). I n my j u d g m e nt, h o w e v er, t h at
E     c a n n o t b e ri g ht . W e h a v e h e ar d a n d d e ci d e d t h e c as e , a n d m us t gr a n t
        r eli ef.
               T h e n I c o nsi d er ed w h et h er it mi g ht be c orr e ct to q u alify o ur d e cl ar ati on
        b y a pr o vis o to t h e effect t h a t i t s h o ul d be wit h o ut pr ej u di c e t o t he iss ue
        o f l e g alit y o f t h e s ei z ur e a t t h e tri a l o r p er h a p s m or e g e n er all y t o a n y
        q u esti o n o f d a m a g es . I am s atisfi e d, h o w e v er , t h at t his is n ot o p en to t he
        c o urt , si n c e i t w o ul d i n e vit a bl y m a k e t h e d e cl ar ati o n a n i nt erl o c ut or y o r
F   i nt eri m o n e, a nd t h at it is well s ettl ed in t his c p urt is n ot p er missi bl e, at all
        e v e nt s a g ai nst t h e Cr o w n: se e I nt er n ati o n al G e n er al El e ctri c C o m p a n y of
       N e w Y or k Lt d. v . C ust o ms a n d E x cis e C o m missi o n ers [ 1 9 6 2] C h . 7 8 4 .
       I n e e d o nly r e ad p art of t he h e a d n ote of t h at c as e, at p. 7 8 5:
                      " O n a p p e al: — H el d , t h a t a n or d e r d e cl ari n g t h e ri g hts of p arti e s
                m us t i n it s n at ur e b e a fi n al or d e r a n d (s u bj e c t t o a p p e al ) b e r e s
G   j u di c at           a b et w e en t he p arti es; a nd t h at in pr o c e e di n gs a g ai nst t he Cr o wn
                it w a s n o t p ossi bl e t o o bt ai n a n or d e r w hi c h c orr es p o n d e d t o a n
                i nt erim i nj u n cti o n o r an i nt erim d e cl ar ati o n w hi c h did n o t d et er mi n e
                t he ri g hts o f t h e p arti es b u t w hi c h w as o nly i nt e n d e d t o pr es er ve t h e
                st at us q u o. "
TT I          n m y j u d g m e nt , t h er ef or e , w e m us t m a k e a fi n al d e cl ar ati o n e v e n
       t h o u gh a t a l at er st a g e t he r e v e n ue mi g ht ot h er wis e h a ve a d d u c ed f urt h e r
       e vi d e n c e t o s h o w r e as o n a bl e gr o u n ds . T hi s m ay p er h a p s b e u nf ort u n at e
       f or t h e r e v e n u e , b u t t h e y di d k n o w t h a t t h e a p pli c a nt s w er e s e e ki n g a
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   990
   G of f L J . R e g                 . v . I. R. C. , E x . p . R oss mi nst e r ( C. A. ) [ 1 9 8 0        ]
   fi n al or d er, a nd t h ey el e ct e d to t a ke t h eir st a nd t h at t h ey c o uld n ot at t his
   st a ge be r e q uir ed to gi ve r e as o ns.
         I a m c o mf ort ed o n t his p oi nt also by t he f a ct t h a t if I a m ri g ht on t he
   q u esti o n o f t h e v ali dit y o f t h e w arr a nt , t h e q u esti o n o f i nt eri m o r fi n al
   or d e r d o e s n o t aris e a t all .
         B e al l t h at a s it m a y , t h e c o n cl usi o n t h a t t h e a p pli c a nt s ar e o n t h e
   e vi d e n c e b ef ore u s e ntitl ed to a fi n al or d er by w ay of d e cl ar ati o n, a nd t h at
   it is t he d uty of t he c o urt to m a ke o n e, a p p e ars to me to be cl e ar. B

                                            A p p e al all o w e d wit h c osts h er e a n d b el o w.
                                            Or d er of c erti or ari t o q u as h w arr a nts.
                                            D e cl ar ati o n i n t er ms a gr e e d.
                                            L e a v e t o a p p e al.
                                            A p pli c a nts u n d ert a ki n g t o pr es er v e d o c u- ^
                                                m e nts r et ur n e d t o t h e m p e n di n g a p p e al.
                                            R e v e n u e u n d ert a ki n g n ot t o us e c o pi es
                                                r et ai n e d b y t h e m p e n di n g a p p e al.

       S oli cit ors : R o n e y, Vi n c e nt      & C o.; S oli cit or of I nl a n d R e v e n u e.

                        [ R e p ort ed b y S U S A N D E N N Y , B arrist er- at- L a w ]



       T h e I nl a n d R e v e n u e C o m missi o n er s a n d R a y m o n d Q ui nl a n a p p e al e d
   to t he H o use of L or ds. E
         R o b ert G at e h o us e Q. C., Bri a n D a v e n p ort, M. H. D. N eli g a n a n d
   J uli a n Fl a u x f o r t h e a p p ell a nts . I f t h e w arr a nt s w er e v ali d u n d e r
   s e cti on 2 0 C o f t h e T a x e s M a n a g e m e n t A c t 1 9 7 0 , a s t h e y ar e , t h e
   q u esti o n r e m ai n s w h et h e r t h e m a n n e r o f t h ei r e x e c uti o n w a s a n a b us e
   o f p o w er . T h e Di visi o n a l C o ur t a p pli e d t h e ri g h t t es t w hi c h w a s c o n - p
   sist e nt with w h at L ord Gr e e ne M. R. s aid in Ass o ci at e d Pr o vi n ci al Pi ct ur e
   H o us es Lt d. v . W e d n es b ur y C or p or ati o n [ 1 9 4 8] 1 K. B. 2 2 3. T h e C o ur t
   o f A p p e a l w a s wr o n g .
         T h e a p pli c a nts' c ase d e p e n d ed on affi da vits t e n di n g to s h ow t h at fr o m
   o bs er v ati o n s o f t h e s e c urit y officer s w h o c o n d u ct e d t h e s e ar c h n o c o n -
   si d er ati on w a s gi v e n t o t h e r el e v a n c e o f t h e d o c u m e nt s a n d arti cl e s
   s ei z e d. T h ei r c as e als o d e p e n d e d o n a d et ail e d e x a mi n ati o n o f t h e lis t G
   o f t h e d o c u m e nt s a n d arti cl e s s ei z e d t o b e pr o d u c e d u n d e r s e cti o n
   2 0 C ( 4) . R eli a n c e w a s pl a c e d b y t h e m o n t h e n at ur e o f s o m e o f t h e
   arti cl e s s ei z e d w hi c h , i t w a s s ai d , n o r e as o n a bl e s e c urit y officer s w o ul d
   h a v e t h o u g h t w er e r el e v a nt . T h e a p p ell a nt s sa y t h a t s u c h i nf er e n c e s
   d o n o t n e c ess aril y f oll o w fr o m t h e e vi d e n c e a n d i t w o ul d b e u ns af e t o
   dr a w t h e m fr o m u nt est e d affi d a vits . T h es e i nf er e n c e s o f f a c t w er e n o t J J
   in t h e affi da vit s b u t w er e r ais e d i n ar g u m e nt . Fr o m t h e affi da vit s a n d
   t he i nf er e n c e s t h e C o ur t o f A p p e a l r e a c h e d t h e c o n cl usi o n t h a t t h e
   pr es e n t r es p o n d e nt s h a d m a d e o u t a pri m a f a ci e c as e w hi c h r e q uir e d
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                                                                                                           991
     A. C . R e g                  . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) )
     a n a ns w e r fr o m t h e r e v e n u e s o t h a t t h er e m us t b e s e t o ut, . n ot o nl y a
     b eli e f t h a t t h e arti cl e s i n q u esti o n mi g h t b e r e q uir e d f o r pr o c e e di n g s
     in r es p e c t o f a n offe nc e b u t als o al l t h e e vi d e n c e o n w hi c h t h a t b eli e f
     r est e d. B u t t h e r e v e n u e d o e s n o t h a v e t o dis cl os e t h e e vi d e n c e w hi c h
     w o ul d s h o w t h e s us p e ct e d p ers o n s o f w h a t t h e y w er e s us p e ct e d a n d
     e n a bl e t h e m t o d estr o y t h e e vi d e n c e . T h e w arr a n t i s dir e ct e d , n o t t o
     p ers o n s b ut to pr e mis es. T h e r e v e n ue s h o uld n ot dis cl os e its c o nfi d e nti a l
 B m et h o d s o f fr a u d d et e cti o n o r it s s o ur c e s o f i nf or m ati o n . R e as o n a bl e
     b eli e f i s a s u bj e c t f o r o bj e cti v e t est s a n d i n pr o p e r pr o c e e di n g s t h e
     r e v e n ue m us t dis cl os e t h e gr o u n d s f o r t h a t b eli ef , b u t i t s h o ul d n o t b e
     o bli g e d t o dis cl os e t h e m a t t h e i n v esti g ati v e st a g e . T h e c o ur t i s n o t
     d e pri v e d o f it s p o w er s o f s ur v eill a n c e , b ut , a t t h e i n v esti g ati v e st a g e ,
     w h er e t h er e i s a s eri o u s c o nfli c t a s to t h e a ct u a l f a cts , t h a t i s n o t t h e
     ti me t o e x a mi n e it . T h e r es p o n d e nt s r el y o n P a dfi el d v. Mi nist er of
     A gri c ult ur e, Fis h eri es a n d F o o d [ 1 9 6 8 ] A. C . 9 9 7, b ut i t i s in t h e p u bli c
     i nt er est t h a t s u c h m att er s a s t h e i d e ntit y o f i nf or m er s s h o ul d n o t b e
     dis cl os e d i n t h es e cir c u mst a n c es : s e e H o m e v . B e nti n c k ( 1 8 2 0 ) 2 Br o d.
     & Bi n g. 1 3 0 . T h er e i s n ot hi ng t o c o m p e l t h e dis cl os ur e o f t h e i d e ntit y
      o f i nf or m er s w h o m a y b e a dis aff e ct e d e x- e m pl o y e e , a wif e , a c urr e n t
      e m pl o y e e w h o h a s f o u n d o u t s o m et hi n g w hi c h i s wr o ng o r a c c o u nt a nt s
 D w h o h a v e s e e n t h e r el e v a n t a c c o u nts . Al l t h es e m a y b e s o ur c e s o f
      i nf or m ati on w hi c h ar e n o t t o b e dis cl os e d . I t i s als o i n t h e i nt er est s
      o f a s us p e ct e d p ers o n t h a t hi s i d e ntit y s h o ul d n o t b e dis cl os e d b e c a us e
      o f t h e p ossi bl e d a m a g e t o hi s r e p ut ati o n .
            B y s e cti o n 2 1 ( 1 ) ( a) of t h e Cr o w n Pr o c e e di n g s A c t 1 9 4 7 t he c o ur t
      m a y n ot gr a n t a n i nj u n cti o n a g ai ns t t h e Cr o w n b u t m a y m a k e a n or d e r
 _ d e cl ar at or y o f t h e ri g ht s o f t h e p arti es . Si n c e a d e cl ar ati o n i s fi n al ,
      t h ere c a n b e no i nt eri m d e cl ar ati o n .
            T h er e is n ot hi ng n ew a b o ut t h ese p o w ers of s e ar c h. O v e r 50 st at ut es
      a ut h oris e s e ar c h es . T h er e ar e si mil a r s e ar c h p o w ers , f o r e x a m pl e , i n
     p ar a gr a p h 2 of P ar t I o f S c h e d ul e 5 to t he E x c h a n ge C o ntr o l A c t 1 9 4 7 ;
     s e cti on 3 3 o f t h e Fi n a n c e A c t 1 9 7 2 ; s e cti on 5 1 of t h e B etti n g , G a mi n g
     a n d L ott eri e s A c t 1 9 6 3 ; s e cti on 4 3 of t h e G a mi n g A c t 1 9 6 8 ; s e cti on 1 9
     o f t h e L ott eri es a n d A m us e m e nt s A c t 1 9 7 6 ; s e cti on 9 ( 1) of t h e Officia l
     S e cr et s A c t 1 9 1 1 ; s e cti on 2 ( 5 ) o f t h e P u bli c Or d er s A c t 1 9 3 6 ; s e cti on
     2 3 ( 2) of t he Mis use of Dr u gs A ct 1 9 7 1 a nd s e cti on 5 37 of t he M er c h a n t
     S hi p pi n g A c t 1 8 9 4 .
           T h e Cr o w n n e e d n o t s pecif y t h e i nf or m ati o n o n w hi c h t h e r el e v a n t
 _ s us pi ci o n i s b as e d n o r t h e p arti c ul a r g o o d s f o r w hi c h t h e s e ar c h i s
     d esir e d : J o n es v. G er m a n [ 1 8 9 6 ] 2 Q. B. 4 1 8 ; [ 1 8 9 7 ] 1 Q. B. 3 7 4 . Se e
     als o Ar c h b ol d's J usti c es of t h e P e a c e, 7th e d. ( 1 8 7 5), v ol. 1 , p p. 1 5 0 , 7 2 3.
     W h e n a n office r e nt er s a h o use o n a s e ar ch w arr a n t f o r st ol e n g o o d s he
     m a y s ei z e b ot h g o o d s w hi c h h e r e as o n a bl y b eli e v e s t o b e c o v er e d b y
     t he w arr a nt a nd also ot h er g o o ds w hi ch he b eli e v es on r e as o n a ble gr o u n ds
„ t o h a v e b e en st ol e n : C hi c F as hi o ns { W est W al es) Lt d. v . J o n es [ 1 9 6 8 ]
     2 Q. B . 2 9 9
           In s u c h c as e s a s t hi s t h e f a ct s m a y b e v er y c o m pli c at e d a n d m u c h
     d o c u m e nt ati o n m a y b e n e c ess ar y . P arli a m e n t e n vis a g e d t h a t a p o w e r
Case 1:22-cr-00673-LAK Document 138-7 Filed 05/08/23 Page 42 of 77
   992
                            R e g . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E. ) ) ( 1 9 8 0        ]
    o f s e ar c h w a s ess e nti al . T h e r e v e n u e officer s m us t t a k e t h e n e c ess ar y .
    d o c u m e nts .
          L or d D e n ni n g M. R . i n his j u d g m e nt r ef err e d t o m a ny cir c u mst a n c e s
    w hi c h w ere n ot in e vi d e n c e. F e w e r officers w er e i n v ol v ed t h an he st at es.
    T h er e is no e vi d e n ce t h at p h ot o gr a p h s w ere t a k e n. T h er e is no e vi d e n ce
    t h at a c hil d' s s c h o o l r e p or t w a s s ei z e d . T h er e i s n o e vi d e n c e t h a t 1 2
   v a n l o a d s o f d o c u m e nt s w er e t a k e n fr o m H a n o v e r S q u ar e . A s t o
    d o c u m e nt s t a k e n , file s mi g h t b e r el e v a n t t o s h o w w h er e a c o m p a n y B
   w a s m a n a g e d. C hil dr e n' s c h e q u e b o o k s a n d p ass p ort s m a y b e r el e v a n t
   w h e n t h er e i s a q u esti o n o f p assi n g m o n e y o u t o f t h e c o u ntr y . T hi s
   w a s n o t a " p a ck a n d r e m o v e " o p er ati o n . T h e s e ar c h a t H a n o v e r
   S q u ar e l ast e d 1 1 ^ h o ur s d uri n g w hi c h fi v e f ul l ti m e s e ar c h er s w er e
   e n g a g e d f o r t e n h o urs , o c c u p yi n g , s a y , 5 0 m a n h o urs . T h e pr e mis e s
   c o m pris e d 8 r o o m s a n d a b as e m e n t a n d t h e s e ar c h w o ul d o c c u p y a n Q
   a v er a g e o f 5/ 6 m a n h o ur s a r o o m .
          Ass o ci at e d Pr o vi n ci al Pi ct ur e H o us es Lt d, v . W e d n es b ur y C or p or-
   ati o n [ 1 9 4 8 ] 1 K. B. 2 2 3, 2 2 8- 2 2 9, 2 3 3, l a ys d o w n t h e d ut y o f t h e c o ur t
   in d e ci di n g w h et h er e x e c uti v e a cti o n w hi c h i t i s s o u g ht t o s e t asi d e w as
   s o m et hi ng w hi ch no r e as o n a ble p ers on w o uld h a ve d o n e. I n t h e pr es e nt
   c as e i t w o ul d n o t b e j us t a n d c o n v e ni e n t t o d e ci d e s u c h m att er s o n
   affi da vi t e vi d e n c e , c o n cl u di n g a g ai ns t t h e Cr o w n a t a n e arl y st a g e : s e e D
   R e x v . F ul h ar n, H a m m ers mit h a n d K e nsi n gt o n R e nt Tri b u n al, E x p art e
   Z er e k [ 1 9 5 1 ] 2 K. B . 1 , 1 1 . A s t o a n a p pli c ati o n f o r j u di ci a l r e vi e w
   w h e n a d e cl ar ati on i s s o u g ht: s e e R. S. C., Or d. 5 3 , r. 9 ( 5), a nd Or d. 2 8,
   r. 8. T h er e c an be no i nt erim d e cl ar ati o n: I nt er n ati o n al G e n er al El e ctri c
   C o m p a n y of N e w Y or k Lt d. v . C ust o ms a n d E x cis e C o m missi o n ers
    [ 1 9 6 2] C h . 7 8 4 , 7 8 7- 7 9 0 .                                                                      E
          In a n u m b e r o f r e c e n t c as e s i n diff er e n t c o nt e xt s p ers o n s s us p e ct e d
   h a v e s o u g ht , d uri n g t h e i n v esti g ati o n st a g e , to o bt ai n i nf or m ati o n a s t o
   t he m att er s o f w hi c h t h e y ar e s us p e ct e d o r t h e s o ur c e s o f i nf or m ati o n .
   T h es e att e m pt s h a v e n o t b e e n s u c c essf ul . T h e c o urt s h a v e r e c o g nis e d
   t he i n v esti g ati ng a ut h ority b ei ng a ut h oris ed to c arry o ut its i n v esti g ati o ns
   a n d pr o c e ed to t he j u di ci al st a ge wit h o ut h a vi ng to dis cl ose t h ese m att ers, p
   R e c e n t e x a m pl e s o f s u c h c as e s ar e : P arr y- J o n es v. L a w S o ci et y [ 1 9 6 9 ]
    1 C h. 1 , 6 A- B , 8 F- G ; N or w est H oist Lt d. v . S e cr et ar y of St at e f or Tr a d e
     [ 1 9 7 8] C h . 2 0 1 , 2 2 4 B- C , 2 2 8 F ; R e g. v . W est L o n d o n M etr o p olit a n
    Sti p e n di ar y M a gistr at e, E x p art e Kl a h n [ 1 9 7 9 ] 1 W. L. R. 9 3 3 a n d i n a
    sli g htly diff er e n t c o nt e xt , Wil o v er N o mi n e es Lt d. v . I nl a n d R e v e n u e
    C o m missi o n ers [ 1 9 7 4 ] 1 W. L. R. 1 3 4 2 , 1 3 4 5 , 1 3 4 8.
          T h e c o ur t s h o ul d n o t ass u m e t h a t t h e Cr o w n' s r e as o n s w er e n o n -
    e xist e n t b e c a us e t h e y w ere n ot dis cl os e d . O n t his p oi n t t h e r es p o n d e nt s
    r eli ed o n P a dfi el d's c ase [ 1 9 6 8 ] A. C . 9 9 7 , 1 0 3 2- 1 0 3 3 , 1 0 5 3 , 1 0 6 1- 1 0 6 2
    b u t t h e cir c u mst a n c e s o f t h a t c as e w er e diff er e nt .
           D uri n g t h e j u di ci a l st a g e t h e a c c us e d i s e ntitl e d t o k n o w al l t h e
    e vi d e n c e w hi c h wil l b e a d d u c e d t o pr o v e t h e c as e a g ai ns t hi m . H e i s
     n o t e ntitl e d , u nl es s a n d u nti l i t i s pr o p os e d t o us e i t a s e vi d e n c e , t o
    k n o w w h a t w a s t h e b asi s o f t h e pr os e c ut or' s s us pi ci o ns . I t i s w el l
     est a blis h e d t h a t t h er e i s a p u blic i nt er est pri vil e g e a g ai ns t t h e dis cl os ur e
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                                                                                                             993
     A. C . R e g                  . v . L R. C , E x p . R oss mi nst e r ( H. L.( E.) )
 . o f s u ch m att er. T h e p u blic i nt er est a g ai ns t t he dis cl os ure of t h e i d e ntity
      o f i nf or m er s o r a n yt hi n g w hi c h m a y l e a d t o s u c h dis cl os ur e i s wel l
     k n o w n . I t i s f ully c o nsi d er e d a nd e m p h asis ed in R e g. v . L e w es J usti c es,
     E x p art e S e cr et ar y of St at e f or t h e H o m e D e p art m e nt [ 1 9 7 3 ] A. C . 3 8 8,
     4 0 1 E- G , 4 0 5 D- G , 4 0 7 H — 4 0 8 D , 4 1 3 b . T h e i m p ort a n ce o f t h e i nf or m e r i n
     cri mi n a l i n v esti g ati o ns a nd t he n e ed to k e ep his i d e ntity s e cr et w as st at ed
„ i n R e g. v. S e cr et ar y of St at e f or H o m e Aff airs, E x p art e H os e n b all [ 1 9 7 7]
      1 W. L. R. 7 6 6 , 7 8 3- 7 8 4. I n t he p arti c ul ar c o nt e xt of t ax fr a u ds t h e p u blic
     p oli c y a g ai nst dis cl osi ng s o ur c es of i nf or m ati on h a s b e en r e c o g nis ed si n ce
     a t l e as t 1 8 2 0 : H o m e v . B e nti n c k, 2 Br o d . & Bi n g. 1 3 0 , 1 6 2 . I n D. v .
     N ati o n al S o ci et y f or t h e Pr e v e nti o n of Cr u elt y t o C hil dr e n [ 1 9 7 8 ] A. C .
      1 7 1 , t h e H o use o f L or d s affir me d t h e i m p ort a n c e o f r es p e cti n g t h e c o n -
     fi d e n ce of t h ose w ho gi ve i nf or m ati on e v e n in a c o nt e xt w hi ch m ay n e v er
      l e ad to cri mi n al pr o c e e di n gs.
            S e cti o n 1 0 3 o f t h e L ar c e n y A c t 1 8 6 1 pr o vi d e s a n e x a m pl e o f a
      s e ar ch w arr a nt . A s t o t h e q u esti o n w h a t s h o ul d g o i nt o a w arr a nt ,
      t he t es t li e s i n t h e p ur p os e f o r w hi c h i t i s r e q uir e d . I f t h e o bj e c t i s
      t he r et ur n o f t h e pr o p ert y o f a n ot h e r p ers o n t h a t pr o p ert y m us t b e
      s pecified a t l e as t i n g e n er a l t er ms . O n t h e ot h e r h a n d , t h e o bj e c t m a y
D b e t o o bt ai n e vi d e n c e a s in s e cti o n 2 0 C of t h e T a x e s M a n a g e m e n t A c t
      1 9 7 0 . U n d e r t h a t s e cti o n i t i s u n n e c ess ar y t o s p e cif y t h e off e n c e s us -
      p e ct e d s a ve in g e n er al t er ms, b e c a use till t he m att er h as b e en i n v esti g at ed
     it is n ot k n o wn w h at c h ar ge to bri n g.
            A n dr e w B at es o n Q. C. a n d Mi c h a el T u g e n d h at f o r t h e r es p o n d e nts .
      T h e t wo b asic iss u es r el ate to t he t er ms of t he w arr a nts a nd t he pr o pri ety
p o f t h ei r e x e c uti o n . B ot h ar e s u bj e c t t o t he c o n diti on pr e c e d e n t t h a t t h e
      c o ur t c a n s u p er vise t h ose t er ms a nd t h at e x e c uti o n. I f it c a n, w hen s h o uld
     t he m att er be e x a mi n e d? W h a t is t he e xt e nt of t he p o w er of s u p er visi o n ?
      T h e p o w er o f t h e c o ur t d e p e n d s on t he n at ure of c erti or ari. So f ar a s t he
     e x e c uti o n of t he w arr a nts is c o n c er n ed t he p o w er of s u p er visi on is e x er cis ed
     b y t he c o ur t as c ert ai ni n g t he f a cts o n w hi ch it is all e g ed t h a t t he r e v e n u e
p h a d r e as o n a bl e c a use t o b eli e v e t h a t t h e d o c u m e nts mi g h t b e r e q uir ed a s
     e vi d e n c e f o r t h e p ur p os e s o f pr o c e e di n g s i n r es p e c t o f a n offe nce . T h e
     a p p ell a nt s d o n o t cl ai m a n y s p e ci a l e x e c uti v e pri vil e g e n o r c o nt e n d t h a t
     t h eir a cti o n s are a b o ve s u p er visi on b y t he c o urts or t h at t he belief o f t h eir
     officer s n e e d o nl y b e a s u bj e cti v e b eli ef.
           A s t o t he q u esti o n w h e n t h e p o w e r o f s u p er visi o n m a y b e e x er cis e d ,
    t he a p p ell a nt s s u b mitt e d i n t h e c o ur t b el o w t h a t i t c a n n o t b e e x er cis e d
    a t t hi s st a g e . B u t t h e c o ur t h a s p o w e r t o s u p er vis e t h e e x e c uti o n o f
    t he w arr a n t n o w . T h e n at ur e a n d e xt e n t o f t h a t s u p er visi o n i s t o s e e
    w h et h e r t h e f a ct s e xis t a n d w h et h e r t h e ri g h t f a ct s w er e t a k e n i nt o
    a c c o u n t b y t h e r e v e n u e . H a d t h e y r e as o n a bl e c a us e t o b eli e ve t h at t h e
    d o c u m e nt s mi g ht be n e e d ed in pr o c e e di n gs f or a r e v e n ue off e n c e? T h er e
    is n o i nf or m ati o n n o w b ef or e t h e c o ur t o n w hi c h i t c a n e x er cis e it s
    s u p er vis ory p o w ers , si n c e t h e w arr a n t d o e s n o t dis cl os e t h e offe nc e o r
    w h a t i s s us p e ct e d . B u t t h e c o ur t s h o ul d k n o w t h e off e n c e , w h o i s
    s us p e ct ed a n d w h a t ar e t h e gr o u n d s o f t h e s us pi ci o n .
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   994
                           R e g . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0         ]
          T h e e vi d e n c e s h o w s a virt u all y t ot a l r e m o v a l o f d o c u m e nts . I f t h e .
   o n u s a s t o t h e iss u e o r t h e . e x e c uti on o f t h e w arr a n t r est s o n t h e
   r es p o n d e nts, t h e y h a v e dis c h ar g e d it . T h e ri g h t o f t h e c o ur t t o , s u p er-
   vis e t h at e x e c uti o n aris e s i m m e di at el y o n t h e a c t o f s ei z ur e . I t c a n n o t
   b e t h a t t h e t es t w h et h e r i t i s l a wf ul o r u nl a wf u l d e p e n d s o n s o m et hi n g
   w hi c h h a p p e n s aft er w ar ds , i. e. , w h et h e r o r n ot pr o c e e di n g s ar e br o u g ht .
   E v e nt u all y t h e d o c u m e nts w o uld be r et ur n ed a n y h o w wit h o ut a n y s u p er-
   visi o n o f t h e c o urt: s e e t he C hi c F as hi o ns c ase [ 1 9 6 8 ] 2 Q. B. 2 9 9, 3 1 2. B
   T h er e i s n o a ut h orit y t h a t t h e c o ur t m a y n o t s u p er vis e t h e m a n n e r o f
   t he e x e c uti o n o f a w arr a nt. T h e e x er cis e o f t hi s p o w er i s i m p ort a nt i n
   t he c as e o f t w o b usi n ess e s br o u g h t virt u all y t o a h al t w hi c h h a d n o
   i m m e di ate r e m e d y b ef or e t h e c o urt s s a v e j u di ci a l r e vi e w : s e e t he n ot e s
   to R. S. C., Or d . 5 3 , in t h e S u pr e m e C o urt Pr a cti c e 1 9 7 9. I t i s t he o nl y
   e x p e diti o u s r e m e d y a g ai ns t t h e Cr o w n . I t h a s a u ni v ers a l a p pli c ati o n
   to t h e e xt e n t t o w hi c h t h e c o ur t m a y s u p er vis e t h e e x e c uti o n o f a
   w arr a nt . I t i s wr o ng t h at a n i n di vi d u a l s h o ul d b e a t t h e m er c y o f a n y
   p ers o n e m pl o y e d b y t he Cr o w n w h o is i nstr u ct ed t o s ei z e his d o c u m e nt s
   a n d m a y pr e v e n t hi m fr o m c arr yi n g o n hi s b usi n ess . T hi s p o w e r o f
   s u p er visi on m a y be e x er cis ed a t a n y ti me u nl es s t h ere ar e g o od gr o u n d s
   o f p u bli c p oli c y t o pr e v e n t it .
         T h e a ut h oriti e s r eli e d o n b y t h e a p p ell a nt s w er e al l c as e s i n w hi c h D
   t he i d e ntit y o f t h e i nf or m a n t w a s e x pr essl y s o u g ht . B u t t h e n at ur e o f
   t he offe nc e s ai d t o h a v e b e e n c o m mitt e d c a n b e dis cl os e d wit h o u t dis -
   cl osi n g t h e n a m e o f t h e i nf or m er . T h er e i s n o gr o u n d f o r s u p p osi n g
   t h at i f t h e i nf or m ati o n n o w i n t h e Cr o w n' s h a n d s w er e dis cl os e d t h e
   r es p o n d e nts w o uld d estr oy ot h e r i nf or m ati o n .
         T h e a p p ell a nt s sa y t h a t t h e w arr a n t i s a g ai ns t pr e mis e s a n d n o t g
   s us p e ct ed p ers o ns . I f s o , t h e H o us e o f L or d s i s n o t i n a p ositi o n t o
   ass u m e t h a t t h e r es p o n d e nt s ar e s us p e ct e d p ers o ns . I t w o ul d b e a
   h ar ds hi p i f a n u ns us p e ct e d a n d i n n o c e n t p ers o n c o ul d n o t g e t hi s
   d o c u m e nt s b a c k b e c a us e , i f h e di d , s o m e ot h e r g uilt y p ers o n mi g h t b e
   p u t o n hi s g u ar d a n d mi g h t d estr o y ot h e r e vi d e n c e .
          If t h e i nf or m ati o n t o b e m a d e a v ail a bl e w er e r estri ct e d b e c a us e i t „
                                                                                                                 P
   w o ul d r e v e a l h o w m u c h t h e r e v e n u e k n e w , t h a t w o ul d m e a n t h a t t h e
    r e v e n ue w er e li c e ns e d t o g o b e y o n d s e ar c h i n r es p e c t o f t h e offe nc e
    t h ey s us p e ct e d i n or d e r t o fi n d ot h e r off e n c es . T h e y ar e n o t e ntitl e d
    to d o t h at .
          T h e p o w e r u n d e r s e cti o n 2 0 C of t h e A c t o f 1 9 7 0 is w h olly n e w . I t
    c a n b e e x er cis e d b y a n y p ers o n a ut h oris e d b y P arli a m e n t t o s e ar c h
    pr e mis es . I t h a s r e g ar d t o a n off e n c e w hi c h " h as b e e n c o m mitt e d. "
    T h e p o w e r i s c o nfi n e d i n it s o p er ati o n t o t h os e offe nce s o f w hi c h t h e
    r e v e n ue h as s ufficie ntly a c c ur at e i nf or m ati on t h a t it h as b e en c o m mitt e d .
    In s u bs e cti o n ( 3 ) t he p o w e r o f s e ar c h i s r el at ed t o " s u ch a n offe nc e a s
    is m e nti o n e d i n s u bs e cti o n ( 1). " I t c a n n o t b e s o m e ot h e r offe nc e n o t
    s us p e ct ed o f h a vi n g b e e n c o m mitt e d . T h e w arr a n t i s t o s e ar c h f o r
    e vi d e n c e o f t h a t offe nc e w hi c h t h e r e v e n u e c o nsi d e r wil l b e f o u n d o n
    t he pr e mis es , n o t e vi d e n c e o f s o m et hi n g els e . Ot h er wis e t h e r e v e n u e
    c o ul d t a k e a n y d o c u m e n t o n a n y pr e mis es . I t w a s n o t i nt e n d e d t o
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                                                                                                                 995
       A X . Re g                     . v . I. R. C. , E x p . R oss mi nst c r ( H. L.( E. ) )
    . gi v e t he r e v e n u e a n u nf ett er ed ri g h t t o t a k e al l t he d o c u m e nts fr om t h e
        pr e mis e s of t h e c o m p a n y.
              T h e p o w ers gi v en b y s e cti on 2 0 C of t h e A ct o f 1 9 7 0 are n ot as wi de
        a s t h ose in p ar a gr a ph 2 of P art I of S c h e d ul e 5 of t h e E x c h a n ge C o ntr o l
        A c t 1 9 4 7 . I n s e cti o n 5 1 ( 1) ( a ) o f t h e B etti n g , G a mi n g a n d L ott eri e s
        A c t 1 9 6 3 t he w or d s " f or t h e p ur p os e s o f pr o c e e di n g s i n r es p e c t o f a n y
        s u ch offe nc e " r ef e r t o t h e offe nc e w hi c h i s s us p e ct e d . T h e w or d s i n
   B s e cti o n 4 3 ( 5) of t h e G a mi n g A ct 1 9 6 8 , as o p p os ed t o t he v ari o us w or ds
        in ot h e r A ct s i n di c at e t h a t v er y wi d e p o w er s ar e c o nf err e d .
              T h e o n u s o f pr o o f i n c as e s li k e t hi s i s pri m aril y o n t h e Cr o w n :
        W a d e, A d mi nistr ati v e L a w, 4t h e d . ( 1 9 7 7) , p . 2 9 2 ; El e k o v . G o v er n-
        m e nt of Ni g eri a [ 1 9 3 1 ] A. C . 6 6 2, 6 70 a nd R e g. v . G o v er n or of Bri xt o n
        Pris o n, E x p art e A hs a n [ 1 9 6 9 ] 2 Q. B. 2 2 2, 2 3 1- 2 3 2. T h e o n us of pr o of
   Q d o e s n o t d e p e n d o n t h e a d o pti o n o f a p arti c ul a r s or t o f pr o c e d ur e . A
        mi nist er' s f ail ur e t o gi v e r e as o n s f o r hi s a cti o n s d o e s n o t e x cl u d e t h e
        c o urt' s s ur v eill a n c e : P a dfi el d's c as e [ 1 9 6 8 ] A. C . 9 9 7 , 1 0 5 3- 1 0 5 4 a n d
        Mi nist er of N ati o n al R e v e n u e v . Wri g hts' C a n a di a n R o p es Lt d. [ 1 9 4 7 ]
        A. C . 1 0 9 , 1 2 4- 1 2 5.
              O n t h e tri a l o f a n a cti o n t h er e c o ul d b e n o d o u b t t h a t t h e r e v e n u e
        w o ul d f ai l o n t h e e vi d e n c e st a n di n g a s i t d o es . T h e r e v e n u e ar e n o w
  D cl ai mi n g pri vil e ge fr o m dis cl os ur e o n t he gr o u nd o f p u blic p oli c y. T h e y
        c a n n o m or e cl ai m i t n o w t h a n t h e y c o ul d a t t h e tri a l o f t h e a cti o n .
              A s to t he c ase of Ass o ci at e d Pr o vi n ci al Pi ct ur e H o us es [ 1 9 4 8 ] 1 K. B .
        2 2 3 r eli ed o n by t he a p p ell a nts, t he pr o p er t est i s s et o ut in N a k k u d a A H
        v . J a y ar at n e [ 1 9 5 1 ] A. C . 6 6 , 7 7. T h e pr o p e r t es t i n s u c h a c ase is t h e
        e xist e n c e o f r e as o n a bl e gr o u n d s o f b eli ef .
   E U n de           r s e cti o n 2 0 C ( 3) t he r e v e n u e o nl y h a d p o w e r t o r e m o v e t h os e
        t hi n gs w hi c h t h e y h a d r e as o n a bl e c a us e t o b eli e v e mi g h t b e r e q uir e d
        a s e vi d e n c e f o r t h e p ur p os e s o f pr o c e e di n g s i n di c at e d i n s u bs e cti o n ( 1) .
        O n t h a t b asi s t h e y m us t l o o k a t t h e d o c u m e nt s b ef or e s ei zi n g t h e m .
A Th         e s e ar ch a n d s ei z ure m ust be on an i nf or m ed b asis , n ot j ust a cl e ari ng
        o u t o f r o o ms . T h e r e v e n u e di d n o t l o o k a t a n d c o ul d n o t h a v e l o o k e d
        a t al l t h e d o c u m e nt s t h e y s ei z e d .
              T h e Di visi o n a l C o ur t di d n o t m a k e a n or d e r f o r tri a l u n d e r R. S. C. ,
        Or d . 5 3 , r . 9 , n o r di d t h e r e v e n u e m a k e a n y i nt erl o c ut or y a p pli c ati o n
       u n d e r r . 8 . T h e Di visi o n a l C o ur t di d n o t fi n d t h a t i t c o ul d n o t d o
       j usti ce b et w e e n t h e p arti e s o n t h e e vi d e n c e b ef or e i t a n d it s d e cisi o n
       w a s b as e d o n o n u s o f pr o of . F o r t h e s c o p e a n d o p er ati o n o f R. S. C. ,
       Or d . 5 3 , s ee t h e n ot e s a t p p . 8 2 4- 8 2 5 o f t h e S u pr e m e C o urt Pr a cti c e
 G 7 9 7 9 . T h e Di visi o n a l C o ur t m a y or d e r a tri a l a s i f t h e pr o c e e di n g s
       h a d b e e n b e g u n b y wri t or , i f i t d o e s n o t d o s o , i t c a n a dj u di c at e b y
       j u di ci al r e vi e w a p pl yi n g t h e s a m e pri n ci pl e s o f s u bst a nti v e l a w . T h er e
       w a s n o p o w e r t o gr a n t a n i nt erl o c ut or y d e cl ar ati o n a g ai ns t t h e Cr o w n ;
       it h ad to be fi n al or n ot hi n g. I n t h e cir c u mst a n c e s t h e C o urt of A p p e a l
       w er e e ntitl e d t o do w h at t h e y di d a nd w er e j ustifi ed i n d oi ng s o. A s t o
 „ j u di ci a l r e vi e w: ' s ee W a d e's A d mi nistr ati v e L a w, 4t h e d . p . 5 5 8.
             T h e w arr a n t f ail s t o defi n e o r i d e ntif y t h e offe nc e all e g e d w hi c h i s
       s u p p os ed t o h a v e b e en c o m mitt e d . I t i s g e n er al i n its t er m s c o v eri n g a
       wi de ' ar e a. O n t h at b asi s L ord D e n ni n g M. R . w as ri g ht t o a p ply E nti c k
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                            R e g . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E. ) ) [ 1 9 8 0           ]
   v . C arri n gt o n ( 1 7 6 5) 2 Wils. 2 7 5. L or d D e n ni n g M. R . s e t o u t t h e l a w
   in t h e C hi c F as hi o ns c ase [ 1 9 6 8 ] 2 Q. B. 2 9 9 . T h e p o w e r o f s e ar c h i n
   a n y gi v en c ase d e p e n ds on t he p arti c ul ar st at ut e. I f a st at ute is i nt e n d ed
   to gi v e p o w er s gr e at e r t h a n u n d e r a n or m a l w arr a n t i t m us t s a y s o .
   S e cti o n 2 0 C of t h e A ct o f 1 9 7 0 d o es n ot. O n t h e t er m s o f t he w arr a n t
   in t he pr es e n t c as e t he p ers on i n v ol v e d c a n n o t k n o w w h et h er o r n o t t h e
   p o w er s h a v e b e e n e x c e e d e d . I n J o n es v . G er m a n [ 1 8 9 7 ] 1 Q. B. 3 7 4
   it w a s h el d t h a t i t w a s n o t n e c ess ar y t o i d e ntif y t h e p arti c ul a r g o o d s           B
   f or w hi c h t h e s e ar ch w a s d esir e d. B u t t h e w arr a n t h a d t o b e s uffi ci e n t
   to e n a bl e a pr o p e r s e ar c h t o b e m a d e b y i d e ntif yi n g t h e l os s a n d t h e
   pl a c e . B u t o n t h e w arr a n t i n t h e pr es e n t c as e t h e r es p o n d e nt s c a n n o t
   k n o w w h et h e r t h e y ar e t h e p ers o n s s us p e ct e d ; t h e y d o n o t e v e n k n o w
   w h o t he s us p e ct is. T h e o nly i nf er e n ce to be dr a wn is t h at it is s us p e ct ed
   t h at t h e w h ol e b usi n es s i s b ei n g c arri e d o n a s a t a x fr a u d . I f t h a t i s                 r
   s o, t he r e v e n u e s h o uld h a v e s aid s o . T h e w arr a n t s h o ul d s pecif y w hi c h
   o f t h e s e v er a l offe nce s " i n v ol vi ng a n y f or m o f fr a u d i n c o n n e cti o n
   wit h , o r i n r el ati o n t o t a x " i s s us p e ct e d . T h e d at e o f t h e s us p e ct e d
   offe nc e s h o ul d als o b e s p e cifi e d .
         Pri m a f a ci e a s e ar c h w arr a n t a ut h oris e s a tr es p ass . I t m us t s e t o u t
   s ufficie nt d et ail s t o j ustif y t h e tr es p ass . H er e t h e A c t i s sil e n t o n t h e
   n at ur e o f t h e w arr a n t a n d t h er ef or e i t s h o ul d b e i n t h e c o m m o n l a w               D
   f or m. T h e p ers o ns aff e ct e d s h o ul d be s uffi ci e ntly i nf or m e d s o t h at t h e y
   m a y pr ot e c t t h e ms el v e s fr o m t h e s e ar c h g oi n g f urt h e r t h a n i t s h o ul d .
   T h e offe nc e s h o ul d b e s e t o u t wit h d et ail s s ufficie n t f o r t h e c o ur t i n it s
   i n v esti g ati ve c a p a cit y t o k n o w t h e pr o p e r e xt e n t o f t h e s e ar c h .
         It c a n n ot be a j ustifi c ati on f o r n ot dis cl osi ng t he i d e ntity of a s us p e ct ed
   p ers o n t h at his r e p ut ati on mi g ht be d a m a g e d. A s e ar ch w arr a nt in w hi ch                  g
   h e w as n o t n a m e d w o ul d d o a s m u ch d a m a g e a s i f h e w a s n a m e d . I n
   t he pr es e n t c as e t h e r es ul t w a s t he i m m e di at e wit h dr a w a l o f v er y c o n -
   si d er a ble s u ms fr om t h e c o m p a n y' s a c c o u nts. W h e n a p ers o n's pr e mis es
   ar e s e ar c h e d i t m a k e s n o diff er e n c e t o hi s r e p ut ati o n w h et h e r h e i s
   n a m e d o r n ot . R eli a n c e i s pl a c e d o n G h a ni v . J o n es [ 1 9 7 0 ] 1 Q. B.
   6 9 3 , 6 9 8 D- E , 7 0 6- 7 0 9 .                                                                                   F
         G at e h o us e Q. C. in r e pl y . T h e d e cisi o n o f t h e C o ur t o f A p p e a l di d
   n o t c o nstit ut e r e s j u di c at a .
          T h er e i s a c o nfli ct a s to t he m a n n er i n w hi ch t h e s e ar ch w as c arri ed
    o ut ; t h e r es p o n d e nt s s a yi n g t h at t h e r e v e n u e c o ul d n o t h a v e c o nsi d er e d
    t he d o c u m e nt s o r f or m e d a vie w a s t o t h ei r e vi d e nti a l v al u e . T h a t
    c o nfli c t c a n o nl y b e r es ol v e d a t a tri al . ~
          O n e c a n n o t s a y i n t h e c as e o f a g e n er all y s p e cifi e d offe nc e w h a t
    d o c u m e nt s w o ul d b e r el e v a nt. I t i s o nl y a m att e r o f s us pi ci o n .
          T h e a p p ell a nt s d o n o t d e n y t h a t i n t hi s c as e t h er e m us t b e w ei g h e d
    in t h e b al a n c e t h e ri g ht s o f pri v at e i n di vi d u als , o n t h e o n e h a n d , a n d
    t he p u bli c i nt er es t i n t h e d et e cti o n a n d pr os e c uti o n o f cri m e , o n t h e
    ot h er . T h e r es p o n d e nt s s o u g h t r eli e f a t t h e st a ge at w hi ch i n v esti g ati o n      „
    is b ei ng c arri e d o u t a n d b ef or e a n y c h ar g e s h a v e b e e n br o u g h t (i f a n y
    ar e t o b e br o u g ht ) i n t h e f ut ur e . T h e C o ur t o f A p p e a l f ail e d t o gi v e
    d u e w ei g h t t o t h e f a c t t h a t i f t h e s us p e ct e d p ers o n h a s c o m mitt e d t h e
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                                                                                                         997
      A. C . R e g                    . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E. ) )
A offe nce s dis cl os ur e o f hi s i d e ntit y w o ul d gi v e hi m vit a l i nf or m ati o n
   e n a bli n g hi m t o t a k e st e p s t o pr e v e n t t h e s u c c es s o f t h e i n q uir y o r t o
   l e a ve t h e j uris di cti o n wit h t h e pr o c e e d s o f t h e fr a u d . T h e C o ur t o f
   A p p e a l di d n o t a p pr e ci at e t h e pr o bl e m s f a ci n g t h e a p p ell a nt s a s a
   b o d y i n v esti g ati ng s us p e ct e d cri mi n a l offe nce s f o r w hi c h , if t h e offe nce s
   h a v e b e e n c o m mitt e d , t h os e g uilty s h o ul d i n t h e p u blic i nt er est b e tri e d
   a n d c o n vi ct e d . T h e r el e v a n t pri n ci pl e s w er e s e t o u t i n C o n w a y v .
B Ri m m er [ 1 9 6 8 ] A. C . 9 1 0 , 9 5 3 , a n d t h es e s h o ul d b e a p pli e d t o t a x
   e v a d ers .
         T h e ar e a o f j u di ci a l r e vi e w m ust al w a y s b e li mit e d. I t i s u ns uit a bl e
   f or t h e r es ol uti o n o f dis p ut e d f a ct s i n s u c h a c as e a s t his .
         A c o m m on l aw s e ar ch w arr a nt d o e s n ot s pecify t h e s us p e ct ed p ers o n,
   t he d at e o f t h e s us p e ct e d off e n c e , t h e g o o d s s o u g h t (s a v e i n a g e n er a l
Q w a y ) n or t h e offe nc e s us p e ct e d . T h e r es p o n d e nt s c a n g e t n o h el p fr o m
   it. T h es e m att er s s h o ul d n o t b e dis cl os e d o n j u di ci a l r e vi e w .
         A s to t he f orm o f t he c o m m on law w arr a nt, s ee E nti c k v . C arri n gt o n,
   2 Wils. 2 7 5, 2 7 8. Se e also t he f orm o f w arr a n t i n R e x v . Wil k es ( 1 7 6 3)
   2 Wils . 1 5 1.

D    T h ei          r L or ds hi ps t o ok ti me f or c o nsi d er ati o n.

            D e c e m b e r 1 3 . L O R D WI L B E R F O R C E. M y L or ds, t he or g a nis ed s e ar c h es
      b y officers o f t he I nl a nd R e v e n ue on Fri d a y, J uly 1 3, 1 9 7 9, on t he r es p o n-
      d e nts ' office s a n d pri v ate pr e mis es w ere c arri ed o u t u n d e r p o w ers cl ai m ed
      to be c o nf err e d b y A ct o f P arli a m e nt —t h e Fi n a n c e A c t 1 9 7 6 , s e cti on 5 7,
 g a n d S c h e d ul e 6 , s e cti o n 2 0 C a m e n di ng t h e T a x es M a n a g e m e n t A c t 1 9 7 0 ,
      s e cti on 2 0 .
            T h e i nt e grity a nd pri v a cy of a m a n's h o m e, a nd of his pl a ce of b usi n ess,
     a n i m p ort a n t h u m a n ri g h t h as , si n c e t h e s e c o n d w orl d w ar , b e e n er o d e d
     b y a n u m b e r o f st at ut e s p ass e d b y P arli a m e n t i n t h e belief , pr es u m a bl y ,
      t h at t hi s ri g h t o f pri v a c y o u g h t i n s o m e c as e s t o b e o v er-ri d d e n b y t h e
 P i nt er es t w hi c h t h e p u blic h as in pr e v e nti n g e v asi o ns of t h e l a w. S o m e of
     t h ese p o w er s of s e ar c h are r efl e cti o ns o f diri gis m e a nd o f h e a v y t a x ati o n,
      ot h er s o f c h a n g e s i n m or es . E x a m pl e s o f t h e m ar e t o b e f o u n d i n t h e
     E x c h a n g e C o ntr o l A c t 1 9 4 7 , t he Fi n a n c e A c t 1 9 7 2 (in r el ati o n t o V A T )
      a n d in st at ut e s a b o u t g a mi n g or t h e use of dr u gs . A f or mi d a bl e n u m b e r
     o f official s n o w h a v e p o w er s t o e nt e r p e o pl e' s pr e mis es , a n d t o t a k e
r pr o p ert       y a w a y, a nd t h ese p o w ers are fr e q u e ntly e x er cis e d , s o m eti m es on a
     l ar ge s c al e. M a n y p e o pl e, as well as t he r es p o n d e nts, t hi nk t h at t his pr o c ess
      h a s g o n e t oo f ar; t h a t i s an iss ue to be d e b at ed i n P arli a m e nt a n d i n t he
     pr ess .
            T h e c o urt s h a v e t h e d ut y t o s u p er vis e , I w o ul d sa y criti c all y , e v e n
     j e al o usl y, t he l e g ality of a ny p ur p ort ed e x er cise of t h ese p o w ers. T h e y are
     t he g u ar di a ns of t h e citi z e ns ' ri g ht t o pri v a c y. B u t t h e y m ust d o t his in
     t he c o nt e xt of t he ti m es, i. e. of i n cr e asi ng P arli a m e nt ary i nt er v e nti o n, a nd
     o f t he m o d ern p o w er of j u di ci al r e vi e w. I n my r es p e ctf ul o pi ni o n a p p e als
     to 1 8t h c e nt ury pr e c e d e nts of ar bitr ar y a cti o n by S e cr et ari es of St ate a nd
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   9 m
   L or d   Wil b e rf o r c e R e g . y . L R. C , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0      ]
   r ef er e n c es t o g e n er a l w arr a nt s d o n ot hi n g t o t hr o w li g h t o n t h e iss u e . .
   F urt h er m or e , w hil e t h e c o urt s m a y l o o k criti c all y a t l e gisl ati o n w hi c h
   i m p airs t he ri g hts of citi z e ns a nd s h o uld r es ol ve a ny d o u bt in i nt er pr et ati on
   in t h ei r f a v o ur, i t is no p art o f t h ei r d ut y, or p o w er, to r estri ct or i m p e de
   t he w or ki n g o f l e gisl ati o n , e ve n o f u n p o p ul a r l e gisl ati o n ; t o do s o w o uld
   b e to w e a k en r at h er t h an to a d v a n ce t he d e m o cr atic pr o c ess.
          It i s n e c ess ary t o be cl e ar at o n c e t h at P arli a m e nt , i n c o nf erri ng t h es e
   wi d e p o w ers, h as i ntr o d u c ed s u bst a nti al s af e g u ar ds. T h os e r el e v a nt to t his B
   c as e are t hr e e:
          ( 1) No a cti on c an be t a k en u n d e r s e cti o n 2 0C wit h o ut t h e a p pr o v al of
   t he B o ard of I nl a nd R e v e n u e — vi z., t wo m e m b ers, at l e ast, a cti ng p ers o n all y.
   T hi s b o ard c o nsists of s e ni o r a nd r es p o nsi ble officials e x p er t in t he s u bj e ct
   m att er , w ho m ust be e x p e ct ed to wei gh c ar ef ully t he iss u es of p u blic i nt er est
   i n v ol v e d. £                                                                                             .
          ( 2) No w arr a nt to e nt er c an be iss u ed e x c e pt by a cir c uit j u d g e, n ot, as
   is us u all y t h e c as e , b y a m a gistr at e . T h er e h a s t o b e l ai d b ef or e hi m
   i nf or m ati on o n o at h, a nd on t his he m ust be s atisfi ed t h at t h ere is r e as o n-
   a bl e gr o u n d f o r s us p e cti n g t h e c o m missi o n o f a " t ax fr a u d " a n d t h a t
   e vi d e n c e of it is to be f o u nd i n t he pr e mis es s o u g ht to be s e ar c h e d. I f t h e
   j u d ge d o e s hi s d ut y ( a n d w e m us t ass u m e t h a t t h e l e ar n e d C o m m o n
   S erj e a n t di d in t he pr es e nt c as e) he m ust c ar ef ully c o nsi d e r f or hi mself t h e D
   gr o u n d s p u t f or w ar d b y t h e r e v e n u e officer a n d j u di ci all y satisf y hi mself ,
   in r el ati on to e a ch of t he pr e mis es c o n c er n e d, t h at t h ese a m o u nt to r e as o n-
    a bl e gr o u n ds f or s us p e cti n g , et c. I t w o uld be q uite wr o ng to s u p p ose t h at
    h e a cts si m pl y as a r u b b er st a m p on t he r e v e n u e's a p pli c ati o n .
          ( 3) T he c o urt s r et ai n t h ei r f ul l p o w er s o f s u p er visi o n o f j u di ci a l a n d
    e x e c uti v e a cti o n . T h er e is n ot hi ng in s e cti on 2 0C w hi ch c uts t h ese d o w n: j ?
    o n t he c o ntr ar y, P arli a m e nt, by usi ng s u ch p hr as es as " is s atisfi e d," " h as
    r e as o n a ble c a use to b eli e ve " m us t be t a k en to a c c e pt t he r estr ai nts w hi ch
    c o urt s i n m a n y c as e s h a v e h eld t o b e i n h er e n t i n t h e m . T h e c o urt s ar e
    c o n c er n e d , i n t hi s c as e , o nl y with t w o m att er s b e ari n g u p o n l e g alit y .
           First , w er e t he w arr a nt s v ali d? S e c o n dl y , c an t h e a ct u al a cti o n t a k e n
     u n d e r s u bs e cti o n ( 3 ) be c h all e n g ed o n t he gr o u nd t h at t he officers di d n o t
     h a v e , or c o uld n ot h a ve h a d, r e as o n a ble c a use to b eli e ve t h at t he d o c u m e nts
     t h ey seize d mi g ht be r e q uir ed a s e vi d e n ce f or t h e p ur p os es of pr o c e e di n g s
     in r es p e c t o f a " t ax fr a ud "? A t hir d p ossi bl e iss u e, n a m el y, t h a t t h er e
     w a s n ot b ef ore t he j u d ge s ufficie nt m at eri a l on w hi ch to be satisfied a s t he
     s e cti on r e q uir e s w as n ot p urs u e d , n or t h o u g ht s ust ai n a bl e by t he C o urt of
     A p p e al . I t is n ot an iss ue n o w.
           T h e t wo first m e nti o n ed ar e t he o nly iss u es in t he c as e. T hr e e j u d g es G
     h a v e d e ci d e d t h e m i n f a v o u r o f e a c h si d e . F or m ysel f I h a v e n o d o u b t
     t h at t he view t a k en by t he Di visi o n al C o urt on e a ch w as c orr e ct a nd I am
     willi n g to a d o p t t h eir j u d g m e nt.. I a d d a few o bs er v ati o n s o f my o w n.
            1 . I c an u n d erst a nd v ery w ell t he p er pl e xit y, a nd i n d e ed i n di g n ati o n, of
     t h ose pr es e nt on t he pr e mis es, w h en t h ey w ere s e ar c h e d. B e y o n d k n o wi n g,
     a s a p p e ar s i n t h e w arr a nt , t h a t t h e s e ar c h i s i n c o n n e cti o n wit h a "t a x J T
     fr a u d," t h e y w ere n ot t old w h at t he pr e cise n at ure of t he fr a ud w as , w hen
     it w as c o m mitt e d, or by w h om it w as c o m mitt e d. I n t he c ase of a c o n c ern
     wit h n u m er o u s cli e nts , f o r e x a m pl e , a b a n k , wit h o u t t hi s k n o wl e d g e t h e
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                                                                                                                  999
      A. C . R e g                  ; v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) L o r d   Wil b c rf o r c e
    o c c u pi e r of t he pr e mis es is t ot ally u n a ble to pr ot e ct bis c ust o m ers' c o nfi d e n-
    ti al i nf or m ati o n fr o m i n v esti g ati o n a n d s ei z ur e . I c a n n ot b eli e ve t h at t his
    d o e s n ot c al l f or a fresh l o o k by P arli a m e nt . B ut , on t he pl ain w or d s of
    t he e n a ct m e nt, t h e officers ar e e ntitl ed i f t h ey c an p ers u a de t he b o ard a n d
    t he j u d g e, to e nt er a nd s e ar ch pr e mis es r e g ar dl ess of w h om t h ey b el o ng t o:
    a w arr a n t w hi c h c o nf er s t hi s p o w e r i s stri ctl y a n d e x a ctl y wit hi n t h e
    p arli a m e nt ar y a ut h orit y , a n d t h e o c c u pi e r h a s n o a ns w e r t o it . I a c c e p t
B t h a t s o m e i nf or m ati o n a s r e g ar d s t h e p ers o n(s ) w h o ar e all e g e d t o h a v e
    c o m mitt e d a n offe nc e a n d p ossi bl y a s t o t h e a p pr o xi m at e d at e s o f t h e
    offe nce s m us t al m os t c ert ai nl y h a v e b e e n l ai d b ef or e t h e b o ar d a n d t h e
    j u d g e. B u t t h e o c c u pi e r h as no ri g h t to be t old o f t hi s at t his st a g e , n or
    h a s h e t h e ri g h t t o b e i nf or m e d o f t h e " r e as o n a ble gr o u n d s " o f w hi c h
    t he j u d ge w as s atisfi e d. B ot h c o urts a gr ee as to t hi s: al l t his i nf or m ati o n
    is cl e arly pr ot e ct ed by t he p u blic i nt er est i m m u nity w hi ch c o v ers i n v esti g a-
C ti o n s i nt o p ossi bl e cri mi n a l offe nces . Wit h r ef er e n c e t o t h e p oli c e , L ord
    R ei d st at ed t his in t h ese w or ds:
            " T h e p oli c e ar e c arr yi n g o n a n u n e n di n g w a r wit h cri mi n al s m a n y
            o f w h o m ar e t o d a y hi g hl y i nt elli g e nt . S o i t i s ess e nti a l t h a t t h er e
            s h o uld b e n o dis cl os ur e o f a n yt hi n g w hi c h mi g h t gi v e a n y usef u l
            i nf or m ati on t o t h os e w h o or g a nis e cri mi n a l a cti viti es . A n d i t w o ul d
            g e n er all y b e wr o n g t o r e q uir e dis cl os ur e i n a ci vi l c as e o f a n yt hi n g
            w hi c h mi g ht b e. m at eri al in a p e n di ng pr os e c uti o n: b u t aft er a v er di ct
            h a s b e en gi ven or it h as b e en d e ci d ed to t a ke no pr o c e e di n gs t h ere is
            n o t t h e s a m e n e e d f o r s e cr e c y. " ( C o n w a y v. Ri m m er [ 1 9 6 8 ] A. C .
            9 1 0 , 9 5 3- 9 5 4) .
 E Th           e C o ur t o f A p p e a l t o o k t h e vie w t h a t t h e w arr a nt s w er e i n v ali d
      b e c a us e t h e y di d n o t s ufficie ntl y p arti c ul aris e t h e all e g e d offe nce(s) . T h e
      c o ur t did n ot m a ke cl e ar e x a ctly w h at p arti c ul ars s h o uld h a ve b e en gi ve n—
      a n d i n d e e d I t hi n k t h a t t hi s c a n n o t b e d o n e . T h e w arr a n t f oll o w e d t h e
     w or di n g o f t h e st at ut e " fr a ud i n c o n n e cti on wit h or in r el ati on t o t ax ":
     a p ort m a nt e a u d es cri pti o n w hi c h c o v er s a n u m b e r o f c o m m o n la w
._ ( c h e ati n g ) a n d st at ut or y offe nce s ( u n d e r t h e T h ef t A c t 1 9 6 8 et al.) . T o
     r e q uire s p e cifi c ati on a t t his i n v esti g at ory st a ge w o uld be i m pr a cti c a ble gi ven
     t he c o m pl e xit y o f " t ax fr a u d s " a n d t h e differe n t p ers o n s w h o m a y b e
     i n v ol v ed ( c o m p a ni es , officer s o f c o m p a ni es , a c c o u nt a nts , t a x c o ns ult a nts ,
     t a x p a y ers, wi ves of t a x p a y ers et c.). M or e o v er , p arti c ul aris ati o n, if r e q uir e d,
     w o ul d n o d o u bt t a k e t he f orm o f a listi ng of o n e offe nce a n d/ o r a n ot h e r
     o r ot h ers a nd so w o uld be of little h elp to t h ose c o n c er n e d. Fi n all y , t h ere
G w o ul d cl e arl y b e p o w er , o n pri n ci pl e s wel l a c c e pt e d i n t h e c o m m o n l a w ,
     aft e r e ntr y h a d b e e n m a d e i n c o n n e cti o n wit h o n e p arti c ul a r offe nce , t o
     s ei ze m at eri a l b e ari n g u p o n ot h e r offe nce s wit hi n t h e p ort m a nt e a u . S o ,
     p arti c ul aris ati o n , e v e n if pr a cti c a bl e , w o uld n ot h elp t h e o c c u pi er .
            I a m u n a bl e, t h er ef or e, t o es c a pe t he c o n cl usi o n, t h at a d h er e n ce to t he
     st at ut ory f or m ula is s ufficie nt.
TT T h          e w arr a nts, b ei ng v ali d, c o nf er a n a ut h ority to e nt er a nd s e ar c h: s e e
     s e cti on 2 0C ( 1). T hi s b ei ng in t er ms st at ed in t he A ct, I do n ot a p pr e ci ate
     t he r el e v a n c e o f a n i n q uir y i nt o t h e f orm o f s e ar c h w arr a nt s a t c o m m o n
     l aw ( w hi c h i n a ny c as e a d mitt ed o f s o m e fl e xi bility i n o p er ati o n) stil l l ess
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   1000
   L or d   Wil b e rf o r c e R e g   . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0     ]
   i nto t h a t o f w arr a nt s o f arr est . T h er e i s n o m yst er y a b o u t t h e w or d
   " w arr a nt ": i t si m pl y m e a ns a d o c u m e nt iss u e d by a p ers on in a ut h orit y
   u n d e r p o w er c o nf err ed i n t h at b e h alf a ut h orisi n g t he d oi ng of an a ct w hi ch
   w o ul d ot h er wise be ill e g al. T h e p ers on affecte d, o f c o urs e, h as t he ri g ht to
   b e satisfie d t h a t t h e p o w er to iss ue it e xists: t h er ef or e t h e w arr a nt s h o ul d
   ( a nd di d ) c o nt ain a r ef er e n ce t o t h at p o w er. I t w o uld be wise to a dd to it
   a st at e m e n t o f s atisf a cti o n o n t h e p ar t o f t h e j u di ci a l a ut h orit y a s t o t he
   m att er s o n w hi c h h e m us t b e satisfie d b u t t hi s is n o t a r e q uir e m e n t a n d B
   its a bs e n c e d o e s n o t g o t o v ali dit y . T o c o m pl ai n o f it s a bs e n c e i n t h e
   pr es e n t c as e w h e n , a s i s a d mitt e d , n o c h all e n g e c a n b e m a d e a s t o t h e
   s atisf a cti o n, i n f a ct, o f t he j u d g e, w o uld be t e c h ni c al a nd i n d e ed irr ati o n al.
   I c an fi nd no gr o u nd f or h ol di ng t h ese w arr a nts i n v ali d.
          2 . T h e s e c o n d m att er , o n w hi c h t h e i nt er v e nti o n o f t h e c o urt m a y be
   c all e d f or , aris e s u n d e r s e cti o n 2 0 C ( 3) . T hi s c o nf er s a st at ut or y p o w e r
   i n d e p e n d e nt of a n y a ut h ority in t he w arr a nt to s ei ze a nd r e m o v e. Li k e all
   st at ut ory p o w ers c o nf err ed o n e x e c uti ve officers i t is s u bj e ct to s u p er visi o n
   b y t h e c o urt s e x er cisi n g t h ei r cl assi c a n d tr a diti o n a l p o w er s o f j u di ci a l
   r e vi e w. I t is u n dis p ut ed t h at t he w or ds " h as r e as o n a ble c a use to b eli e ve "
   ar e o p e n t o e x a mi n ati o n i n s pit e o f t h ei r s u bj e cti v e f or m : se e N a k k u d a
   Ali v . J a y ar at n e [ 1 9 5 1] A. C . 66 et al. T h e e xist e n c e o f t hi s r e as o n a bl e
   c a us e a n d o f t h e belief f o u n d e d u p o n it is ulti m at ely a q u esti on of f a ct t o D
   b e tri ed on e vi d e n c e.
          S o f ar a s r e g ar ds t h ese a p p e als t his iss ue is c o m pli c at ed i n t hr ee w a ys.
    First , it h as b e en r ais ed at an i nt erl o c ut ory st a g e, a nd at t he v ery b e gi n ni ng
    o f t h e i n v esti g ati o n , u p o n affi da vi t e vi d e n c e . S e c o n dl y , t he r e v e n u e h a v e
    r ef us e d, s o f ar , t o dis cl os e t h ei r r e as o n a bl e gr o u n ds , cl ai mi n g i m m u nit y
    fr om s o d oi n g, on t he gr o u n ds st at ed a b o v e. T hir dl y , t he d ef e n d a nts b ei n g,
    in effect, t h e Cr o wn or Cr o wn s er v a nts , an i nt erl o c ut ory i nj u n cti o n c a n n o t
    b e gr a nt e d (s e cti o n 2 1 o f t h e Cr o w n Pr o c e e di n g s A c t 1 9 4 7) .
           T h e C o ur t o f A p p e a l s o u g h t t o m e e t t hi s sit u ati o n b y gr a nti n g a
    d e cl ar ati o n : a n d r e c o g nisi n g, ri g htly in my o pi ni o n, t h at an i nt erim d e cl ar a-
    ti on c o uld n ot be gr a nt e d, g a ve a fi n al d e cl ar ati on in effect t h a t t he r e v e n ue
    h a d e x c e e d e d t h ei r p o w ers . I r e gr e t t h a t I c a n n o t a gr e e t h a t t hi s w a s
     c orr e ct . I t i s t o m e a p p ar e n t t h a t t h er e w a s a s u bst a nti a l c o nflic t o f F
     e vi d e n c e a s t o t h e m a n n e r i n w hi c h t h e s e ar c h e s w er e c arri e d o ut , t h e
     r es p o n d e nts br o a dly c o nt e n di ng t h at t he officers g a v e no r e al c o nsi d er ati on
     to t he q u esti on w h et h er i n di vi d u al d o c u m e nts mi g ht be r e q uir ed as e vi d e n c e:
     t he r e v e n u e ass erti n g t h a t t h e y h a d d et ail e d i nstr u cti o n s w h a t t o l o o k f o r
     a n d s ei z e a nd t h a t t h es e w er e c o m pli ed wit h . I s h al l n ot f urt h e r a n al ys e
     t his iss ue w hi ch w as f ully a nd s atisf a ct orily tr e at ed by t he Di visi o n al C o urt, _ ,
     f or I am satisfied t h at e ven if, w hi ch I d o u bt, t h ere mi g ht h a ve b e en e n o u gh
      e vi d e n c e t o j ustif y t h e gr a nti n g o f i nt erl o c ut or y r eli ef , t hi s fel l v er y f a r
      s h ort of s u p p orti ng a fi n al d e cl ar ati o n. I b eli e ve t h at t he C o urt of A p p e al
     w a s itself r e all y of t his o pi ni o n. T h e fi n al d e cl ar ati on gr a nt ed m ust cl e arly
      b e s e t asi d e .
            T w o r e m ar k s in c o n cl usi o n . First , I w o uld wish to m a ke it cl e ar t h at
      t he f ail ure o f t h e r es p o n d e nts at t his st a ge is n ot n e c ess arily t he e nd of t he
      m att er . T h e y c an pr o c e ed with an a cti on a g ai nst t he r e v e n ue f or, in effect ,
      e x c es s o f p o w e r a n d f o r tr es p as s a n d a n y a g gr a v ati o n c a n b e t a k e n i nt o
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                                                                                                               1001
     A. C . R e g                  . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) L o r d   Wil b e rf o r c e
    a c c o u nt . A t s o me st a g e, w hich c a n n ot be p arti c ul aris ed n ow with pr e cisi on
    b u t w hi c h br o a dl y w o ul d b e w h e n cri mi n a l pr o c e e di n g s ar e o v er , or ,
    wit hi n a r e as o n a ble ti m e , are n o t t a k e n , t he i m m u nity w hi c h e xists at t he
    st a ge of i niti al i n v esti g ati on will l a ps e. T h e n t he r e v e n ue will h a ve to m a ke
    g o o d a nd s pecify t he e xist e n ce a nd c a use of t h eir belief t h at t hi n gs r e m o v ed
    mi g h t be r e q uir ed as e vi d e n ce f or t he p ur p ose of " t ax fr a ud " pr o c e e di n g s
    a n d t h e iss ue will be tri ed i n a n or m al m a n n er. S e c o n dl y , I m ust e x pr ess
B r es er v ati o n s a s to t he s u g g esti on t h at t he l aw o u g ht to be c h a n g ed so as to
    all o w i nt eri m d e cl ar ati o n s t o b e gr a nt e d . A s r e g ar d s p ers o ns ot h e r t h a n
    t he Cr o w n, I se e no n e ed f o r t hi s h e ad o f r eli ef , gi v en t he p o w er to gr a nt
    i nt erim i nj u n cti o ns . A s r e g ar d s t h e Cr o w n I c a n s e e t h a t t h er e m a y b e
    f or mi d a ble o bj e cti o n s a g ai ns t all o wi n g , on i n c o m pl ete e vi d e n c e, a f orm of
    relief w hi c h , i n effect , m a y h a v e m u c h t h e s a m e effect a s a n i nj u n cti o n .
    A s I h a ve alr e a dy c o m m e nt e d i n a n ot h er c o nt e xt , s e nsi ble li mits h a ve t o
C b e s et u p on t he c o urts' p o w ers of j u di ci al r e vi ew of a d mi nistr ati ve a cti o n:
    t h ese I t hi n k , a s at pr es e n t a d vis e d , ar e s atisf a ct oril y s e t by t he law a s it
    st a n ds.
          T h e a p p e als m ust be all o w ed a nd t he j u d g m e nt a nd or d ers of t he C o urt
    o f A p p e al s et asi d e.

Tj > VI S C O U N         T DI L H O R N E . M y L or ds , o n J ul y 1 2 , 1 9 7 9 , t h e C o m m o n
      S erj e a n t a t t he i nst a n ce of t he a p p ell a nts iss u ed f o ur w arr a nts u n d er s e cti on
      2 0 C of t he T a x es M a n a g e m e nt A ct 1 9 70 as a m e n d e d, a ut h orisi ng t he s e ar ch
      o f f o u r pr e mis e s n a m e d i n t h e w arr a nt s b y t h e a p p ell a nt , Mr . R a y m o n d
      Q ui nl a n , a s e ni o r i ns p e ct o r o f t a x e s a n d ot h e r p ers o n s n a m e d i n e a c h
      w arr a nt . T h e f o u r pr e mis e s w er e t h e h o m e s o f Mr , R o n al d Art h u r
      Pl u m m er , m a n a gi ng dir e ct or of R oss mi nst er Lt d., a nd of Mr. R oy Cliff or d
 E T u c k e r a nd t he offices o f R oss mi nst e r Lt d., at 1 H a n o v er S q u ar e , L o n d on
      W. l a n d t h e a dj oi ni n g office s o f A . J. R . Fi n a n ci a l S er vi c e s at 1 9/ 2 4 St .
      G e or g e Str e et . E a c h w arr a n t w a s i n si mil a r f or m . T h a t i n r el ati o n t o
      R oss mi nst er' s office s a ut h oris e d t h ei r s e ar ch by Mr. Q ui nl an a n d 63 ot h er
      officer s o f t he I nl a nd R e v e n u e.
            T h e n e xt d a y, J uly 1 3 , at 7 a. m., n a m ed officers o f t he I nl a nd R e v e n u e
  p a c c o m p a ni e d b y p oli ce officer s c a m e to Mr. Pl u m m er' s a n d Mr . T u c k er' s
      h o m e s t o e x e c ut e t he s e ar c h w arr a nt s r el ati n g t o t h ose pr e mis es. A t t h e
      s a me ti m e ot h e r officer s o f t h e I nl a n d R e v e n u e a c c o m p a ni e d b y p oli c e
      officer s w e n t t o R oss mi nst er' s office s a n d t h os e o f A . J . R . Fi n a n ci a l
      S er vi c es . T h er e t h e y w ait e d u nti l an e m pl o y e e arri v e d t o l et t h e m in b ut
      a t Mr . Pl u m m er' s a n d Mr . T u c k er' s h o m e s t h e y d e m a n d e d a d mitt a n c e
      a t 7 a. m .
 G Th            e r e v e n u e s o u g h t t o j ustify t hi s e arl y visi t o n t h e gr o u n d t h a t t h e y
      w a nt e d t o g e t to t h es e h o m es w hile s o m e o ne w as at h o me so as to a v oid
      h a vi n g to f or ce an e ntr y. T hi s d o es n ot a p p e ar to me to be a g o od gr o u nd
      f or arri vi n g a t t h at ti m e . I f t h e y h ad c o m e a little l at er, t h e y mi g ht h a ve
      c a us e d l ess dist ur b a n ce a nd distr ess a nd still h a ve f o u nd s o m e o n e at h o m e.
      It c a n n ot , h o w e v er , b e s ai d t h a t t h e y a ct e d ill e g all y b y d e m a n di n g e ntr y
 J J a t t h a t ti m e f o r a w arr a n t iss u e d u n d e r s e cti o n 2 0 C a ut h oris es e ntr y " at
      a n y ti m e " e v e n i n t h e mi d dl e o f t h e ni g ht . I f t hi s s e cti o n i s r e vis e d ,
      c o nsi d er ati o n mi g h t b e gi ve n t o r estri cti n g t h e ti m e wit hi n w hi c h s u c h a
      s e ar ch w arr a n t c a n b e e x e c ut e d , a s is d o ne by s o me ot h er A cts.
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   1002
  Vis c o u n t Dil h o r n e R e g      . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E. ) ) [ 1 9 8 0   ]
        T h e s e ar c h a n d s ei z ur e o f d o c u m e nt s a n d t hi n g s i n t h e office s o f
  R oss mi nst e r a n d A. J. R. Fi n a n ci a l S er vi c es c o nti n u ed t hr o u g h o ut t h e d ay
  b u t c a m e to an e n d t h at e v e ni n g on it b ei ng l e ar nt t h at at t he i nst a n ce of
  Mr . Pl u m m er , Mr . T u c k er , R oss mi nst e r a n d A . J. R . Fi n a n ci a l S er vi c es ,
  W alt o n J . h a d gr a nt e d a n i nj u n cti o n a g ai ns t t h e a p p ell a nts . I n vie w of
  t he t er ms of s e cti o n 21 of t he Cr o wn Pr o c e e di n gs A ct 1 9 4 7 , t his i nj u n cti on
  s h o uld n ot h a ve b e en gr a nt e d .
        O n J uly 1 6, 1 9 7 9, t he r es p o n d e nts iss u ed a writ in t he C h a n c ery Di visi on B
  a g ai ns t t h e a p p ell a nt s cl ai mi n g d a m a g e s f o r wr o n gf u l i nt erf er e n c e wit h
  t h eir g o o ds , a n i nj u n cti o n a n d d eli v er y u p o f a n yt hi n g r e m o v e d b y a n
  office r o f t h e I nl a n d R e v e n u e i n r es p e c t o f w hi c h t h a t office r h a d n o t
  r e as o n a ble c a us e f o r belie f t h a t i t mi g h t b e r e q uir e d a s e vi d e n c e f o r t h e
  p ur p os e of pr o c e e di n g s in r es p e ct of an offe nce i n v ol vi n g fr a ud i n c o n n e c-
  ti on with or in r el ati on to t a x.                                                                        r
        O n J uly 1 7 t he r es p o n d e nt s o bt ai n e d t he l e a ve of t he Di visi o n al C o urt
  to m o ve t h at c o urt f or an or d er of m a n d a m us, an i nj u n cti on a n d a d e cl ar a-
  ti on t h a t t h e a p p ell a nt s w er e n o t e ntitl e d t o r e m o v e a n d w er e b o u nd t o
  • deli ver u p al l d o c u m e nt s a n d ot h e r t hi n g s i n r es p e c t o f w hi c h t h er e w a s
  n o r e as o n a bl e c a us e f or belie f t h a t t h e y mi g ht be r e q uir e d a s e vi d e n ce in
  s u ch pr o c e e di n gs .
        T h a t m oti o n w a s h e ar d b y t h e Di visi o n a l C o ur t ( E v el ei g h L.J. , P ar k D
  a n d W o olf JJ.) on A u g ust 1, 1 9 7 9, a nd dis miss e d. T h e r es p o n d e nts' a p p e al
  fr om t h a t d e cisi o n w a s all o w e d b y t h e C o ur t o f A p p e a l ( L or d D e n ni n g
  M. R. , Br o w ne a nd G off L.JJ.) on A u g ust 1 6, 1 9 7 9. T h a t c o urt m a de or d ers
  o f c erti or ar i q u as hi n g t h e s e ar c h w arr a nt s a n d gr a nt e d a d e cl ar ati o n , n o t
   to t a ke effect u nti l t he a p p e al to t his H o use h ad b e en h e ard or a b a n d o n e d,
   t h at Mr . Q ui nl a n a n d t h e ot h er officer s o f t h e I nl a n d R e v e n u e w er e n ot „
  e ntitl e d to r e m o ve t he d o c u m e nts a nd ot h er t hi n gs t a k en fr om t he pr e mis es
   s e ar c h ed a nd o u g ht to d eli v er t h em up a nd to d estr oy all c o pi es, all e xtr a cts
   a n d n ot es et c. t h ey h ad m a d e.
         T h e w arr a nt a ut h orisi n g t he s e ar ch of R oss mi nst er' s office s w a s in t he
  f oll o wi ng t er ms :
          " I N T H E C E N T R A L C RI MI N A L C O U R T p
                                                S E A R CH     W A R R A NT
          " T o : R a y m o n d Q ui nl a n
                   a n d t o t h e p ers o n s n a m e d i n t h e firs t s c h e d ul e a n n e x e d t o t hi s
                   w arr a n t officer s o f t h e B o ard of I nl a nd R e v e n u e
          " I nf or m ati on o n o ath h a vi ng b e en l aid t his d ay by R a y m o nd Q ui nl a n
          in a c c or d a n c e wit h t h e pr o visi o n s o f s e cti o n 2 0 C o f t h e T a x e s
          M a n a g e m e n t A c t 1 9 7 0 st ati n g t h a t t h er e i s r e as o n a bl e gr o u n d f o r
          s us p e cti ng t h a t a n offe nc e i n v ol vi n g fr a u d i n c o n n e cti o n wit h o r i n
          r el ati on t o t a x h a s b e e n c o m mitt e d a n d t h a t e vi d e n c e o f i t i s t o b e
          f o u nd o n t h e pr e mis e s d es cri b e d i n t h e s e c o n d s c h e d ul e a n n e x e d
          h er et o . Y o u ar e h er e by a ut h oris e d t o e nt e r t h os e pr e mis es, t o g et h e r
          wit h all or a ny of t he officers o f t he B o ard of I nl a nd R e v e n u e n a m ed
          in t h e firs t s c h e d ul e h er eto a n d t o g et h e r wit h s u c h c o nst a bl e s a s y ou
          m a y r e q uir e , i f n e c ess ar y by f or c e, a t a n y ti m e wit hin 1 4 d a ys fr o m
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                                                                                                             1003
    A. C . R e g          . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) Vis c o u n        t Dil h o r n e
.th              e ti me of iss ue of t his w arr a nt, a nd s e ar ch t h e m; a nd on e nt eri ng t h ose
              pr e mis e s wit h t hi s w arr a n t y o u m a y s ei z e a n d r e m o v e a n y t hi n g s
              w h ats o e v e r f o u n d t h er e w hi c h y o u h a v e r e as o n a bl e c a us e t o b eli e v e
              m a y be r e q uir ed as e vi d e n ce f or t he p ur p os es of pr o c e e di n gs in r es p e ct
              o f s u c h an offe nce .
              D at e d t hi s 1 2t h d a y o f J ul y 1 9 7 9
B Sd              . J o h n L e o n ar d
              Cir c ui t J u d g e
                                                   T h e Firs t S c h e d ul e
                                                        ( 63 n a m es)

Q Th                                                  e S e c o n d S c h e d ul e
                                      1 H a n o v e r S q u ar e L o n d o n W 1 R 9 R D
              D at e d 1 2t h J ul y 1 9 7 9
              S d . J o h n L e o n ar d
              Cir c ui t J u d g e. "
D S e cti o          n 2 0 C, s u bs e cti o ns ( 1) a nd ( 2), r e a ds as f oll o ws:
             " ( 1) I f t h e a p pr o pri at e j u di ci a l a ut h orit y i s satisfie d o n i nf or m ati o n
             o n o at h gi ve n b y a n office r o f t h e b o ar d t hat — ( a) t h er e i s r e as o n -
             a bl e gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n v ol vi n g a n y f or m o f
             fr a ud i n c o n n e cti o n wit h , o r i n r el ati o n t o , t ax h a s b e e n c o m mitt e d
             a n d t h a t e vi d e n c e o f i t i s t o b e f o u n d o n pr e mis e s s pecifie d i n t h e
g i nf or m ati o n            ; a n d ( b) in a p pl yi n g u n d e r t hi s s e cti o n , t h e office r a ct s
             wit h t he a p pr o v al of t he b o ard gi ven in r el ati on to t he p arti c ul ar c as e,
             t he a ut h ority m a y iss u e a w arr a nt i n writi ng a ut h orisi ng a n officer o f
             t he b o ar d t o e nt e r t h e pr e mis es , i f n e c ess ar y b y f or c e , a t a n y ti m e
             wit hi n 1 4 d a ys fr om t h e ti me of iss ue of t he w arr a nt, a nd s e ar ch t h e m.
             ( 2) S e cti o n 4 A o f t h e I nl a nd R e v e n u e R e g ul ati o n A c t 1 8 9 0 ( b o ar d's
             f u n cti o ns t o be e x er cis a bl e by an office r a cti n g u n d er t h ei r a ut h orit y )
 F d oe            s n ot a p ply to t he gi vi ng of b o ar d a p pr o v a l u n d e r t his s e cti o n."
           S e cti o n 2 0 D pr o vi d e s t h a t a cir c ui t j u d g e i s t h e a p pr o pri at e j u di ci a l
     a ut h orit y in E n gl a nd a n d W al es f or t h e p ur p os es of s e cti o n 2 0 C, a s e cti on
     w hi c h i s fr ee fr o m a n y ki nd o f a m bi g uit y a n d in my o pi ni on a m o d el of
     cl arit y .
           If t h e t er ms of t his s e cti on are r e c o nsi d er ed b y P arli a m e nt, it mi g ht be
G t h o u g h t d esir a bl e t o r e pl a c e a cir c uit j u d g e by a Hi gh C o urt j u d ge as t he
     a p pr o pri at e j u di ci a l a ut h orit y . T h e p o w e r gi ven b y s e cti o n 2 0 C to s ei z e
     a n d r e m o ve ot h er p ers o n's pr o p erty a nd t he f a ct t h at t ax fr a u ds m ore often
     t h an n ot are of gr e at c o m pl e xity s u g gest t h at it s h o uld be t he r es p o nsi bility
     o f a Hi g h C o ur t j u d g e t o satisf y hi msel f o f t h e m att ers s pecifie d i n s u b -
     s e cti on ( 1 ) ( a) a nd ( b). I n s a yi n g t h at I d o n ot wish to c ast a ny r efl e cti o n
J J o n t he C o m m on S erj e a nt . A s t he r e q uir e m e n t t h a t a j u d ge s h o ul d be so
     satisfied i s t h e fi na l s af e g u ar d a g ai ns t a b us e o f t h e p o w er s gi ve n b y t h e
     s e cti o n, it mi g ht be pr ef er a ble t o pl a ce t he r es p o nsi bility f or t h ei r e x er cise
     o n a m ore s e ni o r j u d g e.
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   1004
  Vis c o u n t Dil h o r n e R e g     . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0   ]
         T h e A ct d o es n ot pr es cri be t h at s u ch a w arr a nt m ust be in a ny p arti c ul ar
  f or m. I t d o es n ot say t h at it m ust st ate t h at r e q uir e m e nts f or its iss ue h a ve
  b e e n c o m pli e d wit h . I f t h e w arr a nt s i n t hi s c as e h a d o mitt e d t h ei r firs t
  p ar a gr a p h s a n d , aft e r st ati n g t o w h o m t h e w arr a nts w er e a d dr ess e d , h a d
  j ust st at e d t h a t t h e p ers o n s n a m e d i n i t w er e a ut h oris e d t o e nt e r a n d t o
  s e ar ch t h e pr e mis e s n a m e d , I c a n se e no gr o u n d o n w hi c h t h ei r v ali dit y
  c o ul d h a ve b e en s uccessf ully c h all e n g e d .
         T h es e w arr a nts , h o w e v er , n o d o u bt wit h t he i nt e nti on o f s h o wi n g t h at      B
  t he r e q uir e m e nt s f o r t h ei r iss u e h a d b e e n c o m pli e d wit h , s ai d t h a t i nf or -
   m ati o n o n o ath h ad b e en l aid in a c c or d a n ce with t he pr o visi o ns of s e cti o n
   2 0 C " st ati ng t h at t h ere is r e as o n a ble gr o u nd f or s us p e cti ng t h at an offe nc e
   i n v ol vi ng fr a u d " h a d b e e n c o m mitt e d a n d t h a t e vi d e n c e o f i t w a s t o b e
   f o u nd o n t h e pr e mis e s n a m e d .
       It c a n n o t i n m y view be e m p h asis e d t o o str o n gl y t h a t t h e s e cti o n r e -         p
 ' q uir es t h a t t h e a p pr o pri at e j u di ci a l a ut h orit y s h o ul d hi ms el f b e s atisfi e d
   o f t h es e m att er s a n d t h a t i t d o e s n o t s uffic e f o r t h e p ers o n l a yi n g t h e
   i nf or m ati on t o s a y t h a t h e is.
       D o e s t he f a ct t h a t t he w arr a nts did n ot st ate t h at t he C o m m on S erj e a n t
   h a d satisfie d hi msel f o f t h es e m att er s l e a d t o t h e c o n cl usi o n t h a t t h e
   w arr a nt s w er e i n l a w i n v ali d ? T h a t i n m y o pi ni o n w o ul d b e s o i f t h e
   o missi o n m e a n t t h a t h e h a d n o t d o n e s o . A p pli c ati o n s f o r t h e iss u e o f        D
   w arr a nt s u n d e r t hi s s e cti o n c a n n ot , I t hi n k , b e s o v er y fr e q u e n t t h a t
   cir c ui t j u d g e s are f a mili ar wit h t he t er ms o f t h e s e cti o n. I do n ot d o u b t
   t h at b ef or e iss ui n g t h ese w arr a nts a ut h orisi n g s u ch e xt e nsi ve s e ar c h es t he
   C o m m o n S erj e a n t w o ul d h a ve l o o k ed a t t h e s e cti o n. I f h e di d, he m ust
   h a v e r e alis ed t h at h e h ad to be s atisfi ed a n d t h at h e w as n ot e m p o w er e d
   to a c t o n a n ot h e r p ers o n b ei n g s atisfi e d . T h e w arr a nt s w er e n ot , I                 g
   e x p e ct , dr a w n u p b y hi m a n d w h e n h e si g n e d t h e m , i t i s m u c h m or e
   li k ely t h at he f ail ed to n oti ce t he o missi on t h an t h at he f ail ed to dis c h ar ge
   t he d ut y l ai d u p o n hi m . I s e e n o gr o u n d s w h ats o e v e r f o r ass u mi n g o r
   i nf erri ng t h a t t h e C o m m o n S erj e a n t mis c o nstr u e d t h e s e cti o n . I f h e
   t h o u g ht — a nd t h er e i s no gr o u n d f o r t hi n ki n g t h a t h e di d —t h a t h e w a s
   e ntitl e d t o a ut h oris e t h e iss u e o f t h e w arr a nt s m er el y i n r eli a n c e o n
   Mr . Q ui nl a n st ati n g o n o at h t h a t t h er e w a s r e as o n a bl e gr o u n d f o r t h e         F
   b o ar d' s s us pi ci o ns , t h en i n d e e d h e w o uld b e bl a m e w ort hy h a vi n g r e g ar d
   to t h e cl e a r l a n g u a g e o f t h e s e cti o n .
          Alt h o u g h i t i s n o t m a d e n e c ess ar y b y t h e s e cti o n , I t hi n k t h a t i t i s
   m os t d esir a bl e t h a t a w arr a n t iss u e d u n d e r t hi s s e cti o n s h o ul d m a k e i t
   cl e a r t h a t t h e st at ut or y c o n diti o n s pr e c e d e n t t o t h e iss u e o f a v ali d
   w arr a n t h a v e b e en c o m pli ed wit h, a nd also t h at t h e w arr a nt s h o ul d st ate             G
    a c c ur at el y w h a t i t a ut h oris e s t o b e d o n e.
          T h e iss u e of a w arr a nt o nl y a ut h oris es e ntry a nd s e ar c h. I t d o es n ot
   a ut h oris e s ei z ur e a n d r e m o v a l o f a n yt hi n g . T h e p o w e r t o s ei z e a n d
    r e m o ve i s gi v en b y s e cti on 2 0 C ( 3) w hi ch i s in t h e f oll o wi n g t er ms :
            " On e nt eri n g t h e pr e mis e s wit h a w arr a n t u n d e r t hi s s e cti o n , t h e
            office r m a y s ei z e a n d r e m o v e a n y t hi n g s w h ats o e v e r f o u n d t h er e       JJ
            w hi c h he h as r e as o n a ble c a use to b eli e ve m ay be r e q uir ed as e vi d e n ce
            f or t h e p ur p os e s o f pr o c e e di n g s i n r es p e c t o f s u c h a n offe nc e a s is
            m e nti o n e d i n s u bs e cti on ( 1 ) a b o v e."
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                                                                                                           1005
      A. C . R e g       . v . I. R. C. , E x p . R oss mi nst c r ( H. L.( E.) ) Vis c o u n      t Dil h o r n e
             A n y o n e r e a di n g t h e w arr a nt s iss u e d i n t hi s c as e mi g h t r e as o n a bl y
      c o n cl u d e t h a t t h e w arr a nt s t h e ms el v e s a ut h oris e d s ei z ur e a n d r e m o v al .
       If t h at w ere t he c as e, t h en it mi g ht l e nd s o me f or ce to t he c o nt e nti on t h a t
       t he w arr a nt s s h o ul d gi v e s o m e i n di c ati o n o f t h e n at ur e o f t h e t hi n g s
       w hi c h mi g h t b e s ei z e d a n d r e m o v e d . Stri ctl y I s e e n o n e e d f o r t h e
       w arr a n t t o r ef e r a t al l t o t h e p o w e r t o s ei z e a n d r e m o v e b u t i f i t i s
       t h o u g ht d esir a bl e t o d o s o , t h e n i t s h o ul d b e st at e d t h a t t h e p o w e r of
B    s ei z ur e a nd r e m o v a l is e x er cis a ble b y virt ue of t hi s s u bs e cti o n .
             T h e r es p o n d e nt s c o nt e n d t h a t t h e w arr a nt s s h o ul d h a v e gi v e n s o m e
      i n di c ati on o f w h a t w a s b ei ng s e ar c h e d f or . T o b e v ali d , t h e y s a y , t h e
       w arr a nt s s h o ul d h a v e s pecifie d o r s uffi ci e ntl y i d e ntifi e d t h e n at ur e
       o f t he offe nce o r offe nces s us p e ct e d . T h e y s ay t h at t he i nf or m ati on c o n -
      t ai n ed i n t h e w arr a nt s w a s n o t s pecifi c e n o u g h t o e n a bl e t h e officer s o f
      t he b o ar d , t h e o w n er s o f t h e d o c u m e nt s a n d t h e r es p o n d e nt s t o k n o w
       w h a t t h e officer s w er e a ut h oris e d t o s e ar c h f or , s ei z e a n d r e m o v e o r t o
      e n a bl e a c o ur t t o d et er mi n e w h et h e r t h e officer s h a d h a d b eli e f a n d
      r e as o n a ble c a us e t o b eli e v e t h a t a d o c u m e n t mi g h t b e r e q uir e d a s
       e vi d e n c e .
             T h es e c o nt e nti o n s f o u n d f a v o u r i n t h e C o ur t o f A p p e al , L or d
      D e n ni n g M. R . s a yi n g , a nt e, p p. 9 7 6 H — 9 7 7 A , t h a t t o b e v ali d, a w arr a n t
D     m us t s pecify t he offe nce s us p e ct e d a nd t h at " t he s ei z ure is li mit ed to t h ose
      t hi n gs a ut h oris ed by t he w arr a nt." Br o w n e L.J. h eld t h at a w arr a nt m ust
      s pecify at l e ast t he g e n er al n at ure of t he offe nce o r offe nces s us p e ct e d a nd
       G of f L.J . a nt e , p. 9 8 2 G- H, t h at to be v ali d, it m ust st ate on its f a ce " t h at
      it r el at es to all or to s o me o ne or m ore " of t he cri mi n al offe nces to w hi ch
      a t a x fr a u d c o ul d gi v e ris e.
             M y L or ds, I d o n ot fi n d m yself a bl e to a gr e e . T h e s e cti o n d o e s n ot
       r e q uire t h e w arr a n t t o st at e w h a t cri mi n a l offe nc e o r offe nce s ar e
       s us p e ct e d. Officer s o f t he b o ard w h en m a ki ng t h eir s e ar c h es a nd d e ci di ng
       w h a t to s ei z e, a ct i n a c c or d a n ce with t he i nstr u cti o ns t h e y h a ve r e c ei v e d
       a n d do n ot r ely on t he t er ms o f t he w arr a nt f o r g ui d a n c e . T h e w arr a nt
       d o e s n ot a ut h orise s ei z ure or s ay w h at m ay be s ei z e d. I t is s u bs e cti on ( 3)
       t h at d o es t h at. T a x fr a u ds m ay t a ke m a ny f or ms a nd l e ad to a v ari ety of
F    cri mi n a l c h ar g es . I f t h e C o ur t o f A p p e a l is ri g ht, i t m e a n s t h a t b ef or e
       a n y e vi d e n c e s e c ur e d b y t h e s e ar c h h a s b e e n c o nsi d er e d a n d w h e n t h e
       cir c ui t j u d g e h a s o nl y to be s atisfi ed t h a t t h er e i s r e as o n a ble gr o u n d f o r
       s us p e cti ng t h e c o m missi o n o f " an " offe nc e i n v ol vi n g a t a x fr a u d , f o r
       t he w arr a n t t h e s e cti o n t h e n a ut h oris e s him to iss ue to be v ali d, it m ust
       s pecify t h e offe nc e o r offe nce s s us p e ct e d .
             M y L or ds, I d o n ot t hi n k t h a t t h es e c o nt e nti o n s o f t h e r es p o n d e nt s
^*    a n d t he c o n cl usi o ns of t he C o urt of A p p e al on t his are ri g ht. A w arr a nt
       iss u ed u n d e r t h e s e cti o n wil l b e i n v alid i f t h e pr o visi o n s o f t h e s e cti o n
       ar e n ot c o m pli e d wit h o r if t h er e is s o me r ule of l a w i n d e p e n d e nt o f t h e
       s e cti on t h a t r e q uir e s t h e p arti c ul a r offe nc e o r offe nce s t o b e st at e d .
       T h es e w arr a nt s di d c o m pl y wit h t h e s e cti o n a n d I k n o w o f n o r ul e o f
       law t h a t r e q uir e s t h at . I n t h e c o urs e o f t h e ar g u m e n t r ef er e n c e w a s
JJ    m a d e t o g e n er a l w arr a nts . L or d D e n ni n g M. R . als o r ef err e d t o
       t h e m. I n m y vi e w t he ol d w ell- k n o w n c as e s o n g e n er a l w arr a nt s r e all y
       h a v e n o r ef er e n c e t o t hi s c as e . H er e t h e w arr a nt s w er e n o t g e n er al .
       T h e y a ut h oris e d n a m e d p ers o n s t o e nt e r n a m e d pr e mis e s a nd t o s e ar c h
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   Vis c o u n t Dil h o r n e R e g     . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0   ]
   t h e m. O n e ntry with s u ch a w arr a nt, t h eir p o w er of s ei z ure a nd r e m o v al .
   w a s li mit ed b y , c o ntr oll e d b y a nd a ut h oris e d b y s u bs e cti on ( 3) . I t m a y
   b e t h at t h er e are m a ny p ers o ns w ho t hi nk t h at in 1 9 7 6 t oo wi de a p o w er
   wa s gi v en t o t h e r e v e n u e . I f i t w as , a nd I e x pr es s n o o pi ni o n o n t h at ,
   it m us t b e l eft t o P arli a m e n t t o n arr ow t he p o w er it g a v e . T h at , i n my
   vi e w , c a n n ot b e d o ne by j u di ci al i nt er pr et ati on w h e n t he l a n g u a ge of t h e
   e n a ct m e n t is cl e ar a nd d o es n ot w arr a nt it a nd w h en t h at c a n n ot be d o ne
   in a c c or d a n ce with a ny r ule of l a w. B
         F o r t h es e r e as o n s i n m y o pi ni o n t h e w arr a nt s w er e n o t i n v ali d a n d
   s h o uld n o t h a v e b e en h el d t o b e.
         T h e r es p o n d e nts also c o nt e n d ed t h at t he w ay in w hi ch t he s e ar ch w as
   c o n d u ct e d s h o w e d t h a t t h e officer s s e ar c hi n g c o ul d n o t r e as o n a bl y h a v e
   f or m ed t h e b eli e f i n r es p e c t o f m a n y o f t h e d o c u m e nt s s ei z e d t h at t h e y
   mi g h t b e r e q uir e d a s e vi d e n c e i n cri mi n a l pr o c e e di n gs . Affi d a vit s w er e
   s w orn b y Mr . Pl u m m er , Mr . T u c k e r a n d ot h er s t o est a blis h t hi s a n d ^
   affi da vit s w er e file d i n r e pl y b y a n u m b e r o f officer s o f t h e I nl a n d
   R e v e n u e . I t w o ul d n ot s er v e a ny us ef ul p ur p os e to s u m m aris e t he c o n -
   t e nts o f t h es e affi d a vits . I t s uffice s t o s a y t h a t t h er e w a s a c o nfli c t o f
   e vi d e n c e o n a n u m b e r o f m att er s a n d t h a t t h e m ai n c o nt e nti o n o f t h e
   r es p o n d e nts w a s t h at t h e ti m e s o f s ei z ur e o f t h e v ari o u s d o c u m e nt s a n d
   fil es s h o w n on lists pr e p ar ed by t he r e v e n u e's officers s h o w e d t h at a gr e at D
   m a n y of t h em c o ul d n ot p ossi bly h a ve b e en e x a mi n ed b ef ore s ei z ur e, a nd
   in t he a bs e n c e of e x a mi n ati o n t h er e c o uld n ot h a v e b e en a n y r e as o n a bl e
   b eli e f t h a t t h e y mi g h t b e r e q uir ed a s e vi d e n c e.
         A gr e a t m a n y d o c u m e nt s w er e s ei z e d a n d r e m o v e d . M a n y officer s
   w er e e m pl o y ed in t he o p er ati o n. List s w ere m a de up of w h at w as s ei z ed
   a n d t h e ti m e of s ei z ur e r e c or d e d. A s h ort i nt er v a l o f ti me b et w e en t w o
   e ntri e s o n a list w o ul d b e a str o ng i n di c ati o n t h a t t h er e c o ul d n o t h a v e * *
   b e e n a pr o p e r e x a mi n ati o n , i f o n e office r d e al t wit h t h e d o c u m e nt s
   r ef err ed t o in t h os e t wo e ntri es, b ut wit h a n u m b er o f officer s s e ar c hi n g
   a n d e x a mi ni n g d o c u m e nts , t h e ti m e s o f s ei z ur e d o n o t i n m y o pi ni o n
   pr o vi d e t h e sli g ht es t i n di c ati o n o f w h et h e r o r n o t b ef or e s ei z ur e t h er e
   w a s e x a mi n ati o n . T h e ti m e n e c ess ar y t o f or m a vie w w h et h e r a fil e
   o r a d o c u m e nt mi g h t b e r e q uir ed a s e vi d e n ce w o uld v ar y . I f t h e fr a u d p
   s us p e ct ed i n v ol v e d i nt er- c o m p a n y tr a ns a cti o n s b et w e e n a l ar g e n u m b e r
   o f c o m p a ni es , it w o uld n ot t a k e up m u ch ti m e to d e ci d e t h at a fil e r el a-
   ti ng t o o n e o f t h e c o m p a ni e s mi g h t r e as o n a bl y b e b eli e v e d a s li k el y
   to c o nt ai n m at eri a l w hi c h mi g h t b e r e q uir e d a s e vi d e n c e ; a n d s u c h a
   c o n cl usi o n mi g ht pr o p erly be r e a c h ed wit h o ut l o o ki ng at e v ery d o c u m e nt
   in t h e fil e.
         T h e r es p o n d e nt s s atisfi e d t h e C o ur t o f A p p e a l t h a t t h e s ei z ur e a n d G
   r e m o v al w er e u nl a wf ul . W h e n t a ki n g s o m a n y d o c u m e nt s a s w er e
   t a k en i n t hi s c as e , mist a k e s m a y o c c u r a n d s o m e d o c u m e nt s b e t a k e n
   t h at s h o ul d n ot h a v e b e e n. B u t t h e f a c t t h a t t h e y s h o uld n ot h a v e b e en
   d o e s n ot, i n my o pi ni o n, j ustify t h e c o n cl usi on t h a t t h e ot h e r d o c u m e nt s
   t a k en w er e n o t t a k e n aft e r a d e q u at e e x a mi n ati o n a n d i n t h e b eli e f t h a t
   t h ey mi g ht be r e q uir ed i n e vi d e n c e. O m ni a pr a es u m u nt ur rit e esse a ct a, J J
   If t h e r es p o n d e nt s cl ai m e d t h e e ntr y i nt o t h ei r pr e mis e s w a s a tr es p ass,
   t h ey w o ul d b e m e t wit h t h e a ns w e r t h a t t h e w arr a nt s m a d e t h e e ntr y
   l e g al. I f t h e y ass ert t h a t f oll o wi n g a l a wf u l e ntr y , d o c u m e nt s a n d t hi n g s
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                                                                                                            1007
     A. C . R e g           . v . I. R. C. , E x p . R oss mi nst c r ( H. L.( E.) ) Vis c o u n     t Dil h o m e
      w er e s ei z e d a n d r e m o v e d w h e n t h er e w a s n o ri g h t t o t a k e t h e m , t h e
      o n us , i n m y o pi ni o n , li e s o n t h e m t o est a blis h a pri m a f a ci e c as e o f
      t h at a n d t h at , i n m y o pi ni o n , t h e y h a v e n o t d o n e .
            In t h es e pr o c e e di n g s f o r a j u di ci al r e vi e w t he C o ur t o f A p p e a l m a d e
      a fi n a l d e cl ar ati o n t h a t t h e a p p ell a nt s s h o ul d d eli v e r u p al l t h e y h a d
      t a k e n. N o i nj u n cti on c a n b e gr a nt e d a g ai ns t t h e Cr o w n b u t o n e w o uld
      e x p e c t t h e Cr o w n t o c o m pl y wit h a n y d e cl ar ati o n m a d e . N o i nt eri m
B    d e cl ar ati o n c a n b e m a d e, a n d w hile I d o n ot wis h to e x pr es s a n o pi ni o n
      o n t he p oi nt , I d o u b t v er y m u c h w h et h e r i t w o ul d b e a d vis a bl e t h at t h e
      c o urt s s h o uld h a v e p o w er to gr a nt o n e aff e cti ng t h e Cr o w n w hi ch w o uld
      h a v e m u ch t h e s a m e effec t a s an i nt erim i nj u n cti o n .
          T h e C o urt of A p p e al, n ot h a vi ng p o w er to m a ke an i nt erim d e cl ar ati o n,
      m a d e a fi n a l o n e . W hil e I w o ul d n o t g o s o f a r a s t o s a y t h a t t h er e
„   c a n n e v e r b e a c as e w h er e o n a j u di ci a l r e vi e w a fi n al d e cl ar ati o n
      a g ai ns t t h e Cr o w n c a n pr o p erl y b e m a d e , s u c h a c as e s h o ul d , I t hi n k ,
      b e v ery e x c e pti o n al.' S u c h a d e cl ar ati on s h o ul d n ot be m a de u nl ess t h ere
      is n o dis p ut e a s t o t h e m at eri a l f a cts , w hi c h i s n o t t h e c as e h er e , o r
      u nl es s t h e dis p ut e a s t o t h e f a ct s h a s b e e n d et er mi n e d aft e r s o m et hi n g
      in t he n at ur e o f a tri al, w hi ch a g ai n di d n o t h a p p e n h er e .
            In m y o pi ni o n n o fi n al d e cl ar ati on s h o ul d h a v e b e e n m a d e .
D     On         e d o e s n o t k n o w t h e n at ur e o f t h e t a x fr a u d , t h e c o m missi o n o f
      w hi c h t h e C o m m o n S erj e a n t w a s satisfie d t h er e w er e r e as o n a bl e gr o u n d s
      to s us p e ct. I t m a y h a ve b e e n , o n e d o es n ot k n o w , a t ax fr a u d o f gr e a t
      m a g nit u d e , i n v ol vi n g a n u m b e r o f p ers o n s a n d a l o t o f m o n e y . T h e
      p ur p os e o f t h e w arr a nt s w a s to e n a bl e e ntr y t o b e m a de o n t o pr e mis e s
      w h er e it w as t h o u g ht e vi d e n c e of t h e fr a u d mi g h t b e f o u n d .
g   Th           e effec t o f t h e C o ur t o f A p p e al' s or d e r w a s t o pr e v e n t e vi d e n c e
      w hi c h mi g ht b e r e q uir ed f o r a cri mi n al pr os e c uti on b ei n g s e c ur e d .
            If t his a p p e al is all o w e d, it will n ot pr e v e nt t he r es p o n d e nts c o nti n ui ng
      t h eir a cti o n f o r d a m a g e s f o r t h e wr o n gf u l s ei z ur e o f d o c u m e nts , t h o u g h
      if t h ere is a pr os e c uti o n, it m ay w ell be d esir a ble t h a t t h a t a cti o n s h o uld
      n o t b e tri e d u nti l aft e r t h e c o n cl usi o n o f t h e cri mi n a l c as e .
            In m y o pi ni o n , f o r t h e r e as o n s I h a v e st at e d , t hi s a p p e a l s h o ul d b e
      all o w e d .

           L O R D DI P L O C K . M y L or ds , al l t h e e v e nt s wit h w hi c h t hi s a p p e a l i s
     c o n c er n e d t o o k pl a ce in t he c o urs e o f a n i n v esti g ati o n b y officers o f t h e
     B o ar d o f I nl a n d R e v e n u e i nt o s us p e ct ed cri mi n a l offe nces . T w o c o m p et-
     i ng p u blic i nt er ests are i n v ol v e d: t h a t offe nces i n v ol vi n g t ax fr a u ds s h o ul d
G b e d et e ct e d a n d p u nis h e d ; a n d t h a t t h e ri g h t o f t h e i n di vi d u a l t o t h e
     pr ot e cti o n o f t h e l a w fr o m u nj ustifi e d i nt erf er e n c e wit h hi s us e a n d
     e nj o y m e n t o f hi s pri v at e pr o p ert y s h o ul d b e u p h el d . W h a t u n d erli e s
     t he q u esti o ns o f l aw w hi ch t hi s H o use m ust n o w d et er mi ne i s h ow t h ose
    t wo c o m p eti n g, a nd at ti m es c o nfli cti n g, p u blic i nt er ests c an be r e c o n cil ed
     u n d e r t h e n e w pr o c e d ur e f o r j u di ci a l r e vi e w f o r w hi c h R. S. C. , Or d . 5 3
„ n o w pr o vi d es.
           T hr e e q u esti o n s o f l a w ar e r ais e d i n t hi s a p p e al .
         ( 1) T h e first i s h o w m u c h i nf or m ati o n m us t b e dis cl os e d u p o n t h e
     f a ce o f a s e ar c h w arr a n t iss u e d b y a cir c ui t j u d g e u n d e r s e cti o n 2 0 C ( 1)
                                                                                                                       I
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   L o r d Di pl o c k R e g     . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0            ]
   o f t he T a x es M a n a g e m e nt A c t 1 9 7 0 ; ( 2) t he s e c o nd is: w h et h e r u p on a n .
   a p pli c ati o n f o r j u di ci a l r e vi e w o f a ct s o f a n office r o f t h e B o ar d o f
   I nl a nd R e v e n u e in s ei zi n g a nd r e m o vi n g d o c u m e nts u n d er s e cti on 2 0C ( 3)
   a n y o n u s li e s u p o n t h e a p pli c a n t t o s h o w t h a t t h e office r di d n o t h a v e
   r e as o n a ble gr o u n d s f o r b eli e vi n g t h a t t h e d o c u m e nt s s ei z e d mi g h t b e
   r e q uir ed a s e vi d e n ce f o r t h e p ur p ose of s u c h pr o c e e di n gs a s are r ef err e d
   to in t h at s u bs e cti o n; a nd ( 3) t he t hird is: w h et h e r if t h ere is an u nr es ol v ed
   c o nfli c t o f affi da vi t e vi d e n c e o f r el e v a n t f a ct , i t i s n e v ert h el ess a pr o p er B
   e x er cis e o f j u di ci a l dis cr eti o n t o m a k e a fi n a l d e cl ar ati o n i n f a v o u r o f
   t he a p pli c a nt.

   T h e v ali dit y of t h e w arr a nt
       W h a t h a s to be dis cl os ed u p o n t he f a c e o f t h e s e ar ch w arr a n t d e p e n d s
   u p o n t h e tr u e c o nstr u cti o n o f t h e st at ut e . T h e c o nstr ui n g c o ur t o u g ht , Q
   n o d o u bt, to r e mi nd its elf, if r e mi n d e r s h o ul d be n e c ess ar y, t h at e nt eri n g
   a m a n' s h o us e o r office , s e ar c hi n g i t a n d s ei zi n g hi s g o o d s a g ai ns t hi s
   wil l ar e t orti o u s a ct s a g ai ns t w hi c h h e i s e ntitl e d t o t h e pr ot e cti o n o f
   t he c o urt u nl es s t he a ct s c an b e j ustifi ed eit h e r a t c o m m o n l a w or u n d e r
   s o me st at ut or y a ut h orit y . S o i f t h e st at ut or y w or d s r eli e d u p o n a s
   a ut h orisi n g t h e a ct s ar e a m bi g u o u s o r o bs c ur e , a c o nstr u cti on s h o ul d b e
   pl a c e d u p on t h em t h at is l e ast r estri cti ve of i n di vi d u al ri g hts w hi ch w o uld ^
   ot h er wis e e nj o y t h e pr ot e cti o n o f t h e c o m m o n l a w . B u t j u d g e s i n
   p erf or mi n g t h ei r c o nstit uti o n a l f u n cti o n o f e x p o u n di n g w h at w or d s us ed
   b y P arli a m e n t i n l e gisl ati o n m e a n , m us t n o t b e o v er- z e al o u s t o s e ar c h
   f or a m bi g uiti e s o r o bs c uriti e s i n w or d s w hi c h o n t h e f a c e o f t h e m ar e
   pl ai n , si m pl y b e c a us e t h e m e m b er s o f t h e c o ur t ar e o u t o f s y m p at h y
   wit h t he p oli cy to w hi ch t he A ct a p p e ar s to gi ve eff e ct. E
         M y L or ds , i t d o e s n o t see m t o m e t h a t i n c o nstr ui n g s e cti o n 2 0 C of
   t he T a x e s M a n a g e m e n t A c t 1 9 7 0 a ny assist a n c e i s to b e g ai n e d fr o m a
   c o nsi d er ati o n o f t h os e mi d- 1 8t h c e nt ur y c as e s c e ntri n g o n J o h n Wil k e s
   a n d c ul mi n ati n g i n E nti c k v . C arri n gt o n ( 1 7 6 5 ) 2 Wils . 2 7 5 , w hi c h
   est a blis h e d t h e ill e g alit y o f " g e n er al w arr a nt s " a n d w er e cit e d by L or d
   D e n ni n g M. R. in his j u d g m e nt in t he i nst a nt c as e . R e x v . Wil k es ( 1 7 6 3) j ?
   2 Wils . 1 5 1 w as n o t c o n c er n e d wit h a w arr a n t f o r arr es t a n d s ei z ur e of
   d o c u m e nt s b ut with a w arr a nt of c o m mit m e n t to t he T o w er of L o n d on of
   J o hn Wil k e s b y n a m e a n d w a s d e ci d e d o n a p oi n t o f p arli a m e nt ar y
   pri vil e g e fr o m arr es t al o n e . H u c kl e v . M o n e y ( 1 7 6 3 ) 2 Wils. 2 05 w as a
   c as e r e p ort e d o n t h e q u esti o n o f t h e ri g h t o f t h e C o ur t o f C o m m o n
   Pl e a s t o or d e r a n e w tri a l o n t h e gr o u n d t h a t e x c essi v e d a m a g e s h a d
   b e e n a w ar d ed by a j ur y. I t w as an a cti on f or f als e i m pris o n m e nt br o u g h t G
   b y a j o ur n e y m a n pri nt e r w h o a p p ar e ntl y h a d pl a y e d n o p ar t i n pri nti n g
   t he f a m o u s iss u e N o. 45 of " T he N orth Brit o n " b u t h a d b e en arr est e d
   u n d e r a w arr a n t iss u e d b y a S e cr et ar y o f St at e a ut h orisi n g a Ki n g' s
   m ess e n g e r t o arr es t t h e a ut h ors , pri nt er s a n d p u blis h er s o f t h a t iss u e
   ( wit h o ut n a mi n g o r i d e ntif yi n g a n y o f t h e m) , t o s ei z e al l t h ei r p a p er s
   a n d to bri ng t h em b ef or e t h e S e cr et ary o f St at e to b e e x a mi n ed b y hi m. J J
   Pr at t C.J . r ef err e d t o t he f a ct t h a t in t his p arti c ul ar c as e t he w arr a nt di d
   n o t n a m e t h e p ers o n s t o b e arr est e d u n d e r i t a s a m att er w hi c h mi g h t
   b e t a k en i nt o a c c o u n t i n a g gr a v ati o n o f d a m a g es ; b u t a s w as ulti m at el y
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                                                                                                            1009
     A. C . R e g                   . v . I. R. C. , E x p . R oss mi nst c r ( H. L.( E.) ) L o r   d Di pl o c k
,. h el d i n E nti c k V . C arri n gt o n 2 Wils . 2 7 5 t h e i n v ali dit y o f w arr a nt s o f
      t his ki n d di d n o t d e p e n d o n t h e a bs e n c e o f t h e n a m e o f t h e p ers o n t o
      b e arr est e d , f o r E nti c k w a s s o n a m e d . T h ei r i n v ali dit y w a s m or e
      f u n d a m e nt al; a S e cr et ar y o f St at e , i t w a s h el d, di d n o t h a v e a n y p o w er
      a t c o m m o n l a w o r u n d e r t h e pr er o g ati v e t o or d e r t h e arr es t o f a n y
      citi z e n or t he s ei z ure of a ny of his pr o p erty f or t he p ur p ose of dis c o v eri ng
      w h et h e r he w as g uilty of p u blis hi ng a s e diti o us li b el.
 B I          n t h e i nst a nt c as e t he s e ar ch w arr a n t did n ot p ur p ort t o be iss u ed by
      t he cir c uit j u d ge u n d er a ny c o m m on law or pr er o g ati ve p o w er b ut p urs u a nt
      to s e cti on 2 0 C ( 1) of t h e T a x es M a n a g e m e nt A c t 1 9 7 0 , al o n e. T h a t s u b-
      s e cti on m a k es it a c o n diti on pr e c e d e nt to t he iss ue of t he w arr a nt t h at t he
      cir c ui t j u d g e s h o ul d hi msel f b e satisfie d b y i nf or m ati o n u p o n o at h t h a t
      f a cts e xis t w hi c h c o nstit ut e r e as o n a bl e gr o u n d f o r s us p e cti n g t h a t a n
 _ , offe nc e i n v ol vi n g s o me f orm o f fr a u d i n c o n n e cti on wit h or in r el ati o n t o
      t ax h a s b e e n c o m mitt e d , a n d als o f o r s us p e cti n g t h a t e vi d e n c e o f t h e
      offe nc e i s to b e f o u nd o n t he pr e mis es in r es p e c t o f w hi c h t he w arr a nt t o
      s e ar ch i s s o u g ht . I t i s n ot , i n m y vie w , o p e n t o y o u r L or ds hi p s t o
      a p pr o a c h t h e i nst a n t c as e o n t h e ass u m pti o n t h a t t h e C o m m o n S erj e a n t
      di d n ot satisfy hi ms el f o n b oth t h ese m att ers, or to i m a gi ne cir c u mst a n c es
      w hi c h mi g ht h a ve l ed him to c o m mit so gr a ve a d er eli cti on o f his j u di ci al
D d uti es . T h e pr es u m pti o n i s t h at h e a ct ed la wf ully a n d pr o p erl y ; a n d i t is
      o nl y f air t o hi m t o sa y t h at, in my vie w, t h ere is n ot hi ng in t he e vi d e n ce
      b ef or e y o u r L or ds hi p s t o s u g g es t t h e c o ntr ar y ; n or , i n d e e d , h a v e t h e
      r es p o n d e nts t h e ms el v es so c o nt e n d e d.
             Al l t h a t t h e s u bs e cti o n e x pr essl y r e q uir e s s h al l b e s pecifie d i n t h e
      w arr a n t ar e t h e a d dr es s o f t h e pr e mis e s t o b e s e ar c h e d a n d t h e n a m e
 £ o f t h e office r o r officer s o f t h e b o ard w h o are a ut h oris ed t o s e ar c h t h e m.
      T h e pr e mis es n e ed n ot be in t he o c c u p ati on of t he p ers on s us p e ct ed of t he
       offe nce ; t h e y m ay be pr e mis es of s o m e w h olly i n n o c e nt c ust o di an o r t hird
      p art y . T h e m att e r i s stil l a t t h e i n v esti g at or y st a g e ; g o o d gr o u n d s m us t
      e xis t f or s us p e cti n g t h at a t ax fr a ud h a s b e en c o m mitt e d, b ut as y et t h ere
      is n ot s ufficie n t e vi d e n c e in a f orm a d missi bl e at a cri mi n al tri al to pr o ve
       it. T h e s ole p ur p ose of t he s e ar ch is to o bt ain s u ch e vi d e n c e.
             E v e n t h o u gh t he st at ute m ay n ot stri ctly so r e q uire (a m att er on w hi ch
      I e x pr ess no c o n cl u d ed o pi ni o n) t he w arr a nt in my view o u g ht to st ate u p on
       its f a ce t h e st at ut or y a ut h orit y u n d e r w hi c h it h as b e en iss u e d. T hi s t he
      f orm o f w arr a n t iss u e d in t h e i nst a n t c as e d o es , t h o u gh I a gr e e with my
       n o bl e a n d l e ar n e d fri e n d , Vis c o u n t Dil h or n e , t h a t t h e w or di n g o f t h e
  _ r e cit a l of t he f ulfil me nt o f t he t wo st at ut ory c o n diti o ns pr e c e d e nt to its iss ue
       mi g h t b e i m pr o v e d . B u t f o r t h e r ef er e n c e t o s e cti o n 2 0 C in a c c or d a n c e
       wit h w h os e pr o visi o n s t h e i nf or m ati o n i s st at e d t o h a v e b e e n l ai d , t h e
       w or di n g of t he w arr a nt w o uld be c o nsist e nt with its m e a ni ng t h at t he i nf or-
       m ati o n h a d n o t s pecifie d f o r c o nsi d er ati o n b y t h e j u d g e t h e gr o u n d s o f
       s us pi ci on o n w hi c h t h e i nf or m a n t r eli e d ; b u t t h e e x pr ess r ef er e n c e t o t h e
       s e cti o n, i n m y vi e w , r es ol v e s a n y a m bi g uit y a n d m a k e s u nt e n a bl e t h e
       s u g g esti on t h a t t h e pr e a m bl e t o t h e w arr a n t c o nstit ut e s a n a d missi o n b y
       t he j u d ge t h at h e h ad a d o pt e d bli n dly a st at e m e n t o f t h e i nf or m a nt t h a t
       t h ere e xist e d s o m e r e as o n a bl e gr o u n d s f or s us pi ci o n t h e n at ure o f w hi c h ,
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     1010
    L o r d Di pl o c k R e g    . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0            ]
    h o w e v er , w as n ot dis cl os e d. T hi s w as n ot a c o nt e nti on t h at t he r es p o n d e nts . .
    w er e willi n g t o a d v a n c e . T h e w arr a nt , i n m y vi e w, o u g h t als o t o st at e
    w h a t ar e t hi n g s f o u n d o n t h e pr e mis e s t h a t t h e s e ar c hi n g officer s ar e
    e ntitl e d t o s ei z e a n d t o r e m o v e , i. e . p ot e nti a l e vi d e n c e o f a p arti c ul a r
    c at e g or y o f offe nces . T hi s f orm o f w arr a n t i n t h e i nst a n t c as e also d o es
    b y r e pr o d u ci n g t h e t er ms of s e cti o n 2 0C ( 3).
           O u g h t i t t o dis cl os e m or e i n or d e r t o b e a v ali d w arr a n t u n d e r t h e
    s e cti o n? I t w a s s u b mitt e d o n b e h al f o f t h e r es p o n d e nt s t h a t i t w a s B
    d ef e cti v e i n t hr e e r es p e cts . First , i t w a s s ai d , i t o u g h t t o i d e ntif y t h e
    s us p e ct ed offe n der , s e c o n dl y , it o u g ht to s pecify w hi c h o ne or m ore of t he
    six o r m or e s p e ci e s o f offe nce s w hi c h f all wit hi n t h e g e n u s " an offe nc e
    i n v ol vi ng a ny f orm o f fr a ud i n c o n n e cti on wit h, or in r el ati on t o, t a x," t he
    s us p e ct i s s us p e ct e d o f h a vi n g c o m mitt e d , a n d t hir dl y i t o u g h t t o st at e
    t he d ate of a n y offe nces o f w hi c h he is s us p e ct e d. >-                                             ,
           M y L or ds, if t h e s u bs e cti o n d o e s i n d e ed r e q uire t h at a ny of t hi s a d di-
    ti o n al i nf or m ati o n s h o ul d b e dis cl os ed u p o n t h e f a ce o f t h e w arr a nt , t hi s
    m us t be by n e c ess ary i m pli c ati o n o nl y . T h er e is no e x pr ess r e q uir e m e nt ;
    a n d f o r m y p art I c a n n o t se e t h at a n y s u c h i m pli c ati on i s j ustifi e d. T h e
    i nf or m ati on w o ul d n ot pr ot e c t t he i n n o c e nt; it mi g ht w ell assist t he g uilty
    to d estr o y o r t o r e m o v e b e y o nd t h e j uris di cti on o f t h e c o ur t o f tri a l t h e
    d o c u m e nt ar y e vi d e n c e o f t h ei r t a x fr a u ds . T a x fr a u d s g e n er all y i n v ol v e D
    t he us e o f c o nf e d er at es , w h et h e r i g n or a n t o f o r p arti e s t o t he fr a u d. T o
    i d e ntify a s us p e ct w h ere t he s e ar ch e xt e n ds to pr e mis es t h at are n ot in his
    p ers o n a l o c c u p ati o n i s to al er t hi m t o t h e s us pi ci o n s o f t h e r e v e n u e a n d
    if t h e y ar e w el l f o u n d e d, i t m ay gi ve him a n o p p ort u nit y o f c o v eri n g his
    tr a c ks; w hil e i f t h e s us pi ci o n s ulti m at el y t ur n o u t t o b e gr o u n dl ess , hi s
    r e p ut ati on wit h t h os e w h os e pr e mis e s h a v e b e e n s e ar c h e d wil l b e p
    u n n e c ess aril y b es mir c h e d . I t i s to be o bs er v e d t h a t t h e f orm o f w arr a n t
    a t c o m m o n l aw to s e ar c h pr e mis es f or st ol e n g o o ds d o es n ot st ate w ho is
    all e g e d t o h a v e b e en t h e t hi ef. A s r e g ar ds m ore d et ail e d s p e cifi c ati o n i n
    t he w arr a nt of t he offe nce of w hi ch t he cir c uit j u d ge w as satisfied t h at t h ere
    w er e r e as o n a bl e gr o u n d s f o r s us p e cti n g h a d b e e n c o m mitt e d t hi s w o ul d
    n o t h el p t h e p ers o n w h os e pr e mis e s w er e s e ar c h e d t o k n o w w h a t d o c u -
    m e nt s w ere li a ble to be s ei z e d, si n ce t he ri g ht of s ei z ure u n d er s u bs e cti on ( 3) F
    is n ot li mit e d to d o c u m e nts t h at m ay be r e q uir ed a s e vi d e n ce in pr o c e e d-
    i n gs f or t h a t offe nc e al o n e b ut, on t he tr ue c o nstr u cti on o f t he s u bs e cti o n,
    e xt e n d s t o d o c u m e nt s t h a t m a y b e r e q uir e d a s e vi d e n c e i n pr o c e e di n g s
    f or a n y ot h e r offe nc e t h a t f all s wit hi n t h e g e n u s o f offe nce s " i n v ol vi ng
    a n y ki n d o f fr a u d i n c o n n e cti o n wit h , o r i n r el ati o n t o , t a x. " T his , a s
    it s e e m s to m e, is t he pl ain m e a ni ng of t h e w or ds " s u ch an offe nc e a s is Q
    m e nti o n e d i n s u bs e cti o n ( 1 ) a b o v e. " N o r d o I fi n d i t s ur prisi n g t h a t
    P arli a m e n t s h o ul d gr a nt a p o w er o f s e ar c h u n d er t he w arr a nt wi d er in its
    s c o pe t h an t h ose t hi n gs w hi ch it w as alr e a dy s us p e ct ed w o uld be f o u nd o n
    t he pr e mis es w h en t he w arr a nt w as iss u e d. E v e n at c o m m on law as it h ad
    d e v el o p e d b y t h e ti m e t he A ct w a s p ass ed a w arr a n t t o s e ar c h pr e mis e s
    f or st ol e n g o o d s p arti c ul aris e d i n t h e w arr a n t j ustifi e d s ei z ur e o f ot h e r
    g o o d s f o u n d u p o n t h e pr e mis e s a t t h e ti m e t h e w arr a n t w a s e x e c ut e d i f
    t h ere w er e r e as o n a bl e gr o u n d s f o r b eli e vi n g t h a t t h os e ot h e r g o o d s w ere
    st ol e n: C hi c F as hi o ns ( W est W al es) Lt d. v . J o n es [ 1 9 6 8 ] 2 Q. B. 2 9 9.
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                                                                                                            1011
         A. C . R e g               . v . I. R. C. , Ex p . R oss mi nst e r ( H. L.( E.) ) L o r    d Di pl o c k
    .I         n a gr e e m e nt with t he Di visi o n al C o urt I w o uld a c c or di n gly u p h old t he
         s ufficie ncy a n d v ali dity of t h e s e ar ch w arr a nt.
       T h e o n us of pr o of o n a n a p pli c ati o n f or j u di ci al r e vi e w
              Wit h t h e iss ue o f t h e w arr a nt t h e f u n cti o ns a n d r es p o nsi biliti e s o f t h e
       cir c ui t j u d g e c o m e t o a n e n d . T h e p o w e r o f t h e office r o f t h e b o ar d
       to s ei z e a n d r e m o v e t hi n g s t h a t h e fi n d s u p o n t h e pr e mis e s w hi c h t h e
B      w arr a n t a ut h oris e s hi m t o e nt e r a n d s e ar c h , i s c o nf err e d dir e ctl y u p o n
       hi m b y s u bs e cti o n ( 3 ) w hi ch li mit s his p o w ers of s ei z ur e a nd r e m o v a l to
       t hi n gs " w hi ch h e h a s r e as o n a bl e c a us e t o b eli e v e m a y b e r e q uir e d a s
       e vi d e n c e f or t h e p ur p os es o f pr o c e e di n g s " f o r a n offe nc e i n v ol vi n g a t a x
       fr a u d. T h es e w or d s a p p e ari n g i n a st at ut e d o n o t m a k e c o n cl usi v e t h e
       offi c er' s o w n h o n est o pi ni o n, t h at he h as r e as o n a ble c a use f or t he pr es cri b ed
Q    b eli ef . T h e gr o u n ds on w hi ch t he officer a ct e d m ust be s ufficie nt t o i n d u ce
       in a r e as o n a bl e p ers on t he r e q uir e d b eli ef b ef or e h e c an v ali dly s ei ze a nd
       r e m o ve a n yt hi ng u n d er t he s u bs e cti o n. T hi s w as affir med i n N a k k u d a Ali
       v . J a y ar at n e [ 1 9 5 1] A. C. 6 6, a d e cisi on of t he Pri vy C o u n cil in w hi ch L ord
       Ra dcliff e writi n g f o r t h e b o ar d e x pr ess e d t h e vie w t h a t t h e m aj orit y
       s p e e c h es in Li v ersi d g e v. A n d ers o n [ 1 9 4 2 ] A. C . 2 0 6, in w hi ch a c o ntr ary
       c o nstr u cti o n h a d b e e n pl a c e d o n si mil a r w or d s i n t h e w arti m e r e g ul ati o n
D    1 8 B of t he D ef e n ce ( G e n er al ) R e g ul ati o n s 1 9 3 9 , s h o uld be r e g ar d ed a s an
       a ut h orit y f or t he m e a ni ng of t h at p hr ase in t h at p arti c ul ar r e g ul ati on al o n e.
       F o r m y p ar t I t hi n k t h e ti m e h a s c o m e t o a c k n o wl e d g e o p e nl y t h a t t h e
       m aj orit y o f t hi s H o us e i n Li v ersi d g e v. A n d ers o n w er e e x p e di e ntl y a n d ,
       a t t h a t ti m e , p er h a ps, e x c us a bl y, wr o ng a nd t he diss e nti ng s p e e ch of L or d
       At ki n w a s ri g ht .
E    I            w o uld also a c c e pt t h at si n ce t he a ct of h a n dli ng a m a n's g o o ds wit h o ut
       hi s p er missi o n i s pri m a f a ci e t orti o us , a t t h e tri a l o f a ci vi l a cti o n f o r
       tr es p ass to g o o ds b as ed on t he s ei z ure a nd r e m o v al of t hi n gs by an office r
       o f t h e b o ard i n p ur p ort ed e x er cis e of his p o w ers u n d er t he s u bs e cti o n, t he
       o n u s w o ul d b e u p o n t h e officer t o s atisf y t h e c o urt t h a t t h er e di d in f a c t
       e xis t r e as o n a bl e gr o u n d s t h a t w er e k n o w n t o hi m f o r b eli e vi n g t h a t t h e
P     d o c u m e nt s h e r e m o v e d mi g h t b e r e q uir e d a s e vi d e n c e in pr o c e e di n gs f o r
       s o me offe nce i n v ol vi ng a t ax fr a u d — n ot t h a t t h ey w o ul d be so r e q uir e d, f or
       t h at t h e s ei zi n g office r c o ul d n o t k n o w , b u t t h a t t h e y mi g ht b e r e q uir e d
       if s ufficie n t a d missi bl e e vi d e n c e w ere ulti m at ely f ort h c o mi n g t o s u p p or t a
       pr os e c uti o n f or t he offe nce a nd it w ere d e ci d ed to pr os e c ut e. B u t alt h o u gh
       t his o n us w o uld he u p on t he officer a t t he tri al, t h ere r e m ai ns t he q u esti o n:
       A t w h at st a ge in t he ci vil a cti on is t he officer b o u nd to dis cl ose t he gr o u n ds
G    o f hi s b eli ef? I t is at t his p oi nt t h at t he pr o bl em is r e a c h ed of r e c o n cili n g
        t he t w o c o m p eti ng a n d c o nfli cti n g p u bli c i nt er ests w hi c h I m e nti o n e d a t
       t he o uts e t t h a t offe nce s i n v ol vi n g t a x fr a u d s s h o ul d b e d et e ct e d a n d
        p u nis h e d , a nd t h at t he ri g ht of t he i n di vi d u al to t he pr ot e cti on o f t he l aw
        fr om u nj ustifi e d i nt erf er e n c e wit h hi s pri v ate pr o p erty s h o ul d b e u p h el d.
              W h a t i s r e q uir ed f o r t h e pr ot e cti on o f t he f or m e r p u bli c i nt er est w a s
JJ   st at e d b y L or d R ei d i n t h a t p ar t o f hi s s p e e c h i n C o n w a y v . Ri m m er
         [ 1 9 6 8] A. C . 9 1 0 , 9 5 3- 9 5 4 , w hi c h d e al t wit h p u bli c i nt er es t i m m u nit y
       fr om dis c o v er y i n ci vi l a cti o n s o f d o c u m e n t a n d i nf or m ati o n i n t h e
       h a n d s o f t h e p oli c e . W h a t h e s ai d a p p e ar s t o m e t o a p pl y wit h e q u a l
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    1012
    L or d Di pl o c k R e g    . v . I. R. C. , E x p . R oss mi nst c r ( H. L.fl E.) ) [ 1 9 8 0        ]
    f or ce t o t he B o ard o f I nl a n d R e v e n u e a s to t he p oli ce a nd to t h ose w ho
    p er p etr at e t a x fr a u d s a s i t d o e s t o t h os e w h o or g a nis e ot h e r cri mi n a l
    a cti viti es .
           " T he p oli c e ar e c arr yi n g o n a n u n e n di n g w a r wit h cri mi n al s m a n y
           o f w h o m ar e t o d a y hi g hl y i nt elli g e nt . S o i t i s ess e nti a l t h a t t h er e
           s h o uld b e n o dis cl os ur e o f a n yt hi n g w hi c h mi g h t gi v e a n y us ef u l
           i nf or m ati on t o t h ose w ho or g a nise cri mi n al a cti viti es. A n d it w o uld
           g e n er all y b e wr o ng t o r e q uir e dis cl os ur e i n a ci vi l c as e o f a n yt hi n g B
           w hi c h mi g ht be m at eri al in a p e n di ng pr os e c uti o n: b u t aft er a v er di ct
           h a s b e e n gi v e n o r it h a s b e e n d e ci d e d t o t a k e n o pr o c e e di n g s t h er e
           is n ot t h e s a m e n e ed f o r s e cr e c y. "
          T h e p u blic i nt er est in i m m u nity fr om dis cl os ur e of t he gr o u n ds of t h e
    offi c er' s b eli ef t h at a d o c u m e nt t h at he s ei z ed m ay be r e q uir ed as e vi d e n ce
    in a f ut ure pr os e c uti o n f o r a n offe nc e i n v ol vi n g a t ax fr a u d , i s t h us, i n C
    g e n er al , t e m p or ary in its n at ur e, e x c e p t as r e g ar ds i d e ntity of i nf or m a nt s
    cf. D. v . N ati o n al S o ci et y f or t h e Pr e v e nti o n of Cr u elt y t o C hil dr e n
     [ 1 9 7 8] A. C . 1 7 1 a nd p ossi bl y n e w a nd u n us u a l m et h o d s o f i n v esti g ati o n
    us e d b y t h e I nl a n d R e v e n u e . T his , a s i t s e e m s t o m e , pr o vi d e s a n
    o b vi o u s m et h od o f r e c o n cili n g t h e t w o c o nfli cti n g p u bli c i nt er ests w h er e
    a n or di n ary ci vil a cti on is i n v ol v e d. I f t h er e is to be a cri mi n al pr os e c u- j y
    ti on i t is , i n m y vi e w , cl e arl y i n t h e p u bli c i nt er es t i n t h e pr o p e r
    a d mi nistr ati o n o f j usti c e , b ot h cri mi n a l a n d ci vil , t h a t t h e ci vi l a cti o n
    s h o uld n o t pr o c e e d t o tri a l u nti l t h e cri mi n a l tri a l i s o v er; so dis c o v er y ,
    w h et h e r o f d o c u m e nt s o r b y i nt err o g at ori es , dir e ct e d t o eli citi n g t h e
    f a ct u al gr o u n d s f o r t h e offi c er' s b eli ef , c an b e d ef err ed a t l e as t u nti l t h e
    I nl a nd R e v e n u e h a ve h ad a r e as o n a ble ti me t o c o m pl ete t h eir i n v esti g a -
    ti o ns i nt o s us p e ct e d t a x fr a u d s a n d t o d e ci d e w h et h e r t o bri n g cri mi n a l E
    pr o c e e di n g s a t al l a n d, i f s o , f or w h a t off e n c es . I f t h e y d e ci d e to bri n g
    pr o c e e di n g s t h e p u bli c i nt er es t i m m u nit y w o ul d c o nti n u e t o a p pl y u nti l
    t he c o n cl usi o n o f t h e cri mi n a l tri al ; i f t h e y d e ci d e n o t t o bri n g a n y
    cri mi n a l pr o c e e di n g s t he p u blic i nt er est i m m u nit y w o uld c o me to a n e nd
    wit h t h a t d e cisi o n . T h e c o ur t i n t h e ci vi l a cti o n c o ul d a n d s h o ul d b e
    vi gil a n t to s ee t h at t he I nl a nd R e v e n ue pr o c e e d ed with t h eir i n v esti g ati o ns p
    wit h r e as o n a ble dis p at ch a n d r e a c h ed t h eir d e cisi o n w h et h er t o pr os e c ut e
    o r n ot wit h o ut u nr e as o n a ble d el a y. I f t his w ere n ot d o ne t he c o urt c o uld
    pr o p erl y h ol d c o nti n u ati o n o f t h e i m m u nit y t o b e no l o n g e r j ustifi e d i n
    t he p u blic i nt er est, a n d all ow dis c o v ery to go a h e a d.
          In c as e s w h er e t h os e cl ai mi n g a p u bli c i nt er es t i m m u nit y a g ai ns t
    pr e m at ur e dis cl os ur e o f i nf or m ati o n r el ati n g t o cri mi n a l i n v esti g ati o n s
    o r p e n di ng pr os e c uti o ns are n ot ( u nli k e t he a p p ell a nts in t he i nst a nt c as e ) G
    pr ot e ct e d a g ai nst i nj u n cti ve r eli ef by s e cti on 21 of t he Cr o wn Pr o c e e di n gs
    A c t 1 9 4 7 , t he i m m u nity w o ul d, in my vi e w, e xt e nd to a p pli c ati o n s f or a n
    i nt erl o c ut ory m a n d at or y or d e r f o r r et ur n o f t h e d o c u m e nt s s ei z e d .
    D es pit e t h e f a c t t h a t w h e n t h e a cti o n c a m e t o b e tri e d t h e o n u s w o ul d
    lie u p on t he d ef e n d a nt t o s h ow t h at t h ere e xist ed r e as o n a bl e gr o u n ds f o r
    hi s b eli ef t h at t h ey mi g ht be r e q uir ed as e vi d e n ce in cri mi n al pr o c e e di n gs, J J
    t he c o ur t s h o ul d n o t r e q uir e hi m to dis cl os e t he gr o u n d s o f hi s b eli ef i n
    o p p ositi o n t o t h e cl ai m f o r i nt erl o c ut or y r eli ef , b u t s h o ul d b e s atisfi e d
    wit h hi s st at e m e n t o n affi da vi t t h a t h e h a d r e as o n a bl e gr o u n d s f o r hi s
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                                                                                                          1013
     A. C . R e g                  . v . I. R. C. , Ex p . R oss mi nst c r ( H. L.( E.) ) L o r    d Di pl o c k
      b eli ef , u nl es s t h e ot h e r e vi d e n c e o n t h e a p pli c ati o n w a s str o n g e n o u g h
      to j ustify t h e i nf er e n ce t h a t no r e as o n a ble p ers on c o ul d h a ve t h o u g ht s o.
      It i s to b e b or ne in mi nd t h a t i f a t t h e tri a l i t s h o ul d t ur n o u t t h a t t h e
      d ef e n d a n t w a s u n a bl e t o s atisf y t h e o n u s o f pr o vi n g t h a t r e as o n a bl e
      gr o u n d s di d in f a c t e xist , t he pl ai ntif f h a s t h e a d v a nt a g e t h a t t h e a cti o n
      f alls i nt o o n e of t h os e e x c e pti o n a l c at e g ori e s i n w hi ch p u niti v e d a m a g e s
      m a y still be a w ar d e d: R o o k es V. B ar n ar d [ 1 9 6 4] A. C. 1 1 29 a nd Br o o m e v.
 B C ass ell & C o. Lt d. [ 1 9 7 2 ] A. C . 1 0 2 7.
            In t he s a me w a y, it w o uld n ot in my view be o p en to a p ers on cl ai mi ng
      to h a ve b e en i nj ur ed b y t he p ur p ort ed b u t u nl a wf ul e x er cis e by a p u blic
      office r o f st at ut or y p o w ers , t o cir c u m v e n t t h e p u bli c i nt er es t i m m u nit y
      a g ai ns t pr e m at ure dis cl os ure of t he gr o u n ds on w hi ch t he offi c er's e x er cis e
      o f t h e p o w e r w a s b as e d , b y a p pl yi ng u n d er R. S. C. , Or d . 5 3 f or j u di ci a l
r r e vi e w i nst e ad of bri n gi ng a ci vil a cti o n. Or d e r 53 a m e n ds a nd si m plifi e s
      t he pr o c e d ure f or o bt ai ni n g on a si n gle a p pli c ati on t h e ki nd of r eli ef t h a t
      w a s f or m erly o bt ai n a bl e o nl y in a n or di n ar y ci vi l a cti on a g ai ns t a p u blic
      office r o r a ut h orit y a n d t h e ki n d o f r eli e f t h a t w a s f or m erl y o bt ai n a bl e
      o nl y u p on an a p pli c ati on f or a pr er o g ati ve or d er of m a n d a m us, pr o hi biti on
      o r c erti or ari; b ut it d o e s n ot alt e r t h e diff eri ng r ol e s pl a y ed by t he c o ur t
      in a p pli c ati o n s f o r t h es e t wo c at e g ori es o f r eli ef .
D S ei z ur           e of d o c u m e nt s b y an office r o f t he b o ard u n d e r s e cti o n 2 0 C ( 3)
      i n v ol v es a d e cisi on by t he officer a s to w h at d o c u m e nts he m ay s ei z e. T h e
      s u bs e cti on pr es cri b e s w h a t t h e st at e o f mi n d o f t h e office r m us t b e in -
      or d e r to m a ke it l a wf ul f o r hi m to d e ci de to s ei ze a d o c u m e nt: h e m ust
      b eli e v e t h a t t h e d o c u m e n t m a y b e r e q uir e d a s e vi d e n c e i n cri mi n a l
      pr o c e e di n g s f o r s o m e f or m o f t a x fr a u d a n d t h a t b eli e f m us t b e b as e d
 P o n r e as o n a bl e gr o u n ds . T h e d e cisi o n- m a ki n g p o w e r i s c o nf err ed b y t he
      st at ute u p o n t h e office r o f t h e b o ar d . H e i s n o t r e q uir e d t o gi v e a n y
      r e as o ns f o r hi s d e cisi o n a n d t h e p u bli c i nt er es t i m m u nit y pr o vi d e s
      j ustifi c ati on f o r a n y r ef us a l t o d o s o . Si n c e h e d o e s n o t dis cl os e hi s
      r e as o ns t h er e c a n b e n o q u esti o n o f s etti n g asi d e hi s d e cisi o n f o r err o r
      o f l aw on t he f a ce o f t he r e c ord a nd t he o nly gr o u nd u p o n w hi ch i t c an
      b e att a c k e d u p o n j u di ci a l r e vi e w i s t h a t i t w a s ultr a vir e s b e c a us e a
 F c o n diti o n pr e c e d e n t t o his f or mi ng t h e belief w hi c h t he st at ute pr es cri b es,
      vi z . t h a t i t s h o ul d b e b as e d u p o n r e as o n a bl e gr o u n ds , wa s n o t s atisfi e d .
      W h er e P arli a m e n t h a s d esi g n at e d a p u bli c office r a s d e cisi o n- m a k e r f o r
      a p arti c ul ar cl as s of d e cisi o ns t he Hi gh C o urt, a cti ng as a r e vi e wi ng c o urt
      u n d e r Or d e r 5 3 , i s n o t a c o ur t o f a p p e al . I t m us t pr o c e e d o n t h e
      pr es u m pti o n o m ni a pr a es u m u nt u r rit e ess e a ct a u nti l t h a t pr es u m pti o n
_ , c a n b e dis pl a c e d b y t h e a p pli c a n t f o r r e vi e w — u p o n w h o m t h e o n u s li es
      o f d oi n g s o. Si nc e no r e as o ns h a ve b e en gi ven by t he d e cisi o n- m a k er a n d
      n o u nf a v o ur a bl e i nf er e n c e c a n b e dr a w n f o r t hi s f a c t b e c a us e t h er e i s
      o b vi o u s j ustifi c ati on f o r hi s f ail ure t o do s o, t he pr es u m pti on t h at he a ct ed
      i ntra vir e s c a n o nl y b e dis pl a c e d b y e vi d e n c e o f f a ct s w hi c h c a n n o t b e
      r e c o n cil ed wit h t h er e h a vi n g b e e n r e as o n a bl e c a us e f o r hi s b eli e f t h a t
      t he d o c u m e nts mi g ht be r e q uir ed as e vi d e n ce or alt er n ati v ely w hi ch c a n n ot
      b e r e c o n cil ed wit h his h a vi ng h eld s u c h b eli ef a t all .
            I a gr ee with my n o ble a nd l e ar n ed fri e n d, Vis c o u n t Dil h or n e, t h at t h e
      e vi d e n c e filed o n b e h al f o f t h e a p pli c a nt s i n t h e i nst a nt c as e w o uld h a v e
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    L o r d Di pl o c k R e g   . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0         ]
   f all en s h or t of t h at e v e n if t h ere h ad b e en no affi da vits i n a ns w er filed on .
   b e h al f o f t he b o ard to t hr ow a diff er e nt li g h t u p on t he m att er. S o I w o uld
   h ol d , a s t h e Di visi o n a l C o ur t di d , t h a t t h e r es p o n d e nt s h a v e f ail e d t o
   est a blis h u p on t h eir a p pli c ati on f or j u di ci a l r e vi ew t h at t he officers o f t he
   b o ar d a ct e d ultr a vir e s o r ot h er wis e u nl a wf ull y i n s ei zi n g a n y o f t h e
   d o c u m e nt s t h a t t h e y s ei z e d .

   T h e fi n al d e cl ar ati o n B
         T h er e w as a cl e ar c o nfli ct o f affi da vit e vi d e n c e of r el e v a nt f a cts b ef or e
   t he C o ur t o f A p p e a l a s t o t h e ti m e s p e n t b y officer s i n e x a mi ni n g
   i n di vi d u al d o c u m e nt s a n d file s b ef or e d e ci di n g t o s ei z e t h e m . T h e
   r es p o n d e nts c o nt e n d t h e ti m e s p e n t o n e x a mi ni n g a t a n y r at e s o m e of
   t he d o c u m e nt s s ei z e d w a s t o o s h or t t o e n a bl e t h e office r c o n c er n e d t o
   c o nsi d e r w h et h e r o r n o t t h er e w a s r e as o n a bl e c a us e t o b eli e v e t h a t t h e Q
   d o c u m e nt s mi g h t b e r e q uir e d a s e vi d e n c e i n cri mi n a l pr o c e e di n gs ; t h e
   a p p ell a nt s d e ny t his. Cl e arl y t h ere are iss u es of f a ct t o be r es ol v ed w hi ch
   c a n n o t with j usti ce be dis p os ed of on t he e xisti ng affi da vit e vi d e n c e .
         T h e C o ur t o f A p p e a l w ere of o pi ni o n , w hi c h I d o n ot s h ar e , t h at o n
   t he affi da vit e vi d e n c e b ef ore t h e m t he r es p o n d e nts h ad m a de o ut a pri ma
   f a cie c as e t h at al l t he d o c u m e nt s h ad b e e n s ei z e d u nl a wf ull y, a n d o u g h t
   to be d eli v er ed up to t he r es p o n d e nts. B u t f or t he f a ct t h at t he a p p ell a nts ^
   w er e officer s o f t h e Cr o w n a g ai ns t w h o m t h er e w a s n o j uris di cti o n t o
   gr a n t i nj u n cti v e r eli ef , i t w o ul d a p p e a r t h a t t h e C o ur t o f A p p e a l w o ul d
   h a v e t h o u g h t i t a p pr o pri at e t o gr a n t a n i nt erl o c ut or y i nj u n cti o n o nl y ,
   l e a vi ng t h e q u esti o n o f w h et h e r t h e r es p o n d e nt s w er e e ntitl e d t o a fi n a l
   i nj u n cti on t o b e d e ci d e d o n f ul l or a l e vi d e n c e a t t h e tri al . H o w e v er ,
   s e cti on 21 of t he Cr o wn Pr o c e e di n gs A ct 1 9 4 7 p er mits o nly a d e cl ar ati on E
   o f t h e ri g ht s o f t h e p arti e s i n li e u o f a n i nj u n cti o n a g ai ns t officer s o f
   t he Cr o w n a n d i t h a s b e e n h el d , i n m y c o nti n u e d vie w c orr e ctl y , t h a t
   t his d o e s n o t e m p o w e r t h e c o ur t t o gr a n t i nt erl o c ut or y d e cl ar ati o n s
   w hi c h w o ul d b e a c o ntr a di cti o n i n t er ms : I nt er n ati o n al G e n er al El e ctri c
   C o. of N e w Y or k Lt d. v . C ust o ms a n d E x cis e C o m missi o n ers [ 1 9 6 2 ]
   C h . 7 8 4 . F a c e d wit h t hi s dil e m m a t h e C o ur t o f A p p e a l m a d e a fi n al p
   d e cl ar ati o n i nst e a d .
         In s o f a r a s t hi s d e cl ar ati o n w a s b as e d u p o n t h e q u as hi n g o f t h e
   s e ar ch w arr a n t o nl y i t m a y be t h a t a fi n al d e cl ar ati on w a s a p pr o pri at e ,
   t h o u gh I e x pr ess no c o n cl u d ed vi ew on t h at; b ut in so f ar a s it w as b as ed
   in t h e alt er n ati v e u p o n t h e c o urt' s pri m a f a ci e vie w o nl y , f or m e d u p o n
   c o nfli cti n g affi da vi t e vi d e n c e , t h a t e v e n i f t h e w arr a n t w er e v ali d t h e
   a ct u a l s ei z ur e o f d o c u m e nt s b y t h e officer s o f t h e b o ar d w a s u nl a wf ul , G
   it w as, in my vi e w, cl e arly wr o ng to m a ke a fi n al d e cl ar ati on w hi ch w o uld
   h a v e t he effec t o f m a ki n g t hi s h otly dis p ut e d iss u e r e s j u di c at a b et w e e n
   t he p arti es wit h o ut a n y pr o p er tri al .
         M y L or ds , t hi s s er v e s o n c e a g ai n t o dr a w att e nti o n t o w h at , f o r m y
   p art , I r e g ar d a s a s eri o u s pr o c e d ur a l d ef e c t i n t h e E n glis h s yst e m o f
   a d mi nistr ati v e l a w: i t pr o vi d es no m e a ns of o bt ai ni ng i nt erl o c ut ory r eli ef J J
   a g ai ns t t h e Cr o w n a n d it s officers . T h e us ef u l r ef or m s effecte d b y t h e
   a m e n d m e n t t o t h e R ul e s o f C o ur t b y s u bstit uti n g t h e ne w Or d e r 5 3 f o r
   t he old s yst em of pr er o g ati ve or d ers, c o uld n ot o v er c o m e t his pr o c e d ur al
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        A. C . R e g                 . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) L o r     d Di pl o c k
    . d ef e ct , w hi c h w o ul d r e q uir e pri m ar y l e gisl ati o n . S u c h l e gisl ati o n h a s
        b e e n r e c o m m e n d ed in t he R e p or t o f t h e L aw C o m missi on on w hi ch t h e
        r e visi on of Or d e r 53 w as b as e d. I t is gr e atly to be h o p ed t h at t he r e c o m-
        m e n d ati o n wil l n o t c o nti n u e t o f al l u p o n dea f p arli a m e nt ar y e ars .

              L O R D S A L M O N . M y L or ds, it is v ery m u ch in t he p u blic i nt er est t h a t
        a n y o n e w h o c o m mits a n offe nc e i n v ol vi n g a ny f orm o f fr a u d i n r el ati o n
B     t o t a x —a v ery gr a ve off e n c e —s h o uld b e br o u g ht to j usti c e. I t is at l e ast
        e q u all y i n t h e p u blic i nt er es t t h a t i n di vi d u a l li b ert y s h o ul d b e pr ot e ct e d
        b y t he j u d g es w ho h a v e t he tr a diti o n al ri g h t a n d d ut y t o pr ot e c t i n di vi -
        d u al s fr om a n a b use of p o w er by t he e x e c uti v e. A c c or di n gl y , at c o m m on
        l a w, it w o ul d be u nl a wf ul f o r a n y office r o f t h e I nl a n d R e v e n u e o r a n y
        m e m b e r of t he p oli ce to f or ce his w ay i nto t he h o me or b usi n ess pr e mis es
        o f a n y p ers o n a n d s e ar c h f o r a n d s ei z e a n y d o c u m e nt s h e mi g h t fi n d
^    t h er e , e v en if he b eli e v ed t h at t h ere w as r e as o n a ble gr o u nd f or s us p e cti n g
        t h at a n offe nc e i n v ol vi n g a n y f orm o f fr a u d i n r el ati o n t o t a x h ad b e e n
        c o m mitt e d a n d t h a t t h e d o c u m e nts s ei z ed mi g ht b e r e q uir ed a s e vi d e n ce
        f or t h e p ur p os e o f pr o c e e di n g s i n r es p e c t o f t h e offe nc e w hi c h h e
        s us p e ct e d.
              T h e u n c o ntr a di ct e d e vi d e n c e s h o w s t h a t i n t h e e arl y m or ni n g o f
D      Fri d a y , J ul y 1 3 , 1 9 7 9,
              ( a) s e v er a l officer s o f t h e I nl a n d R e v e n u e a n d a d et e cti v e i ns p e ct o r
                     e nt er e d 2 7 , R a d n or Pl a c e , L o n d o n , W. 2 , t he h o m e o f Mr . R . A .
                     Pl u m m er , o n a w arr a n t (t o w hi c h I s h al l r ef e r l at er) . Mr .
                     Pl u m m e r i s a c h art er e d a c c o u nt a nt , a F ell o w o f t h e I nstit ut e o f
                     T a x ati o n a n d t h e M a n a gi n g Dir e ct o r o f R oss mi nst e r Lt d . T hi s
g     c o m pa n                 y c arri e s o n b usi n es s a s a b a nk a n d i s a m e m b e r o f t h e
                     R oss mi nst e r Gr o u p o f c o m p a ni es . Virt u all y al l t h e p a p er s a n d
                     d o c u m e nt s w hi c h Mr . Pl u m m er' s h o us e c o nt ai n e d w er e s ei z e d
                     a nd re m o ve d .
              ( b) A l ar g e n u m b e r o f officer s o f t h e I nl a n d R e v e n u e a n d o f t h e
                     p oli c e e nt er e d t h e R oss mi nst e r B a n k o n a w arr a n t a n d t o o k
P     a wa                  y v a n l o a d s o f d o c u m e nt s l e a vi n g v er y fe w b e hi n d t h e m .
                     T h e y r e m ai n ed in t he pr e mis es all d ay a nd l eft t h e m s h ortly aft e r
                     6 p. m . T h e b a n ki n g b usi n es s o f R oss mi nst e r Lt d . w a s c arri e d
                     o n i n a s e p ar at e p ar t o f t h e pr e mis e s a t 1 , H a n o v e r S q u ar e ,
                     L o n d o n , W.l . Ot h e r p art s o f t h os e pr e mis e s w er e o c c u pi e d b y
                     ot h e r c o m p a ni es of t he R oss mi nst er Gr o u p w h ose b usi n ess it w as
                     to d e vise la wf ul s c h e m e s to e n a ble cli e nts la wf ully t o a v oid t a x.
              ( c) M u c h t he s a me as o c c urr ed at 1 , H a n o v er S q u are o c c urr ed at t he
                     pr e mis e s of A. J. R. Fi n a n ci al S er vi c es Lt d. at 1 9/ 2 4 , St. G e or ge
                     Str e et , L o n d o n , W.l . A . J . R . c arri e s o n t h e b usi n es s o f pr o -
                     vi di n g s e cr et ari a l a n d a c c o u nti n g s er vi c e s t o s e v er a l h u n dr e d
                     cli e nts . T h e R oss mi nst e r Gr o u p o f c o m p a ni e s i s o n e o f it s b est
„    cli e nt                 s b ut ot h er wis e h a s n o c o n n e cti o n wit h it .
              ( d) M u c h t he s a me o c c urr ed a t Mr. R. C. T u c k er's h o use as o c c urr ed
                     a t Mr . Pl u m m er's . Mr . T u c k er , w h o is a c h art er ed a c c o u nt a nt ,
                     h a s h ad a cl ose b usi n ess r el ati o ns hip with t he R oss mi nst er Gr o u p
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    1016
    L o r d S al m o n R e g     . v . I. R. C. , E x p . R oss mi nst c r ( H. L.( E.) ) [ 1 9 8 0            ]
                o f c o m p a ni e s f or s o m e ti m e. R e c e ntl y , b ef ore J ul y 1 3 , he left hi s
                o w n office s w hi c h h e h a d o c c u pi e d f o r s e v e n y e ar s a n d m o v e d
                i nto 1, H a n o v er S q u are f or t he ti me b ei n g.
         T h e I nl a n d R e v e n u e w a s as k e d b y o r o n b e h al f o f e v er y o n e w h os e
   h o m e o r office s w er e s e ar c h e d a n d w h os e p a p er s a n d d o c u m e nt s w er e
   s ei z e d, w h at offe nc e w a s all e g ed to h a ve b e en c o m mitt e d a n d by w h o m.
   T h e I nl a n d R e v e n u e r ef us e d t o gi v e a n y a ns w e r t o eit h e r p ar t o f t h a t
   q u esti o n .
         It s e e m s to me to be o b vi o us t h at t h e n e ws of t he e v e nts I h a v e d es-
   cri b e d m us t h a v e s pr e a d li k e wil dfir e a n d b e e n a c al a mit y f o r t h os e
   w h o e x p eri e n c ed t h e m. T h ei r n a m es m ust h a ve b e en s eri o usly t ar nis h ed
   a n d t h ey h a v e no d o u b t s uffere d s eri o u s fi n a n ci al l oss . T hi s m ust a p pl y
   als o t o t h e R oss mi nst e r Gr o u p o f c o m p a ni es ; in p arti c ul a r t h os e in t h e
   gr o u p w h os e b usi n es s w a s t o d e vis e l a wf u l s c h e m e s f o r a v oi di n g t a x           C
   w hi c h w o uld ot h er wise h a ve b e en e xi gi ble fr om t h eir cli e nts. N o s e nsi ble
   cli e n t w o ul d be li k ely to c o nti n u e t o e m pl o y a n y o n e t o dr a w u p s u c h a
   s c h e me f o r hi m i f h e c o nt e m pl at e d t h a t t h e s c h e m e mi g h t l a n d hi m i n
   pris o n .
         O n Fri d ay J uly 13 t he b a nk h ad an iss u ed s h are c a pit al of £ 1, 2 5 0, 0 0 0,
   a b o u t o n e t h o us a n d c ust o m er s wit h c urr e n t a c c o u nt s a n d m or e t h a n             ^
   £ 6, 0 0 0, 0 0 0 h el d f o r c ust o m er s o n d e p osit . O n M o n d a y , J ul y 1 6 , t h er e
   w a s a r u n o n t h e b a n k ; o n t h a t d a y , £ 1, 9 5 6, 6 9 5 w a s wit h dr a w n b y
   c ust o m er s a n d i nstr u cti o n s gi v e n f or t h e wit h dr a w a l o f o v e r £ 4 0 0, 0 0 0 o n
   t he f oll o wi n g d a y ; t h ese i nstr u cti o n s w er e o b e y e d .
         T h e b a n k h a d i nt e n d e d t o a p pl y t o t h e B a n k o f E n gl a n d f o r a n
   i m p ort a nt li c e n c e u n d e r t h e B a n ki n g A c t 1 9 7 9 a nd h a d b e e n r e p orti n g
   q u art erl y t o t h e B a n k o f E n gl a n d o n it s fi n a n ci al p ositi o n si n c e it s              E
   i n c e pti o n.
         O n t h e aft er n o o n o f M o n d a y J ul y 1 6 Mr . R o p e r o f t h e B a n k o f
   E n gl a n d t el e p h o n e d a dir e ct o r o f t h e b a n k i n q uiri n g a b o u t t h e cir c u m -
   st a n c es s urr o u n di n g t h e I nl a n d R e v e n u e' s s ei z ur e o f t h e b a n k' s d o c u -
   m e nt s o n t h e pr e vi o u s Fri d a y . T h e dir e ct o r e x pl ai n e d w h a t h a d
   h a p p e n e d a n d Mr . R o p e r i nf or m e d hi m t h a t i t w a s u nli k el y t h a t t h e            p
   B a n k o f E n gl a n d w o ul d e nt ert ai n a n y a p pli c ati o n f o r a li c e n ce u nti l t h e
   sit u ati on wit h t h e I nl a n d R e v e n u e h ad b e en cl arifi e d .
         It i s i m p ossi ble a t t hi s st a g e to k n ow w h en t h e pr os e c uti o n (i f t h er e
   is to be a pr os e c uti o n) will t a ke pl a ce or, if t h ere is to be no pr os e c uti o n,
   w h e n t h e I nl a n d R e v e n u e wil l a n n o u n c e it s d e cisi o n . M or e t h a n f o u r
   m o nt h s h a ve alr e a dy g o ne by a nd no d e cisi on h as b e en m a d e — a nd n o ne                    _ ,
   m a y b e m a de f o r y e ars . I n t h e m e a nti m e , v as t s u m s of m o n e y m ay be
   l ost as a r es ult of t he a cts d o ne by t he I nl a nd R e v e n ue on J uly 1 3 , 1 9 7 9;
   a n d t h e p ers o ns c o n c er n e d m a y be r ui n e d . M or e o v er , I d o u b t w h et h e r
   t h ese p ers o ns will e v er be a ble to r e c o v er t he l oss t h ey will h a ve s uff er e d
   e v e n i f t h e s e ar c h w arr a nt s ar e i n v ali d. T h e I nl a n d R e v e n u e w o uld n o
   d o u b t p u t f or w ar d t h e d ef e n ce t o a n y pr o c e e di n gs br o u g h t a g ai ns t t h e m     „
   f or d a m a g e s f o r e nt eri n g t h e pr e mis e s c o n c er n e d , t h a t t h e y h a d e nt er e d
   o n t he a ut h ority of a w arr a nt p er mitti ng t h em to e nt er a nd iss u ed on J uly
    1 2 , 1 9 7 9, by a cir c uit j u d g e.
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         A. C . R e g               . v . I. R. C. , E x p . R oss mi nst c r ( H. L.( E.) ) L o r        d S al m o n
A    I        e x pr ess no c o n cl u d ed vi ew as to w h et h er t he pl ai ntiffs w o ul d be a ble
    to dis c h ar ge t he o n us of pr o of ( w hi c h w o uld u n d o u bt e dl y be u p on t h e m )
    o f s h o wi n g , m a y be m a ny y e ars aft er J ul y 1 2 , 1 9 7 9, ( a) t h at o n t h at d at e ,
    t h ere h a d b e e n n o r e as o n a bl e gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n -
    v ol vi n g a ny f orm o f fr a u d i n r el ati on to t ax h ad b e en c o m mitt ed a n d ( b)
    t h at t h e I nl a n d R e v e n u e h a d n o r e as o n a bl e c a us e t o b eli e v e t h a t t h e
     d o c u m e nt s w hi ch t h ey s ei z ed a nd r e m o v e d mi g ht be r e q uir ed in r es p e ct of
B a n offe nce o f t he ki nd I h a ve m e nti o n e d.
           Pri o r t o 1 9 7 6 I s h o uld h a v e t h o u g ht t h a t t h e la w aff or d ed t h e I nl a n d
    R e v e n u e a m pl e p o w e r t o d et e c t offe nce s i n v ol vi n g a n y f or m o f fr a u d i n
     r el ati on t o t a x. N e v ert h el es s s e cti on 2 0C i ns ert ed i nto t he T a x es M a n a g e-
     m e n t A ct 1 9 7 0 by s e cti on 57 of t he Fi n a n ce A ct 1 9 7 6 gr e atly i n cr e as ed t he
     I nl a nd R e v e n u e' s pr e- 1 9 7 6 p o w er s b y i ntr o d u ci n g w h a t I r e g ar d a s a n
 „ alt o g et h e r u n n e c ess ar y p o w er w hi c h, in my vi e w, d a n g er o usly e n cr o a c h e s
     o n i n di vi d u al li b ert y. [ Hi s L or ds hip r e a d s e cti on 2 0 C, so f ar a s r el e v a nt,
     a n d c o nti n u e d : ] H o w e v e r m u c h t h e c o urt s m a y d e pr e c at e a n A c t t h e y
     m us t a p ply it. I t is n ot p ossi ble by t ort uri ng its l a n g u a ge or by a ny ot h er
     m e a n s t o c o nstr u e i t s o a s to gi ve it a m e a ni ng w hi c h P arli a m e n t cl e arl y
     di d n o t i nt e n d i t t o b e ar . I a m c ert ai n m y n o bl e a n d l e ar n e d fri e n d
     L or d D e n ni n g M. R . w a s n o t d e p arti n g fr om t h a t pri n ci pl e w he n h e s ai d,
D a nt e , p . 9 7 2 B :
             " O n ce gr e at p o w e r is gr a nt e d, t h er e is a d a n g er o f i t b ei n g a b us e d .
             R at h e r t h a n ris k s u c h a b us e , i t i s . . . t he d ut y o f t h e c o urt s s o to
             c o nstr u e t h e st at ut e a s to s e e t h at i t e n cr o a c h e s a s little a s p ossi bl e
             u p o n t he li b erti es of t h e p e o ple of E n gl a n d. "
              I r es p e ctf ull y a gr e e with t his p ass a ge w hi ch I t hi nk is c o nsist e nt wit h
    E t h e view t h at t he c o urts s h o uld c o nstr u e a st at ute w hi ch e n cr o a c h es u p on
        li b erty s o t h a t i t e n cr o a c h e s u p o n i t n o m or e t h a n t h e st at ut e all o ws ,
        e x pr essl y o r b y n e c ess ar y i m pli c ati o n .
              S e cti o n 2 0C ( 1) s a ys n ot hi ng m ore in e x pr ess t er ms a b o ut t he c o nt e nts
        o f a w arr a nt t h a n t h at t he a p pr o pri ate j u di ci al a ut h orit y
                " m ay iss ue a w arr a nt i n writi n g a ut h orisi ng a n office r o f t h e b o ard
    F t          o e nt e r t h e pr e mis es , if n e c ess ar y b y f or c e , a t a n y ti m e wit hi n 1 4
                d a y s fr om t h e ti me of iss ue of t h e w arr a nt, a nd s e ar ch t h e m."
           It m ay be t h at a w arr a nt is v alid w hi ch s a ys n ot hi ng m ore t h an t h at it
     a ut h oris e s officer s o f t h e B o ar d o f t h e I nl a n d R e v e n u e t o e nt e r t h e
     pr e mis e s a nd s e ar c h t h e m. S u c h a w arr a nt m a y be s ufficie nt t o st at e by
     i m pli c ati on • t h at t h e i m p ort a n t c o n diti o n s i n s e cti o n 2 0 C ( 1 ) ( a) a nd ( b)
" h a v e b e e n c o m pli e d wit h . I e x pr es s n o c o n cl u d e d vie w o f t hi s t o pi c
     b e c a us e t he w arr a nts in t h e pr es e nt c as e are v ery diff er e nt i n f orm fr o m
     t h ose t h at I h a v e p ost ul at e d. I n m y vi e w, t h ey s h ow t h at s e cti o n 2 0C ( 1)
     ( a) w as n ot c o m pli e d with f or r e as o n s w hi ch I s h all pr es e ntly e x pl ai n.
           T o iss ue s e ar ch w arr a nt s w hi ch ar e b as ed on n o m ore t h an s us pi ci o n
     c a n l e ad t o' dis astr o us r es ults f o r p ers o n s w ho m ay be i n n o c e nt o f fr a u d .
H S us pi ci o n c an e asily be ar o us e d, a nd h o n estly ar o us ed in s o me m ore e asily
     t h an in ot h ers — wit h o ut a n y r e as o n a ble gr o u nd to s u p p ort it. Officer s o f
     t he B o ard of I nl a nd R e v e n ue are n ot i m m u ne fr om h a vi ng s u ch s us pi ci o ns
     a n y m or e t h an m a ny ot h e r hi g hl y r es p e ct a bl e b o di e s o f p e o pl e. T h at , I
                                                                                           A. C . 1 9 8 0 — 3 9
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    L o r d S al m o n R e g      . v . I. R. C. , E x p . R oss mi nst e r ( H. L.( E.) ) [ 1 9 8 0           ]
    t hi n k, is w hy P arli a m e nt, c ert ai nl y n ot a s cl e arly a s it s h o ul d h a ve d o n e,
    l aid d o w n in s e cti on 2 0C ( 1) ( a) t h at if officer s o f t he b o ard r e q uire s e ar ch
    w arr a nts , t h e y m us t gi v e e vi d e n ce o n o at h l a yi n g b ef or e a cir c ui t j u d g e
    t he gr o u n ds f o r t h ei r s us pi ci on a n d t h at t h e d ut y of t he j u d ge m ust t h e n
    b e to c o nsi d er t he e vi d e n ce a nd d e ci de w h et h er he (t he j u d g e) is s atisfi ed
    t h at i t est a blis h e s r e as o n a bl e gr o u n d f o r t h e b o ar d' s s us pi ci o n .
          Mr . R a y m o nd Q ui nl a n, o ne of t h e b o ar d's i ns p e ct ors, r e pr es e nt ed t h e
    b o ar d o n t h e a p pli c ati o n f o r t h e w arr a nts . Hi s affi d a vit , s w or n i n t h e          B
    pr es e n t pr o c e e di n gs , s h o w s t h a t h e h a d m a d e a t h or o u g h i n v esti g ati o n
    o f t h e a cti viti e s o f t h e R oss mi nst e r Gr o u p o f c o m p a ni e s a n d ot h e r
    p ers o n s a n d b o di es with w h o m t h e gr o u p h ad s p e ci a l r el ati o ns hi ps . H e
    i nf or m ed t h e C o m m o n S erj e a n t o n o at h ( a s t h e w arr a n t si g n e d b y t h e
    C o m m o n S erj e a n t s h o ws ) t h at h e h a d r e as o n a bl e gr o u n d f o r s us p e cti n g
    t h at a n offe nc e i n v ol vi n g fr a u d i n r el ati o n t o t a x h a d b e e n c o m mitt e d          _
    a n d t h a t e vi d e n c e est a blis hi n g fr a u d mi g h t b e f o u n d o n t h e pr e mis e s
    d es cri b e d l at e r i n t h e s e c o n d s c h e d ul e a n n e x e d t o t h e w arr a nts . N o
    o n e c o ul d bl a me t he C o m m o n S erj e a n t f o r t hi n ki n g t h a t Mr . Q ui nl a n' s
    o at h st ati n g t h a t t h er e w a s r e as o n a bl e gr o u n d f o r t h e b o ar d' s s us pi ci o n
    w a s s o m et hi n g o n w hi c h h e c o ul d a n d i n d e e d s h o ul d r el y ; a n d h e
    a c c or di n gl y si g n e d t h e s e ar c h w arr a nts . I w o ul d li k e t o m a k e i t pl ai n
    t h at, i n m y r es p e ctf ul vi e w , no bl a me o f a n y ki n d c a n b e attri b ut e d t o              D
    t he l e ar n e d j u d g e . S e cti o n 2 0 C i s b y n o m e a n s a s cl e a r a s i t s h o ul d
    b e , a n d t h er e i s no r e as o n t o s u p p os e t h a t t h e j u d g e h a d h a d s uffi ci e n t
    o p p ort u nit y t o st u d y i t a t l e n gt h b ef or e t h e a p pli c ati o n i n t h e pr es e n t
    c as e w a s m a d e .
          T h e s e cti on is, in m y vi e w, so dr aft ed t h a t i f a n officer o f t h e I nl a n d
    R e v e n u e w h o h a d m a d e a i o ng a n d c ar ef u l i n v esti g ati o n o f t h e r es p o n -           p
    d e nts ' aff airs, i nf or m e d t h e j u d ge on o ath t h at t h ere w as r e as o n a ble gr o u nd
    f or s us p e cti n g t h a t a n offe nc e o r offe nce s i n v ol vi n g fr a u d i n r el ati o n t o
    t ax h ad b e en c o m mitt e d et c. , t he j u d g e mi g ht w el l m a ke t h e mist a k e of
    mis c o nstr ui n g s e cti o n 2 0C as m e a ni ng t h at t h e i nf or m ati on gi v e n o n o at h
    w a s s ufficie nt t o s atisfy hi m t h a t t h er e w a s r e as o n a ble gr o u n d f o r s us pi -
    ci o n a nd to e m p o w er him to iss ue t he w arr a nts.
          E a c h o f t h e w arr a nts r e a d a s f oll o ws: F
            " S e ar ch W arr a nt . T o : R a y m o n d Q ui nl a n a n d t o t h e p ers o n s
            n a m e d i n t h e firs t s c h e d ul e a n n e x e d t o t hi s w arr a n t officer s o f t h e
            B o ar d o f I nl a n d R e v e n u e .
                  "I nf or m ati o n o n o at h h a vi n g b e e n l ai d t hi s d a y b y R a y m o n d
            Q ui nl a n in a c c or d a n ce with t he pr o visi o ns of s e cti on 2 0C of t he T a x es
            M a n a g e m e n t A c t 1 9 7 0 st ati ng " t h e u n d erli ni n g i s mi ne " t h at t h er e          G
            is r e as o n a ble gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n v ol vi n g fr a u d
            in c o n n e cti o n wit h o r i n r el ati o n t o t a x h a s b e e n c o m mitt e d a n d
            t h at e vi d e n c e o f i t i s t o b e f o u n d o n t h e pr e mis e s d es cri b e d i n
            t he s e c o n d s c h e d ul e a n n e x e d h er et o . Y o u ar e h er e b y a ut h oris e d
            to e nt e r t h os e pr e mis es , t o g et h e r wit h al l or a n y o f t h e officer s o f
            t he B o ard of I nl a nd R e v e n ue n a m ed in t he first s c h e d ule h er eto a nd              JJ
            t o g et h er wit h s u c h c o nst a bl e s a s y o u m a y r e q uir e , i f n e c ess ar y b y
            f or c e, a t a n y ti m e wit hi n 1 4 d a y s fr o m t h e ti m e o f iss u e o f t hi s
            w arr a nt , a n d s e ar c h t h e m ; a n d on e nt eri ng t h ose pr e mis es with t his
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                                                                                                          1019
     A. C . R e g                  . v. I. R. C., E x p . R oss mi nst e r ( H X.( E.) ) L o r      d S al m o n
 . w arr a n           t y o u m a y s ei z e a n d r e m o v e a n y t hi n g s w h ats o e v e r f o u n d
           t h ere w hi c h y o u h a v e r e as o n a bl e c a us e t o b eli e v e m ay b e r e q uir e d
           a s e vi d e n c e f o r t h e p ur p os e s o f pr o c e e di n g s i n r es p e c t o f s u c h a n
           off e n c e .
           D at e d t hi s 1 2t h d ay of J uly 1 9 7 9 " —si g n ed b y t he cir c uit j u d g e.
         T h e firs t p ar t o f t h e w arr a n t e x pl ai n s t h e gr o u n d s o n w hi c h t h e
B   w arr a n t i s iss u e d. I n m y vi e w , t his p ar t o f t h e w arr a n t m a k e s it pl ai n
    t h at t h e w arr a nt w a s iss u ed o n t h e f ait h o f t h e i nf or m ati o n o n o at h by
    R a y m o n d Q ui nl a n st ati n g t h a t t h er e w as r e as o n a ble gr o u nd f o r s us p e ct -
    i n g, et c. I t f oll o w s t h er ef or e t h a t s e cti o n 2 0 C ( 1) ( a) w as n ot c o m pli e d
    wit h . I f i t h ad b e e n , t he first p art of t he w arr a nt w o ul d h a ve r e ad q uite
    diff er e ntl y , p er h a p s s o m e w h at as f oll o ws:
Q "             E vi d e n ce on o ath w hi ch est a blis h es t h at t h ere is r e as o n a ble gr o u nd
           f or s us p e cti n g et c. h a vi ng b e en l aid b ef ore m e t his d ay by R a y m o nd
            Q ui nl a n , I a m s atisfi e d i n a c c or d a n c e wit h t h e pr o visi o n s o f
           s e cti on 2 0 C o f t h e T a x e s M a n a g e m e n t A c t 1 9 7 0 t h a t t h er e i s
            r e as o n a ble gr o u nd f o r s us p e cti n g et c . . . . "
            S e cti o n 2 0C m a k es a wi de i nr o ad i nto t he citi z e n's b asic h u m an ri g hts,
j) t h e ri g ht to pri v a cy in his o wn h o me a nd b usi n ess pr e mis es a nd t he ri g ht
      to k e ep w h at b el o n gs to hi m. I t all o ws t he I nl a nd R e v e n ue t he p o w er to
      f or ce it s way i nto a m a n's h o me or offices a n d d e pri ve him of his pri v ate
      p a p er s a nd b o o ks. I n my vi e w, it pr o vi d es o nly o ne r e al s af e g u ard a g ai nst
      a n a b us e o f p o w er . T h a t s af e g u ar d i s n o t t h a t t h e I nl a n d R e v e n u e i s
      s atisfi ed t h a t t h er e i s r e as o n a bl e gr o u n d f o r s us p e cti n g t h a t a n offe nc e
      i n v ol vi ng fr a u d i n r el ati o n t o t a x h a s b e e n c o m mitt e d , b u t t h a t t h e
 E j u d g e w ho iss u es t he s e ar ch w arr a nt i s so s atisfi ed aft e r h e h as b e en t old
      o n o at h b y t h e I nl a n d R e v e n u e f ul l d et ail s o f t h e f a ct s w hi c h i t h a s
      dis c o v er e d . T h a t i s w hy I a m i n cli n e d t o t he vie w t h at i t i s i m pli cit i n
     s e cti on 2 0 C t h at a s e ar c h w arr a n t si g n e d by t he j u d ge s h o ul d st at e t h a t
     h e i s s o s atisfi e d , i. e. , t h a t t h e w arr a n t s h o ul d al w a y s gi v e t h e r e as o n
     f or it s iss u e. I n a n y e v e nt , I h o p e t h a t i n t h e f ut ur e t h e pr a cti c e wil l
 p al w a y s b e t h a t s u c h w arr a nt s st at e pl ai nl y t h a t t h e j u d g e w h o si g n e d
     t h em i s s o s atisfi e d .
            I a m , h o w e v er , c o n vi n c e d t h a t s e ar c h w arr a nt s li k e t h e pr es e n t ar e
     i n v alid b e c a us e t h e y r e cit e a s t h e r e as o n f o r t h ei r iss u e o nl y t h a t a n
     office r o f t he I nl a nd R e v e n ue h as st at ed o n o ath t h at t h er e is r e as o n a ble
     gr o u n d f o r s us p e cti n g t h a t a n offe nc e i n v ol vi n g fr a u d i n r el ati o n t o t a x
     h a s b e e n c o m mitt e d . I f t h e j u d g e gi v e s t h a t a s his r e as o n f o r iss ui n g
" a        w arr a nt, i t s e e m s to me to f oll o w t h a t hi s r e as on f o r iss ui n g it c a n n o t
     b e t h at h e is so s atisfi ed b y t he i nf or m ati on gi v e n to him on o ath by an
     office r o f t h e I nl a n d R e v e n u e o f t h e d et ail e d f a ct s w hi c h t h e office r
     h a s as c ert ai n e d ; b u t t h a t t h e j u d g e's r e as on f o r iss ui n g t he w arr a n t w a s
     b e c a us e t he officer h a d st at e d o n o ath t h at t h er e is r e as o n a ble gr o u nd to
     s us p e ct, et c . I a m afr ai d t h a t I d o n ot a gr e e t h a t t h e w arr a nt s i n t h e
J J pr es e n t c ase m a ke it cl e a r t h at t h ey w ere iss u ed by t he j u d ge p urs u a nt t o
     t he p o w ers c o nf err e d o n hi m by s e cti on 2 0 C . I n d e e d , f o r t h e r e as o n s I
     h a v e gi v e n , I c o nsi d e r t h a t t h e e x a c t c o ntr ar y i s m a d e cl e a r b y t h es e
     w arr a nts .
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    1020
    L o r d S al m o n R e g       . v. I. R. C., Ex p . R oss mi nst e r ( H X.( E.) ) [ 1 9 8 0             ]
          It h a d n e v e r o c c urr e d t o me b ef ore r e a di n g s o me of y o u r L or ds hi ps'
    s p e e c h es t h at a n y o n e c o uld i m a gi ne t h at I w as s u g g esti ng t h at t his hi g hly
    r es p e ct ed j u d ge h ad a ct e d i m pr o p erly a n d u nf airl y . . 1 h ad h o p e d t h a t I
    h a d m a d e i t cr yst a l cl e a r t h a t I w a s s u g g esti n g n o m or e t h a n t h at , i n
    m y o pi ni o n , t h e j u d g e h a d mis c o nstr u e d a st at ut or y pr o visi o n
    (s e cti on 2 0 C ) w h os e m e a ni n g w a s n o t v er y cl e ar —t h e s or t o f mist a k e
    w hi c h e v ery j u d g e, e x c e pt p er h a ps t he i nf alli bl e, w o uld a gr ee t h at h e h as
    m a d e a t s o m e ti m e d uri n g hi s c ar e er . T o m a k e s u c h a mist a k e s ur el y B
    c a n n o t be r e g ar d ed as i m pr o p er o r u nf air, stil l l ess as a d er eli cti on by t he
    j u d ge o f hi s j u di ci a l d uti es .
          I t hi n k t h a t t h e p oi n t t h a t I h a v e b e e n m a ki n g i s c o v er e d b y t h e
    f oll o wi ng in t he n oti ce p urs u a nt to Or d. 5 3, r. 6 ( 3) d at ed J uly 2 3, 1 9 7 9:
            " T h at t he l e ar n ed j u d ge err ed in l aw . .. i n iss ui ng t he s aid w arr a nts
            in t h at he w as n ot s atisfi ed . . . t h at t h ere w as r e as o n a ble gr o u nd f or Q
            s us p e cti ng t h a t a n y . . . p ers on h a d a t a n y . . . ti me d o n e a n y . . .
            a c t s u c h a s to c o nstit ut e a n a c t i n v ol vi n g fr a u d . . . i n r el ati o n t o
            t a x."
    T hi s p oi nt, h o w e v er , w a s n ot ar g u e d in t h e Di visi o n a l C o ur t n o r i n t h e
    C o ur t o f A p p e a l n or i n y o ur L or ds hi ps ' H o us e, n or di d it a p p e a r i n t he
    r es p o n d e nts' c as e . I di d , h o w e v er, p ut i t t o c o u ns e l f or t h e a p p ell a nt s in j )
    t he c o urs e o f hi s ar g u m e nt .
          I r e c o g nis e , of c o urs e , t h at i n a n y or di n ary c as e b et w e en liti g a n t a n d
    liti g a nt t h e p oi n t c o ul d n ot b e all o w e d to be r eli ed o n n o w. T his , h o w-
    e v er , is by no m e a ns a ny or di n ary c as e. I t is a c ase of gr e at c o nstit uti o n al
    i m p ort a n ce w hi c h c a n s eri o usl y affec t i n di vi d u a l li b ert y . T h e p oi n t
    w hi c h I h a v e v e nt ur e d t o m a k e , a s I h a v e alr e a d y s ai d , i n m y o pi ni o n
    aff or d s t h e o nl y r e a l s af e g u ard a g ai ns t a n a b us e of p o w e r by t he I nl a n d E
    R e v e n u e . I r e c o g nise t h at s e cti o n 2 0 C, n ot v ery cl e arl y, i n di c at es t h at a
    w arr a n t i s i n v alid if i t s h o w s on its f a c e ( as , in my o pi ni o n, e a c h o f t h e
    f o ur r el e v a n t w arr a nt s d o ) t h a t i t w a s iss u ed b y t h e j u d g e n o t b e c a us e
    h e w as s atisfi ed by a ny e vi d e n ce of f a cts dis c o v er ed by t he I nl a nd R e v e n ue
    a n d p ut b ef ore him on o ath t h at t h ere w as r e as o n a ble gr o u nd f or s us p e ct -
    i ng t h at a n offe nc e i n v ol vi n g fr a u d r el ati n g t o t a x h a d b e en c o m mitt e d , p
    et c . b ut b e c a us e he w as t old on o ath by an officer o f t he I nl a nd R e v e n u e
    t h at t h ere w as r e as o n a ble gr o u nd f or s us p e cti n g t h at s u ch an offe nce h a d
    b e e n c o m mitt e d . I n m y vi e w , t h e j u d g e mis c o nstr u e d s e cti o n 2 0 C by
    t hi n ki ng t h a t i t l ai d d o w n t h a t w h a t h e h a d b e e n t ol d o n o at h b y t h e
    office r o f t h e I nl a n d R e v e n u e w as s ufficie nt t o all o w t h e w arr a nt s t o b e
    iss u e d.
          I e ntir el y a gr e e with y o ur L or ds hi p s f o r t h e r e as o n s w hi c h y ou h a ve G
    gi v e n t h a t t h e w arr a nt s c a n n o t b e s u c c essf ull y att a c k e d o n t h e gr o u n d
    t h at t h e y d o n o t s uffi ci e ntl y p arti c ul aris e t h e offe nce s t o w hi c h t h e y
    r ef er; a n d t h a t t h e w ell- k n o wn mi d- 1 8t h c e nt ur y a ut h oriti e s o n w hi ch t he
    C o ur t o f A p p e a l r eli e d l e n d n o r e a l s u p p or t t o t h e c o ntr ar y vie w .
        ' T he g e n u s o f t h e offe nce s s pecifie d i n s e cti o n 2 0 C is s pecified i n t h e
    w arr a nts . T h er e ar e six or m ore s p e ci e s of t h a t g e n us . I f t h e w arr a nts J J
    w er e t o s e t o u t t h es e s p e ci e s i n t h e alt er n ati v e t o e a c h ot h er , a s t h e y
    mi g h t d o , t h ey c o ul d n o t h el p t h e p ers o n s w h os e h o m es o r office s w er e !
    e nt er e d a n d s e ar c h e d .
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                                                                                                            1021
      A. C . R e g                  . v. I. R. C., E x p . R oss mi nst e r ( H X.( E.) ) L o r       d S al m o n
 .I            a gr e e f o r t h e r e as o n s st at e d b y m y n o bl e a n d l e ar n e d fri e n d ,
      Vis c o u n t Dil h or n e , t h a t s o l o n g a s s e cti o n 2 0 C r e m ai n s o h t h e st at ut e
      b o o k , it is hi g hly d esir a ble t h at it s h o uld be a m e n d ed so t h at t he a p pli c a-
     ti on f o r a w arr a n t s h o ul d b e m a d e t o a Hi g h C o ur t j u d g e . T hi s i s
     c ert ai nl y n o t o u t o f a n y disr es p e c t f o r t h e cir c ui t j u d g e s b u t b e c a us e
     o f t h e e n or m o u s p o w er s c o nf err e d u p o n t h e I nl a n d R e v e n u e u n d e r
     s e cti on 2 0 C , t he gr e at h ar m i t m ay d o to i n di vi d u al li b ert y a n d t he r ui n
 B i t m a y i nfli c t u p o n t h os e u p o n w h o m i t i s e x er cis e d , h o w e v e r i n n o c e n t
     t h ey m a y b e .
           I als o a gr e e t h a t h a vi n g r e g ar d t o t h e c o nfli cti n g affi da vi t e vi d e n c e ,
     it w as wr o ng to h old t h at, e v e n if t he w arr a nts w ere v ali d, t he s ei z ure of
     d o c u m e nt s by t he officers o f t he b o ard w as u nl a wf ul b e c a us e t h eir f ail ur e
     pr o p erl y to e x a mi ne t he d o c u m e nts w hi ch t h ey s ei z ed m a de it i m p ossi bl e
 p f o r t h em to h a ve r e as o n a ble c a use to b eli e ve t h at t he d o c u m e nts mi g ht be
     r e q uir ed as e vi d e n c e. S u c h a n iss ue c o uld o nly be pr o p erly d e ci d e d b y a
     j u d ge a t a n or di n ar y tri a l aft e r h e h a d s e e n t h e wit n ess e s o n e a c h si d e
     e x a mi n e d a n d cr oss- e x a mi n e d . T hi s h o w e v er is of n o gr e a t i m p ort a n c e
     si n ce s e cti on 2 0C ( 3) e m p o w ers an officer " on e nt eri ng t he pr e mis es with a
     w arr a n t u n d e r t hi s s e cti o n " t o s ei z e a n d r e m o v e d o c u m e nt s w hi c h h e
     h a s r e as o n a bl e c a us e t o b eli e v e mi g h t b e r e q uir e d a s e vi d e n c e . T h e
D w arr a n t r ef err e d t o i n s u bs e cti o n ( 3 ) m ust , i n m y vi e w , b e a v ali d
     w arr a nt . A n d a c c or di n gl y t h e p o w ers c o nf err ed b y t he s u bs e cti on c a n n o t
     o p er at e if t h e w arr a nts w ere i n v alid as, in my o pi ni o n, t h ey w er e.
           M y L or ds, f o r t h e r e as o n s I h a v e st at e d I w o ul d dis mis s t he a p p e al .

            L O R D S C A R M A N . M y L or ds , t h es e a p p e al s r ais e t w o q u esti o ns : t h e
 g v ali dit y o f t h e s e ar c h w arr a nt s iss u e d b y t he C o m m o n S erj e a nt , a n d t h e
      l e g ality o f t h e s ei z ur e a n d r e m o v a l b y officer s o f t h e I nl a n d R e v e n u e of
      t he d o c u m e nt s f o u n d o n t h e pr e mis e s s e ar c h e d . T h e r es p o n d e nt s ar e
      a p pli c a nt s f o r j u di ci a l r e vi e w o f t h e v ali dit y o f t h e w arr a nt s a n d o f t h e
      l e g ality o f t h e s ei z ur e . T h e y att a c k t h e w arr a nt s b y s e e ki n g a n or d e r
      o f c erti or ar i t o r e m o v e t h e m i nt o t h e Q u e e n' s B e n c h Di visi o n s o t h a t
 P t h e y m a y b e q u as h e d : a n d t h e y s e e k a d e cl ar ati o n t h a t t h e s ei z ur e a n d
     r e m o v al of t he d o c u m e nts w ere u nl a wf ul. I f t h ey f ail in t h eir c ase a g ai nst
     t he w arr a nts, t h ey m ay y et s u c c e e d i n t h eir c as e a g ai ns t t h e s ei z ure a nd
     r e m o v al of t he d o c u m e nts. B ut , if t h ey s u c c e ed a g ai nst t h e w arr a nts, it
     d o e s n ot n e c ess aril y f oll o w t h a t t h e y m us t s u c c e e d i n t h ei r att a c k u p o n
     t he s ei z ur e a n d r e m o v a l o f t h e d o c u m e nts . B ot h f or m s o f r eli e f w er e
     s o u g ht, as is n ow p ossi bl e, by a p pl yi ng f or j u di ci al r e vi e w. T h e Di visi o n al
G C o ur t r ef us ed t h e a p pli c a nts a ny r eli ef. T h e C o urt of A p p e al u p h eld t he
     a p pli c a nts ' a p p e al , q u as hi n g t h e w arr a nt s a n d d e cl ari n g t h a t t h e officer s
     o f t h e I nl a n d R e v e n u e " w ere a t n o m at eri a l ti m e e ntitl e d t o r e m o v e "
     t he d o c u m e nts a nd t hi n gs t a k en fr om t h e pr e mis es s e ar c h e d.
            M y L or ds, I a gr ee t h at t h es e a p p e als s h o uld be all o w ed a nd a dd s o me
     o bs er v ati o n s o nl y b e c a us e o f t h e i m p ort a n c e o f t h e iss u e s r ais e d , a n d
J J b e c a us e I s h ar e t h e a n xi eti e s f el t b y t h e C o ur t o f A p p e al . I f p o w e r
      e xist s f o r officer s o f t h e B o ar d o f I nl a n d R e v e n u e t o e nt e r pr e mis es , if
      n e c ess ar y b y f or c e , a t a n y ti m e o f t h e d a y o r ni g h t a n d t h e n seiz e a n d
      r e m o ve a n y t hi n g s w h ats o e v e r f o u n d t h er e w hi c h t h e y h a v e r e as o n a bl e
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    1022
    L or d Sc ar m a n R e g     . v. I. R. C., Ex p . R oss mi nst e r ( H X.( E.) ) [ 1 9 8 0            ]
    c a us e t o b eli e v e m a y b e r e q uir e d a s e vi d e n c e f o r t h e p ur p os e s o f .
    pr o c e e di n g s i n r es p e c t o f a n y offe nc e o r offe nce s i n v ol vi n g a n y f or m o f
    fr a ud i n c o n n e cti o n wit h , o r i n r el ati o n t o , t a x , i t i s t h e d ut y o f t h e
    c o urt s t o s ee t h at i t is n ot a b us e d : f o r i t i s a br e at h-t a ki ng i nr o a d u p o n
    t he i n di vi d u al' s ri g h t o f pri v a c y a n d ri g h t o f pr o p ert y . I m p ort a n t a s
    is t he p u bli c i nt er est i n t he d et e cti on a n d p u nis h m e nt o f t ax fr a u ds, i t is
    n o t t o b e c o m p ar e d wit h t h e p u bli c i nt er es t i n t h e ri g h t o f m e n a n d
     w o m e n to be s e c ure in t he pri v a cy of t h eir h o m es, t h eir offices, a n d t h eir B
    p a p ers . Y e t i f t h e l a w is t h at n o p arti c ul ar s o f t h e offe nc e o r offe nce s
    s us p e ct e d, ot h e r t h a n t h a t t h e y are offe nces o f t a x fr a u d, n e e d be gi v e n,
    h o w c a n t h e h o us e h ol d er , o r o c c u pi e r o f pr e mis es , h o p e t o o bt ai n a n
    effecti ve j u di ci a l r e vi e w o f t h e e ntr y , s e ar c h a n d s ei z ur e a t t h e ti m e o f
    t he e v e nt s or s h ortly t h er e aft er ? A n d t elli ng t he vi ctim t h a t l o n g aft e r
    t he e v e n t h e m a y g o t o l a w a n d r e c o v e r d a m a g e s i f h e c a n pr o v e t h e _ ,
    r e v e n ue a ct e d u nla wf ull y i s c old c o mf ort — e v e n i f h e c an aff or d it .
          It i s t h er ef ore wit h r e gr e t t h a t I h a v e t o a c c e p t t h at , i f t h e r e q uir e -
    m e nt s o f s e cti o n 2 0 C o f t h e T a x e s M a n a g e m e n t A c t 1 9 7 0 , a s e cti o n
    w hi c h e nt er e d t h e l aw as an a m e n d m e n t i ntr o d u c e d b y s e cti on 5 7 of t h e
    Fi n a n c e A ct 1 9 7 6 , are m et, t he p o w er e xists to e nt er, a nd s e ar ch pr e mis es,
    a n d s ei z e a n d r e m o v e t hi n g s t h er e f o u n d a n d t h a t t h e pr os p e c t o f a n
    i m m e di ate j u di ci a l r e vi e w o f t h e e x er cis e o f t h e p o w e r i s di m . N e v er - D
    t h el ess, w h a t L or d C a m d e n C.J . s ai d i n E nti c k v . C arri n gt o n ( 1 7 6 5) 1 9
    St at e Tr . 1 0 2 9 , 1 0 6 6 , r e m ai ns g o o d la w t o d a y :
            " No m an c a n s et his f o ot u p o n m y gr o u nd wit h o ut m y li c e n c e, b ut
            h e i s li a ble t o a n a cti o n , t h o u g h t h e d a m a g e b e n ot hi n g . . . I f h e
            a d mit s t h e f a ct , h e i s b o u n d t o s h o w b y wa y o f j ustifi c ati o n , t h a t
            s o me p ositi ve l aw h a s e m p o w er e d o r e x c us e d hi m. " g
    T h e p ositi ve l aw r eli ed o n in t his c ase is t he st at ut e. I f t h e r e q uir e m e nts
    o f t h e st at ut e h a v e b e en m et , t h er e is j ustifi c ati o n: b ut , if t h e y h a ve n ot,
    t h ere i s n o n e .
          T h e ess e nti a l r e q uir e m e n t o f t h e st at ut e i s t h e iss u e u n d e r s u b -
    s e cti on ( 1 ) of t h e s e cti o n b y a j u di ci al a ut h orit y o f a w arr a nt i n writi n g
    a ut h orisi n g a n office r o f t h e b o ard to e nt e r t he pr e mis es, if n e c ess ar y b y p
    f or c e, a t a n y ti m e wit hi n 1 4 d a ys fr o m t h e ti m e o f iss u e o f t h e w arr a n t
    a n d s e ar c h t h e m . T h e s u bs e cti o n pr o vi d e s t h at t h e a p pr o pri at e j u di ci a l
    a ut h orit y (i n E n gl a n d a n d W al es , a cir c ui t j u d g e ) m a y iss u e a w arr a n t
     o nl y if s atisfi e d o n i nf or m ati o n o n o ath gi v e n by an office r o f t h e b o ar d
     o f t w o m att ers: first, t h a t t h er e i s r e as o n a ble gr o u n d f o r s us p e cti n g t h a t
     a n offe nc e i n v ol vi n g a t a x fr a u d h a s b e e n c o m mitt e d a n d t h a t e vi d e n c e
     o f it is to be f o u nd on pr e mis es s pecified in t he i nf or m ati o n; a n d s e c o n dl y, G
     t h at i n m a ki ng hi s a p pli c ati on t h e office r h a s t he a p pr o v a l o f t h e b o ar d
     gi v e n ( b y a t l e ast t w o m e m b ers) in r el ati on t o t he p arti c ul ar c as e .
           T h e j u d ge m ust hi ms elf b e s atisfi e d. I t i s n ot e n o u g h t h at t h e office r
     s h o uld st at e o n o at h t h a t h e i s s atisfi e d, w hi c h i s all t h a t t h e w arr a nt s
     s ay in t h e pr es e n t c as e . T h e iss u e o f t h e w arr a n t i s a j u di ci a l a ct , a n d
     m us t b e pr e c e d ed b y a j u di ci al i n q uir y w hi ch s atisfi es t h e j u d g e t h at t h e J J
     r e q uir e m e nts f o r it s iss u e h a v e b e e n m et .
           T h er e i s n o r e as o n t o b eli e v e , n o r i s it p ossi bl e , a s c o u ns e l f o r t h e
      r es p o n d e nts pr o p erly c o n c e d e d, to s u g g est, t h at i n t his c ase t he C o m m o n
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    A. C . R e g                  . v. I. R. C., E x p . R oss mi nst e r ( H X.( E.) ) L o r   d Sc ar m a n
    S erj e a n t f ail e d i n hi s j u di ci a l d ut y . I c a n n o t a gr e e wit h m y n o bl e a n d
    l e ar n ed fri e n d , J L ord S al m o n, t h a t t h e w or ds o f t h e w arr a nt m a k e cl e a r
    t h at t h e C o m m o n S erj e a n t w a s c o nt e n t t o r el y s ol el y o n Mr . Q ui nl a n' s
    o at h , a n d s o n e gl e ct ed t o satisf y hi mself . T h e y d o n ot e v e n, in my vie w,
     r aise a d o u bt. I t i s n ot t o be s u p p os e d, in t he a bs e n c e of e vi d e n c e , t h a t
    a cir c ui t j u d g e wil l h a ve b e e n s o c ar el es s o f t h e ri g ht s o f citi z e n s a s t o
     f ail t o c arr y o u t hi s d ut y, w h e n a st at ut e pl ai nl y r e q uir e s hi m t o a c t a s
B t h e pr ot e ct or o f t h os e ri g hts. N eit h e r i n t he Di visi o n al C o urt w h er e t he
     r es p o n d e nts l ost , n o r i n t he C o ur t o f A p p e a l w h ere t h e y s u c c e e d e d , w as
     a n y s u ch s u g g esti o n m a d e , t h o u g h i t h a d f o u n d a pl a ce in t h e a m e n d e d
     st at e m e nt file d b y t h e r es p o n d e nt s i n s u p p or t o f t h ei r a p pli c ati o n f o r
     j u di ci al r e vi e w . T h e p oi n t w hi c h t h e r es p o n d e nt s h a v e t a k e n o n t h e
     f o ur w arr a nt s i s a diff er e n t o n e , n a m el y t h a t t h e w arr a nt s di d n o t st at e
     b y w h o m a n d w h e n t h er e ar e r e as o n a bl e gr o u n d s f o r s us p e cti n g a n
^ offe nc e h a s b e e n c o m mitt e d o r t h e pr e cis e n at ur e o r t h e p arti c ul a r a ct s
      c o nstit uti n g t h e s us p e ct e d off e n c e .
            It is, t h er ef or e, n e c ess ary to a p pr o a ch t he c ase u p on t he b asis t h at t he
      j u d ge di d s atisf y hi ms el f u p o n t h e m att er s w hi c h h e w as r e q uir ed t o b e
      s atisfi ed b ef or e iss ui n g t he w arr a nts .
            T h e o nl y w arr a n t r e q uir e d b y t he st at ut e is o ne a ut h orisi ng e ntr y a n d
D s e ar c h . Cl e arl y i t m us t s pecif y t h e pr e mis e s to be e nt er ed a n d s e ar c h e d .
      B u t t h a t i s t h e li mi t o f t h e a ut h ority gi v e n by t he w arr a nt. T h e j u d g e' s
      w arr a n t i s n ot t h e a ut h ority f o r s ei zi n g a nd r e m o vi n g t hi n gs f o u nd o n t he
      pr e mis es . T h a t p o w er is c o nf err ed b y t he st at ut e, i. e., s u bs e cti on ( 3) . A s
       t he Di visi o n al C o urt wel l s ai d, t he w arr a nt is o nly t he k ey of t h e d o or, it
       d o e s n ot c o nf e r t h e p o w er to s ei ze a nd r e m o v e , alt h o u g h, u ntil a nd u nl ess
 p i t o p e ns t he d o or, t he p o w er to s ei ze a nd r e m o ve d o es n ot aris e.
             E a c h of t he f o ur w arr a nts w hi ch t he j u d ge iss u ed did in t er ms a ut h orise
       t he officers i t n a m ed to e nt er a nd s e ar ch t he pr e mis es w hi ch it i d e ntifi e d .
       E a c h w arr a nt als o m a de cl e ar t h at it w as iss u ed by t he j u d ge p urs u a nt t o
       s e cti on 2 0C of t he T a x es M a n a g e m e nts A ct 1 9 7 0 . T h e w arr a nts t h er ef or e
       c o nt ai n e d s uffi ci e nt i nf or m ati o n to e n a ble an o c c u pi er of pr e mis es to k n ow
       t h at t h e y w ere iss u ed u n d er s u bs e cti o n ( 1 ) of t h e s e cti on a n d to i d e ntif y
  F t h e pr e mis e s to be s e ar c h e d.
             If t he w arr a nt to be v alid m ust also c o nt ain p arti c ul ars of t he offe nce s
       s us p e ct e d, I w o uld h a ve e x p e ct ed to fi nd t his r e q uir e m e nt e x pr essl y st at ed
       i n, or n e c ess arily to be i m pli ed fr om t he l a n g u a ge of, s u bs e cti o n ( 3) w hi ch
       c o nf er s t he p o w er to s ei ze a nd r e m o ve t hi n gs of p ossi ble e vi d e nti al v al u e.
       B u t in my j u d g m e nt, s u bs e cti on ( 3 ) s a ys n ot hi ng of t h e s ort . A n office r
 Q c a n e nt e r o nl y if ar m e d wit h a w arr a nt iss u e d u n d e r s u bs e cti o n ( 1) , i. e.
       a w arr a n t a ut h orisi n g e ntr y a n d s e ar c h . H a vi n g e nt er e d , h e m a y s ei z e
       a n d r e m o v e a n yt hi n g w hi c h h e h a s r e as o n a bl e c a us e t o b eli e v e m a y b e
       r e q uir ed a s e vi d e n ce " . . . i n r es p e c t o f s u c h a n offe nc e a s is m e nti o n ed
       in s u bs e cti o n ( 1 ) a b o v e. " I c o nstr u e t h es e w or d s a s a r ef er e n c e t o t h e
       ki n d of offe nce t h er e m e nti o n ed a nd n ot li mit ed to t he p arti c ul ar offe nce s
 H s us p e ct e d , i. e . to a n y offe nc e i n v ol vi n g a ny f or m o f fr a u d i n c o n n e cti o n
       wit h or in r el ati on to t a x. S u c h a c o nstr u cti on is,: as my n o ble a nd l e ar n ed
        fri e n d, L or d Di pl o c k, p oi nts o ut, c o nsist e nt wit h t he p o w er o f s ei z ur e of
        g o o d s ot h er t h an t h ose m e nti o n ed in t he w arr a nt c o nf err ed b y a c o m m on
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     1024
     L or d Sc ar m a n R e g      . v. I. R. C., Ex p . R oss mi nst c r ( H X.( E. » [ 1 9 8 0              ]
     l aw w arr a n t t o s e ar c h pr e mis e s f o r st ol e n g o o ds : C hi c F as hi o ns ( W est .
     W al es) Lt d. v . J o n es [ 1 9 6 8 ] 2 Q. B. 2 9 9 , 3 1 4 . T h er e b ei n g n ot hi n g i n A
     t he s e cti o n t o r e q uir e t h e w arr a n t t o gi v e p arti c ul ar s o f t h e offe nce s
     s us p e ct e d, d o e s t h e g e n er a l l a w i m p or t t h e r e q uir e m e nt ? F o r t h e
     r e as o ns gi v e n b y m y n o bl e a n d l e ar n e d fri e n d s I t hi n k n ot . I n d e e d , I
     w o ul d t hi n k i t a wr o n g a p pr o a c h t o m o d er n l e gisl ati o n t o r e as o n b y
     a n al o g y fr om c o m m o n l aw p o w ers. T h e r el e v a n ce of E nti c k v . C arri n g-
     t o n, 19 St ate Tr. 1 0 2 9 , 1 0 66 is t h at it r e c o g nis es t h at, w h ere t he j ustifi c ati on B
     f or w h a t w o ul d ot h er wis e be a tr es p ass is a st at ut e, t h e j u d ge m ust l o o k
     to t h e st at ut e . T o d a y t h a t m e a n s l o o ki n g t o t h e l e gisl ati v e p ur p os e o f
     t he e n a ct m e nt a s w ell as t he w or ds a n d c o nt e xt o f t h e s pecific pr o visi o n .
     If t h a t a p pr o a c h b e a d o pt e d , t h er e ar e str o n g gr o u n d s f o r h ol di n g t h a t
     t he st at ut e d o e s n o t r e q uir e t h e r e v e n u e , b ef or e i t h a s d e ci d e d t o t a k e
     pr o c e e di n g s a n d w h e n i t i s stil l a t t h e i n v esti g at or y st a g e o f a c as e , t o
     r e v e al to a p ossi ble wr o n g- d o er it s s us pi ci o ns o r t he e xt e n t o f it s k n o w-
     l e d g e.
           I t h er ef or e r ej e c t t h e s u b missi o n o f c o u ns e l f or t h e r es p o n d e nt s t h a t
     t he w arr a nt s s h o ul d h a v e gi v e n p arti c ul ar s o f t h e offe nce s s us p e ct e d .
     O n e criti cism m a y, h o w e v er, f airly be m a d e, b ut w as n ot m a de by c o u ns el
     f or t h e r es p o n d e nts, o f t h e w arr a nt s i n t his c as e . I t i s t h at t h e y f ai l t o
     r e cite t h at t he j u d ge w as hi ms elf s atisfi e d a s to t he m att ers u p on w hi ch he D
    h a s to be s atisfi e d. N o d o u bt, a nd a bs ol ut ely c orr e ctl y , c o u ns el t o ok t he
    vie w t h a t t h e o missi o n w a s n o t f at a l t o t h e v ali dit y o f t h e w arr a nts .
    N e v ert h el es s t h e r e cit a l in t h e w arr a nt s i s i n c o m pl et e. I f a n yt hi n g w as
    g oi n g to be r e cit ed a s to t he pr o c e e di n gs b ef or e t h e j u d g e , t he f a c t t h a t
     t he j u d ge w as s atisfi ed s h o ul d h a ve b e e n. I n a m att er of s u ch i m p ort a n ce
     a s t he iss ue of t h ese w arr a nts it is, I t hi n k, d esir a ble to i n cl u de a r e cit al of "
     t he ess e nti al f a c t t h a t t h e j u d g e w as s atisfi ed t h a t t h er e w ere r e as o n a bl e
    gr o u n d s f o r s us pi ci o n a n d t h a t t h e b o ar d its el f h a d a ut h oris e d t h e
     a p pli c ati o n .
           F o r t h es e r e as o n s I c o n cl u d e t h a t t h e w arr a nts , w hi c h ar e t h e o nl y
     r e c ord of t he j u d g e's d e cisi on to iss ue t h e m, dis cl ose on t h eir f a ce no err or
     o f l a w. C erti or ari , t h er ef or e , d o e s n o t li e . B u t e v e n if t h er e w a s err or ^
     o f l a w in t h eir iss u e , it w o ul d n o t n e c ess aril y f oll o w t h a t t h e a cti o n s o f
     t he officers o f t he I nl a nd R e v e n ue in e nt eri ng t he pr e mis es a nd e x er cisi ng
     t h eir st at ut or y p o w er s o f s ei z ur e w er e u nl a wf ul . Li k e m y n o bl e a n d
     l e ar n ed fri e n d , L or d Di pl o c k , I w o ul d n o t wis h t o pr e-j u d g e a q u esti o n
     n o t r ais e d i n t his a p p e al, n a m el y w h et h e r a n e ntr y a n d s ei z ur e m a d e i n
     t he b o na fi de b eli ef t h a t t he w arr a nt w as pr o p erly iss u ed w o uld be ill e g al, ^
     pr o vi d e d al w a ys t he a p pr o pri ate j u di ci al a ut h ority h ad iss u ed t he w arr a nt
     a n d t h e officer , w h o h ad e nt er e d r el yi n g o n it , h a d r e as o n a bl e c a us e t o
     b eli e v e t h at w h at he s ei z ed mi g ht be r e q uir ed a s e vi d e n c e.
           T h e m ai n , t hr ust o f t h e r es p o n d e nts ' s u b missi o n s i n y o u r L or ds hi ps '
     H o us e w as dir e ct ed a g ai nst , t he l a wf ul n es s o f t h e s ei z ure a n d r e m o v a l of
     t he r es p o n d e nts ' p a p ers . S u bs e cti o n ( 3 ) pr o vi d e s t h a t a n office r m a y : JJ
     s ei ze a nd r e m o ve a n yt hi ng w hi ch he h as r e as o n a ble c a use to b eli e ve m ay
     b e r e q uir e d a s e vi d e n c e . T h e r e v e n u e c o n c e d e d t h a t t h e office r m us t i n
    -fact h a v e h a d r e as o n a bl e c a us e f o r t hi s b eli e f a n d t h a t i t i s n o t e n o u g h
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       A. C . R e g                    . y. I. R. C., E x p . R oss mi nst e r ( H X.( E.) ) L o r      d Sc ar m a n
        m er el y to s h ow t h at he h o n estly b eli e v ed he h ad s u ch c a us e. T h e g h ost of
        Li v ersi d g e v. A n d ers o n [ 1 9 4 2 ] A. C . 2 06 t h er ef ore c ast s no s h a d ow u p on
        t his st at ut e . A n d I w o ul d t hi n k i t n e e d n o l o n g e r h a u n t t h e l a w . I t
        w a s l ai d t o r es t b y L or d Ra dcliff e i n N a k k u d a Ali v . J a y ar at n e [ 1 9 5 1]
         A. C . 6 6 , 7 7, a nd n o o n e in t hi s c as e h a s s o u g h t t o r e vi v e it . I t i s n ow
         b e y o n d r e c all.
               T h er e b ei n g, t h er ef or e, n o c h all e n ge to t he r e q uir e m e nt o f an o bj e cti v e
B     t es t o f r e as o n a bl e c a us e , t h e r es p o n d e nt s s e e k a j u di ci a l r e vi e w o f t h e
        e x er cis e of t h e p o w er of s ei z ur e. T h e y s ay t h ere w as an a b use of p o w er
         a n d t h a t t h e e vi d e n c e d o e s n ot s u p p or t t h e r e v e n u e' s ass erti o n t h a t t h e
        officer s w h o c o n d u ct e d t h e s e ar c h h a d r e as o n a bl e c a us e f o r t h ei r b eli ef .
        T h e y h a v e e n d e a v o ur ed t o s u p p or t t h e s u b missi on b y an a n al ysi s o f t h e
         a v ail a bl e e vi d e n c e t o s h o w t h a t t h e officer s s ei z e d a gr e a t q u a ntit y o f
         d o c u m e nt s wit h o ut r e a di ng t h e m, or e v en l o o ki ng at s o me of t h e m .
               T h e Di visi o n al C o urt h eld t h at t he q u esti on of r e as o n a bl e c a us e c o uld
         n o t b e d e ci d e d u p o n t h e b asi s o f c o nt est e d affi da vit s a n d , i n effect , dis -
        miss e d a s pr e m at ur e t h e a p pli c ati o n f o r j u di ci a l r e vi e w . T h e C o ur t o f
         A p p e al , n oti n g t h a t t h e r e v e n u e r ef us e s t o dis cl os e t h e gr o u n d s f o r
         b eli e vi n g t h a t t h e d o c u m e nt s s ei z e d m a y b e r e q uir e d a s e vi d e n c e , c o n -
         cl u d e d t h at , si n c e in m a n y i nst a n c e s t h e officer s s ei z e d d o c u m e nt s wit h -
D      o u t r e a di n g t h e m, t he e xist e n ce of r e as o n a ble c a use f or t h ei r belie f c o ul d
         n o t b e pr o v e d , a n d t h a t t h e q u a ntit y o f s u c h u n e x a mi n e d m at eri a l w a s
         s u ch t h at t he w h ole e x er cise of s ei z ure a nd r e m o v al m ust be h eld ill e g al—
         t he " all or n ot hi ng " ar g u m e nt , as it w as d es cri b e d.
               T h e a p pli c ati on f or j u di ci al r e vi ew is a r e c e nt pr o c e d ur al i n n o v ati on in
        o u r l a w . I t i s g o v er n e d b y R. S. C. , Or d . 5 3 , r. 2 w hi ch w a s i ntr o d u c e d
E    i n 1 9 7 7 . T h e r ul e m a d e n o alt er ati on t o t he s u bst a nti v e l a w ; n or di d it
        i ntr o d u ce a n y n ew r e m e d y. B u t t h e pr o c e d ur a l r ef or m s i ntr o d u c e d ar e
        si g nifi c a nt a n d v al u a bl e . J u di ci a l r e vi e w i s n o w t h e pr o c e d ur e f o r
         o bt ai ni n g r eli e f b y w ay o f pr er o g ati v e or d er , i. e . m a n d a m us , pr o hi biti o n
        o r c erti or ari. B u t it is n ot c o nfi n ed t o s u ch r eli ef: a n a p pli c a nt m ay n ow
         o bt ai n a d e cl ar ati on o r i nj u n cti on i n a ny c ase w h ere in t he o pi ni on of t he
F     c o ur t " it w o uld be j ust a n d c o n v e ni e n t f o r t h e d e cl ar ati on o r i nj u n cti o n
        to b e gr a nt e d o n a n a p pli c ati o n f o r j u di ci a l r e vi e w. " F urt h er , o n a n
        a p pli c ati o n , t h e c o ur t m a y a w ar d d a m a g es , pr o vi d e d t h a t t h e c o ur t i s
        s atisfi ed t h a t d a m a g e s c o ul d h a v e b e e n a w ar d e d , h a d t h e a p pli c a n t
        pr o c e e d e d b y a cti o n . T h e r ul e als o m a k e s a v ail a bl e a t t h e c o urt' s dis -
        cr eti o n dis c o v er y , i nt err o g at ori es , a n d cr oss- e x a mi n ati o n o f d e p o n e nts .
G       A n d , w h ere t he r eli e f s o u g h t i s a d e cl ar ati o n, a n i nj u n cti o n , o r d a m a g e s
        b u t t h e c o ur t c o nsi d er s i t s h o ul d n o t b e gr a nt e d o n a n a p pli c ati o n f o r
        j u di ci al r e vi e w , t h e c o ur t m a y or d e r t h e pr o c e e di n g s t o c o nti n u e a s if
        t h ey h ad b e en b e g un by writ.
               T h u s t he a p pli c ati o n f o r j u di ci a l r e vi e w , w h ere a d e cl ar ati o n , a n i n -
        j u n cti o n, o r d a m a g e s ar e s o u g ht , i s a s u m m ar y wa y o f o bt ai ni n g a
JJ   r e m e d y w hi ch c o uld be o bt ai n ed at tri al in an a cti o n b e g un by writ: a n d
        it is a v ail a ble o nly w h ere in all t he cir c u mst a n c es it is j ust a nd c o n v e ni e nt .
        If iss u e s of . f a ct, o r l a w a nd f a ct , ar e r ais e d w hi c h i t i s n eit h er j us t n o r
        c o n v e ni e n t t o d e ci d e wit h o ut t h e f ull tri a l pr o c ess, t he c o urt m a y dis mis s
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    L or d Sc a n n a n R e g     . v. I. R. C., Ex p . R oss mi nst e r ( H X.( E.) ) [ 1 9 8 0             ]
    t he a p pli c ati on o r or d er, in effect, a tri al. I n t h e pr es e nt c as e t h ere ar e ,
    in my j u d g m e nt, i ns u p er a ble o bj e cti o ns to t he gr a nti ng of a d e cl ar ati on in
    pr o c e e di n g s f or j u di ci a l r e vi e w. Wit h all r es p e ct to t he C o urt of A p p e al ,
    t he e vi d e n ce is n ot s u ch t h at a c o urt c o uld s af ely say at t his st a ge t h at t he
    officer s h a d no r e as o n a ble c a use to b eli e ve t h at w h a t t h ey s ei z ed mi g ht be
    r e q uir ed a s e vi d e n c e . A tri a l i s n e c ess ar y, if j usti c e is to be d o n e . T h e
    a p pli c a nt s c o ul d h a v e as k e d f o r t h e pr o c e e di n g s t o b e c o nti n u e d a s i f
    b e g u n by writ, b u t di d n ot — no d o u bt , b e c a us e t h ey h a v e alr e a d y b e g u n B
    pr o c e e di n g s b y wri t iss u e d i n t h e C h a n c er y Di visi o n . I a gr e e wit h t h e
    vie w s e x pr ess ed b y t h e Di visi o n a l C o ur t o n t hi s p oi n t a s w ell a s o n t h e
    p oi n t r el ati ng to t he v ali dity of t h e w arr a nts.
           A t t h e e n d o f t h e d a y o n e f u n d a m e nt al iss u e di vi d e s t h e p arti e s a n d
    c all s f o r t h e d e cisi o n o f t h e H o us e . I s i t a r e q uir e m e n t o f t h e l aw t h a t
    p arti c ul ar s o f t h e offe nce s s us p e ct e d t o h a v e b e e n c o m mitt e d b e s h o w n
    eit h e r o n t he f a ce o f t he w arr a nt or by t he r e v e n u e, if c h all e n g e d, in pr o-
    c e e di n g s f o r j u di ci a l r e vi e w ? T h e st at ut e c o nt ai n s n o e x pr es s pr o visi o n
    s p elli ng o u t s u c h a r e q uir e m e nt . I s t h e r e q uir e m e n t t o b e i m pli e d ? I
    k n o w of no c o m m on law r ule w hi ch c o m p els t he i m pli c ati o n. I n d e e d , t he
    c o m m o n law s u p p ort s t he c o n v ers e: f o r t h e n e ar est c o m m on l aw a n al o gy
    is t h e r ul e , b as ed o n p u bli c p oli c y, w hi c h pr ot e cts fr om dis cl os ur e p oli c e
    s o ur c es o f i nf or m ati o n : H o m e v . B e nti n c k ( 1 8 2 0 ) 2 Br o d . & Bi n g. 1 3 0 . D
    T al k of " g e n er al w arr a nts " i s b esi de t he p oi nt: t h es e w arr a nts m a ke cl e ar
    t h at t h e y are iss u ed by j u di ci al a ut h ority in t he e x er cise of t he p o w er c o n-
    f err ed in t he st at ut e. W h e n o ne t ur ns fr om t he c o m m on l aw to c o nsi d er t he
    l e gisl ati ve p ur p os e o f t h e s e cti o n , i t i s pl ai n t h a t t h e p ur p os e c o ul d b e
    d ef e at e d if a w arr a nt m ust p arti c ul arise t he offe nces s us p e ct e d: f o r w arr a nts
    ar e iss u e d a t t h e st a g e o f i n v esti g ati o n w h e n s e cr e c y m a y b e vit a l t o t h e
    s u c c ess o f d et e cti o n . B u t c a n t h e r e v e n u e , if t h ei r s ei z ur e b e c h all e n g e d
     in pr o c e e di n g s f o r j u di ci a l r e vi e w , ref us e a t t h a t st a g e t o dis cl os e p ar -
    ti c ul ars of t h e offe nces s us p e ct e d ? T h a t is a m att er f or t h ei r d e cisi o n. I f
     t he r e v e n u e c h o os es, as in t his c as e, n ot to dis cl os e t h e m, it r u n s t he risk
     o f f aili n g t o s h o w t h a t t h er e i s a tri a bl e iss u e a s t o " r e as o n a ble c a us e. "
     B u t if , a s i n t h e pr es e n t c as e , t h e affi da vit s dis cl os e e vi d e n c e s ufficie n t
     to s h o w a tri a bl e iss u e , it i s " j ust a n d c o n v e ni e nt " t o l e a ve t he iss ue to
     tri al. A n d , a s m y n o bl e a n d l e ar n e d fri e n ds , L or d s Wil b erf or c e a n d
     Di pl o c k , h a v e e m p h asis e d, tri al ( o r an i n v esti g ati on i n s u bstit ute f or tri al ,
     if u n d ert a k e n i n t h e pr o c e e di n g s f o r j u di ci a l r e vi e w ) s h o ul d or di n aril y
     b e d el a y e d u nti l aft e r cri mi n a l pr o c e e di n g s h a v e b e e n c o m pl et e d o r
     a b a n d o n e d or , i f n o n e are b e g u n , aft e r a r e as o n a bl e p eri o d , i n w hi c h t o r
      t a ke a d e cisi on w h et h er or n ot to i nstit ute s u ch pr o c e e di n gs, h as el a ps e d.
            T w o q u esti o ns w ere c a n v ass ed in t he c o urse of ar g u m e nt, u p on w hi ch I
      wis h to c o m m e nt. T h e first w as t he s u g g esti on t h at t he b ur d en of pr o vi ng
      t he l e g ality of t he s ei z ure w as u p on t he r e v e n u e. T h e s u g g esti on r ests on a
      mis u n d erst a n di n g . A n a p pli c a nt f or j u di ci al r e vi ew h as to satisfy t he c o urt
      t h at h e h a s a c as e . I f h e pr o v e s t h a t hi s h o use h as b e en e nt er e d o r hi s
      d o c u m e nt s s ei z e d wit h o u t hi s c o ns e nt , h e est a blis h e s a pri m a f a ci e c as e .
      B u t a s s o o n a s t h e r es p o n d e n t pl e a d s j ustifi c ati o n , e. g . i n t hi s c as e t h e
      st at ut e, a n d l e a d s e vi d e n c e t o s h o w t h a t h e h a s a ct e d wit hi n t h e p o w e r
    Case 1:22-cr-00673-LAK Document 138-7 Filed 05/08/23 Page 77 of 77
                                                                                                           1027
     A. C . R e g                   . v. I. R. C., Ex p . R oss mi nst e r ( H X.( E.) ) L o r     d Sc ar m a n
      c o nf err e d o n him b y l a w, iss ue is j oi n ed a n d t h e pri ma f a ci e c as e h as to
      b e j u d g ed a g ai nst t he str e n gth of t he m att ers ur g ed in d ef e n c e. U nl es s t he
      c o ur t o n j u di ci al r e vi ew c an safely s a y t h at t he d ef e n ce wil l s ur ely f ail, it
      c a n n o t b e j ust to gr a nt fi n al relief, a nd it m ust be c o n v e ni e nt to all ow t he
     iss ue t o g o t o tri al . T h e s u m m ar y pr o c e e di n g s ar e a s u bstit ut e f o r tri a l
      o nl y if t h e c o ur t c a n be c o nfi d e nt t h a t t he tri al is u n n e c ess ar y. T h e o nly
      ri d er I w o uld a dd is t h at t he c o urt c a n, if it t hi n ks fit, gr a nt an i nt erl o c ut ory
 B i nj u n cti o n (s a v e a g ai nst t he Cr o w n) or t est e vi d e n ce by all o wi ng dis c o v er y,
      i nt err o g at ori es, or cr oss- e x a mi n ati o n, in w hi ch c ase it m ay be a ble to r e a ch
      a d e cisi o n wit h o u t t h e n e ed of s e n di n g t he c ase to tri al by a si n gle j u d g e.
      B u t t h es e ar e p o w er s t o b e s p ari n gl y us e d , i f t h e new pr o c e d ure i s to be
      a s u c c ess .
            T h e s e c o nd p oi nt on w hi ch I d esire to c o m m e nt is as to t he p ossi bility of
 .-, a n " i nt erim d e cl ar ati o n. " U n d e r e xisti ng law o nly a fi n al a nd c o n cl usi ve
      d e cl ar ati o n m ay be gr a nt ed by a c o urt. T hi s m e a ns t h at, w h ere t he Cr o wn
      is d ef e n d a n t o r r es p o n d e nt , relie f a n al o g o u s t o a n i nt eri m i nj u n cti o n i s
      n o t a v ail a bl e . M a n y c o m m e nt at ors , i n cl u di n g t h e L a w C o m missi o n ,
      r e c o m m e nd t h a t i nt eri m relie f s h o ul d b e a v ail a ble a g ai ns t t h e Cr o wn a n d
      t h at a n " i nt erim d e cl ar ati o n " w o ul d be t he a p pr o pri ate way of pr o vi di ng
      it. I gr a v el y d o u bt t he wis d om of i nt eri m r eli ef a g ai ns t t he Cr o w n. T h e
D st at e' s d e cisi o n s m ust b e r es p e ct e d u nl es s a nd u nti l t h e y are s h o w n to be
      wr o n g . J u d g e s n eit h e r g o v er n n o r a d mi nist e r t h e st at e : t h e y a dj u di c at e
      w h e n r e q uir e d t o d o s o . T h e v al u e o f j u di ci a l r e vi e w , w hi c h i s hi g h ,
      s h o uld n o t b e all o w e d t o o bs c ur e t h e f u n d a m e nt a l li mit s o f t h e j u di ci a l
      f u n cti o n. A n d , if i nt erim relief a g ai ns t t he Cr o wn be a c c e pt a bl e, t he i nt er-
      l o c ut ory d e cl ar ati o n i s n o t t h e w a y t o pr o vi d e it . F o r m yself , I fi n d
 F a bs ur d t he p ost ure of a c o urt d e cl ari ng o ne d ay in i nt erl o c ut ory pr o c e e di n gs
      t h at a n a p pli c a n t h a s c ert ain ri g ht s a nd u p o n a l at er d a y t h at h e h as n ot.
      S o m et hi n g l ess risi ble m ust be d e vis e d.
            F o r t h es e r e as o ns I w o uld all o w t he a p p e als.

                                                                                    A p p e als all o w e d.

F S oli cit ors        : S oli cit or of I nl a n d R e v e n u e; R o n e y, Vi n c e nt         & C o.

                                                                                                    F . C.



G




H
